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                           EXHIBIT 4C
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2 of 13201
 Loretta Lynch
 Department of Justice

 Dear Attorney General Lynch:

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 The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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 Sincerely,

 Tiffany Hayden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3 of 13201
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 Mark Aziz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5 of 13201
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 Ronald Yeomans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6 of 13201
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 Chloe Barbier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7 of 13201
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 Maggie Kohanek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8 of 13201
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 Jary Stavely
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9 of 13201
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 Helen Ludbrook
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 Jeffrey Ward
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 Walter Tulys
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 Jusef White
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 Howard Perlman
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 Michel Collin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 15 of 13201
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 Sincerely,

 Justin James
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 Ryan Milholland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 17 of 13201
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 Sincerely,

 Stacey Wood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 18 of 13201
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 Elisabeth Bezemer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 19 of 13201
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 Francis Henninger
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 Lenore Nieters
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 Mark Leeson
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 Martha Person
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 23 of 13201
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 Julia Kloehn
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 Peter Ayres
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 Roger Thomas
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 Louis Baccarini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 30 of 13201
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 Clifford Provost
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 Rhoda Levine
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 Marty Carlson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 35 of 13201
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 Patricia Phelps
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 36 of 13201
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 Shari Sharp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 37 of 13201
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 Matt Burns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 38 of 13201
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 Jerry Kranz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 39 of 13201
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 Lacey Wozny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 40 of 13201
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 Helen Ludbrook
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 Mindy Leighton-Toth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 43 of 13201
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 Jennifer Miller
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 Marlene Olveda
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 Chemen Ochoa
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 ron huber
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 Nancy Baise
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 Derek Gendvil
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 Amy Landsman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 52 of 13201
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 Laura Kiholm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 53 of 13201
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 Karen Shanley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 54 of 13201
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 Christina Chohon
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 The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
 be left paying the cost of it.

 Sincerely,

 Brandon Keller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 57 of 13201
 Loretta Lynch
 Department of Justice

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 Kris Steinke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 58 of 13201
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 Adrienne Hudson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 59 of 13201
 Loretta Lynch
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 Sincerely,

 Elaine Dorough Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 60 of 13201
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 Lawrence Shipley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 61 of 13201
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 Sincerely,

 Jeanene Gilmore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 62 of 13201
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 Department of Justice

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 Sincerely,

 Lenore Nieters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 63 of 13201
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 Sincerely,

 Kara Duffy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 64 of 13201
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 Robert Bartlett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 65 of 13201
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 Lenore Roiz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 67 of 13201
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 Sincerely,

 Clyde Williams II
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 68 of 13201
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 Sincerely,

 Amy Landsman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 69 of 13201
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 Sincerely,

 Helmut Terjung
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 70 of 13201
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 Sincerely,

 Keith Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 71 of 13201
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 Lauren Vigna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 72 of 13201
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 Kara Duffy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 73 of 13201
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 Tim Brellow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 74 of 13201
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 Garry Kramchak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 75 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 76 of 13201
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 Christina Chohon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 77 of 13201
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 Paul Leyva
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 78 of 13201
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 Sincerely,

 Kelly Hart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 79 of 13201
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 David Urich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 80 of 13201
 Loretta Lynch
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 Jeanene Gilmore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 81 of 13201
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 Mitch Parkinen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 82 of 13201
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 Louis Baccarini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 83 of 13201
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 Karen Shanley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 84 of 13201
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 Lara Ingraham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 85 of 13201
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 Nancy Baise
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 86 of 13201
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 Gerald Rosen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 87 of 13201
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 Franklin Munguia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 88 of 13201
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 Jennifer Baron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 89 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 90 of 13201
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 Linda Howie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 91 of 13201
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 Randi Holt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 92 of 13201
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 John Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 95 of 13201
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 Earl Morse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 96 of 13201
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 Gerald Leslie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 97 of 13201
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 Circus Szalewski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 98 of 13201
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 Immaculate Wesley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 100 of 13201
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  Joanne Lowery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 101 of 13201
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  Elaine Dorough Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 102 of 13201
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  Carl Tronco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 103 of 13201
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  Felicia Riedel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 104 of 13201
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  Keith Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 105 of 13201
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  Joanne Sieck
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  Randi Holt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 107 of 13201
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  Tim Brellow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 108 of 13201
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  Harry Wohlsein
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  Sincerely,

  Earl Morse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 110 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marilyn Fenstermaker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 111 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Elizabeth Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 112 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Juanita Wilkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 113 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  ron huber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 114 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kathleen Carr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 115 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Steve Meier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 116 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Rogers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 117 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gerald Rosen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 118 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Howie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 119 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandra Welp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 120 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Circus Szalewski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 121 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 122 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joanne Lowery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 123 of 13201
  Loretta Lynch
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  Sincerely,

  Jeff Stromgren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 124 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Norvell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 125 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laurie Schick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 126 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nate Pusateri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 127 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathy Moraski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 128 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carole Kruse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 129 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donald W. Henderson, Ph.D.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 130 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Martha Richards
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 131 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Scanlon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 132 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Victoria Borin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 133 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Katherine Treffinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 134 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marilyn Fenstermaker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 135 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Mcclung
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 136 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aleta Cavender
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 137 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Frances Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 138 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  virginia heard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 139 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cheryl Arvio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 140 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roger Weingarten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 141 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Terrie Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 142 of 13201
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  Department of Justice

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  Sincerely,

  Mr. David Kannerstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 143 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beatrice Berger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 144 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Schadel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 145 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Spradley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 146 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathy Moraski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 147 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 148 of 13201
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  Department of Justice

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  Sincerely,

  Terrance Hyk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 149 of 13201
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  Sincerely,

  Stephanie Mundis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 150 of 13201
  Loretta Lynch
  Department of Justice

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  Victoria Borin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 151 of 13201
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  Sincerely,

  Catherine Tierney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 152 of 13201
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  Department of Justice

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  Sincerely,

  Stan Rose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 153 of 13201
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  Sincerely,

  Caitlin Burke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 154 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deane Plaister
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 155 of 13201
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  Department of Justice

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  Sincerely,

  Susan Torres
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 156 of 13201
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  Department of Justice

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  Sincerely,

  Nate Pusateri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 157 of 13201
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  Department of Justice

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  Sincerely,

  Ms. Katherine Tildes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 158 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  stephen landau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 159 of 13201
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  Sincerely,

  Terry Bentivegna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 160 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Karolyn Switzer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 161 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Terrance Hyk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 162 of 13201
  Loretta Lynch
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  Timothy Simmons MD
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 163 of 13201
  Loretta Lynch
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  Sincerely,

  Dennis Bischof
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 164 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Caitlin Burke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 165 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aleta Cavender
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 166 of 13201
  Loretta Lynch
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  Sincerely,

  Catherine Tierney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 167 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cheryl Arvio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 168 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Katherine Treffinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 169 of 13201
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  Sincerely,

  Laurie Schick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 170 of 13201
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  Sincerely,

  Martha Richards
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 171 of 13201
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  Sincerely,

  Nia Cherrett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 172 of 13201
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  Sincerely,

  Jean Thornsbury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 173 of 13201
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  Sincerely,

  Ron and Marjorie Kardos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 174 of 13201
  Loretta Lynch
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  Sincerely,

  Mrs. Charlotte Alexandre
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 175 of 13201
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  Frank Lahorgue
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  Sincerely,

  Mary MacGregor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 177 of 13201
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  Department of Justice

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  Sincerely,

  Terry Bentivegna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 179 of 13201
  Loretta Lynch
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  Sincerely,

  Oliver Block
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 180 of 13201
  Loretta Lynch
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  Sincerely,

  Brian Hudson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 181 of 13201
  Loretta Lynch
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  Sincerely,

  Charles Schadel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 182 of 13201
  Loretta Lynch
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  Sincerely,

  James Keough
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 183 of 13201
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  Sincerely,

  Terrie Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 184 of 13201
  Loretta Lynch
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  Timothy Mullen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 185 of 13201
  Loretta Lynch
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  Karolyn Switzer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 186 of 13201
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  Sandra Welp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 187 of 13201
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  George Abaunza
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 188 of 13201
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  Ben Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 189 of 13201
  Loretta Lynch
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  Teresa Kohl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 190 of 13201
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  Robert Morton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 191 of 13201
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  Jean Hopkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 192 of 13201
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  Karyn Walden-Forrest
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 193 of 13201
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  Gerald Wolfe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 194 of 13201
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  Robert Gulliver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 195 of 13201
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  Larry Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 196 of 13201
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  Noel Rome
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 199 of 13201
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  Floyd Massey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 200 of 13201
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  Mary Troland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 201 of 13201
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  Sincerely,

  Kristine Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 202 of 13201
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  Sincerely,

  Mrs. Charlotte Alexandre
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 203 of 13201
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  Frank Lahorgue
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  John A Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 205 of 13201
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  Rex Lettau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 206 of 13201
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  Dorothy Romanet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 208 of 13201
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  Sincerely,

  Bernard Weiner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 209 of 13201
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  Sincerely,

  Marilea White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 210 of 13201
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jason Reinhardt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 211 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  George Abaunza
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 212 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gerald Wolfe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 213 of 13201
  Loretta Lynch
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  Sincerely,

  Dr. Charlotte L. Keys
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 214 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karyn Walden-Forrest
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 215 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Teresa Kohl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 216 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Noel Rome
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 217 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen and Jeff Hay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 218 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Darlene Byrd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 219 of 13201
  Loretta Lynch
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  Sincerely,

  Mavis Brauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 220 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 221 of 13201
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  Sincerely,

  Robert Gulliver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 222 of 13201
  Loretta Lynch
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  Michael Mikulka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 223 of 13201
  Loretta Lynch
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  Sincerely,

  Martha Gunnarson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 224 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Maskarinec
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 225 of 13201
  Loretta Lynch
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  Dr. Charlotte L. Keys
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 226 of 13201
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  Sincerely,

  Sam Orlich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 227 of 13201
  Loretta Lynch
  Department of Justice

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  Mr. Jed Aicher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 228 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Timothy Mullen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 229 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rex Lettau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 230 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Detato
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 231 of 13201
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  Sincerely,

  Larry Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 232 of 13201
  Loretta Lynch
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  Sincerely,

  Michael Felmet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 233 of 13201
  Loretta Lynch
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  Kathleen Corby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 234 of 13201
  Loretta Lynch
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  Tanner Ferguson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 235 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 236 of 13201
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  Cecilia Moller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 237 of 13201
  Loretta Lynch
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  Sincerely,

  Matthew Cleveland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 238 of 13201
  Loretta Lynch
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  Sincerely,

  Darlene Byrd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 239 of 13201
  Loretta Lynch
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  Sincerely,

  Julie Block
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 240 of 13201
  Loretta Lynch
  Department of Justice

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  Chris Drumright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 241 of 13201
  Loretta Lynch
  Department of Justice

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  Ben Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 242 of 13201
  Loretta Lynch
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  L Harding
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 243 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 244 of 13201
  Loretta Lynch
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  Sincerely,

  Brian Schwartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 245 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brent Rocks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 246 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 247 of 13201
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  Janice VrMeer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 248 of 13201
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  Mary Dunleavy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 249 of 13201
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  Bill Dubey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 250 of 13201
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  Department of Justice

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  Phil Bell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 251 of 13201
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  Department of Justice

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  Sincerely,

  Erich Bauman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 252 of 13201
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  Kathleen Corby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 253 of 13201
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  Jae Bevan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 254 of 13201
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  Matthew Cleveland
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  C Susan Johnston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 256 of 13201
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  Acacia Lawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 257 of 13201
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  Sincerely,

  Toni Kimball
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 258 of 13201
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  Margie Stewart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 259 of 13201
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  Walter Hoelbling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 260 of 13201
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  Sincerely,

  Kate Barnes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 261 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Aviva Myers-Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 262 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Heidi Bliss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 263 of 13201
  Loretta Lynch
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  L Harding
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 264 of 13201
  Loretta Lynch
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  Fjaere Mooney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 265 of 13201
  Loretta Lynch
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  Sincerely,

  Mary Dunleavy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 266 of 13201
  Loretta Lynch
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  Sincerely,

  Michael Bawaya
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 267 of 13201
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  John Delibos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 268 of 13201
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  Sincerely,

  George Yonnone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 270 of 13201
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  Sincerely,

  Erich Bauman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 271 of 13201
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  Sincerely,

  C Susan Johnston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 272 of 13201
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  Sincerely,

  Mary Mizzi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 274 of 13201
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  Sincerely,

  Paul & Jackie Bogacki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 275 of 13201
  Loretta Lynch
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  Jill Alibrandi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 276 of 13201
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  Sincerely,

  stephen landau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 277 of 13201
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  Sincerely,

  Gracie Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 278 of 13201
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  H Clarke Gentry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 279 of 13201
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  Sincerely,

  Robert Thornberry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 280 of 13201
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  Sincerely,

  raquel buxton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 281 of 13201
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  Sincerely,

  Sarah Aquino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 282 of 13201
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  Sincerely,

  Christy Kurtz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 283 of 13201
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  Sincerely,

  Glory Arroyos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 284 of 13201
  Loretta Lynch
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  Sincerely,

  Bill Dubey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 285 of 13201
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  Margie Stewart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 287 of 13201
  Loretta Lynch
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  Shirley Jenkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 288 of 13201
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  Sincerely,

  William Neill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 289 of 13201
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  Ryan Wilkerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 290 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 291 of 13201
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  Sincerely,

  John Steeves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 292 of 13201
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  Nicholas Monitto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 293 of 13201
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  Nezka Pfeifer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 294 of 13201
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  David Lindorff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 295 of 13201
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  Richard Pross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 296 of 13201
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  Esther Prexl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 297 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 298 of 13201
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  Sarah Aquino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 299 of 13201
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  Daniel Kurz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 300 of 13201
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  Barbara Muller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 301 of 13201
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  Sincerely,

  Rosemarie Grubba
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 302 of 13201
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  Robert Galbreath
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 303 of 13201
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  Christy Kurtz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 304 of 13201
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  Christopher Horner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 305 of 13201
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  Cecilia Moller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 306 of 13201
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  Matt Stedman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 307 of 13201
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  g marzocchi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 308 of 13201
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  Craig Fortier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 309 of 13201
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  Rosemarie Grubba
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  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jan Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 312 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brent Rocks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 313 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Glory Arroyos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 314 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Patchen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 315 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Esther Prexl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 316 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eric Naji
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 317 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Kurz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 318 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Neill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 319 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher Horner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 320 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gregory Roll
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 321 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ying Cooper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 322 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  George Yonnone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 323 of 13201
  Loretta Lynch
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  Sincerely,

  Faye Soares
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 324 of 13201
  Loretta Lynch
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  Sincerely,

  Ellen KELLEHER
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 325 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michiko Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 326 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Suzanne Gordon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 327 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Boger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 328 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Trish Stevens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 329 of 13201
  Loretta Lynch
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  Sincerely,

  Barbara Muller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 330 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Luben Stoilov
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 331 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ryan Wilkerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 332 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Lindorff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 333 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  McLean Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 334 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  g marzocchi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 335 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gracie Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 336 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathryn Christian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 337 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Scott Danner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 338 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leah Hallow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 339 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  OneHeart Inc
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 340 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon is that it is bound to be repeated if they are allowed
  to continue down the same path. Taxpayers suffer the environmental consequences, they
  should not have to carry the tax burden as well. I ask you to close any loophole that allows
  BP a deduction for destruction.

  Sincerely,

  Ms. Barrie Stebbings
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 341 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Deemer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 342 of 13201
  Loretta Lynch
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  Sincerely,

  Patricia Barth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 343 of 13201
  Loretta Lynch
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  Sincerely,

  Wendy McKee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 344 of 13201
  Loretta Lynch
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  Sincerely,

  Oliver Block
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 345 of 13201
  Loretta Lynch
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  Sincerely,

  Ken Brink
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 346 of 13201
  Loretta Lynch
  Department of Justice

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  J Nedbor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 347 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Delshaun Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 348 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Congdon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 349 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Lonnie Albrecht
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 350 of 13201
  Loretta Lynch
  Department of Justice

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  Gary Price
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 351 of 13201
  Loretta Lynch
  Department of Justice

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  Philip Purpuri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 352 of 13201
  Loretta Lynch
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  Sincerely,

  Alexander Wallace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 353 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ed Bennett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 354 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mostyn Thayer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 355 of 13201
  Loretta Lynch
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  Sincerely,

  McLean Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 356 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Willa Bing Harris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 357 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Acacia Lawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 358 of 13201
  Loretta Lynch
  Department of Justice

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  Stephen Mather-Lees
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 359 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 360 of 13201
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  Sincerely,

  Adam Wojdac
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 361 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Susan Deemer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 362 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jj L.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 363 of 13201
  Loretta Lynch
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  Sincerely,

  Scott Danner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 364 of 13201
  Loretta Lynch
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  Sincerely,

  Suzanne Gordon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 365 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Martha Barrett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 366 of 13201
  Loretta Lynch
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  Sincerely,

  Kimberly Leeper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 367 of 13201
  Loretta Lynch
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  Sincerely,

  Gary Price
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 368 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gregory Roll
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 369 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ken Brink
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 370 of 13201
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  Department of Justice

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  Sincerely,

  Shari Farrar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 371 of 13201
  Loretta Lynch
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  Sincerely,

  Delshaun Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 372 of 13201
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  Asa Javier BaRa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 373 of 13201
  Loretta Lynch
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  Mei Mei Miriyam Sanford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 374 of 13201
  Loretta Lynch
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  Sincerely,

  Mona Callahan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 375 of 13201
  Loretta Lynch
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  Sincerely,

  Wendy McKee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 376 of 13201
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  Sincerely,

  Ms. Ellen Rice
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 377 of 13201
  Loretta Lynch
  Department of Justice

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  Margaret Kuns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 378 of 13201
  Loretta Lynch
  Department of Justice

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  Ms. Trish Stevens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 379 of 13201
  Loretta Lynch
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  Alexander Wallace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 380 of 13201
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  Sincerely,

  Alma Sills
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 381 of 13201
  Loretta Lynch
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  Mr. Stephen Nickels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 382 of 13201
  Loretta Lynch
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  Sincerely,

  Alessandro Raganato
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 383 of 13201
  Loretta Lynch
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  Evelyn Noel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 384 of 13201
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  Ed Bennett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 386 of 13201
  Loretta Lynch
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  Joel Isaacson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 387 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 388 of 13201
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  Ken Cooksey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 389 of 13201
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  Sincerely,

  Louis Marks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 390 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Hise
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 391 of 13201
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  Department of Justice

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  Sincerely,

  julia dashe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 392 of 13201
  Loretta Lynch
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  Joseph Holloway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 393 of 13201
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  Department of Justice

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  Sincerely,

  Carolyn Giles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 394 of 13201
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  Beverly Poncia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 395 of 13201
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  Kimberly Leeper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 396 of 13201
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  Sincerely,

  David Quintana
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 397 of 13201
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  Sincerely,

  Tasha Carpenter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 398 of 13201
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  Department of Justice

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  Sincerely,

  Faye Soares
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 399 of 13201
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  Sincerely,

  James Bishop
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 400 of 13201
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  Department of Justice

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  Mark Rinehart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 401 of 13201
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  Sincerely,

  DeWayne Halfen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 402 of 13201
  Loretta Lynch
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  Margaret Kuns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 403 of 13201
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  John Tietgens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 404 of 13201
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  Jacky Forgan
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  Roger Shady
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 406 of 13201
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  Sincerely,

  michael chase
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 409 of 13201
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  Daniel Barclay
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  be left paying the cost of it.

  Sincerely,

  Mona Callahan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 412 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Thomas Dahl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 413 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelly Epstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 414 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tasha Carpenter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 415 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Rinehart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 416 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karin Lindberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 417 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Don Vergara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 418 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Hise
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 419 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Darrell Schmidt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 420 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carolyn Sol
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 421 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Knoll
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 422 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mariano Svidler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 423 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tony Lentini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 424 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jared Brenner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 425 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrew Philip
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 426 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carolyn Giles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 427 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Janice Carlson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 428 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Danielle Arbuckle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 429 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Henry Schlinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 430 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jacky Forgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 431 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Don Vergara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 432 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Slivka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 433 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ray Bustos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 434 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lori Kunkel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 435 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph Holloway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 436 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Quintana
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 437 of 13201
  Loretta Lynch
  Department of Justice

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  Tony Lentini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 438 of 13201
  Loretta Lynch
  Department of Justice

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  Mr. Richard H McCombs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 439 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Turiano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 440 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Tietgens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 441 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  B. E.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 442 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  This environmental accident has been one of the most tragic moments of our ecological
  history and parts of this area are still reeling from it.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jill Sarkady
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 443 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Danielle Arbuckle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 444 of 13201
  Loretta Lynch
  Department of Justice

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  Henry Schlinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 445 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Claflin Sr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 446 of 13201
  Loretta Lynch
  Department of Justice

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  Thomas Dahl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 447 of 13201
  Loretta Lynch
  Department of Justice

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  Donna Rusciolelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 448 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Merry Bolt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 449 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marta Daniels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 450 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Knoll
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 451 of 13201
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  Department of Justice

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  Sincerely,

  Bruce Culver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 452 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Janice Carlson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 453 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  michael chase
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 454 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 455 of 13201
  Loretta Lynch
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  Ray Bustos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 456 of 13201
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  Sincerely,

  Tim Stein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 457 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Fritsch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 458 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Perkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 459 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karin Lindberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 460 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lori Kunkel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 461 of 13201
  Loretta Lynch
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  Sincerely,

  Judy Cohen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 462 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Donna Slivka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 463 of 13201
  Loretta Lynch
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  Sincerely,

  Marilynn Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 464 of 13201
  Loretta Lynch
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  Jill Sarkady
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 465 of 13201
  Loretta Lynch
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  Joanie Thomas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 466 of 13201
  Loretta Lynch
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  Victor Soule
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  Carolyn Sol
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 468 of 13201
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  Department of Justice

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  Chris Gordon
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  PJ Janowitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 470 of 13201
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  Donna Rusciolelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 471 of 13201
  Loretta Lynch
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  Sincerely,

  Maritza Castillo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 472 of 13201
  Loretta Lynch
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  Sincerely,

  Robert Perkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 473 of 13201
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  Sincerely,

  Sam Heaton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 474 of 13201
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  Sincerely,

  Ms Christine Gasco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 475 of 13201
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  Sincerely,

  Clay Starlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 476 of 13201
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  Donna Turiano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 477 of 13201
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  Orlando Melendez
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  John Pike
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  Paul Lau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 480 of 13201
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  Robert Sloan
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  Lindsey Densing
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  Maritza Castillo
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  Sincerely,

  Merry Bolt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 484 of 13201
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  Amal Youngblood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 485 of 13201
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  Victor Soule
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  Kelly Epstein
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  Dr. Carolyn N Rosenstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 488 of 13201
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  Lee Ann Greaves
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  Katherine McCanlies
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 490 of 13201
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  John Pike
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  Fred Goodsell
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  Chris Gordon
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  Dan McCurdy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 500 of 13201
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  Bonny Peters
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  Sincerely,

  Kathryn Horvat
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 502 of 13201
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  Kathryn Horvat
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  Roger Schlemmer
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  Phillip J Crabill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 505 of 13201
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  Linda Johnson
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  Tim Harrison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 508 of 13201
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  B. E.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 509 of 13201
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  Mallory Hattie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 510 of 13201
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  Lee Ann Greaves
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  Amal Youngblood
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  Sincerely,

  Tim Harrison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 513 of 13201
  Loretta Lynch
  Department of Justice

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  Kevin Caffrey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 514 of 13201
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  Maryellen Todd
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  Patrick Cannon
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 517 of 13201
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  Sincerely,

  Katherine McCanlies
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 518 of 13201
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  Sincerely,

  Stephen Batzer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 519 of 13201
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  Sincerely,

  Shari Grounds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 520 of 13201
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  Ainslie Gilligan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 521 of 13201
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  Pamela Porter
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  Renee Such
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  Lynn Michaelson
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  Sincerely,

  Mallory Hattie
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  Amy Elepano
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  Susan Wigfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 527 of 13201
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  David Hirst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 528 of 13201
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  Bruce Wallace
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  Rolando Rodriguez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 531 of 13201
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  Gloria Grimm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 532 of 13201
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  Lynne C.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 533 of 13201
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  Phillip J Crabill
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  Ellen Woodbury
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  David Stets
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  Dean Koehler
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  John Breiby
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  sherry fishman
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  Lee Rogers
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  Neil Olson
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  Chad Armijo
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  Michael Sixtus
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  Prof. ellen goodman
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  Julie Svendsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 552 of 13201
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  Charles Alexander
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  Miriam Sexton
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  Liz Sherblom
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  Margot Lenhart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 558 of 13201
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  Marianne` Currie
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  Earl Berkson
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  Lucy Kenyon
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Neil Olson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 563 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Zaccagnino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 564 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Donna Bonetti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 565 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rolando Rodriguez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 566 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Douglas Frye
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 567 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cindy Moczarney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 568 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  S. Janet Payne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 569 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brenda Kennedy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 570 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pam Borso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 571 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ainslie Gilligan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 572 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Liz Sherblom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 573 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Miriam Sexton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 574 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Sixtus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 575 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lee Schondorf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 576 of 13201
  Loretta Lynch
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  Sincerely,

  Margot Lenhart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 577 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marina Morrone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 578 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Hoffman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 579 of 13201
  Loretta Lynch
  Department of Justice

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  Mr James L Wolcott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 580 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Fischoff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 581 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Guen Han
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 582 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elliot Helman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 583 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Garren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 584 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jason Nardell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 585 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lucy Kenyon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 586 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeanette Redmond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 587 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jean Poole
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 588 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marina Morrone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 589 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cindy Moczarney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 590 of 13201
  Loretta Lynch
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  Sincerely,

  Ewan Schmid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 591 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Donna Bonetti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 592 of 13201
  Loretta Lynch
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  Sincerely,

  Josh Patrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 593 of 13201
  Loretta Lynch
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  Sincerely,

  Kelly Blank
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 594 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marianne` Currie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 595 of 13201
  Loretta Lynch
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  Sincerely,

  Deborah Weitzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 596 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Melanie Mahoney Stopyra
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 597 of 13201
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  Sincerely,

  Mr James L Wolcott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 598 of 13201
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  Sincerely,

  Kim Caulfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 599 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julia Dolan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 600 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Esther Megill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 601 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vidya Sivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 602 of 13201
  Loretta Lynch
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  Sincerely,

  Regina Flores
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 603 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tracey Sadiq
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 604 of 13201
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  Sincerely,

  B Lemonik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 605 of 13201
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  Sincerely,

  David Lees
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 606 of 13201
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  Sincerely,

  Melanie Mahoney Stopyra
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 607 of 13201
  Loretta Lynch
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  Sincerely,

  Terry Warkentine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 608 of 13201
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  Department of Justice

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  Sincerely,

  Julia Dolan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 609 of 13201
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  Sincerely,

  Mr. Al Krause
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 610 of 13201
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  Sincerely,

  ellen phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 612 of 13201
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  Sincerely,

  Griselda Sloan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 613 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Nancy Hoffman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 614 of 13201
  Loretta Lynch
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  Mark Daniels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 615 of 13201
  Loretta Lynch
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  Vidya Sivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 616 of 13201
  Loretta Lynch
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  Sincerely,

  Pam Borso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 617 of 13201
  Loretta Lynch
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  Sincerely,

  Carolyn Engel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 618 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Korpas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 619 of 13201
  Loretta Lynch
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  Sincerely,

  Miriam Angress
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 620 of 13201
  Loretta Lynch
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  Sincerely,

  bob hammond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 621 of 13201
  Loretta Lynch
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  Sincerely,

  daniel weiss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 622 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Garren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 623 of 13201
  Loretta Lynch
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  Sincerely,

  Brent Stewart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 624 of 13201
  Loretta Lynch
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  Sincerely,

  Sarah Nash
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 625 of 13201
  Loretta Lynch
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  Sincerely,

  Justin Moreau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 626 of 13201
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  Sincerely,

  Harrell Dean Swink
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 627 of 13201
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  Department of Justice

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  Sincerely,

  Dean Rose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 628 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Bucklin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 629 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bonnie MacRaith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 630 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathleen Stevens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 631 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. John Diamond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 632 of 13201
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  Sincerely,

  Sarah Nash
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 633 of 13201
  Loretta Lynch
  Department of Justice

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  Courtenay Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 634 of 13201
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  Sincerely,

  B Lemonik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 635 of 13201
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  Ewan Schmid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 636 of 13201
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  Mr. Al Krause
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 637 of 13201
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  Department of Justice

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  Carolyn Engel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 638 of 13201
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  Mark Daniels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 639 of 13201
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  Christopher Kowalski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 640 of 13201
  Loretta Lynch
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  Amanda Fisher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 641 of 13201
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  Raymond Tracy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 642 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 643 of 13201
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  Sincerely,

  Hedy Epstein



  Ms. Hedy Epstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 644 of 13201
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  Ericha Courtright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 645 of 13201
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  Mr. Dan Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 646 of 13201
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  bob hammond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 647 of 13201
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  Sincerely,

  Esther Megill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 648 of 13201
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  Sincerely,

  Dieter Krantz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 649 of 13201
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  Christopher Kowalski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 651 of 13201
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  Sincerely,

  Diane Lamb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 652 of 13201
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  Sincerely,

  Joel Bishop
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 653 of 13201
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  Sincerely,

  Lisa Halpern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 654 of 13201
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  Department of Justice

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  Ms. Angie Burnham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 655 of 13201
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  Department of Justice

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  Sincerely,

  Tiffany Haverfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 656 of 13201
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  Department of Justice

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  Robert Chasteen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 657 of 13201
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  Ericha Courtright
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  Sincerely,

  Courtenay Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 659 of 13201
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  Sincerely,

  August Scheer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 660 of 13201
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  Sincerely,

  Cristian Cupertino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 661 of 13201
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  Sincerely,

  Judith Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 662 of 13201
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  Sincerely,

  Mr. John Diamond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 663 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Diane Lamb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 664 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brent Stewart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 665 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paula Eaton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 666 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Fischoff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 667 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leo Woods
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 668 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cody Oppermann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 669 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelly Rauch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 670 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lisa Halpern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 671 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Hurley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 672 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Gregory
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 673 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Robert Lesko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 674 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Martha Sammartano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 675 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dr. Harrison B Albert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 676 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Suzanne Carney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 677 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelsey Ransick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 678 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Holcomb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 679 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Kaye
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 680 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jason Kemple
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 681 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marlena Lange
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 682 of 13201
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  Department of Justice

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  Sincerely,

  Brian Nakasone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 683 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paula Eaton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 684 of 13201
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  Sincerely,

  Ms. Karen Y. Grubb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 685 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  August Scheer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 686 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelsey Ransick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 687 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Johanna Fears
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 688 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 689 of 13201
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  Department of Justice

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  Sincerely,

  Jason Kemple
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 690 of 13201
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  Sincerely,

  Midge Neuman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 691 of 13201
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  Department of Justice

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  Sincerely,

  Rebecca Canright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 692 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tracey Sadiq
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 693 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Richmond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 694 of 13201
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  Department of Justice

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  Sincerely,

  heather beauchamp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 696 of 13201
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  Department of Justice

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  Martha Sammartano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 697 of 13201
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  Sincerely,

  Ed Fiedler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 698 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edward Conte
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 699 of 13201
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  Department of Justice

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  Sincerely,

  chenie kaur
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 700 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cristian Cupertino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 701 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elisheva Biernoff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 702 of 13201
  Loretta Lynch
  Department of Justice

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  Mark Canright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 703 of 13201
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  Mark Richmond
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  Sincerely,

  Anthony Flores
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  Sincerely,

  Daniel Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 706 of 13201
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  Peter Michaels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 707 of 13201
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  Leo Woods
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  Sincerely,

  Lynn and Edward Smith and Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 709 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Wilburn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 711 of 13201
  Loretta Lynch
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  Sincerely,

  Azarias DeVillier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 712 of 13201
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  Sincerely,

  Ed Fiedler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 713 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  David Hurley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 714 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Keller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 715 of 13201
  Loretta Lynch
  Department of Justice

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  Elisabeth Benton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 716 of 13201
  Loretta Lynch
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  Peter Michaels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 717 of 13201
  Loretta Lynch
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  Sincerely,

  Elisheva Biernoff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 718 of 13201
  Loretta Lynch
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  Edward Conte
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 719 of 13201
  Loretta Lynch
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  Sincerely,

  Randy Crawford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 720 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donald Cronin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 721 of 13201
  Loretta Lynch
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  Sincerely,

  Tom Dancer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 722 of 13201
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  Linda Spanski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 723 of 13201
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  Matt Loper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 724 of 13201
  Loretta Lynch
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  Patricia Browning
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 725 of 13201
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  Sincerely,

  chenie kaur
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 726 of 13201
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  Department of Justice

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  Sincerely,

  Brook Heimbaugh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 727 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sheri Henry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 728 of 13201
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  Lynn and Edward Smith and Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 731 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michelle Mackenzie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 732 of 13201
  Loretta Lynch
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  Sincerely,

  Daniel Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 734 of 13201
  Loretta Lynch
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  Sincerely,

  Judith Lord
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 735 of 13201
  Loretta Lynch
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  Sincerely,

  Sherry Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 736 of 13201
  Loretta Lynch
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  Sincerely,

  Kathleen Nuss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 737 of 13201
  Loretta Lynch
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  Gail Richardson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 738 of 13201
  Loretta Lynch
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  Robert Magnan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 739 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Harriet Cohen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 740 of 13201
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  Department of Justice

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  Tom Dancer
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  Michelle Mackenzie
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  Sincerely,

  Patricia Wilburn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 743 of 13201
  Loretta Lynch
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  Natalie Rabinowitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 744 of 13201
  Loretta Lynch
  Department of Justice

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  HARVILEEN MOEBS
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 745 of 13201
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  Maurice Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 746 of 13201
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  Rebecca Canright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 747 of 13201
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  Elisabeth Benton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 748 of 13201
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  Sincerely,

  Monique Musialowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 749 of 13201
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  Department of Justice

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  Eva Landeo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 750 of 13201
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  Sincerely,

  Ann Hoffman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 751 of 13201
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  Department of Justice

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  Sincerely,

  Hayden Kaden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 752 of 13201
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  Sincerely,

  Susan Thing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 753 of 13201
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  Patricia Browning
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 754 of 13201
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  Department of Justice

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  Linda Spanski
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  Karen McHugh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 756 of 13201
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  Gail Richardson
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  Sincerely,

  john griffith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 758 of 13201
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  Sincerely,

  Constance Engle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 759 of 13201
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  Joan De Jong
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 760 of 13201
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  Ms. Patricia Vance
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 761 of 13201
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  Benny Masdon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 762 of 13201
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  Sincerely,

  George Gallagher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 763 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Brook Heimbaugh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 764 of 13201
  Loretta Lynch
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  Sincerely,

  Tom R
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 765 of 13201
  Loretta Lynch
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  Cynthia Backhaus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 766 of 13201
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  Sincerely,

  Harriet Cohen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 767 of 13201
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  Sincerely,

  MICHAEL O'BRIEN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 768 of 13201
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  Sincerely,

  Mrs. Claire Perricelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 769 of 13201
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  Harvey Neese
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  William Heaton
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  Eva Landeo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 772 of 13201
  Loretta Lynch
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  Robert Parker
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  Brendan Park
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  Mike Lanka
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  John Stanton
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  Sincerely,

  Tyra Pellerin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 777 of 13201
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  Department of Justice

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  Frances Whiteside
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 778 of 13201
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  Sincerely,

  Pat and Gary Gover
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 779 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Savard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 780 of 13201
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  Sincerely,

  Constance Engle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 782 of 13201
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  Sincerely,

  Michael Campanella
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 784 of 13201
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  Sincerely,

  Mark Molloy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 785 of 13201
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  Sincerely,

  Ann Hoffman
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  Lynn Brooks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 788 of 13201
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  Rick Cerutti
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  Patricia Okruhlik
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  Department of Justice

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  Sincerely,

  Sabine Williams
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  Maurice Hill
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  Sincerely,

  Mr. mike hlat
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 794 of 13201
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  Linda Fante
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  Daniel Willner
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  Shulamit Decktor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 798 of 13201
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  Yvonne Johnson
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  Lillian Hall
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  Sincerely,

  Susan Callaway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 804 of 13201
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  Benny Masdon
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  Sincerely,

  christian hartleben
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  Andrew Dunbar
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  Sincerely,

  Kyle O'Hannon
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  Josal Diebold
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  Paul Mallatt
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  Sincerely,

  Robert Rohdenburg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 813 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Patricia Okruhlik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 814 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Monique Musialowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 815 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Csaszar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 816 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aimee Mendes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 817 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Goldman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 818 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  christian hartleben
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 819 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hayden Kaden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 820 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sarah Richey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 821 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Josal Diebold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 822 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Liz Crawford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 823 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bert Corley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 824 of 13201
  Loretta Lynch
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  Sincerely,

  Russell Munsell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 825 of 13201
  Loretta Lynch
  Department of Justice

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  John Csaszar
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  Loretta Lynch
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  Sincerely,

  Joseph Booker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 827 of 13201
  Loretta Lynch
  Department of Justice

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  Charlotte Jacob-Hanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 828 of 13201
  Loretta Lynch
  Department of Justice

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  Gene Hatfield
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  Sincerely,

  Sarah Chi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 830 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dale Sims
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 831 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Stanton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 832 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dameta Robinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 834 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Heidi Bean
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 835 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Doris Bandel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 836 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amanda Gordon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 837 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Juno Farnsworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 838 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 839 of 13201
  Loretta Lynch
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  Sincerely,

  Aimee Mendes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 840 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Borri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 841 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dorothy Lawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 842 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  R. Ward Bissell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 843 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brenda Kennedy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 844 of 13201
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  Department of Justice

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  Sincerely,

  Mrs. Ronda Snider
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 845 of 13201
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  Department of Justice

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  Sincerely,

  Maria Nowicki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 846 of 13201
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  Department of Justice

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  Sincerely,

  Lowell Palm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 847 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  LeeAnn DuVall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 848 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Molloy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 849 of 13201
  Loretta Lynch
  Department of Justice

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  Joseph Booker
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  Department of Justice

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  Amanda Gordon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 851 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charlotte Jacob-Hanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 852 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Denise Hercher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 853 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gene Hatfield
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  Sincerely,

  Sarah Chi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 855 of 13201
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  Sincerely,

  Arkady Vyatchanin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 857 of 13201
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  Sincerely,

  julie stinchcomb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 858 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mallory A. Haws
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 859 of 13201
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  Dameta Robinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 860 of 13201
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  Sincerely,

  Francis Drake
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 861 of 13201
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  Department of Justice

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  Sincerely,

  Amanda Tedrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 863 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  LeeAnn DuVall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 864 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Arkady Vyatchanin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 865 of 13201
  Loretta Lynch
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  Tung Vu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 866 of 13201
  Loretta Lynch
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  Sincerely,

  Susannah Lustica
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 867 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maria Nowicki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 868 of 13201
  Loretta Lynch
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  Sincerely,

  Paul Lifton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 869 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brieaux Poche
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 870 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephen Stales
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 871 of 13201
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  Department of Justice

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  Sincerely,

  Alan LaPayover
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 872 of 13201
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  Sincerely,

  K L Paul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 873 of 13201
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  Sincerely,

  julie stinchcomb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 874 of 13201
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  Elizabeth Ondyak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 875 of 13201
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  Sincerely,

  Denise Hercher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 876 of 13201
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  Carlos Lores
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  Sincerely,

  David Harkin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 878 of 13201
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  Adam Graffunder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 879 of 13201
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  Sincerely,

  Lawrence Eliot
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 880 of 13201
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  Sincerely,

  Rose Rios
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  Sincerely,

  gayle palmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 883 of 13201
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  Sincerely,

  Robin Reinhart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 884 of 13201
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  Sincerely,

  Corey Mesler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 885 of 13201
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  K L Paul
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  Karen Stonehouse
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  Stanley Barreto
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  Luwana Wanaisie
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  Sincerely,

  Portia Ckark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 892 of 13201
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  Martin Fox
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  Guy Cargulia
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  Edward Brown
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  Jeannine Leffel
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  Dorothy Lawson
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  Sincerely,

  Sue Moon
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  Sincerely,

  Gary McDonald
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  Louis Fry
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  Karen Stonehouse
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  Katherine Wood
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  Josh Rhodes
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  laurence Wuillemin
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  Jeannine Leffel
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  Rachel Klug
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 911 of 13201
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  Letitia Dace
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  Louis Fry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 913 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Katherine Barrett Zywan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 914 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Josh Rhodes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 915 of 13201
  Loretta Lynch
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  Sincerely,

  Sundra R Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 916 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 917 of 13201
  Loretta Lynch
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  Sincerely,

  Leslie Just
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 918 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  tara score
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 919 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sue Moon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 920 of 13201
  Loretta Lynch
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  Sincerely,

  Katherine Wood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 921 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lise Hull
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 922 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Kelly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 923 of 13201
  Loretta Lynch
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  Sincerely,

  David Crouch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 924 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rose Rios
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 925 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Llewellyn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 926 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ellen Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 927 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edward Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 928 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rose Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 929 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cheri Koehler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 930 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marlene K Kallstrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 931 of 13201
  Loretta Lynch
  Department of Justice

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  Marlene K Kallstrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 932 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judith Elzinga
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 933 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Lankering
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 934 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Katherine Barrett Zywan
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  Sincerely,

  Tiffany Ehnes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 936 of 13201
  Loretta Lynch
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  Ce E
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 937 of 13201
  Loretta Lynch
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  Alan Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 938 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stan Kaluzny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 939 of 13201
  Loretta Lynch
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  Sincerely,

  Lee Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 940 of 13201
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  Department of Justice

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  Sundra R Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 941 of 13201
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  Sincerely,

  Gary Prior
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 942 of 13201
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  Sincerely,

  anthony odonnell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 943 of 13201
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  Sincerely,

  Patrick Randow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 944 of 13201
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  Sincerely,

  Sandy Lawler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 945 of 13201
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  Sincerely,

  Alessandro Raganato
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 946 of 13201
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  Sincerely,

  Frank A. Brincka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 947 of 13201
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  Sincerely,

  Jamie Fillmore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 948 of 13201
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  Department of Justice

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  Sincerely,

  Letitia Dace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 949 of 13201
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  Department of Justice

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  Sincerely,

  Leo Bierling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 950 of 13201
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  Department of Justice

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  Tiffany Ehnes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 951 of 13201
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  Gary Prior
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  Sincerely,

  Lesli McLain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 953 of 13201
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  Department of Justice

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  Sincerely,

  Rob Jursa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 954 of 13201
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  Department of Justice

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  Sincerely,

  Chris Hennessey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 955 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 956 of 13201
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  Sincerely,

  Bobbie Daniels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 957 of 13201
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  Department of Justice

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  Sincerely,

  Gerald Rabl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 959 of 13201
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  Department of Justice

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  Sincerely,

  Resa Blatman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 960 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diana Corwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 961 of 13201
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  Department of Justice

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  Sincerely,

  George Felton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 962 of 13201
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  David Christopher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 963 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  R. Arno Wess
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 964 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandy Lawler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 965 of 13201
  Loretta Lynch
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  Sincerely,

  Alex A. Bobroff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 966 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Russell Meister
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 967 of 13201
  Loretta Lynch
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  Sincerely,

  Stan Kaluzny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 968 of 13201
  Loretta Lynch
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  Zada Rose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 969 of 13201
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  Sincerely,

  Jamie Fillmore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 970 of 13201
  Loretta Lynch
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  Sincerely,

  Maria Grin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 971 of 13201
  Loretta Lynch
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  Sincerely,

  Jonathan Lyons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 972 of 13201
  Loretta Lynch
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  Sincerely,

  Carol Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 973 of 13201
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  Sincerely,

  greg schaffert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 974 of 13201
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  Sincerely,

  Chris Hennessey
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  Sincerely,

  Fletcher Chouinard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 976 of 13201
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  George Erikson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 977 of 13201
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  Gerald Rabl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 978 of 13201
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  Judith Epstein
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  Sincerely,

  Anita Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 980 of 13201
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  Sincerely,

  Bobbie Daniels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 981 of 13201
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  Sincerely,

  Talila Stan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 982 of 13201
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  Janet Marks
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  Kim Raubolt
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  Sincerely,

  Amy Ryberg
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  Sincerely,

  Richard Hassinger
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  Carol Keller
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  Bill Chockla
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  Sincerely,

  Diana Corwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 989 of 13201
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  Nancy Fifer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 990 of 13201
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  LORRAINE D. Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 991 of 13201
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  Tom Lankering
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 992 of 13201
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  Gisela Schloss-Birkholz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 994 of 13201
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  John Turney
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  Sincerely,

  leslie spoon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 997 of 13201
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  Brian Christian
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  Zada Rose
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  Amber Still
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  Billie Frank
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  Kathleen Bungarz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1002 of 13201
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  Tom & Marcia Hauck
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  Daniel Barclay
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  Kim Raubolt
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  Maria Grin
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  Steve Kiffmeyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1008 of 13201
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  Janet Marks
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  Bill Chockla
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  Heather Nemeth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1011 of 13201
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  Richard Hassinger
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  Talila Stan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1013 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  LORRAINE D. Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1014 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Mary Reader
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1015 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  CHRISTINA CHAPMAN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1016 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gisela Schloss-Birkholz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1017 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  leslie spoon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1018 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Steve Kiffmeyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1019 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Judith Burt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1020 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Judith Burt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1021 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brian Christian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1022 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Arvidson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1023 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Please don't hit US in the pocket book again.

  Sincerely,
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1024 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  CHRISTINA CHAPMAN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1025 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Graciela Barajas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1026 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ruth Steenwyk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1027 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  C Emerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1028 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Harry Colwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1029 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lesli McLain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1030 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jorge Torres
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1031 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Barrett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1032 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Graciela Barajas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1033 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Peggy File
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1034 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Arvidson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1035 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  C Emerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1036 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ruth Steinberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1037 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bob Gendron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1038 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dennis O'Brien
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1039 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it. Amen!

  Sincerely,

  Sue Sherrill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1040 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Timothy Biel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1041 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Natalie Randle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1042 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Larry Meersman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1043 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Thomas Blair
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1044 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jorge Torres
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1045 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Kathleen Bungarz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1046 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ruth Steenwyk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1047 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edward Freeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1048 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Bob Gendron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1049 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Burns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1050 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rochelle Willis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1051 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Miss Cori Bishop
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1052 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  James Rice
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1053 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Carla Behrens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1054 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Angela Padgett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1055 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  J. F.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1056 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  william kuestner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1057 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Natalie Randle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1058 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bonnie Monroe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1059 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Bill Polesnak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1060 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Misty Kirkconnell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1061 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Elliot Clymer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1062 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Harry Colwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1063 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1064 of 13201
  Loretta Lynch
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  Sincerely,

  Timothy Biel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1065 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ruth Steinberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1066 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
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  Sincerely,

  John Eckler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1068 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1069 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  taylor call
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1070 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Socorro Sepulveda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1071 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vicki McAlister
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1072 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Larry Meersman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1073 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Angela Padgett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1074 of 13201
  Loretta Lynch
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  Sincerely,

  Helen Mueting
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1076 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nina Wickett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1077 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michelle Fehring
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1078 of 13201
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  Department of Justice

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  Sincerely,

  Shawn Ristvedt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1079 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Samsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1080 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elliot Clymer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1081 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gail Padalino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1082 of 13201
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  Department of Justice

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  Sincerely,

  Bob Weber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1083 of 13201
  Loretta Lynch
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  Sincerely,

  Darlene Norwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1084 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1085 of 13201
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  Peter Ajemian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1086 of 13201
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  Vicki McAlister
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1087 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1088 of 13201
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  Derek Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1089 of 13201
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  Sincerely,

  Marilou Hawkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1090 of 13201
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  Edward Colley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1094 of 13201
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  Dr. Alan Olander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1096 of 13201
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  Sincerely,

  Ben Stoddart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1097 of 13201
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  Department of Justice

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  Sincerely,

  Wes Lowe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1098 of 13201
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  Department of Justice

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  Sincerely,

  Max Calvillo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1099 of 13201
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  Department of Justice

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  Sincerely,

  Thomas Blair
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1100 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kevin Leary
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1101 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. James Stone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1102 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James DiMunno
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1103 of 13201
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  Sincerely,

  Andrew Rikarts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1104 of 13201
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  Derek Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1105 of 13201
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  Sincerely,

  Mrs. Kelly Warner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1106 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. donnasue jacobi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1108 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  M Willia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1109 of 13201
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  Sincerely,

  Ian Burns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1110 of 13201
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  Department of Justice

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  Sincerely,

  Bonnie Templeton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1112 of 13201
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  William Watts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1113 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Terry Gomoll
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1114 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter Ajemian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1115 of 13201
  Loretta Lynch
  Department of Justice

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  Andrew Rikarts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1116 of 13201
  Loretta Lynch
  Department of Justice

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  Alex Carlson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1117 of 13201
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  Department of Justice

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  Sincerely,

  Ben Stoddart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1118 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edward Colley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1119 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lee Politis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1120 of 13201
  Loretta Lynch
  Department of Justice

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  Mr. Rick Benjamin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1121 of 13201
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  Department of Justice

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  Sincerely,

  Ian Burns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1122 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Samsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1123 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Keiser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1124 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James DiMunno
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1125 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kenneth Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1126 of 13201
  Loretta Lynch
  Department of Justice

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  j.doug ezell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1127 of 13201
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  Department of Justice

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  Sincerely,

  Tom Tripp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1128 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan Aten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1129 of 13201
  Loretta Lynch
  Department of Justice

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  Lee Politis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1130 of 13201
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  chris cayton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1131 of 13201
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  Department of Justice

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  Ms. Theresa Lianzi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1132 of 13201
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  Department of Justice

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  Sincerely,

  Napoleon Salvail
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1133 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Betty Combs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1134 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Suzan McGlinch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1136 of 13201
  Loretta Lynch
  Department of Justice

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  Suzan McGlinch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1138 of 13201
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1139 of 13201
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  Robert Wallace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1140 of 13201
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  Sincerely,

  Katharine Owen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1142 of 13201
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  Department of Justice

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  Sincerely,

  Megan Petkewec
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1143 of 13201
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  Department of Justice

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  Betsy Bannerman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1144 of 13201
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  Department of Justice

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  Craig Fitzpatrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1145 of 13201
  Loretta Lynch
  Department of Justice

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  j+s e
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1146 of 13201
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  Department of Justice

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  Steve Roth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1147 of 13201
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  Renee Bourgea
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1148 of 13201
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  Department of Justice

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  Noam Eisee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1149 of 13201
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  Department of Justice

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  Sincerely,

  Roxanne Hewitt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1150 of 13201
  Loretta Lynch
  Department of Justice

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  Department of Justice

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  Rick Edmondson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1153 of 13201
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  Department of Justice

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  Tamekka Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1155 of 13201
  Loretta Lynch
  Department of Justice

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  Phillip Markis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1158 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Catherine Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1159 of 13201
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  Sincerely,

  Julie Horne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1160 of 13201
  Loretta Lynch
  Department of Justice

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  Tamekka Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1162 of 13201
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  Sincerely,

  David Christopher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1163 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Beverly T. McMurray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1164 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Patricia Savage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1165 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Miss Cori Bishop
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1166 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Phillip Markis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1167 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Felzke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1168 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely, j. doug ezell

  j.doug ezell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1169 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. & Mrs. John Garner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1170 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.
  Hold their feet to the fire!
  Sincerely,

  Anna Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1171 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  andrea caine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1172 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Virginia Cowie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1173 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynn Malgeri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1174 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rick Edmondson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1175 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roxanne Hewitt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1176 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Penny Raco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1177 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Culmore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1178 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Frieda Rusert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1179 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  D Grossman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1180 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Boyce
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1181 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Craig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1182 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julie Horne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1183 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joemarlin Cotter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1184 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Bahr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1185 of 13201
  Loretta Lynch
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  Sincerely,

  Laura Craig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1186 of 13201
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  Department of Justice

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  Sincerely,

  Melody T
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1187 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thom Peters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1188 of 13201
  Loretta Lynch
  Department of Justice

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  Ken Freedman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1189 of 13201
  Loretta Lynch
  Department of Justice

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  Bert Barry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1191 of 13201
  Loretta Lynch
  Department of Justice

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  Sabina Astete
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1192 of 13201
  Loretta Lynch
  Department of Justice

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  Eva Papoutsi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1193 of 13201
  Loretta Lynch
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  Amy Vernon-Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1194 of 13201
  Loretta Lynch
  Department of Justice

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  Tanya Renelt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1195 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Professor Colony
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1196 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Lumsden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1197 of 13201
  Loretta Lynch
  Department of Justice

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  Virginia Cowie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1198 of 13201
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  Sincerely,

  Mary Sandberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1199 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1200 of 13201
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  Sincerely,

  Katharine Owen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1201 of 13201
  Loretta Lynch
  Department of Justice

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  Eileen Hunter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1202 of 13201
  Loretta Lynch
  Department of Justice

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  Bert Barry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1203 of 13201
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  Lynn Malgeri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1204 of 13201
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  Sincerely,

  Antonio García-Palao Redondo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1206 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julianna Greensides
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1207 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Kinsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1208 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shawn Simonson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1209 of 13201
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  Department of Justice

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  Sincerely,

  Mary Dougherty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1210 of 13201
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  Department of Justice

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  Sincerely,

  Donald Rumph
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1211 of 13201
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  Sincerely,

  Mr. & Mrs. John Garner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1213 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Donald Rumph
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1214 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandy Valencour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1215 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thom Peters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1216 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Annie Richardson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1217 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Kurach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1218 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shawn Simonson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1219 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1220 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Braudy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1221 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julianna Greensides
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1222 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Caffery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1223 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tracy Vrba
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1224 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Dougherty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1225 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kate Sherwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1226 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Esther Salem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1227 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ted Gelletly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1228 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nora Nelle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1229 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eileen Hunter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1230 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce Crenshaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1231 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Claire Keys
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1232 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Wesley Wolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1233 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Penny Raco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1234 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joy Gerardi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1235 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sarah Bahuman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1236 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Sandberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1237 of 13201
  Loretta Lynch
  Department of Justice

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  Kate Sherwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1238 of 13201
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  Sincerely,

  Nora Nelle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1239 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Antonio García-Palao Redondo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1240 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  jeannie Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1241 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tracy Vrba
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1242 of 13201
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  Department of Justice

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  Sincerely,

  Sabina Astete
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1243 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sister Carol Boschert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1244 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ed Sousa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1245 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Sorensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1246 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sue Shave
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1247 of 13201
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  Sincerely,

  Di Naya
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1248 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1249 of 13201
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  Claire Keys
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1250 of 13201
  Loretta Lynch
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  Bruce Crenshaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1251 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ronda Reynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1252 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Curtis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1253 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ce Baldwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1254 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Laird
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1255 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donald Rumph
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1256 of 13201
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  Department of Justice

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  Patricia Victour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1257 of 13201
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  Sincerely,

  Robert B. DiGiovanni Jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1258 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Meghan Cronin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1259 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  K Otti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1260 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Braudy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1261 of 13201
  Loretta Lynch
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  Sincerely,

  Elaine Piper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1262 of 13201
  Loretta Lynch
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  Sincerely,

  Ed Sousa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1263 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Mr. Wesley Wolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1264 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Billing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1265 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Erik Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1266 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathleen Mathews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1267 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Logan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1268 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lois Pfluger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1269 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joan Pilz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1270 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  L. P. Rees
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1271 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  K Otti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1272 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roger Gonnering
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1273 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher Ware
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1274 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandra Sterling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1275 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anna Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1276 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vincent Lullo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1277 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sue Shave
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1278 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Rueli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1279 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shawn Abrahamson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1280 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ce Baldwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1281 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Victour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1282 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Lauren Price
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1283 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John McConnell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1284 of 13201
  Loretta Lynch
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  Sincerely,

  Margaret Sweeton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1285 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Himmelman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1286 of 13201
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  Jack Duffie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1287 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Vernon-Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1288 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1289 of 13201
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  Gary Sorensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1290 of 13201
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  Paul Antze
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1291 of 13201
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  Department of Justice

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  Sincerely,

  courtney cook
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1292 of 13201
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  Department of Justice

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  Patricia Curtis
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  Sincerely,

  Rosemary Tann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1294 of 13201
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  Sandra Hoppmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1295 of 13201
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  Sincerely,

  Adam Burg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1297 of 13201
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  Shawn Abrahamson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1298 of 13201
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  Sincerely,

  Dana Slawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1299 of 13201
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  Department of Justice

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  Sincerely,

  Jacqueline Nulty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1300 of 13201
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  Mike Rueli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1301 of 13201
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  Sincerely,

  April Dorey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1302 of 13201
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  Richard Spicer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1303 of 13201
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  Sincerely,

  Michael Parsons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1304 of 13201
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  Adam Burg
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  Carol Himmelman
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  Josh Gold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1307 of 13201
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  Erik Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1308 of 13201
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  Sincerely,

  Anne Durkalski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1309 of 13201
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  Sincerely,

  Gary Heymann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1310 of 13201
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  William Logan
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  Lynne Teplin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1312 of 13201
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  Sincerely,

  Mary Browne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1313 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  A Burgett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1314 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Peggy Loe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1315 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Spicer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1316 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Grace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1317 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Wade Worthington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1318 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Tham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1319 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rosemary Tann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1320 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Landers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1321 of 13201
  Loretta Lynch
  Department of Justice

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  Daniel Tham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1322 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1323 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1324 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Tham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1325 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Victoria Richey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1326 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Terry Gomoll
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1327 of 13201
  Loretta Lynch
  Department of Justice

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  Kiwibob Glanzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1328 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  April Dorey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1329 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jacqueline Nulty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1330 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul DeStefano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1331 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Colleen Carter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1332 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ronna Bejarano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1333 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Amy Grace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1334 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Landers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1335 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynne Teplin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1336 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Martha Picarriello
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1337 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julian Faledas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1338 of 13201
  Loretta Lynch
  Department of Justice

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  Mary Browne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1339 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Cipolla
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1340 of 13201
  Loretta Lynch
  Department of Justice

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  A Burgett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1341 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margaret Sweeton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1342 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Heymann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1343 of 13201
  Loretta Lynch
  Department of Justice

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  Patricia Cipolla
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1344 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robin Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1345 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Colleen Carter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1346 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jena Wagner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1347 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Cotton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1348 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Kok
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1349 of 13201
  Loretta Lynch
  Department of Justice

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  Robin Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1350 of 13201
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  Department of Justice

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  Sincerely,

  nick evanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1351 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lorri Redmon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1352 of 13201
  Loretta Lynch
  Department of Justice

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  Kiwibob Glanzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1353 of 13201
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  Department of Justice

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  Sincerely,

  Louis Schmidt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1354 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen A. Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1356 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Darleen Alkhalili
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1357 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Catherine Kerrigan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1358 of 13201
  Loretta Lynch
  Department of Justice

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  Janice Peischl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1359 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  JASON HARPSTER
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1360 of 13201
  Loretta Lynch
  Department of Justice

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  Linda Soldan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1361 of 13201
  Loretta Lynch
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  Friend cariglia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1362 of 13201
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  Sincerely,

  JASON HARPSTER
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1363 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Larry LaPointe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1364 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet Harper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1365 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rochelle Thomas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1366 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Catherine Kerrigan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1367 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carl Detels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1368 of 13201
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  Department of Justice

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  Tim Stein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1369 of 13201
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  Sincerely,

  Michael Parsons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1370 of 13201
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  Sincerely,

  Karen A. Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1371 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1372 of 13201
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  Elizabeth Scadova
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1373 of 13201
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  Sincerely,

  Louis Schmidt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1374 of 13201
  Loretta Lynch
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  Sincerely,

  Thomas Valencour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1375 of 13201
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  Department of Justice

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  Pat Halter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1376 of 13201
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  Sincerely,

  Zene Peer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1377 of 13201
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  Department of Justice

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  Sincerely,

  Trish Pool
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1378 of 13201
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  Sincerely,

  Victoria Behar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1379 of 13201
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  Sincerely,

  Kathleen Medina
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1380 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elaine Friedland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1381 of 13201
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  Taunja Beck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1382 of 13201
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  Krista Lohr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1383 of 13201
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  Donald Mackey
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  David Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1385 of 13201
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  Pauline Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1386 of 13201
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  Joyce Clark
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  Sincerely,

  frances h rogovin
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  Arifa Goodman
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  Caryn Cowin
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  Matty Giuliano
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  JeVerna Haynes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1393 of 13201
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  Summer Crabtree
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1394 of 13201
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  Maybelle Cross
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  valerie robbins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1398 of 13201
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  Robert Reed
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  W CAREY
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  Elizabeth Scadova
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  Carol Putnam
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  Linda Soldan
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  KEVIN FIFE
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1406 of 13201
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  W CAREY
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1411 of 13201
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  Sincerely,

  Patricia Kanavy
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  Carl Skipworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1413 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jill Gates
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1414 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maurya McCall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1415 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Bristol
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1416 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deann Piehl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1417 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laurence Key
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1418 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Martin Hecht
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1419 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Seckendorf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1420 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beatrice Wadland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1421 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Kanavy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1422 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elaine Friedland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1423 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Holden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1424 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Putnam
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1425 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandy Beck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1426 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carl Skipworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1427 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  valerie robbins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1428 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1429 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sinclair Bain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1430 of 13201
  Loretta Lynch
  Department of Justice

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  Martin Hecht
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1431 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Bracha Nechama Bomze
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1432 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robert Reed
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1433 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bobbiejo Winfrey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1434 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laurence Key
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1435 of 13201
  Loretta Lynch
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  Sincerely,

  Howard Holmes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1436 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Mundth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1437 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1438 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1439 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Darcey Snow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1440 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dr. John Wiesner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1441 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Martha Burbeck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1442 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Seckendorf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1443 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Seth Marcus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1444 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth MacNeil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1445 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Denise Hawkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1446 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Buss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1447 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Bubbenmoyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1448 of 13201
  Loretta Lynch
  Department of Justice

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  Martha Burbeck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1449 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Don Wyatt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1450 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Arnold Advocate
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1451 of 13201
  Loretta Lynch
  Department of Justice

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  William Buss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1452 of 13201
  Loretta Lynch
  Department of Justice

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  Elizabeth MacNeil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1453 of 13201
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  Department of Justice

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  Sincerely,

  Jean-Pierre Gregoire
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1454 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Seth Marcus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1455 of 13201
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  Sincerely,

  trina cooper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1456 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tarla Walton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1457 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Doris Applebaum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1458 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carolyn Ridpath
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1459 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Mundth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1460 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1461 of 13201
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  Department of Justice

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  Sincerely,

  Anthony Antimuro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1462 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Barton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1463 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mike Shea
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1464 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dr. John Wiesner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1465 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Heather Donovan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1466 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Russell Dagon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1467 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Arnold Advocate
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1468 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jane Byard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1469 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Grace Bowne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1470 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph Penola
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1471 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Bauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1472 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniela Honorato
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1473 of 13201
  Loretta Lynch
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  Sincerely,

  Janice Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1474 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  andrew brockinton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1475 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michelle Williamson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1476 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Carr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1478 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Doris Applebaum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1479 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Olga Grushko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1480 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1481 of 13201
  Loretta Lynch
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  Sincerely,

  Steve Hoelke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1482 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Murphy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1483 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edward Barnard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1484 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gregory Light
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1485 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michelle Williamson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1486 of 13201
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  Sincerely,

  Marrion Steele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1487 of 13201
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  Olga Grushko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1488 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1489 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1490 of 13201
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  Sincerely,

  Glyn Challinor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1491 of 13201
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  Department of Justice

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  Sincerely,

  Larry T Caudill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1492 of 13201
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  Department of Justice

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  Sincerely,

  Kelly Armour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1493 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeffry Hanus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1494 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Laura Overmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1495 of 13201
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  Sincerely,

  John MacDaniel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1496 of 13201
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  Department of Justice

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  Sincerely,

  Karen Spradlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1497 of 13201
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  Sincerely,

  Philip Patino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1498 of 13201
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  Department of Justice

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  Sincerely,

  Patricia Winne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1499 of 13201
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  Department of Justice

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  Steve Hoelke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1500 of 13201
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  Sincerely,

  Roger Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1501 of 13201
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  Department of Justice

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  Jane Byard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1502 of 13201
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  Sincerely,

  Carolyn Meade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1503 of 13201
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  Sincerely,

  Pamella Dixon-Harvey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1504 of 13201
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  Sincerely,

  Lisa Knight
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1505 of 13201
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  Sincerely,

  Christian Giuffre
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1506 of 13201
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  John Friestad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1507 of 13201
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  Sincerely,

  Douglas Hensley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1508 of 13201
  Loretta Lynch
  Department of Justice

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  Kelly Armour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1509 of 13201
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  Glyn Challinor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1510 of 13201
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  Sincerely,

  Ann Hollowell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1511 of 13201
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  Jeffry Hanus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1512 of 13201
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  Sincerely,

  Joan Simmons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1513 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Adam Loomis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1514 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Annie Prince
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1515 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Darlene Hamilton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1516 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roger Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1517 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Winne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1518 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jo Roberts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1519 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ann Hollowell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1520 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  gail Urbach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1521 of 13201
  Loretta Lynch
  Department of Justice

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  Darlene Hamilton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1522 of 13201
  Loretta Lynch
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  Sincerely,

  James Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1523 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ari Wickramaaratchi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1524 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Minerva Hallowell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1525 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Greta Aul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1526 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lisa Knight
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1527 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Manda Hodson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1528 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Berland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1529 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Courtney Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1530 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steven Nasir
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1531 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John MacDaniel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1532 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  william toner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1533 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Humphrey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1534 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margie Borchers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1535 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  lynn manzione
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1536 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ricky Blanton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1537 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Swartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1538 of 13201
  Loretta Lynch
  Department of Justice

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  Courtney Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1539 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1540 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Arnold Marrero
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1541 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Phil Rockey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1542 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margie Borchers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1543 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Bates
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1544 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Cleary
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1545 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ian Engle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1546 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bonnie Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1547 of 13201
  Loretta Lynch
  Department of Justice

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  Steve Swartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1548 of 13201
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  Sincerely,

  John Vandiver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1549 of 13201
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  Sincerely,

  Troya Tiseo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1550 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kevin Metcalf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1551 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anna Schoenberger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1552 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1553 of 13201
  Loretta Lynch
  Department of Justice

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  Ari Wickramaaratchi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1554 of 13201
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  Department of Justice

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  Troya Tiseo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1555 of 13201
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  Department of Justice

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  Sincerely,

  Paul Sering
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1556 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Grogan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1557 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1558 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Debbie Appel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1559 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ian Engle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1560 of 13201
  Loretta Lynch
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  Sincerely,

  william toner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1561 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1562 of 13201
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  Ricky Blanton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1563 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kevin Malone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1564 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Humphrey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1565 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Sering
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1566 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. P` Scoville
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1567 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Keith Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1568 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kerry McNeil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1569 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roger Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1570 of 13201
  Loretta Lynch
  Department of Justice

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  Kevin Malone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1571 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steven Rosen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1572 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Weappa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1573 of 13201
  Loretta Lynch
  Department of Justice

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  Ms. P` Scoville
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1574 of 13201
  Loretta Lynch
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  Sincerely,

  K Weickhardt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1575 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kevin Metcalf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1576 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Victoria Roth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1577 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Toni Freeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1578 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donald Singer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1579 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Weappa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1580 of 13201
  Loretta Lynch
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  Sincerely,

  Ralph James
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1581 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roger Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1582 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Fabiano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1583 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Javad Dadvand
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1584 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Frank Sabatini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1585 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ed K
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1586 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Terri Livingston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1587 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Frederick Kennedy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1588 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Keith Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1589 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dean Dye
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1590 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kasey Kelm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1591 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ivan Russell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1592 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kerry McNeil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1593 of 13201
  Loretta Lynch
  Department of Justice

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  Toni Freeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1594 of 13201
  Loretta Lynch
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  Sincerely,

  Steve Gamblin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1595 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Curtis Eckstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1597 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joshua Wines
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1598 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tonya Michel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1599 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  SANDRA PETERSEN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1600 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kasey Kelm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1601 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Jastromb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1602 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laurie Neill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1603 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joan Pilz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1604 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rick Daley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1605 of 13201
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  Sincerely,

  Ivan Russell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1606 of 13201
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  Steve Gamblin
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1608 of 13201
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  Sincerely,

  Dean Dye
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1609 of 13201
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  Sincerely,

  Heidi Ahlstrand
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1610 of 13201
  Loretta Lynch
  Department of Justice

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  Frank Sabatini
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  Sincerely,

  shannon Patty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1612 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1613 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patrice Beck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1614 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Blackberry Farm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1615 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tonya Michel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1616 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lee Robinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1617 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Wendy Clifton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1618 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jamie Greer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1619 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daphne Abrams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1620 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marcia Kohler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1621 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kay Hayward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1622 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Youd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1623 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Phelps
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1624 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Terri Livingston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1625 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Luck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1626 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  k. eggers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1627 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1628 of 13201
  Loretta Lynch
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  Wendy Clifton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1629 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anna Woletz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1630 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Neil Kijek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1631 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marianne Szalega
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1632 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jamie Greer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1633 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patrice Beck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1634 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter Meyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1635 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Gosselin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1636 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daphne Abrams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1637 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  shira blum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1638 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrew Costigan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1639 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cami Leinard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1640 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Neil Kijek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1641 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bianca McArrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1642 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Yuji Saeki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1643 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Holle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1644 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aron Ralston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1645 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janice Ferguson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1646 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bill Holt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1647 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Light
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1648 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cassandra Martineau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1649 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris Byknish
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1650 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ryan Garno
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1651 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Catherine Regan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1652 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Teresa Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1653 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Yuji Saeki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1654 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Price
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1655 of 13201
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  Department of Justice

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  Sincerely,

  Peter Meyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1656 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cami Leinard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1657 of 13201
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  Department of Justice

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  Sincerely,

  Robin Covino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1658 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bill Holt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1659 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter Kuhn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1660 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ann Winship
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1661 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dr. Jessica Fielden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1662 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Obeid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1663 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Janice Ferguson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1664 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Thometz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1665 of 13201
  Loretta Lynch
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  Sincerely,

  ron bogin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1666 of 13201
  Loretta Lynch
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  Sincerely,

  Dave Baron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1667 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ignacio Olivieri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1668 of 13201
  Loretta Lynch
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  Sincerely,

  Cindy Bushway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1669 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kevin Bissonnette
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1670 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter Kuhn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1671 of 13201
  Loretta Lynch
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  Sincerely,

  David Black
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1672 of 13201
  Loretta Lynch
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  Sincerely,

  Peter Arneson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1673 of 13201
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  Sincerely,

  Brandie Deal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1674 of 13201
  Loretta Lynch
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  Sincerely,

  Mary Barbezat
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1675 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dave Baron
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  Sincerely,

  Robin Covino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1677 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marian Weaver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1678 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephani Borda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1679 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rita Riley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1680 of 13201
  Loretta Lynch
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  Sincerely,

  April Parkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1681 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Haney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1682 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karin Haag
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1683 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Price
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1684 of 13201
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  Sincerely,

  Robert Obeid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1685 of 13201
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  Sincerely,

  Joan Pilz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1686 of 13201
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  Mary Zieser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1687 of 13201
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  Richard Brewer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1688 of 13201
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  Katie Young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1689 of 13201
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  John Nagel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1691 of 13201
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  Sincerely,

  Mirabai Nagle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1692 of 13201
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  Marian Weaver
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  David Black
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1694 of 13201
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  Sincerely,

  Vincent Lipert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1696 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Melanie Rising
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1697 of 13201
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  f ditlow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1698 of 13201
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  James Miller
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  Sincerely,

  Bernard Bochantin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1701 of 13201
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  Sincerely,

  Jennifer Haney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1702 of 13201
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  Sincerely,

  Josephine Girardin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1703 of 13201
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  Sincerely,

  Vickie Gonsoulin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1704 of 13201
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  Sincerely,

  Erika Acosta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1705 of 13201
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  Sincerely,

  Mirabai Nagle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1706 of 13201
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  Sincerely,

  Elizabeth Carivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1707 of 13201
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  Sincerely,

  Bianca McArrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1708 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce McEwen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1709 of 13201
  Loretta Lynch
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  Sincerely,

  Anne Harvey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1710 of 13201
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  Sincerely,

  John Ashley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1711 of 13201
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  Sincerely,

  Jeff Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1712 of 13201
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  John Nagel
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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Janet Suttpm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1714 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Melanie Rising
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1715 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Erika Acosta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1716 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandra Goodstone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1717 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Guy Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1718 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hal Forsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1719 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lawrence East
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1720 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karin Haag
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1721 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Craig Warren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1722 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Madole
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1723 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephani Borda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1724 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Harvey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1725 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Plubell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1726 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce McEwen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1727 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maude Bunn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1728 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Pinkham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1729 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Josephine Girardin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1730 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Fay Payton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1731 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Levi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1732 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  f ditlow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1733 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Luna Gooding
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1734 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Craig Warren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1735 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bernard Bochantin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1736 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pamylle Greinke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1737 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristian Koerwitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1738 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Floyd Maples
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1739 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lou Ann Kilburg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1740 of 13201
  Loretta Lynch
  Department of Justice

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  Gary Madole
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1741 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  michael edwards
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1742 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Hasselbrink
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1743 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gaius Poehler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1744 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  carol banever
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1745 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Peggy Schramm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1746 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Scott Cottrill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1747 of 13201
  Loretta Lynch
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  Sincerely,

  Michael Pinkham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1748 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Loretta Ayrer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1749 of 13201
  Loretta Lynch
  Department of Justice

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  Luna Gooding
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1750 of 13201
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  Department of Justice

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  Sincerely,

  Vickie Gonsoulin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1751 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1752 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1753 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judith Gustafson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1754 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Evelyn Coltman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1755 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marie Venner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1756 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1757 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Kinsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1758 of 13201
  Loretta Lynch
  Department of Justice

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  James Kinsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1759 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alec Herr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1760 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  michael edwards
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1761 of 13201
  Loretta Lynch
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  Sincerely,

  Jeffery McConaughy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1762 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristian Koerwitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1763 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Peggy Schramm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1764 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Zachary Mcatee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1765 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pauline Kahney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1766 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandra Goodstone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1767 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Frederick R Bauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1768 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marie Venner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1769 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Clewett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1770 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ruth Woodcock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1771 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Regina Woiler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1772 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Koritz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1773 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike de Lange
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1774 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Linda Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1775 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Helen Mendoza
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1776 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leland Chambers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1777 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. MaryAnna Foskett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1778 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judith Gustafson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1779 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Koch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1780 of 13201
  Loretta Lynch
  Department of Justice

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  Pauline Kahney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1781 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Koritz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1782 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Valerie Sarelas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1783 of 13201
  Loretta Lynch
  Department of Justice

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  Regina Woiler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1784 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Teresa Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1785 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Wendy Fast
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1786 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Phillip Bell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1787 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1788 of 13201
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  Sincerely,

  Susan Plubell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1789 of 13201
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  Department of Justice

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  Sincerely,

  Judy Jensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1790 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1791 of 13201
  Loretta Lynch
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  Sincerely,

  Jeffery McConaughy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1792 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Dupree
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1793 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Valerie Sarelas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1794 of 13201
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  Department of Justice

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  John Holoduek, Jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1795 of 13201
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  Department of Justice

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  Sincerely,

  Jake Schwartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1796 of 13201
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  Department of Justice

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  Sincerely,

  Angela Maeda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1797 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Larry Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1798 of 13201
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  Department of Justice

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  Sincerely,

  Elaine Eudy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1799 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrea Haresign
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1800 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sidney Ash
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1801 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leland Chambers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1802 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ward Stalnaker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1803 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Kasten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1804 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  tom wyman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1805 of 13201
  Loretta Lynch
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  Sincerely,

  Jessea Greenman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1806 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brandie Deal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1807 of 13201
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  Department of Justice

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  Sincerely,

  Judy Jensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1808 of 13201
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  Sincerely,

  John Holoduek, Jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1809 of 13201
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  Sincerely,

  Martin Diedrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1810 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marian Vargas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1811 of 13201
  Loretta Lynch
  Department of Justice

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  Larry Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1812 of 13201
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  Department of Justice

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  Sincerely,

  George Olson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1813 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Paul Goedinghaus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1814 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Elaine Eudy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1815 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Helen Bailey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1816 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Dupree
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1817 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Allen Wollscheidt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1818 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Hasselbrink
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1819 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sidney Ash
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1820 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rose hENDERSON
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1821 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Larry Olivier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1822 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Micki Meredith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1823 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jake Schwartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1824 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Fairchild
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1825 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Simone Ossipov
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1826 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Ruth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1827 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Martin Diedrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1828 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Zachary Mcatee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1829 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  andy sessa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1830 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Kasten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1831 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mary Gutierrez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1832 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jessea Greenman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1833 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Larry Olivier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1834 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dorothy Battle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1835 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Senkus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1836 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Allen Wollscheidt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1837 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Elder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1838 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hynda Rome
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1839 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Helen Bailey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1840 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Miriam Baum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1841 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher Riff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1842 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  debbie moran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1843 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rebecca McDonough
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1844 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kory Welsch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1845 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Senkus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1846 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Neal Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1847 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ross S.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1848 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carolyn Wensman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1849 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Graham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1850 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dorothy Battle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1851 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joanne Neale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1852 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Miriam Baum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1853 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aaron Gardner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1854 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1855 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Goedinghaus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1856 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  andy sessa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1857 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1858 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rebecca McDonough
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1859 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gayle Larson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1860 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Hynda Rome
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1861 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Su Jacob
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1862 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Gerry Milliken
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1863 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  debbie moran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1864 of 13201
  Loretta Lynch
  Department of Justice

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  Carolyn Wensman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1865 of 13201
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  Stephanie Clark
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  Neal Peterson
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  Mary Headrick
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  Shannon Roth
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  Susan Smith
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  Donald Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1871 of 13201
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  Roger Baston
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  Zachary Nelms
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  Ann Dente
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  Barbara Rosen
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  Linda Graham
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  Mark Brodersen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1877 of 13201
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  Simone Ossipov
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  Sincerely,

  Meredith West
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  Michael Symonds
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  Michael Kramer
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  James Cooke
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  Kimberly Shaub
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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1884 of 13201
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  brenda lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1885 of 13201
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  Jeff Christy
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  Aaron Gardner
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  Gail Gaebe
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  Karen Erikson
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  Deanne O'Donnell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1902 of 13201
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  Betty Goller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1903 of 13201
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  Malia Heckathorn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1904 of 13201
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  Wendy Worth
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  Steve Walsh
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  Peggy Schultz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1908 of 13201
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  DOnna Pope
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  Lesley Woodward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1911 of 13201
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  John Earhart
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jeffrey Conner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1914 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Jerome Onufer
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  Alfred Staab
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  Ginger Florian
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  Marcia Laris
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  Debbie Williamson
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  Betty Goller
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  Jeremy Day
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1928 of 13201
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  Wendy Worth
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  James Ashcraft
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  ernest smith
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  Zachary Cramer
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  Janet Zampieri
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  Sincerely,

  Catherine Regan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1964 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1965 of 13201
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  Ruth Nielsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1966 of 13201
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  Mr. George Phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1967 of 13201
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  John Persico
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1968 of 13201
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  Zachary Cramer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1969 of 13201
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  Sincerely,

  ernest smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1970 of 13201
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  Mr. Gerry Milliken
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1971 of 13201
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  trina cooper
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  Laurie Forbes
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  Kurt Kiebler
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  Eileen Prefontaine
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  eric janty
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  Eleanor Westmoreland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1978 of 13201
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  Michael Orr
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  Ruth Nielsen
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  Janet Zampieri
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  Jeremy Day
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  Nikki Refghi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 1984 of 13201
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  Sandra Garber
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  Kristin Rosenqvist
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  Melissa Sprouse
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  Bryan McCarthy
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  Beth Engelman
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  Clara Bleak
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  Matthew Bolles
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  Allison Delavan
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  Marilyn Mazur
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  Clive O'Donoghue
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  Eleanor Westmoreland
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  David Stutsman
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  Lawrence Holtzman
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  Dr. James Hanson
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  oren horst
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  Mary Eide
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  Pawel Karpinski
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  Suzanne Wooldridge
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  Andrew Stanger
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  Jerry Kessinger
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  George Lindelof
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  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Albert R. Matheny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2015 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lawrence Holtzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2016 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dennis/April Clobes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2017 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jacquelyn Wrycha
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2018 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jacquelyn Wrycha
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2019 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Dennis Ledden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2020 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Dawn Loper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2021 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Richard Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2022 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Candidus dougherty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2023 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Hope Millholland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2024 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Windy Childs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2025 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Julia Michel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2026 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Carolina Goodman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2027 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Suzanne Wooldridge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2028 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jill McManus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2029 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Pawel Karpinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2030 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  George Lindelof
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2031 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  George Lindelof
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2032 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Fiedler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2033 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Halley Jacobs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2034 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Albert R. Matheny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2035 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  oren horst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2036 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Richard Morgese
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2037 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Jennie Brawner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2038 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gerald Mahoney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2039 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Fiedler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2040 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Markowitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2041 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ken Jewell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2042 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  T Cho
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2043 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jacquelyn Wrycha
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2044 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Valerie Schadt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2045 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Windy Childs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2046 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Halley Jacobs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2047 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jackie Wolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2048 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sister Carol Boschert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2049 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Rynes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2050 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet Rexroth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2051 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2052 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Steven Zserai
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2053 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jerry Hillman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2054 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Linda McVarish
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2055 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  We Burgart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2056 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Rynes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2057 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  James Norton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2058 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ginger Peeler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2059 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Chris Rattigan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2060 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Linda Strode
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2061 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Janet Rexroth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2062 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Margaret Crawford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2063 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Valerie Schadt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2064 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Kenneth Bird
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2065 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gerald Mahoney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2066 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jackie Wolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2067 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  MICHAEL DIGREGORIO
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2068 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Steven Zserai
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2069 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Strode
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2070 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely, don

  Don Dicken
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2071 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  robert zeller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2072 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  KG
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2073 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Meszaros
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2074 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bill King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2075 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  J Swanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2076 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mick Alderman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2077 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Williamson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2078 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Clayton Denman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2079 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Norton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2080 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandy Barnard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2081 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris Rattigan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2082 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Katarina Lang
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2083 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bill King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2084 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mick Alderman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2085 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Calvino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2086 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kim VonderHaar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2087 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Clayton Denman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2088 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sybille Dubois
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2089 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janie Lucas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2090 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Naira Bribiesca Hueper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2091 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Buttitta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2092 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Céline EXCOFFIER
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2093 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jerry Hillman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2094 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Mandler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2095 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gina Bond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2096 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sheila Black Grubman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2097 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  todd Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2098 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph Klimovitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2099 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Naira Bribiesca Hueper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2100 of 13201
  Loretta Lynch
  Department of Justice

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  ted wray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2101 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christine Seeling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2102 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrew Scholten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2103 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda McVarish
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2104 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Huarachi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2105 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Sherry J Marsh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2106 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2107 of 13201
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  Department of Justice

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  Sincerely,

  Michael F. Kolassa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2108 of 13201
  Loretta Lynch
  Department of Justice

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  Gina Bond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2109 of 13201
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  Department of Justice

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  Céline EXCOFFIER
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2110 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kim VonderHaar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2111 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janie Lucas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2112 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Soronen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2113 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Crane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2114 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Katarina Lang
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2115 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  ANDREA ROBINSON
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2116 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  David Middleton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2117 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Melinda Geiger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2118 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Billie Leyendecker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2119 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Amanda Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2120 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Roberta Beneduce
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2121 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Julie Medbery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2122 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Charles Stidham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2123 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Huarachi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2124 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Pat Pire
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2125 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Eileen Wheeler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2126 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karen Stimson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2127 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mr. Gene Fox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2128 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  William Soronen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2129 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sheila Black Grubman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2130 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dick Hannigan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2131 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  kenneth gillette
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2132 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Greg Stawinoga
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2133 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roger Vortman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2134 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  William Whitaker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2135 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Middleton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2136 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandy Barnard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2137 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Pat Pire
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2138 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steven Wiese
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2139 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2140 of 13201
  Loretta Lynch
  Department of Justice

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  kenneth gillette
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2141 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Yvette Fallandy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2142 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Zilm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2143 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Buttitta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2144 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. T Reading
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2145 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Sheehy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2146 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Weeks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2147 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Philip Noel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2148 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karin Sandahl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2149 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Audrey Price
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2150 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dennis Ledden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2151 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bob Steinberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2152 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael F. Kolassa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2153 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Zvi Bassan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2154 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert D. Missimer. Jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2155 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Florence Rogers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2156 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Frances
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2157 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Jensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2158 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lucretia OToole
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2159 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Martha Hanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2160 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Brian de Castro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2161 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Heather Savino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2162 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Rede
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2163 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert D. Missimer. Jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2164 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bob Steinberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2165 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Renee Moreno-Creer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2166 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Audrey Price
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2167 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Hatfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2168 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Heather Savino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2169 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Friestad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2170 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Nicole Amador
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2171 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Florence Rogers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2172 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Sherry J Marsh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2173 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Antonio Bayona
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2174 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joan Caiazzo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2175 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Frances
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2176 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  justine karadontes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2177 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Drew Stafford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2178 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Duane Spicer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2179 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Claudia Wornum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2180 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ronald De Shon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2181 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2182 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Rede
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2183 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robin Sharpe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2184 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joan Caiazzo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2185 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sheila Schally
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2186 of 13201
  Loretta Lynch
  Department of Justice

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  Renee Moreno-Creer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2187 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Conrad lonski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2188 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sidney Schultz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2189 of 13201
  Loretta Lynch
  Department of Justice

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  Amy Hatfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2190 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Harry Hunter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2191 of 13201
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  Sincerely,

  Gina Whitlock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2192 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lucretia OToole
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2193 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Scott Vayo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2194 of 13201
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  Sincerely,

  Deborah Labb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2195 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Crane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2196 of 13201
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  Sincerely,

  Mary Garza-Aragon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2197 of 13201
  Loretta Lynch
  Department of Justice

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  Nicole Amador
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2198 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2199 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2200 of 13201
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  Department of Justice

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  Sincerely,

  Carol Laitinen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2201 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joie Budington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2202 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judi Poulson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2203 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Waitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2204 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Greg Wiederin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2205 of 13201
  Loretta Lynch
  Department of Justice

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  Harry Hunter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2206 of 13201
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  Sincerely,

  Michael Macelhiney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2207 of 13201
  Loretta Lynch
  Department of Justice

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  Scott Vayo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2208 of 13201
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  Sincerely,

  Jami Made
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2209 of 13201
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  Department of Justice

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  Sincerely,

  Jason Byrer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2210 of 13201
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  Department of Justice

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  Joie Budington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2211 of 13201
  Loretta Lynch
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  Sincerely,

  Armando A. Garcia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2212 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Moriarty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2213 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Greg Wiederin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2214 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dana Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2215 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bo Sawczyn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2216 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mitch Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2217 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kathe Jacobsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2218 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Carol Laitinen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2219 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Melissa Sunderland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2220 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Armando A. Garcia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2221 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Waitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2222 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ms. Cynthia M Arnold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2223 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jk Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2224 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sheila Schally
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2225 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mitch Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2226 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ted LaPage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2227 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Gilia Humrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2228 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  George Youngren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2229 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carl Vogel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2230 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2231 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Macelhiney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2232 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Moriarty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2233 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gloria Cadet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2234 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jami Made
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2235 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robert Krueger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2236 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Sims
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2237 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Abele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2238 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alec Behr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2239 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gina Whitlock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2240 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Laclair
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2241 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Claudia Mansfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2242 of 13201
  Loretta Lynch
  Department of Justice

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  Gilia Humrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2243 of 13201
  Loretta Lynch
  Department of Justice

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  Robert Krueger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2244 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Loren Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2245 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lorna Wallach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2246 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Sims
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2247 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Irene Roos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2248 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dorothy Cheo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2249 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  susan johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2250 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jk Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2251 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eula Rice
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2252 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Yamate
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2253 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gene Goff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2254 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joe Beland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2255 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alison Bond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2256 of 13201
  Loretta Lynch
  Department of Justice

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  Alec Behr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2257 of 13201
  Loretta Lynch
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  Sincerely,

  Ed Cornejo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2258 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Porter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2259 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Dixon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2260 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Irene Roos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2261 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lorna Wallach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2262 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lawrence Merlino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2263 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Laclair
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2264 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Kathleen Mead
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2265 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Maureen Mehler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2266 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Joe Weis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2267 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Patricia Rudner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2268 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Stephen Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2269 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  susan johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2270 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  George Ferrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2271 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Alison Bond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2272 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Todd Clark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2273 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Katia Scaglia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2274 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Claudia Mansfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2275 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Maureen Mehler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2276 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Keith Havens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2277 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Eula Rice
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2278 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Paul Metzloff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2279 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Kasey Konkel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2280 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lynell Withers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2281 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Pat Keener
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2282 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Carl Pflug
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2283 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Katia Scaglia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2284 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Phyllis Swank
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2285 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  D.B. Pope
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2286 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Anita McNamara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2287 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Richard Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2288 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Elizabeth Ramsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2289 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lanier Hines
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2290 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Unger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2291 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brian Mahoney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2292 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2293 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Porter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2294 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynell Withers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2295 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steven Presley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2296 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  anthony oliveria
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2297 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Dixon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2298 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Weaver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2299 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Amit Shoham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2300 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Keener
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2301 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  shirlee maddren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2302 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Anne Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2303 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  anthony oliveria
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2304 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Carrie Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2305 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  NO TAX DEDUCTION ON THE FINE. I DO NOT GET TO DEDUCT FINES FROM MY
  TAXES.

  Sincerely,
  Pat Norton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2306 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Albert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2307 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lawrence Merlino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2308 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Elizabeth Ramsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2309 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brian Mahoney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2310 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lanier Hines
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2311 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gregory Freeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2312 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lisa Kearney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2313 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kathy Wagner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2314 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Robert Rippetoe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2315 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Steven Presley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2316 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  J Woodhull
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2317 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Parshall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2318 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gary Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2319 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lisa Kearney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2320 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Camelia Mitu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2321 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Charles Almack
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2322 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Janette North
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2323 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lance Polya
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2324 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margaret Gibson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2325 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Robert Rippetoe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2326 of 13201
  Loretta Lynch
  Department of Justice

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  Camelia Mitu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2327 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dave Gladstone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2328 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2329 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter Klein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2330 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Phyllis Swank
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2331 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Almack
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2332 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Monica Goodrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2333 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Albert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2334 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Robert Albert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2335 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Teresa Musial
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2336 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janette North
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2337 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet Fraidstern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2338 of 13201
  Loretta Lynch
  Department of Justice

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  h ozeran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2339 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Robert Albert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2340 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  J Woodhull
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2341 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dianna Wood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2342 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandra Siegner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2343 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Teresa Musial
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2344 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Georgia Shankel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2345 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Splan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2346 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet Fraidstern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2347 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lyn Goldinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2348 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2349 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Senger Jr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2350 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dixon Withers-Julian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2351 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nick Leventis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2352 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Carol Blanchard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2353 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Wendy Culp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2354 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Hartford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2355 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Miles Patterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2356 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeffrey West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2357 of 13201
  Loretta Lynch
  Department of Justice

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  Dianna Wood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2358 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph Agonito
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2359 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Lane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2360 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Carol Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2361 of 13201
  Loretta Lynch
  Department of Justice

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  Ms. Carol Blanchard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2362 of 13201
  Loretta Lynch
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  Sincerely,

  Jeffrey West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2363 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anita McNamara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2364 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Millard Atkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2365 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Tom Cordaro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2366 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Todd Hammond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2367 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Wendy Culp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2368 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Mary Whitehead
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2369 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Keough
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2370 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Hartford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2371 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cyrus Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2372 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gail Marks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2373 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  jon powers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2374 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeff Bloomfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2375 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Cordaro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2376 of 13201
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  Sincerely,

  Mr. ERIC THU
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2377 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Wilma E Ralls
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2378 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kimberly Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2379 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2380 of 13201
  Loretta Lynch
  Department of Justice

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  Cyrus Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2381 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Commey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2382 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lyn Goldinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2383 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Ronan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2384 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Metters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2385 of 13201
  Loretta Lynch
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  Sincerely,

  Mr. Richard DiMatteo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2386 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dixon Withers-Julian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2387 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Mary Whitehead
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2388 of 13201
  Loretta Lynch
  Department of Justice

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  Millard Atkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2389 of 13201
  Loretta Lynch
  Department of Justice

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  Dave Gladstone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2390 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
  Department of Justice

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  Robert Neuhauser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2392 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janice Stine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2393 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. ERIC THU
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2394 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Harry Blumenthal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2395 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maryann G. Strain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2396 of 13201
  Loretta Lynch
  Department of Justice

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  Kimberly Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2397 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2398 of 13201
  Loretta Lynch
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  Sincerely,

  Terri Blevins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2399 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Walter Simmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2400 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Catherine Gaibrois-Chevrier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2401 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Hilgartner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2402 of 13201
  Loretta Lynch
  Department of Justice

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  Joseph Agonito
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2403 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shelley Kilbon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2404 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Burns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2405 of 13201
  Loretta Lynch
  Department of Justice

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  Robert Metters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2406 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Boles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2407 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Ronan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2408 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Glenn Fain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2409 of 13201
  Loretta Lynch
  Department of Justice

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  Gail Marks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2410 of 13201
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  Department of Justice

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  Sincerely,

  Christopher Dowling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2411 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  C D Metzger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2412 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2413 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Delisi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2414 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Gail Walter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2415 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Alan Peltzer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2416 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  J.b. Ciesielski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2417 of 13201
  Loretta Lynch
  Department of Justice

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  Robert Mathews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2418 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  A. Zamudio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2419 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maryann G. Strain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2420 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deb Hahn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2421 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shelley Kilbon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2422 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas McLaughlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2423 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher Dowling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2424 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Addington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2425 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John LeFevers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2426 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dr. Steven G. G Kellman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2427 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Freewoman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2428 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lisa Goldman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2429 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Mago
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2430 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2431 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roberta Stuemke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2432 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Hilgartner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2433 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Catherine Gaibrois-Chevrier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2434 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Harry Blumenthal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2435 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  denise nyman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2436 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Petkovic
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2437 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sam Naifeh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2438 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  C D Metzger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2439 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gail Walter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2440 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2441 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Harrison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2442 of 13201
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  Sincerely,

  Honora-Bright Aere
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2443 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Delisi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2444 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Terri Blevins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2445 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jan Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2446 of 13201
  Loretta Lynch
  Department of Justice

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  Jacob Lamphere
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2447 of 13201
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  Department of Justice

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  J.b. Ciesielski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2448 of 13201
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  Sincerely,

  Dorothy Tennies
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2449 of 13201
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  Department of Justice

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  Sincerely,

  Deb Hahn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2450 of 13201
  Loretta Lynch
  Department of Justice

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  John Stevenson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2451 of 13201
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  Department of Justice

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  Mary Thorne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2452 of 13201
  Loretta Lynch
  Department of Justice

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  Donna Commey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2453 of 13201
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  Department of Justice

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  Sincerely,

  Edward Bisker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2454 of 13201
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  Department of Justice

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  Sincerely,

  Mike Berwaldt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2455 of 13201
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2456 of 13201
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  Department of Justice

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  Sincerely,

  Terry Pavletic
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2457 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2458 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  denise nyman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2459 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rob Tanner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2460 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dennis Satterfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2461 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Erik Diaz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2462 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Honora-Bright Aere
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2463 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dr. Steven G. G Kellman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2465 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Roberta Stuemke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2466 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas McLaughlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2467 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2468 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joy Cash
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2469 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Stevenson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2470 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2471 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathleen Barnebey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2472 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Theo Van Wijk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2473 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Thorne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2474 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Day
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2475 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lisa Goldman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2476 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Harrison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2477 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Vermeulen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2478 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judi Kerr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2479 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Purcell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2480 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edward Bisker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2481 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rob Tanner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2482 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Greg Allbee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2483 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Schomaker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2484 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Kathleen Mead
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2485 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Francis Mastri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2486 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it. Please, your position is one that is supposed to represent what
  is right. Protecting a corporation like BP and selling out the American people will be
  detrimental to a country that is continuing to fail. Help us recover please.

  Sincerely,
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2487 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Barbara Ardinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2488 of 13201
  Loretta Lynch
  Department of Justice

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  Aviva Ehren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2489 of 13201
  Loretta Lynch
  Department of Justice

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  Barbara Yurchuck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2490 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristin Kokal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2491 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Michael Laird
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2492 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2493 of 13201
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  Bruce Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2494 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shelley Bobb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2495 of 13201
  Loretta Lynch
  Department of Justice

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  Theo Van Wijk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2496 of 13201
  Loretta Lynch
  Department of Justice

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  Kathleen Barnebey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2497 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maggie Curati
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2498 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Pick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2499 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Alecto Caldwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2500 of 13201
  Loretta Lynch
  Department of Justice

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  Francis Mastri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2501 of 13201
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  Department of Justice

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  Sincerely,

  Mr. Keith Gagomiros
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2502 of 13201
  Loretta Lynch
  Department of Justice

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  Aviva Ehren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2503 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Katherine Meyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2504 of 13201
  Loretta Lynch
  Department of Justice

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  Kristin Kokal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2505 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lisa Nardi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2506 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Zach Sievert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2507 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  ROBERT C. BARTLEY
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2508 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Shelley D. Dahlgren, PhD
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2509 of 13201
  Loretta Lynch
  Department of Justice

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  Shelley Bobb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2510 of 13201
  Loretta Lynch
  Department of Justice

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  Barbara Ardinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2511 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vaseem Contractor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2512 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stan Tyson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2513 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Powers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2514 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Keith Gagomiros
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2515 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  R Lovesky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2516 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amy Pick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2517 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jaszmene Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2518 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael Pardee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2519 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jane Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2520 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ruth Woodcock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2521 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction. Please make sure they can not deduct these costs from their income tax as
  well.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Emily Willoughby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2522 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pamela Culp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2523 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Steve Wozniak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2524 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kathryn Moody-Arndt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2525 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Stan Tyson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2526 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jesse Greer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2527 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Michael Sackin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2528 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Jane Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2529 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gary Mazzotti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2530 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Vaseem Contractor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2531 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

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  Steve Wozniak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2532 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pamela Culp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2533 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Francine Ungaro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2534 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Paul Addington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2535 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kathryn Tomaschik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2536 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Genny Genevich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2537 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Patricia Freewoman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2538 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kim White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2539 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jean Cheesman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2540 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Frank Boyle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2541 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Gary Mazzotti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2542 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Doreen Frega
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2543 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sandra L Lawrence
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2544 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Constantine Bogios
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2545 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  nic todd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2546 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Francine Ungaro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2547 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathryn Tomaschik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2548 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Argo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2549 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  ROBERT C. BARTLEY
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2550 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Melanie Waggett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2551 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lisa Bergerud
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2552 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Eric Pranausk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2553 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Ms. Emily Willoughby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2554 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jennifer Starr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2555 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Londa Fowler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2556 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Doreen Frega
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2557 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  nic todd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2558 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Lisa Bergerud
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2559 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Anne Summers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2560 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Elizabeth Argo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2561 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  J Clemenich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2562 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Frank Boyle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2563 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Esther Fiegel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2564 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kathleen Crittenden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2565 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  be left paying the cost of it.

  Sincerely,

  Dorothy Solomon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2566 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Claire Coleman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2567 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barb Mathes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2568 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carrie Etter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2569 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sandra L Lawrence
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2570 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Eric Pranausk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2571 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Keith Robillard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2572 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  andy andrews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2573 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Claire Coleman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2574 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Kathleen Crittenden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2575 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Constantine Bogios
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2576 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Linda Minshall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2577 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Richard Ouren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2578 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Samuel Durkin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2579 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lois Bernstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2580 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barb Mathes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2581 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch.

  I am privvy to inside info concerning the deep level of culpability of BP higher ups in this
  disastrous fiasco. Their behavior was unthinkable and heinous. It was, in real terms, an
  act of terror against their crew, contractors, customers, and the country and physical
  environment of the USA. As the chief enforcement officer here, it is incumbent on you to
  extract the complete price for the consequences of BP criminality.

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  mick nickel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2582 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Keith Robillard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2583 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  andy andrews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2584 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Samuel Durkin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2585 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barb Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2586 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Maxime Devilliers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2587 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Roger Delmar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2588 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Maxime Devilliers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2589 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Evelyn Aron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2590 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Monica DuBina
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2591 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mark Burton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2592 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sally Courtright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2593 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Shaun Thomas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2594 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that BARS BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must NEVER be repeated and taxpayers should
  not be left paying the cost of it.

  PLEASE DO NOT MAKE THE TAXPAYERS PAY FOR IT!

  Sincerely,

  Mary Vermeulen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2595 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sherry Bowles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2596 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Linda Minshall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2597 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Resetarits
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2598 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Felske
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2599 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Catherine Whiteside
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2600 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Anne-Marie Mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2601 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Brian Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2602 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Roger Delmar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2603 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Timothy Munsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2604 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Richard Ouren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2605 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Evelyn Aron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2606 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Doug Musick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2607 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ms. Carla Tuke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2608 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Catherine Whiteside
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2609 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Nancy Loftin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2610 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Robyn Hallonquist
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2611 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Mark Burton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2612 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mike MacGuire
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2613 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rosemary Busterna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2614 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  William Resetarits
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2615 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margaret Mogg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2616 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Doug Musick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2617 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Larry Karns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2618 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Carla Tuke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2619 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Krall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2620 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Corinne Dubord
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2621 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeffrey Gomes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2622 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Vera Krokonko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2623 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brian Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2624 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Laurel Facey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2625 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Linda McCarthy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2626 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Melissa Cooper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2627 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeffrey Hemenez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2628 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Mullen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2629 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2630 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Don Benefiel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2631 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeffrey Hemenez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2632 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda McCarthy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2633 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2634 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Betty Lou Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2635 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Whitney Cloud
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2636 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dorethea Simone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2637 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  M Wire
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2638 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rosemary Busterna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2639 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rod Moren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2640 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lisa Powers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2641 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Buch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2642 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Corinne Dubord
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2643 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan Gross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2644 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Melissa Cooper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2645 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carmen Ramirez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2646 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  W Kent Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2647 of 13201
  Loretta Lynch
  Department of Justice

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  Carmen Ramirez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2648 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margaret Mogg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2649 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Doris LeVasseur
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2650 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Kaplan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2651 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Boyd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2652 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephanie Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2653 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ken Kohler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2654 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Iorns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2655 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  M Wire
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2656 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mal Gaff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2657 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Chowdhry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2658 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Judith A Bohler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2659 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Mcmahan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2660 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lisa Udel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2661 of 13201
  Loretta Lynch
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  Charles Mcmahan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2662 of 13201
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  Sincerely,

  Rod Moren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2663 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Doris LeVasseur
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2664 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  bradford harrington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2665 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Don Benefiel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2666 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gretchen Carnaby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2667 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Fanny Aragno
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2668 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Allison Castle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2669 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Timothy Dodd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2670 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ann & John Christenson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2671 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  marguerite Larson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2672 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mal Gaff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2673 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Carol Chowdhry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2674 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Shannon Gruber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2675 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Linda Bescript
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2676 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Cindy Spoor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2677 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Charles Mcmahan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2678 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lisa Udel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2679 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mrs. Judith A Bohler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2680 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Pam Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2681 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lisa Powers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2682 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gloria Wurst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2683 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karen Vergara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2684 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  jim dyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2685 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  bradford harrington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2686 of 13201
  Loretta Lynch
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  Sincerely,

  Timothy Dunn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2687 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Whitley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2688 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jon Lo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2689 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ken Kohler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2690 of 13201
  Loretta Lynch
  Department of Justice

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  Shannon Gruber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2691 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  deborah walsh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2692 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  marguerite Larson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2693 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gloria Wurst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2694 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeff Burger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2695 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2696 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Zoe Alexander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2697 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Fairchild
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2698 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  veran randle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2699 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Wendy Anctil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2700 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Shannon Jacobs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2701 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marge Nealon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2702 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Whitley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2703 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Meg Madden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2704 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2705 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  fred meade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2706 of 13201
  Loretta Lynch
  Department of Justice

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  Jeff Burger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2707 of 13201
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  Sincerely,

  Anthony Mendousa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2708 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Bell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2709 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lori Fromm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2710 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Conti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2711 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris Grimley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2712 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephanie Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2713 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Leila Mohseni
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2714 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Victoria Linehan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2715 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  duane howe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2716 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr Roderigues
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2717 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Diane Z Fascione
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2718 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anthony Mendousa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2719 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Zoe Alexander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2720 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Morgan Craig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2721 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  fred meade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2722 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Krall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2723 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beth Dennis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2724 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Friehauf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2725 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris Grimley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2726 of 13201
  Loretta Lynch
  Department of Justice

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  Morgan Craig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2727 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Jongen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2728 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Diane Z Fascione
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2729 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. David Hermanns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2730 of 13201
  Loretta Lynch
  Department of Justice

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  duane howe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2731 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Shepherd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2732 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Gail Linnerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2733 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Victoria Linehan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2734 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lori Fromm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2735 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Byrne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2736 of 13201
  Loretta Lynch
  Department of Justice

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  Mike Friehauf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2737 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Warhurst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2738 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  C Hoppe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2739 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2740 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher Panny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2741 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Wilkes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2742 of 13201
  Loretta Lynch
  Department of Justice

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  Mr. David Hermanns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2743 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Allison Castle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2744 of 13201
  Loretta Lynch
  Department of Justice

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  Leila Mohseni
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2745 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Edwards
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2746 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Meryl Rogers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2747 of 13201
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  Department of Justice

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  Sincerely,

  Jason Kaler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2748 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dennis Trembly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2749 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2750 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edwin Hasson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2751 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bonnie Goss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2752 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Lane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2753 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Hoeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2754 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Gail Linnerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2755 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Prabu Gopalakrishnan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2756 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eric Simpson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2757 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dominic Libby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2758 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Shepherd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2759 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Thank you.

  Sincerely,
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2760 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Marilyn Mason
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2761 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marilyn Lange
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2762 of 13201
  Loretta Lynch
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  Sincerely,

  Edwin Hasson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2763 of 13201
  Loretta Lynch
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  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  andrea f.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2764 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Molder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2765 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Hampel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2766 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dennis Trembly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2767 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jordan Awasthi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2768 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Vallejo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2769 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Catherine Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2770 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bonnie Goss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2771 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Marilyn Mason
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2772 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bonnie Preston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2773 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2774 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Prabu Gopalakrishnan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2775 of 13201
  Loretta Lynch
  Department of Justice

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  Susan Hampel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2776 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2777 of 13201
  Loretta Lynch
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  Sincerely,

  Ruth Noble
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2778 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Babyak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2779 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jordan Awasthi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2780 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Hoeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2781 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christina Power
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2782 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Babyak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2783 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alex Kemper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2784 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  ashley yonker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2785 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ruth Noble
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2786 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  edward cassidy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2787 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2788 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Randy Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2789 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hannah Stanton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2790 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan Gross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2791 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Judy Genandt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2792 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kay Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2793 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2794 of 13201
  Loretta Lynch
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  Sincerely,

  elga konietzny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2795 of 13201
  Loretta Lynch
  Department of Justice

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  Christina Power
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2796 of 13201
  Loretta Lynch
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  Sincerely,

  Weldon Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2797 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  C Parker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2798 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kay Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2799 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  john stone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2800 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2801 of 13201
  Loretta Lynch
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  Mike Souza
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2802 of 13201
  Loretta Lynch
  Department of Justice

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  Ed Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2803 of 13201
  Loretta Lynch
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  Sincerely,

  Jan Kutchen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2804 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kate Blessing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2805 of 13201
  Loretta Lynch
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  Sincerely,

  Melissa VerDuin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2806 of 13201
  Loretta Lynch
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  Sincerely,

  Erick Diaz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2807 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeff Burns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2809 of 13201
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2810 of 13201
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  Sincerely,

  Gail Tanner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2812 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  BrendaLee Lennick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2813 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Edwin Homeier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2814 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Edouard Dawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2815 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Stephanie Kob
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2816 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Jean Siegel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2817 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Thomas Peel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2818 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Melissa VerDuin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2819 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Mr. George Lawrence
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2820 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kate Blessing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2821 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Jeffrey Hearn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2822 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  BrendaLee Lennick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2823 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Peel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2824 of 13201
  Loretta Lynch
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  be left paying the cost of it.

  Sincerely,

  Deb Hyde
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2825 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Pamela Slass
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2826 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Thomas Bell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2827 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  TONI THOMAS
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2828 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Rochelle Wood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2829 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Hector
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2830 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lindsey Caudill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2831 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  M. Rae
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2832 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely, Tina Tine'

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2833 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2834 of 13201
  Loretta Lynch
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  Sincerely,

  Edouard Dawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2835 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deb Hyde
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2836 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2837 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patrick Malone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2838 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Longyear
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2839 of 13201
  Loretta Lynch
  Department of Justice

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  Lindsey Caudill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2840 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Natasha Brenner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2841 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ieva Berzins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2842 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Debbie Donnelly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2843 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jonathan Rubin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2844 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Degner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2845 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  M. Rae
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2846 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anna L
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2847 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Isabella La Rocca
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2848 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matt Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2849 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2850 of 13201
  Loretta Lynch
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  Sincerely,

  Paul Huddy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2851 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brand Kidney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2852 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Rochelle Wood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2853 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tony Lentini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2854 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely, Tina Tine'

  Tina Tine'
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2855 of 13201
  Loretta Lynch
  Department of Justice

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  Sharon Longyear
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2856 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rodolfo Cardona
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2857 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Harry Newman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2858 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Charles Omiya
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2859 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Watt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2860 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Timothy Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2861 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2862 of 13201
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  Sincerely,

  Lucinda Windsor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2863 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Suzanne Challinor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2864 of 13201
  Loretta Lynch
  Department of Justice

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  Scott Coon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2865 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  marc fried
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2866 of 13201
  Loretta Lynch
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  Paul Huddy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2867 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Watt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2868 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2869 of 13201
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  Joseph Guzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2870 of 13201
  Loretta Lynch
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  Naython Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2871 of 13201
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  Sincerely,

  Tim Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2872 of 13201
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  Sincerely,

  Harriet Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2873 of 13201
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  Lisa Hughes
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  Mr. Charles Wirth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2877 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2879 of 13201
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  Mike Hogan
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  Chris Keefe
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  Elvia Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2888 of 13201
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  Patrick Malone
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  Lucinda Windsor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2892 of 13201
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  Lisa Hughes
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  Michelle Broadrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2895 of 13201
  Loretta Lynch
  Department of Justice

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  Joe Russo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2896 of 13201
  Loretta Lynch
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  June Gordon
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  James Bengel
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  Sue Bedrick
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  Barbara Efraimson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2900 of 13201
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  Jon Kroeger
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  Marijeanne Sarraille
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  David Florkowski
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  Donna Hortsch
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  Joseph Leedy
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  Anne Pope
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  Trina Walls
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  Daniel Rowen
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Elvia Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2914 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Cathy Brownlee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2915 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Hicken
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2916 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Belinda Berkemeijer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2917 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Pope
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2918 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deborah Cheek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2919 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph Leedy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2920 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Radecki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2921 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Rowen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2922 of 13201
  Loretta Lynch
  Department of Justice

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  Cathy Brownlee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2923 of 13201
  Loretta Lynch
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  Sincerely,

  David Ellison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2924 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathy Michaelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2925 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aaron Kogan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2926 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Efraimson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2927 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sister James Marie Gross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2928 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jim Patton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2929 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dennis Sien
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2930 of 13201
  Loretta Lynch
  Department of Justice

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  Deborah Cheek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2931 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margaret Carter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2932 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathy Michaelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2934 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Rogers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2935 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ronald Powell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2936 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Joyce Crowley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2937 of 13201
  Loretta Lynch
  Department of Justice

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  Belinda Berkemeijer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2938 of 13201
  Loretta Lynch
  Department of Justice

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  Dennis Sien
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2939 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2940 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2941 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Boyce
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2942 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Florkowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2943 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bradford Kral
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2944 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stacey Zuckerman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2945 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dorothy Rossi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2946 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Betsy Villasana
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2947 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jan Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2948 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynette Ridder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2949 of 13201
  Loretta Lynch
  Department of Justice

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  Ronald Powell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2950 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2951 of 13201
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  Sincerely,

  Chuck Massoud-Tastor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2952 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2953 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Rebecca Pollinzi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2954 of 13201
  Loretta Lynch
  Department of Justice

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  Lynette Ridder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2955 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Hicken
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2956 of 13201
  Loretta Lynch
  Department of Justice

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  Dorothy Rossi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2957 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lauren Kahn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2958 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  WB
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2959 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daymon F Sadler Jr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2960 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Ikenaga
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2961 of 13201
  Loretta Lynch
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  Sincerely,

  Jack Morgenstern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2962 of 13201
  Loretta Lynch
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  Sincerely,

  Jeannine Bloss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2963 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Donald Beardshear
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2964 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Thomas Brenner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2965 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lauren Kahn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2966 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  J Knop
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2967 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Hultman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2968 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeannine Bloss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2969 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Isabella La Rocca
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2970 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elaine Stucky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2971 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Jennings
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2972 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Souza
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2973 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  shirley jackson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2974 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jack Morgenstern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2975 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elliot Chase
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2976 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elaine Neth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2977 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Brenner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2978 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Dianne Douglas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2979 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Poss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2980 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  david miles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2981 of 13201
  Loretta Lynch
  Department of Justice

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  Ms. Dianne Douglas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2982 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Dunham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2983 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  shirley jackson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2984 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jan Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2985 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Natalie Kovacs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2986 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bettina Hempel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2987 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Gennarelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2988 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marsha L. Jarvis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2989 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Cooney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2990 of 13201
  Loretta Lynch
  Department of Justice

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  Tom Jennings
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2991 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Vic Bostock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2992 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dr.Dominic Brisson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2993 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janna Piper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2994 of 13201
  Loretta Lynch
  Department of Justice

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  Marsha L. Jarvis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2995 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeaneen Andretta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2996 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Poss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2997 of 13201
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  Department of Justice

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  Sincerely,

  Sharon Goldstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2998 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ed Vant, Jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 2999 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher Key
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3000 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Nelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3001 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3002 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brian McFarland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3003 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vincent Alvarez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3004 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephanie Stone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3005 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  david miles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3006 of 13201
  Loretta Lynch
  Department of Justice

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  Michael Gennarelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3007 of 13201
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  Department of Justice

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  Sincerely,

  Takako Ishii-Kiefer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3008 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Erick Hedrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3009 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dan Avery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3010 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3011 of 13201
  Loretta Lynch
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  Sincerely,

  Ray Decker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3012 of 13201
  Loretta Lynch
  Department of Justice

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  Janna Piper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3013 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tom Nelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3014 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tom Nelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3015 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lynn Hailey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3016 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Emily Dickinson-Adams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3017 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  robert kimble
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3018 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ed Vant, Jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3019 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dr.Dominic Brisson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3020 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Helena de Vengoechea Rudd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3021 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kathleen Sumida
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3022 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  James Heidt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3023 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Emily Dickinson-Adams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3024 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rosemarie Caruso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3025 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  SallyMarie Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3026 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gerri Kappler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3027 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kathleen Welsh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3028 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Devlon Clouser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3029 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Kathleen Sumida
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3030 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Rosemarie Caruso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3031 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rodney Whisenhunt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3032 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gerri Kappler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3033 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Star Seastone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3034 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  bob speiser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3035 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Star Seastone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3036 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael Dutton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3037 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Steve Schrempf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3038 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rev. Nagi Mato
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3039 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lisa Hunkler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3040 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James R Swenson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3041 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robert Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3042 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  SallyMarie Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3043 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lisa Hunkler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3044 of 13201
  Loretta Lynch
  Department of Justice

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  Rev. Nagi Mato
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3045 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Cathy White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3046 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Peggy Krainman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3047 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Nancy Robinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3048 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robert Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3049 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jean-François Fauconnier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3050 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Cathy White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3051 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Robert Dale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3052 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Eliot Pozehl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3053 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barbara Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3054 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  John Petroni
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3055 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Carolyn Treadway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3056 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Peggy Krainman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3057 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kent Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3058 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Star Seastone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3059 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon MUST NEVER be repeated and taxpayers should
  not be left paying the cost of it.

  Sincerely,

  Darshana Maya Greenfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3060 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Star Seastone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3061 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  linda coley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3062 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Ms. Carolyn Treadway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3063 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Petroni
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3064 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Brenda Evans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3065 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeff Chapman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3066 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Lamont
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3067 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Baouche
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3068 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Swyden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3069 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  linda coley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3070 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeff Chapman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3071 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lila Osborne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3072 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3073 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Adam Barnes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3074 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nick Salerno
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3075 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandra Chase-Rockwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3076 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carmen Silva
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3077 of 13201
  Loretta Lynch
  Department of Justice

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  Diane Lamont
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3078 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3079 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Glen Sandberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3080 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Darshana Maya Greenfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3081 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lawrence Holtzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3082 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Victor Spada
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3083 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Christopher Heuman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3084 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Martina Sierra
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3085 of 13201
  Loretta Lynch
  Department of Justice

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  Lawrence Holtzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3086 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Baouche
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3087 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Javier Rivera
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3088 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mason Arion
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3089 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jim Conroy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3090 of 13201
  Loretta Lynch
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  Sincerely,

  Barbara Webber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3091 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3092 of 13201
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  Sincerely,

  Karl Koessel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3093 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sheridan Ryder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3094 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet Schreiber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3095 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tor Nichols
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3096 of 13201
  Loretta Lynch
  Department of Justice

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  Javier Rivera
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3097 of 13201
  Loretta Lynch
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  Sincerely,

  mike fontana
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3098 of 13201
  Loretta Lynch
  Department of Justice

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  Karl Koessel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3099 of 13201
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  Jim Conroy
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  Sincerely,

  Dr. George B. Kauffman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3101 of 13201
  Loretta Lynch
  Department of Justice

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  mike fontana
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3102 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Craig E Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3103 of 13201
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  Department of Justice

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  Sincerely,

  Glen Sandberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3104 of 13201
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  Sincerely,

  Mr. Mark Gotvald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3105 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephen Muchowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3106 of 13201
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  Sincerely,

  Holly Kukkonen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3107 of 13201
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  Department of Justice

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  Sincerely,

  Marilyn Barthelow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3108 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Hadden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3109 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jean-François Fauconnier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3110 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eva Thomas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3111 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elloie Jeter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3112 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Riley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3113 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Zoe Strassfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3114 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dr. George B. Kauffman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3115 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Peter Caesr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3116 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Marguerite Shuster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3117 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  christine kender
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3118 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Daniel Ewing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3119 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Betsy Lindemuth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3120 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Eric Schickendantz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3121 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Mark Gotvald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3122 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Thomas Schweickart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3123 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Elloie Jeter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3124 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Thomas Musselman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3125 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  John Hadden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3126 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  William Alexander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3127 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Spencer Berglund
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3128 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  christine kender
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3129 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Theisen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3130 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Riley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3131 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eva Thomas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3132 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ava Venturelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3133 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Spencer Berglund
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3134 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kay Von Tress
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3135 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Brenda Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3136 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deniel Germanotta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3137 of 13201
  Loretta Lynch
  Department of Justice

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  Eric Schickendantz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3138 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marilyn Barthelow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3139 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Curt Sayers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3140 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Moneca Dunham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3141 of 13201
  Loretta Lynch
  Department of Justice

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  Kay Von Tress
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3142 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Angela Grattan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3143 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  C Provol
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3144 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Wolfe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3145 of 13201
  Loretta Lynch
  Department of Justice

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  Ava Venturelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3146 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rc Dutra
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3147 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michelle Ford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3148 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Angerer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3149 of 13201
  Loretta Lynch
  Department of Justice

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  C Provol
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3150 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Hale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3151 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Liz Galst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3152 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Dubovec
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3153 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Pepin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3154 of 13201
  Loretta Lynch
  Department of Justice

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  Ms. Liz Galst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3155 of 13201
  Loretta Lynch
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  Sincerely,

  Myron P
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3156 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Moran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3157 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Wolfe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3158 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brenda Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3159 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Hale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3160 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Moran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3161 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Jagiello
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3162 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  We as tax payers did not spill that oil, BP did!

  If we as tax payers spill oil on our driveway we have to clean it up, NOT BP! That we
  expect and respect! But what we cannot respect is large companies expecting us as tax
  payers to pay for their mess let alone clean it up for them!

  Sincerely,

  Vivien Britton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3163 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  D Carr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3164 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Craig E Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3165 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Felicity Tanous
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3166 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kay Tyler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3167 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Al Good
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3168 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ananda Patterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3169 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  norman hines
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3170 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  M.E. Scullard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3171 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Wechsler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3172 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph Heininger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3173 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Garber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3174 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher Lord
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3175 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  norman hines
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3176 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Suzanne Ours
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3177 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Eckler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3178 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deb S
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3179 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michele Shave
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3180 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Felicity Tanous
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3181 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Al Good
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3182 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sabreena Barton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3183 of 13201
  Loretta Lynch
  Department of Justice

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  M.E. Scullard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3184 of 13201
  Loretta Lynch
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  Sincerely,

  Michael Klausing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3185 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ginger Ikeda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3186 of 13201
  Loretta Lynch
  Department of Justice

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  Susan Wechsler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3187 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aaron Rusch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3188 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3189 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3190 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher Lord
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3191 of 13201
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  Sincerely,

  Christian Dollahon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3192 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Falk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3193 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Grace Helfrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3194 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3196 of 13201
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  Sincerely,

  Karen Hauck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3197 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Evy Mayer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3198 of 13201
  Loretta Lynch
  Department of Justice

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  Vivien Britton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3199 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Stock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3200 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Francisco Egipciaco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3201 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Justine Tilley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3202 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Becky Haugse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3203 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Vee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3204 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Samantha Siler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3205 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3206 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3207 of 13201
  Loretta Lynch
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  Grace Helfrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3208 of 13201
  Loretta Lynch
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  Sincerely,

  John Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3209 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Worley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3210 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3211 of 13201
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  Sincerely,

  John Stokes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3212 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Becky Haugse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3213 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Denise Black
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3214 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gabriel Maxwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3215 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Dannecker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3216 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Cowger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3217 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rick Shapiro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3218 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Sevald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3219 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gabriel Maxwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3220 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Colston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3221 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  James Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3222 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  M Stockwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3223 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Julie Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3224 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Tammera Hinshaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3225 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Dannecker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3226 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tyson Hewitt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3227 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Rick Shapiro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3228 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Bellert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3229 of 13201
  Loretta Lynch
  Department of Justice

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  Julie Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3230 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Cowger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3231 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Schwartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3232 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Waltner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3233 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Colston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3234 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Dr. T. Randall (Randy) Mock, M.D., Ph.D.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3235 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tammera Hinshaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3236 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  tim wright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3237 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brenda Hammond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3238 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Knipp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3239 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathleen Rengert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3240 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diana Lemus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3241 of 13201
  Loretta Lynch
  Department of Justice

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  Susan Waltner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3242 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael McDonald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3243 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stacy Bloodworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3244 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3245 of 13201
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  Kathleen Rengert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3246 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jacqueline Potoski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3247 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christine Trunk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3248 of 13201
  Loretta Lynch
  Department of Justice

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  Susan Hicken
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3249 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael McDonald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3250 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joanna Griggs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3251 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Denice Cornell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3252 of 13201
  Loretta Lynch
  Department of Justice

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  Stacy Bloodworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3253 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jonathan Martinez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3254 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  ralph stephens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3255 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3256 of 13201
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  Sincerely,

  kj king
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3257 of 13201
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  Department of Justice

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  Sincerely,

  Karen Y Hogan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3258 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diana Lemus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3259 of 13201
  Loretta Lynch
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  Sincerely,

  Kara Hodges
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3260 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Petra Jaerling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3261 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gemma Hensey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3262 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Schwartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3263 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Priscilla Martinez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3264 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jonna Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3265 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joanna Griggs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3266 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3267 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bill Macartney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3268 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rania Bratberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3269 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Denice Cornell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3270 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Sabine Painter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3271 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  ralph stephens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3272 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Carolyn Andre
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3273 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Christine Trunk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3274 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Petra Jaerling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3275 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kara Hodges
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3276 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  edward abbey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3277 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jim Bungarden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3278 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ysa Hammond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3279 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Tom Beatini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3280 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Brandy Petrovic
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3281 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Dale Janssen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3282 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Julie Seitzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3283 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  First Name Gibb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3284 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marilyn Stern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3285 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  First Name Gibb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3286 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marilyn Stern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3287 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Slifka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3288 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jacqueline Sowa Colyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3289 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Cardinali
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3290 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marilyn Stern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3291 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ian Simmons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3292 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  George Meskus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3293 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dale Janssen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3294 of 13201
  Loretta Lynch
  Department of Justice

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  Jim Bungarden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3295 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeriene Walberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3296 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Trisha Townsend
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3297 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bill Both
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3298 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Beatini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3299 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  First Name Gibb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3300 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Nona Weiner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3301 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karen Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3302 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  jack murphy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3303 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Dr. Janet Maker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3304 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Mayne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3305 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Riley Canada II
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3306 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Trisha Townsend
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3307 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Sharon Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3308 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Kathryn Panaro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3309 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bill Both
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3310 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Kathryn Mosher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3311 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kermit Brooms
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3312 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Karen Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3313 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Deborah Veneziale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3314 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  James Stamos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3315 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Mayne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3316 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Nancy Porter-Steele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3317 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  John Torrieri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3318 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mrs. Bonnie Weber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3319 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ginny White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3320 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jeriene Walberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3321 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sharon Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3322 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Tom Wroblewski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3323 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Dr. Janet Maker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3324 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Joseph De Meis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3325 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Deborah Veneziale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3326 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Timothy McBride
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3327 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kermit Brooms
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3328 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Terry Luster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3329 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Daniel Rebson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3330 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lee Skinner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3331 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Torrieri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3332 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Sherri Andrade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3333 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Carol Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3334 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Judy Yenney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3335 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joseph Lawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3336 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Coleen Brock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3337 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ryan Dodson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3338 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Teegardin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3339 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3340 of 13201
  Loretta Lynch
  Department of Justice

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  Carol Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3341 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Rebson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3342 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jonathan Crews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3343 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jimmie Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3344 of 13201
  Loretta Lynch
  Department of Justice

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  Susan Teegardin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3345 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ryan Dodson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3346 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Carroux
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3347 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Jordan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3348 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barrett Guthrie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3349 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rebecca Helton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3350 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Yenney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3351 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michelle Hayward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3352 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ruth Sugerman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3353 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mrs. Wendy Holzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3354 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joel Christine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3355 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3356 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph Lawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3357 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Mueller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3358 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  RICHARD AMERLING
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3359 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ibrahim Hafid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3360 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Susan Jordan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3361 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  carol broll
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3362 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Dona Patty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3363 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Skot McDaniel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3364 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  F Meek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3365 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Amy Mueller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3366 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  thaly guerrero
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3367 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pat Berger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3368 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dave Dunkak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3369 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tiamoyo Gilchrist
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3370 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Lane Rolland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3371 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dave Dunkak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3372 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  carol broll
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3373 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tom Wroblewski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3374 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Ian Haggerty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3375 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kelley Keisch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3376 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Kirk Zinkowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3377 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Lisa Daloia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3378 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  James Scoville
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3379 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ibrahim Hafid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3380 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Douglas Thayer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3381 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carolyn Villanova
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3382 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karen Newberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3383 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lisa Daloia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3384 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Morgan Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3385 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Martha F. Hoar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3386 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cecelia McCarty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3387 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pedro Mier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3388 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia M. Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3389 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lane Rolland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3390 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3391 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beatriz Pallanes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3392 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kirk Zinkowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3393 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ashleigh Steil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3394 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  JESSE COUNTERMAN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3395 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cecelia McCarty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3396 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tiamoyo Gilchrist
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3397 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ashleigh Steil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3398 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sherwood Reese
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3399 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michelle Hayward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3400 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Stack Kenny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3401 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dianne Lane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3402 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Brinkmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3403 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelley Keisch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3404 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Rice
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3405 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  susan rump
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3406 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  George Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3407 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deborah Holcomb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3408 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sangeeta Benbow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3409 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Winkel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3410 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cathy Bilsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3411 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Basker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3412 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beatriz Pallanes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3413 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  melek korel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3414 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Debbie Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3415 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Martha F. Hoar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3416 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Sangeeta Benbow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3417 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Brigid Keeley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3418 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  David Hand
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3419 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Carolyn Villanova
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3420 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karen Liao
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3421 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Cathy Bilsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3422 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3423 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dave Marott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3424 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Stack Kenny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3425 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Stack Kenny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3426 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dianne Lane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3427 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Brigid Keeley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3428 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Bruce Moyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3429 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dave Marott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3430 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Michael Watson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3431 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  susan scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3432 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Robert Lemlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3433 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Nancy Holmes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3434 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Fred Myrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3435 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jesse Mallory
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3436 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Karin Ralph
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3437 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Bruce Moyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3438 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Hand
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3439 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joshua Katzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3440 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

   Dr. Phillip Freeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3441 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Do not be pressured by the Republican puppets of the "Dirty Fuels" businesses to let their
  bosses off the hook.

  Sincerely,

  Michael Revord
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3442 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robin Mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3443 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Stavros
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3444 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lana La Fata
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3445 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hilary McIndoo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3446 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3447 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Watson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3448 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  melek korel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3449 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Becki Fulmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3450 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely, James J Provenzano

  James Provenzano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3451 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joshua Katzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3452 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Harriet Adams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3453 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Nancy Holmes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3454 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jesse Mallory
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3455 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Fassino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3456 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Fred Myrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3457 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Angela Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3458 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sue Van Loon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3459 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  William Pritchad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3460 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3461 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  maryanne pilgram
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3462 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Jonathan Gillespie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3463 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carolyn Haupt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3464 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Holly Marczak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3465 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Garry Clark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3466 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  James Provenzano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3467 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Angela Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3468 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Paul Davenport
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3469 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patrick Whalen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3470 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Eric Fournier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3471 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Eric Fournier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3472 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cathy Caldiwe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3473 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues -- I urge you to include strict language in the
  final agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated, and taxpayers should not
  be paying any associated costs.

  Sincerely,

  Mark Bartleman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3474 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  William Pritchad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3475 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Sue Van Loon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3476 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Patrick Whalen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3477 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Paul Davenport
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3478 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Carolyn Haupt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3479 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jan Beeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3480 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Gary Hargrove
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3481 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Greg Clerke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3482 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael VanZant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3483 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Richard Schoonmaker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3484 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Vsevolod Gurevich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3485 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karen Hauck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3486 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gary Hargrove
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3487 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Marston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3488 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Shawnie McAdams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3489 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Scott Brookover
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3490 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Naomi Jacobs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3491 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Catherine Blake
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3492 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Bren Cozad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3493 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna J. Fasanella
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3494 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janice Cechony
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3495 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael VanZant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3496 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathryn Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3497 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dorothy DeVitto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3498 of 13201
  Loretta Lynch
  Department of Justice

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  Greg Clerke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3499 of 13201
  Loretta Lynch
  Department of Justice

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  Daniel Marston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3500 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carmen Mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3501 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Allison Pierce
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3502 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Scott Brookover
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3503 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shawnie McAdams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3504 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joel Porter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3505 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Ms Jackie L Tryggeseth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3506 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Lowell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3507 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Mary Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3508 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ann Pacey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3509 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Marjorie Ostle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3510 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Dorothy DeVitto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3511 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Julie Viergutz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3512 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Cindy Michaels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3513 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Fran Maroney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3514 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sue Hoffman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3515 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  Sincerely,

  Melissa Bauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3516 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Melissa Bauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3517 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carmen Mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3518 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mark Swanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3519 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  James Whitelock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3520 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bob Steininger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3521 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Kurt Swanstrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3522 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jane and Rino Servadio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3523 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael Powell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3524 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Charles Wirth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3525 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Ann Pacey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3526 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Allison Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3527 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Stephanie Carter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3528 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mr. Charles Wirth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3529 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Powell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3530 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jane and Rino Servadio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3531 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mike Bushaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3532 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  James Whitelock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3533 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bob Steininger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3534 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  meredith ryan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3535 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  Sincerely,

  Patricia Howie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3536 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Karen Orner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3537 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Stephanie Carter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3538 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Allison Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3539 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shelly Running
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3540 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Ritter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3541 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Emil Aanestad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3542 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Aaron Hobson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3543 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Maureen Besancon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3544 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  meredith ryan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3545 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lilian Robinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3546 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Eleanor Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3547 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Rarick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3548 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  ROBERTA STERN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3549 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sherri West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3550 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bren Cozad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3551 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Timothy Warner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3552 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  David Schwartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3553 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ryan Hanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3554 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Maureen Besancon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3555 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sheryl Eaton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3556 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Maria Asteinza
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3557 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Victor Ponce-Juarez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3558 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sherri West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3559 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Julie Clark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3560 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Barbara Wyly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3561 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  ROBERTA STERN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3562 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ryan Hanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3563 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Elizabeth Sexton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3564 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ruth Eblen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3565 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Ritter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3566 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Bushaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3567 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Doty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3568 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Catherine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3569 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Ploger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3570 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sheryl Eaton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3571 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Timothy Warner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3572 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aaron Hobson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3573 of 13201
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  Sincerely,

  Patty Daugharty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3574 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jim Burns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3575 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Victor Ponce-Juarez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3576 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  R. Lance Loughlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3577 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anna McCreery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3578 of 13201
  Loretta Lynch
  Department of Justice

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  Carol Doty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3579 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Puffenberger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3580 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3581 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Willis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3582 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Evan Pinkney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3583 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julianne Ramaker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3584 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Stefacek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3585 of 13201
  Loretta Lynch
  Department of Justice

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  James Ploger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3586 of 13201
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  Sincerely,

  Jerome Cohn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3587 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. David Leithauser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3588 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eileen Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3589 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eugenia Alvarez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3590 of 13201
  Loretta Lynch
  Department of Justice

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  Chuck Graver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3591 of 13201
  Loretta Lynch
  Department of Justice

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  Jim Burns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3592 of 13201
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  Sincerely,

  Ricardo Pacheco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3593 of 13201
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  Sincerely,

  Rafael Flores
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3594 of 13201
  Loretta Lynch
  Department of Justice

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  Mary Puffenberger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3595 of 13201
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  Sincerely,

  D Nicholson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3596 of 13201
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  Sincerely,

  Alva Pingel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3597 of 13201
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  Sincerely,

  LAURA HALL
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3598 of 13201
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  Department of Justice

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  Sincerely,

  Aaron Krohn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3599 of 13201
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  Sincerely,

  Amanda Legsdin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3600 of 13201
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  Sincerely,

  Rosemary W
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3601 of 13201
  Loretta Lynch
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  Andrea Alagammai
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3603 of 13201
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  Department of Justice

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  R. Lance Loughlin
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  Chuck Graver
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  Knud Padborg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3607 of 13201
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  Ms. Judith Pearson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3608 of 13201
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  Department of Justice

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  Aaron Krohn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3609 of 13201
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  Sincerely,

  Rima Rosenthal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3610 of 13201
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  Department of Justice

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  Sincerely,

  Michael Sarabia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3611 of 13201
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  Sincerely,

  Karen Rarick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3612 of 13201
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  Sincerely,

  Karen Rarick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3613 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Catherine Phipps
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3614 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Rosemary Smith-Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3615 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Eileen Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3616 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ms. Judith Pearson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3617 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Andrea Alagammai
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3618 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Alva Pingel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3619 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Sarabia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3620 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mark Laity-Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3621 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Rosemary Smith-Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3622 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kerry Kuhn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3623 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Thomas Hernandez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3624 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Steve Robey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3625 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rima Rosenthal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3626 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jamie Moffitt-Graham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3627 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Pruitte
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3628 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lex Hames
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3629 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Colin Hetzel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3630 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chandra Rambo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3631 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce Hallett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3632 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Fay Renardson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3633 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Maurizio Sini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3634 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Rosemary W
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3635 of 13201
  Loretta Lynch
  Department of Justice

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  Rosemary W
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3636 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  D. Arslani
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3637 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Paul Gorman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3638 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lisa Hoch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3639 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leo Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3640 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Neil Bacher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3641 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce Hallett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3642 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jranne Mackay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3643 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leonard Douglass
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3644 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Laity-Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3645 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dana May
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3646 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Richard Beaulieu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3647 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Samantha Martinez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3648 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Jon Bazinet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3649 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Robey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3650 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jranne Mackay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3651 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Scott Bishop
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3652 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ron Giddings
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3653 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Samantha Martinez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3654 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jim Domenico
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3655 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eric Mattei
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3656 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  belen lopez-deleon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3657 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Don Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3658 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Beaulieu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3659 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  tari pantaleo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3660 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ofelia Lam
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3661 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eugenia Alvarez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3663 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Andrea Chisari
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3664 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  w Lindauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3665 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Standerfer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3666 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Quimby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3667 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3668 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Theresa Titone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3669 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robert Liedike
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3670 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Randolph Zimmerman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3671 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margot Fogerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3672 of 13201
  Loretta Lynch
  Department of Justice

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  Andrea Chisari
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3673 of 13201
  Loretta Lynch
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  Sincerely,

  belen lopez-deleon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3674 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeffery Pelath
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3675 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Penny Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3676 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3677 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Liedike
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3678 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Ballard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3679 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Hamlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3680 of 13201
  Loretta Lynch
  Department of Justice

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  Theresa Titone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3681 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter Coan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3682 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  tari pantaleo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3683 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Swanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3684 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Slanger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3685 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Char Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3686 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Daniels-Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3687 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Helen Vradelis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3688 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  e. frederick bassett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3689 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  karla walters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3690 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margot Fogerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3691 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Park
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3692 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3693 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Wendell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3694 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gustavo Sandoval
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3695 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ralf Schuetz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3696 of 13201
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  Department of Justice

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  Sincerely,

  j Howse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3697 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Adam Kay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3698 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bobby Singh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3699 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3700 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jill Ganassi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3701 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bobby Singh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3702 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joy Mankoff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3703 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Park
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3704 of 13201
  Loretta Lynch
  Department of Justice

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  Adam Kay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3705 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ralf Schuetz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3706 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jean OHara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3707 of 13201
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  Department of Justice

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  Sincerely,

  Michelle Bourgoyne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3708 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Catherine Kilgore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3709 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deb Stewart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3710 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeffery Morgenthaler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3711 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Justin Prem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3712 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jill Ganassi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3713 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Melody Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3714 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Mayer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3715 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Gricki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3716 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jamie Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3717 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gustavo Sandoval
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3718 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Whitehurst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3719 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter Childs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3720 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Monika Seegler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3721 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deb Stewart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3722 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Stewart Wiggers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3723 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Howard Karsh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3724 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce Desiderio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3725 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Collings
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3726 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3727 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Char Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3728 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeffery Morgenthaler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3729 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3730 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Melody Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3731 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nick Dumont
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3732 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Catherine Kilgore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3733 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce Desiderio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3734 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Patterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3735 of 13201
  Loretta Lynch
  Department of Justice

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  Carol Whitehurst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3736 of 13201
  Loretta Lynch
  Department of Justice

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  Robert Puchli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3737 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Yll
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3738 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shoshanah Stone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3739 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3740 of 13201
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  Sincerely,

  Buford Cummings Jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3742 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Angela Orozco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3743 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Louis Micich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3744 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John M Long
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3745 of 13201
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  Department of Justice

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  Sincerely,

  Fred Sapulpa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3746 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gail Roberts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3747 of 13201
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  Department of Justice

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  Sincerely,

  Kalinke ten Hulzen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3748 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Scott Kennedy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3749 of 13201
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  Department of Justice

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  Sincerely,

  jacki masar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3750 of 13201
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3751 of 13201
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  Sincerely,

  Ed McCullough
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3752 of 13201
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  Sincerely,

  Allen Gibas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3753 of 13201
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  Sincerely,

  Robert Puchli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3754 of 13201
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  Department of Justice

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  Sincerely,

  John Downing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3755 of 13201
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  Department of Justice

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  Sincerely,

  Tomate Lechuga
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3756 of 13201
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  Sincerely,

  Rashid Patch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3757 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Trujillo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3758 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rachel Heumam
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3759 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Heidi Jurka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3760 of 13201
  Loretta Lynch
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  Sincerely,

  Patrick Spurlock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3761 of 13201
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  Sincerely,

  Jason Nichols
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3762 of 13201
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  Sincerely,

  Ms. Theresa Perenich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3763 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kay Keys
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3764 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David S.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3765 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Culp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3766 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  victoria wade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3767 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Ellis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3768 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ingrid Broecker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3769 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rashid Patch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3770 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steven Ganter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3771 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lorie Long
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3772 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Allen Gibas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3773 of 13201
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  Department of Justice

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  Sincerely,

  Martha Abatuno
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3774 of 13201
  Loretta Lynch
  Department of Justice

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  Ms. Theresa Perenich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3776 of 13201
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  Department of Justice

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  victoria wade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3777 of 13201
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  Department of Justice

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  Sincerely,

  Iris Edinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3778 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Niara Isley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3780 of 13201
  Loretta Lynch
  Department of Justice

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  Kay Keys
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  Department of Justice

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  Sincerely,

  Rachel Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3782 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Ellis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3783 of 13201
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  Department of Justice

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  Rachel Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3784 of 13201
  Loretta Lynch
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  Sincerely,

  Louis Santiago
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3785 of 13201
  Loretta Lynch
  Department of Justice

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  Martha Abatuno
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3786 of 13201
  Loretta Lynch
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  Sandra Olson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3787 of 13201
  Loretta Lynch
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  Sincerely,

  Kathe Garbrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3788 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janice Hamersky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3789 of 13201
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  Department of Justice

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  Niara Isley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3790 of 13201
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  Sincerely,

  Bro.James van Koolbergen,CFC
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3791 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vicki Stefancich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3792 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cuauhtémoc González
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3793 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Heller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3794 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  jill greer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3795 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Denise White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3796 of 13201
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  Department of Justice

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  Sincerely,

  Erika Wanenmacher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3797 of 13201
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  Department of Justice

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  Sincerely,

  Louisette Pochat
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3798 of 13201
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  Department of Justice

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  Sincerely,

  Jamie K Donaldson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3799 of 13201
  Loretta Lynch
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  Dennis Wolff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3800 of 13201
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  Department of Justice

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  James Trujillo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3801 of 13201
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  jill greer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3802 of 13201
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  James White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3803 of 13201
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  Mrs. Sandy Lynn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3809 of 13201
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  jan jordan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3810 of 13201
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  Sandra Faverio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3811 of 13201
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  Layken Bovaird
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3812 of 13201
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  Sincerely,

  Denise White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3813 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Ordway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3814 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Burkhard Broecker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3815 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edward Larkey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3816 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  S. Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3817 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  jan jordan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3818 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ginger Carter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3819 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sandra Faverio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3820 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brenda Walstrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3821 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  GF Wade Jr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3822 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rachael Neffshade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3823 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beth Pulawski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3824 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tabatha Chapman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3825 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joshua Belknap
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3826 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Werner Jacob
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3827 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3828 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3829 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3830 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Layken Bovaird
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3831 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Else
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3832 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Clary
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3833 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carrie Mann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3834 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Katharine B. Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3835 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Werner Jacob
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3836 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Melissa Mazias
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3837 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marjorie Gelber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3838 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maria Teresa Agozzino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3839 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Russell Somerset
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3840 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  m gutierrez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3841 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  kenneth walters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3842 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3843 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tabatha Chapman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3844 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lorie Long
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3845 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Lippner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3846 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3847 of 13201
  Loretta Lynch
  Department of Justice

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  Marjorie Gelber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3848 of 13201
  Loretta Lynch
  Department of Justice

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  kenneth walters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3849 of 13201
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  Department of Justice

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  Sincerely,

  Sharon R Fortunak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3850 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anthony Fleury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3851 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3852 of 13201
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  Sincerely,

  Evelyn McChesney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3853 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nicole Casebolt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3854 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3855 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathleen Ventrella
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3856 of 13201
  Loretta Lynch
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  Richard Burlage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3857 of 13201
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  Sincerely,

  Dennis Finn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3858 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sara Sims
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3859 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judith Knouff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3860 of 13201
  Loretta Lynch
  Department of Justice

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  Linda Lippner
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  Sincerely,

  Inez Goodin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3863 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cathy Zimmerman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3864 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon R Fortunak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3865 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nicole Casebolt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3866 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Krumrein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3867 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Tom Hicks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3868 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  jessica mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3869 of 13201
  Loretta Lynch
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  Sincerely,

  James Cooley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3870 of 13201
  Loretta Lynch
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  Sincerely,

  Diane Berl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3871 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judith Knouff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3872 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Cobb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3873 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3874 of 13201
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  Sincerely,

  Michael Carmody
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3875 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3876 of 13201
  Loretta Lynch
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  Inez Goodin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3877 of 13201
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  Sincerely,

  Chris Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3878 of 13201
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  Department of Justice

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  Sincerely,

  Claudia Petrikowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3879 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathleen Ventrella
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3880 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Hobbs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3881 of 13201
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  Department of Justice

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  Chris Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3882 of 13201
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  Sincerely,

  Ms. Kathi Kibbel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3883 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jim Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3884 of 13201
  Loretta Lynch
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  Sincerely,

  Luke Steichen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3885 of 13201
  Loretta Lynch
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  Sincerely,

  Nancy K Simpson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3886 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jill Brothers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3888 of 13201
  Loretta Lynch
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  Etta Robin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3889 of 13201
  Loretta Lynch
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  Sincerely,

  Dylan Nguyen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3891 of 13201
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  Sincerely,

  Pamela Mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3892 of 13201
  Loretta Lynch
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  Sincerely,

  Donna Ford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3893 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Gregory MD
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3894 of 13201
  Loretta Lynch
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  Sincerely,

  Kate Crowley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3895 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet Rafferty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3897 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barron Black
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3898 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jessica Luna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3899 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3901 of 13201
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  Sincerely,

  James Hildebrand
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3903 of 13201
  Loretta Lynch
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  Kate Crowley
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  Sincerely,

  Michelle Carter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3906 of 13201
  Loretta Lynch
  Department of Justice

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  Rich Barrett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3907 of 13201
  Loretta Lynch
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  Sincerely,

  Richard Knablin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3908 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Sutton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3910 of 13201
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  Sincerely,

  Jason O'Reilly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3911 of 13201
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  Sincerely,

  Patricia Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3912 of 13201
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  Department of Justice

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  Brandye Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3913 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Michelle Carter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3914 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shannon Milhaupt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3915 of 13201
  Loretta Lynch
  Department of Justice

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  Debbie Imhoff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3916 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dean Mcmillen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3917 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Mochel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3918 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kym Waugh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3919 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Burlage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3920 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Ford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3921 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Constanza Correa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3922 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pamela Brocious
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3923 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Sutton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3924 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Hildebrand
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3925 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shannon Milhaupt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3926 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3927 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephen Wilcoxon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3928 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cynthia Mahlau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3929 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Romanowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3930 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Verdicchio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3931 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Knablin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3932 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Kestella
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3933 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. R. Zierikzee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3934 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vinny McElhiney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3935 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julia VandeGrift
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3936 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  VIRGINIA ARADIO
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3937 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lloyd Loring
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3938 of 13201
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  Department of Justice

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  Department of Justice

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  Michael B Wisper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3940 of 13201
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  Bob Keeland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3941 of 13201
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  Mr. Phillip C'de Baca
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3942 of 13201
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  Sincerely,

  Debi Aldrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3943 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Melissa Mazias
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3944 of 13201
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  Mr. Andrew Locatelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3945 of 13201
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  Department of Justice

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  Sincerely,

  Lilly Knuth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3946 of 13201
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  Department of Justice

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  Judy Romanowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3947 of 13201
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  Sincerely,

  Vic Berry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3948 of 13201
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  Department of Justice

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  Mr. Mike Michael Seyfried
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3949 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3950 of 13201
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  David Longobucco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3951 of 13201
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  Department of Justice

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  Helen Rynaski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3952 of 13201
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  Sincerely,

  Deborah Gouge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3953 of 13201
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  Department of Justice

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  Sincerely,

  Jona Petrikowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3954 of 13201
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  Sincerely,

  Mr. S. Chapek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3955 of 13201
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  Department of Justice

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  Eric Magers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3957 of 13201
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3958 of 13201
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  Department of Justice

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  Sincerely,

  Jamie Gannon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3959 of 13201
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  Department of Justice

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  Kym Waugh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3960 of 13201
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  Department of Justice

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  Sincerely,

  Scott Krauser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3961 of 13201
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  Department of Justice

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  Melissa Lamkin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3962 of 13201
  Loretta Lynch
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  Sincerely,

  Eric Weissberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3963 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Luanne Sievers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3964 of 13201
  Loretta Lynch
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  David Longobucco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3965 of 13201
  Loretta Lynch
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  Mr. Phillip C'de Baca
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3967 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lorrie Ogren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3968 of 13201
  Loretta Lynch
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  Sincerely,

  Eric Magers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3969 of 13201
  Loretta Lynch
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  Sincerely,

  Lilly Knuth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3970 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deborah Gouge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3971 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3972 of 13201
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  Sincerely,

  John Niendorf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3973 of 13201
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  Sincerely,

  Mary Wood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3974 of 13201
  Loretta Lynch
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  Sincerely,

  Sherry Sprayberry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3975 of 13201
  Loretta Lynch
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  Sincerely,

  Victor Tweed
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3976 of 13201
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  Sincerely,

  Heidi Carton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3977 of 13201
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  Sincerely,

  Helen Rynaski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3978 of 13201
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  Ronald Nowicki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3979 of 13201
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  Geoffrey Fisher
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  Jamie Gannon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3981 of 13201
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  Eric Weissberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3982 of 13201
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  Sincerely,

  Miklos Bosarge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3983 of 13201
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  Sincerely,

  kathy jongsma
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3984 of 13201
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  Priscilla Harrier
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  Philo Caps
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3986 of 13201
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  Heather Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3988 of 13201
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  John Daly
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  Adam Pastula
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  Ashley Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 3993 of 13201
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  Av Harville
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  James Ward
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  Dan Michaud
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  Jan Tyler
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  Anne Alexander
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  Sincerely,

  Catherine Breen
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  Geoffrey Fisher
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  Sincerely,

  E. Ingrid Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4004 of 13201
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  Sincerely,

  Alva Johnson
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  Sincerely,

  Kristi Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4006 of 13201
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  Sincerely,

  Melissa` Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4007 of 13201
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  Richard Plancich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4008 of 13201
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  Diana Washburn
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  Joseph Appleton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4010 of 13201
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  Alva Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4013 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kim Nero
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4014 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Catherine Gould
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4015 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kim Nero
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4016 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  E. Ingrid Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4017 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Katherine B. White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4018 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Melody Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4019 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alan Holt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4020 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Catherine Gould
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4021 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joseph Appleton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4022 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Karla Klueter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4023 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bo Baggs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4024 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carl Kalisvaart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4025 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Keck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4026 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Karen Burroughs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4027 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alan Holt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4028 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marilyn Brunger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4029 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Kathy Schreibeis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4030 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Sue Wilkin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4031 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Bo Baggs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4032 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  MJ Timmins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4033 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Beverly Rae
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4034 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Melody Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4035 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bill Acord
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4036 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Av Harville
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4037 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Matthew Janusauskas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4038 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Keck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4039 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Burroughs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4040 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Glen Pappas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4041 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kurk Schoner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4042 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Patricia Hilleary
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4043 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brookie Judge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4044 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kara Graul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4045 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandy Ma
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4046 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4047 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4048 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Patrick A. Sigala
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4049 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carl Kalisvaart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4050 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  MJ Timmins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4051 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Clancy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4052 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karla Klueter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4053 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Theresa Willis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4054 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Glen Pappas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4055 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Brookie Judge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4056 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bita Edwar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4057 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Andrew P Connolly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4058 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Justin Madia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4059 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Kathy Schreibeis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4060 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Robert McGeachie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4061 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  P. Melanie Vliet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4062 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patricia Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4063 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marilyn Brunger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4064 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Sandy Ma
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4065 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Bita Edwar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4066 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Eileen Weisinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4067 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4068 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jerry Ravnitzky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4069 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Samuel Austin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4070 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Theresa Willis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4071 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  James Bumgarner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4072 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judith Adrian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4073 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bill Gilbert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4074 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Clancy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4075 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Gelder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4076 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tammy Routley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4077 of 13201
  Loretta Lynch
  Department of Justice

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  Ms. Eileen Weisinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4078 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ray wenrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4079 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4080 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  adam kaplan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4081 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Samuel Austin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4082 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Gerdes-McClain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4083 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rich Meier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4084 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roger Rohe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4085 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  shawn thomas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4086 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jerry Ravnitzky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4087 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrew P Connolly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4088 of 13201
  Loretta Lynch
  Department of Justice

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  William Gerdes-McClain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4089 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Larry Van Gelder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4090 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary kurkowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4091 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynne Glaeske
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4092 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  George Garcia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4093 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Justin Madia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4094 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  sarah gilbert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4095 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lauri Rizio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4096 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Brian Paul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4097 of 13201
  Loretta Lynch
  Department of Justice

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  Lauri Rizio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4098 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  sarah gilbert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4099 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4100 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tim Kellerman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4101 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cris Usher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4102 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christian Hobbes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4103 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leonard Silver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4104 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cherryl Friedman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4105 of 13201
  Loretta Lynch
  Department of Justice

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  George Garcia
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  Sincerely,

  Ray wenrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4107 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nikisha Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4108 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kay Ware
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4109 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4110 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pamela Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4111 of 13201
  Loretta Lynch
  Department of Justice

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  Department of Justice

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  Sincerely,

  Wallace Rhine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4113 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nancy Harlow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4114 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Leonard Silver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4115 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Affleck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4116 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joan Conca
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4117 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Arlene Renshaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4118 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Leonard Houghtaling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4119 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cris Usher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4120 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  be left paying the cost of it.

  Sincerely,

  Pamela Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4121 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jeri Sawall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4122 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Jon McWilliams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4123 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Leslie Lindsay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4124 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Marleen Neus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4125 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cameron Mosley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4126 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Nancy Harlow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4127 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jim Watkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4128 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Leslie Lindsay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4129 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  B Bergeron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4130 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Runa Schlaffer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4131 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Joan Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4132 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Andrew Locatelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4133 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Rachel C
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4134 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Shirley Harrington-Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4135 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Shirley Harrington-Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4136 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joan Conca
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4137 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marleen Neus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4138 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Theresa M. Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4139 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Andrea Ferrari
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4140 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jim Watkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4141 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cameron Mosley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4142 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Cathie Ernst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4143 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Mace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4144 of 13201
  Loretta Lynch
  Department of Justice

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  Theresa M. Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4145 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  J. Brian Graham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4146 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cordale Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4147 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mark Lusch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4148 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Pat Mace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4149 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mayra Garcia - Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4150 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  B Bergeron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4151 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Runa Schlaffer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4152 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Arlene Renshaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4153 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paula Surmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4154 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cordale Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4155 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joan Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4156 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lee Pritchard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4157 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  George Ludwig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4158 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mayra Garcia - Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4159 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Sharon Bourke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4160 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Kristin Gallanosa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4161 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lee Pritchard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4162 of 13201
  Loretta Lynch
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Wil Levine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4163 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mark Lusch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4164 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  faye karson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4165 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paula Surmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4166 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  George Ludwig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4167 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Landress
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4168 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Benoit Muracciole
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4169 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stacey Gunderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4170 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Judith Snider
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4171 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Kristin Gallanosa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4172 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Wallin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4173 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4174 of 13201
  Loretta Lynch
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  Sincerely,

  shemayim elohim
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4175 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Judith Denham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4176 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  S. E. Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4177 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  N Refes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4178 of 13201
  Loretta Lynch
  Department of Justice

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  Judy Landress
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4179 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Heather Fox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4180 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Carl Prellwitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4181 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cray Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4182 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  William Wallin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4183 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4184 of 13201
  Loretta Lynch
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  be left paying the cost of it.

  Sincerely,

  JANET Carmichael
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4185 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Michael weiner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4186 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Haven
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4187 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robin Craft
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4188 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Kelbaugh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4189 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Young Klessig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4190 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4191 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Grover Gregory
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4192 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4193 of 13201
  Loretta Lynch
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  Carl Prellwitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4194 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pam Spritzer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4195 of 13201
  Loretta Lynch
  Department of Justice

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  JANET Carmichael
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4196 of 13201
  Loretta Lynch
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  S. E. Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4197 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Bourke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4198 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sergey Falko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4199 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Young Klessig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4200 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Klein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4201 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Wendy Tokuda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4202 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Bower
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4203 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Regan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4204 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Terry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4205 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Demetzky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4206 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Eliz Hunter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4207 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Kenneth Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4208 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julie Brou
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4209 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Myhre
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4210 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Wayne Langford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4211 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Frank Rouse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4212 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Cheryl Rebischung
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4213 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Heather Sanchez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4214 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barbara Bailly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4215 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brian Grau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4216 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  BP needs to pay all of it.

  Sincerely,

  Thomas Bolker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4217 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael Terry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4218 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Shawn Tays
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4219 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Susan Dunaway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4220 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cameron Dillon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4221 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barbara Bailly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4222 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Heather Sanchez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4223 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  jEANET MCGEE
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4224 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ronald Paige MSG USA Ret
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4225 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Ms. Joyce 0 Raby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4226 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sergey Falko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4227 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brian Grau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4228 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Susan Klein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4229 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Shawn Tays
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4230 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Bower
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4231 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Robin Craft
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4232 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Daniel Demetzky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4233 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Margo Salone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4234 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  MARY JO KUFFNER
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4235 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Cameron Dillon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4236 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  vicki hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4237 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kenneth Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4238 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joyce Kaechele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4239 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karen Rivers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4240 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Larry Lepley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4241 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Betty Neuenschwander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4242 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Daniel Saltz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4243 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Max C
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4244 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Annapurna Moffatt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4245 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Max C
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4246 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Stewart Smythe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4247 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  melissa fleming
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4248 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Stephen Girard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4249 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Erik Montalvo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4250 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Deborah Sevy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4251 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lisa Stimpson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4252 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Frank Rouse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4253 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Constanza Correa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4254 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karen Rivers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4255 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anita Moeder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4256 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kim Dicey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4257 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Erik Montalvo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4258 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Myra Rieger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4259 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jan Emerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4260 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Patti Rospert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4261 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Larry Lepley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4262 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alex Mattson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4263 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sharon Newman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4264 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Melissa VerDuin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4265 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Lynn Eland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4266 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rita F.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4267 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Tricia Murphy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4268 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Wanda Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4269 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lisa Stimpson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4270 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Anthony Stratton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4271 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  BOB HAGELE
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4272 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Deborah Sevy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4273 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joyce Kaechele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4274 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Lynn Mansfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4275 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Michael McConaghy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4276 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Myra Rieger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4277 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anita Moeder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4278 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Herman Schiller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4279 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  michael forcade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4280 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Rita F.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4281 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Patsy Lowe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4282 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynn Mansfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4283 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jan Emerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4284 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Penny Pearce
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4285 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dolores Congdon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4286 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anthony Stratton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4287 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dr T Mikus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4288 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynn Eland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4289 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tricia Murphy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4290 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  michael forcade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4291 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4292 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Annapurna Moffatt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4293 of 13201
  Loretta Lynch
  Department of Justice

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  Dr T Mikus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4294 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Haavind
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4295 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Elizabeth Butler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4296 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nelson Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4297 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daviann McClurg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4298 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stewart Smythe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4299 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Penny Pearce
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4300 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

   Burton Jaffe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4301 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Garitty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4302 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  James Hickman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4303 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patsy Lowe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4304 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  linda paleias
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4305 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Constance Sutton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4306 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lorraine Weber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4307 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eldon Haines
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4308 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nelson Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4309 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Doris Henry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4310 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4312 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Corry Schafer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4313 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sandra Farkas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4314 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  James Hickman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4315 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Laurie Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4316 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bill Vom Weg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4317 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Egli Veronika und Andreas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4318 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms Jackie L Tryggeseth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4319 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Laura Herndon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4320 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  be left paying the cost of it.

  Sincerely,

  Doris Henry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4321 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Anne-Marie Mallon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4322 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael Garitty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4323 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  tom van lear
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4324 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  LISA PATTON
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4325 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  tom van lear
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4326 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kenneth Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4327 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Elizabeth Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4328 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Paula Crook
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4329 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  LISA PATTON
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4330 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Judy Bumgarner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4331 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jennifer Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4332 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Egli Veronika und Andreas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4333 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Linda Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4334 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Linda Weiner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4335 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amanda Summers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4336 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jennifer Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4337 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ruth Candio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4338 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ann Lazaroff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4339 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4340 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Madeleine Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4341 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Cecilie Bodnar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4342 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Deanna K.    Celico
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4343 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Ellen Garza
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4344 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Linda Weiner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4345 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Shirley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4346 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Sheila Humphries
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4347 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sara Garcia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4348 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dyan Gibson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4349 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joene Bryant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4350 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Ya Hui Shih
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4351 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4352 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Larry Murphy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4353 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Charles Cohen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4354 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Griess
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4355 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bonita Schack
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4356 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sheila Humphries
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4357 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brian Dalton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4358 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Andrea Zinn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4359 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Richard Gawthrop
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4360 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ya Hui Shih
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4361 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brian Dalton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4362 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amanda Summers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4363 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amanda Summers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4364 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Maria Millar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4365 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Larry Murphy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4366 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Miles Gibson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4367 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Altavilla
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4368 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  J Ferguson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4369 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ken Pullen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4370 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Griess
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4371 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Maria Millar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4372 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Seabury Lyon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4373 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Singer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4374 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  tony fernandes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4375 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Kris Swanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4376 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Karen Valentini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4377 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Charles Cohen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4378 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jennifer Thall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4379 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Paul Densmore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4380 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  J Ferguson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4381 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Beverly Blackburn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4382 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Daviann McClurg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4383 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Carol Altavilla
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4384 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Dorothy Neff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4385 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Kathleen MacDowell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4386 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ken Pullen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4387 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pastor Cristoforo Padula Padula
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4388 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joann Shook
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4389 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ron Chelland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4390 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ryan Dell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4391 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beverly Blackburn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4392 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pastor Cristoforo Padula Padula
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4393 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Fomenko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4394 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  HELENE ADAMS
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4395 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Deborah Cady
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4396 of 13201
  Loretta Lynch
  Department of Justice

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  Ron Chelland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4397 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nicole Rosa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4398 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lari Tiller Howell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4399 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dorothy Neff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4400 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pamela Brightman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4401 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Margaret Klocinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4402 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  HELENE ADAMS
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4403 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Klutts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4404 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Russell Ranshaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4405 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Irene Pomianowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4406 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David H. Finke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4407 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Albert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4408 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Neil Holzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4409 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Margaret Klocinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4410 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lonna Richmond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4411 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Megan Eding
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4412 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Margaret McCartney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4413 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lori Triggs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4414 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Terry Mansfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4415 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Howard Hobson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4416 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Annette Waddington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4417 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Irene Pomianowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4418 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barbara Albert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4419 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Thomas Albanese
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4420 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lonna Richmond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4421 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Kyle Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4422 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,
  tony fernandes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4423 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Phil Klein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4424 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Deborah Cady
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4425 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Susanna Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4426 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Annika Roberts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4427 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Terry Mansfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4428 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Annette Waddington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4429 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Phil Klein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4430 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jean Ziegler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4431 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. PATTI MARTIN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4432 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Dorene Robinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4433 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nancy Dotlo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4434 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Guy McGee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4435 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  Sincerely,

  Pamela Brightman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4436 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ms. PATTI MARTIN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4437 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lori Triggs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4438 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Dian Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4439 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diana Franco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4440 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ryan Dell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4441 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Megan Eding
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4442 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Chris Styga
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4443 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kyle Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4444 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Patricia Frey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4445 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Phylis Logsdon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4446 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Guy McGee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4447 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  It is time to set a precedent that changes the way America does Business on the backs of
  taxpayers.

  Sincerely,

  David Carr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4448 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Holly Auman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4449 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Virnala
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4450 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  W.R. Carter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4451 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Baley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4452 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Midori Furutate
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4453 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4454 of 13201
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  Department of Justice

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  Phylis Logsdon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4455 of 13201
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  Department of Justice

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  Sincerely,

  Gabriel Bobek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4456 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris Styga
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4457 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Dotlo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4458 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mr. Stephen Gliva
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4459 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Schenck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4460 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Judith Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4461 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Barbara Tessada
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4462 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  James Virnala
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4463 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Shore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4464 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gabriel Bobek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4465 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Midori Furutate
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4466 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Gasperoni
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4467 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Janet Graham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4468 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ana Chou
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4469 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Larsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4470 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  david richman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4471 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sant Subagh Khalsa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4472 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  simon bowler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4473 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ana Chou
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4474 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bill O'Connell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4475 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Larsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4476 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Janet Graham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4477 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Errol McCollum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4478 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Judi Naue
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4479 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Larry Hannon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4480 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I strongly urge you to include strict language in
  the final agreement that prohibits BP from claiming any portion of its settlement costs as a
  tax deduction.

  The tragedy of the Deepwater Horizon must NEVER be repeated, and taxpayers should
  NOT be left paying the cost of it.

  Thank you for considering my views.

  Sincerely,

  Moraima Suarez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4481 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rita Jaskowitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4482 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  simon bowler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4483 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Gasperoni
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4484 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alison Storer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4485 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nicholas Wienholz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4486 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lilia Wood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4487 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Karin Davies
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4488 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Julie Slater-Giglioli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4489 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kristyn MacPhail
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4490 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cheryl Heinecke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4491 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patricia Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4492 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lilia Wood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4493 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Julie Slater-Giglioli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4494 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Laura Hartman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4495 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Julie Slater-Giglioli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4496 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jan Lee Sproat
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4497 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kristyn MacPhail
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4498 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alison Wien
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4499 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Livingston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4500 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  J Macfarland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4501 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rita Jaskowitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4502 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Karin Davies
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4503 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amy Forson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4504 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sofia P
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4505 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Laura Hartman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4506 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nicholas Wienholz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4507 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cheryl Heinecke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4508 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  susan dembowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4509 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Doering
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4510 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  J Macfarland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4511 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jan Lee Sproat
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4512 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alison Wien
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4513 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Teresa Carstensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4514 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amy Forson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4515 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Kirk Shellko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4516 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Norman Haussner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4517 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Livingston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4518 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  robert rothman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4519 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sofia P
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4520 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Laura Stice
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4521 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Norman Haussner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4522 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Florence Erwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4523 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Angie Klein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4524 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  John Hrabar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4525 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Link Van Cleave
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4526 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nora Gaines
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4527 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Hrabar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4528 of 13201
  Loretta Lynch
  Department of Justice

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  Nora Gaines
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4529 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Angie Klein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4530 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sylvia Selverston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4531 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  MICHAEL MILAN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4532 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  MICHAEL MILAN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4533 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kasi Spyker Duncan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4534 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Florence Erwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4535 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Virginia Utt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4536 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Lance Vilter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4537 of 13201
  Loretta Lynch
  Department of Justice

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  Virginia Utt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4538 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kirk Shellko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4539 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Diana Nielsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4540 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Sylvia Selverston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4541 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carolyn Pereyra
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4542 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marilyn Fuller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4543 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Alan Kittelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4544 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sherman Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4545 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Spencer Adams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4546 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gail Kennison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4547 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Matthew Shapiro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4548 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Marilyn Fuller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4549 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carolyn Pereyra
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4550 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Hauck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4551 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Stephen Kille
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4552 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Mark McWhinney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4553 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Cheryl Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4554 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Kathy Marshall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4555 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lance Vilter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4556 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4557 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Petersen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4558 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Mark McWhinney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4559 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Cheryl Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4560 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Hauck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4561 of 13201
  Loretta Lynch
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  be left paying the cost of it.

  Sincerely,

  Martha Jaquith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4562 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sherman Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4563 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Matthew Shapiro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4564 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Christine Perkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4565 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Martha Jaquith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4566 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sant Subagh Khalsa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4567 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Sielaff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4568 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Stephen Kille
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4569 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Fonda Elder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4570 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Clapper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4571 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Monica Depaul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4572 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  John Preli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4573 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Fonda Elder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4574 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  David Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4575 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dr. Arthur Keller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4576 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tirso Moreno
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4577 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Sheryl Porter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4578 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Charlene Englerth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4579 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Monica Depaul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4580 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Kasi Spyker Duncan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4581 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Maggi Simpson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4582 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely, vc

  Victor Carmichael
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4583 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  John Preli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4584 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  David Clapper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4585 of 13201
  Loretta Lynch
  Department of Justice

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  Charlene Englerth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4586 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4587 of 13201
  Loretta Lynch
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  Sincerely,

  Carrie Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4588 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4589 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Kane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4590 of 13201
  Loretta Lynch
  Department of Justice

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  Carrie Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4591 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Arlene Hickory
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4592 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laine Reams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4593 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Fran Clarida
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4594 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Phil Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4595 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margaret Ocasio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4596 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Niehus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4597 of 13201
  Loretta Lynch
  Department of Justice

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  Fran Clarida
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4598 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Wright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4599 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Ann Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4600 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ron Pollina
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4601 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janice Singer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4602 of 13201
  Loretta Lynch
  Department of Justice

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  Ron Pollina
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4603 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margaret Ocasio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4604 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Russ Wagner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4605 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dr. George Spagna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4606 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dick Barshow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4607 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda McGavin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4608 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Russ Wagner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4609 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michelle Bondy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4610 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  James Inkenbrandt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4611 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cal Ulberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4612 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maureen Burke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4613 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:
      As the comment period for the consent decree between BP, the Justice Department,
  and the five states of the Gulf Coast continues, I urge you to include strict language in the
  final agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

     The tragedy of the Deepwater Horizon must never be repeated and taxpayers should
  not be left paying the cost of it.

  Sincerely,

  Ronald Mathsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4614 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mary Ann Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4615 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Craig Skinner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4616 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dick Barshow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4617 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joseph Gulas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4618 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mrs. Lisa Buehler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4619 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Craig Skinner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4620 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Andy Winger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4621 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mary Thornton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4622 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mrs. Lisa Buehler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4623 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Eileen m
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4624 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sheri Pardee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4625 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sanford Wilder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4626 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Paul Dunne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4627 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jill Brothers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4628 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Richard J Waldo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4629 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dorothy V. Petersen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4630 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kathy Thede-Reynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4631 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Veralli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4632 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kathy Thede-Reynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4633 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Shreshtha Jain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4634 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cynthia Costell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4635 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Beth Kessinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4636 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Parry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4637 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ruth Cooley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4638 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  James & Leslea Kunz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4639 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Linda Caplan Kuhn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4640 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  cheryl whittaker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4641 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ruth Cooley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4642 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kimberlee Maull
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4643 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jan Sarna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4644 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Linda Caplan Kuhn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4645 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barrett Goldflies
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4646 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  James & Leslea Kunz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4647 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Jerry Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4648 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Joseph Buccelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4649 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  John Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4650 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Parry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4651 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Cynthia Costell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4652 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Carola Garcia Manzano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4653 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dorothy V. Petersen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4654 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Linda Emerine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4655 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mark Walleman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4656 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jan Sarna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4657 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Larry Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4658 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Namphuong Quach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4659 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Mark Walleman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4660 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  James Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4661 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  John Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4662 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Arturo Ibarra
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4663 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carolyn Crow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4664 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  valerie gilbert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4665 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Paul Siegler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4666 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Stephen Davie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4667 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Mark Paullin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4668 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bianca Constance
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4669 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  valerie gilbert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4670 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Shreshtha Jain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4671 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jim Riksheim
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4672 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Larry Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4673 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Carrie Barclay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4674 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Deborah Warren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4675 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Arturo Ibarra
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4676 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  John Comella
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4677 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Carolyn Crow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4678 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mitch Norris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4679 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bianca Constance
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4680 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Mcguinness
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4681 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carrie Barclay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4682 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Oleg Finodeyev
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4683 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Georgia Lynn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4684 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jarryd Audette
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4685 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kerry Berry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4686 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Rebecca Chan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4687 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  jeffrey daley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4688 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sheila Dillon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4689 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Blanca Kopacz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4690 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Namphuong Quach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4691 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Loren Lugg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4692 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4693 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  mela lawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4694 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Sordill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4695 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4696 of 13201
  Loretta Lynch
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  Sincerely,

  Cheryl Gardner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4697 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Caroline Fairless
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4698 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  kevin blank
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4699 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Georgia Lynn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4700 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Catherine Erhard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4701 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Margery Coffey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4702 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jarryd Audette
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4703 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  jeffrey daley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4704 of 13201
  Loretta Lynch
  Department of Justice

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  mela lawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4705 of 13201
  Loretta Lynch
  Department of Justice

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  Cheryl Gardner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4706 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4707 of 13201
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  Sincerely,

  Joe McKamey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4708 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tim Collingwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4709 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeff Beck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4710 of 13201
  Loretta Lynch
  Department of Justice

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  Jeff Beck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4711 of 13201
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  Sincerely,

  Jessica Elenis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4712 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cathy Nieman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4713 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Margo Pellegrino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4714 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Joe McKamey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4715 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Paul Bassis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4716 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Jessica Elenis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4717 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  Sincerely,

  Pat Edley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4718 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Lesley O'Connor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4719 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Autumn Sun
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4720 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Sheri Pardee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4721 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Nancy Israel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4722 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Karen Nistor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4723 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michaelangelo DeSerio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4724 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Paul Bassis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4725 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lesley O'Connor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4726 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Norgrove
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4727 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Christine Otto Zaa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4728 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ken Staiger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4729 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Pat Edley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4730 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jean Reiher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4731 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rich Ottenstroer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4732 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joseph DeMarco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4733 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Fay Forman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4734 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ms. Kimberly Walter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4735 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Iris Chynoweth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4736 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Autumn Sun
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4737 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4738 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Linstrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4739 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jean Reiher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4740 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mirella Nalder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4741 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  mindy maxwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4742 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gerald Stansfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4743 of 13201
  Loretta Lynch
  Department of Justice

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  Rich Ottenstroer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4744 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marie Travis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4745 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Ann Sherratt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4746 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Nikole Novikova
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4747 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christine Otto Zaa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4748 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph DeMarco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4749 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maureen Gettle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4750 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bettyann Reed
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4751 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Vera Vögele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4752 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Noel Larock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4753 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Audrey Ledesma
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4754 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely, Lisa
  Thank you for your immediate action!

  lisa bartmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4755 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Roger Nystrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4756 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cecilia Laspisa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4757 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Vera Vögele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4758 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mirella Nalder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4759 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dennis Feichtinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4760 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Patricia Spencer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4761 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gerald Stansfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4762 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Robert Hewson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4763 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  mindy maxwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4764 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  F. Braio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4765 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dawn Cumings
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4766 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Maureen Gettle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4767 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Don Herden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4768 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Kimberly Walter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4769 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  lisa bartmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4770 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lori Misura
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4771 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Roger Nystrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4772 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Alice Kornblith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4773 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Veralli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4774 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  F. Braio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4775 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Lori Misura
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4776 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol deLima
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4777 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ralph Guay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4778 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Jessica Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4779 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Dennis Feichtinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4780 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  Sincerely,

  Dawn Cumings
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4781 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Dion
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4782 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  carol smith-barrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4783 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Shawn Wyckoff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4784 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Burks Hunt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4785 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Elizabeth Berry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4786 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Ralph Guay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4787 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Colonel Meyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4788 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Linstrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4789 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shawn Wyckoff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4790 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Gross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4791 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  carol smith-barrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4792 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Liliia Konovalova
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4793 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Elizabeth Berry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4794 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  ms Denise Akom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4795 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Jumonville
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4796 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Burks Hunt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4797 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Darin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4798 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ron Gaddon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4799 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John MacLean
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4800 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  L Sherman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4801 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Jumonville
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4802 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Virginia Frizell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4803 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Margaret Waltershausen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4804 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Linda Darin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4805 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Kathleen Phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4806 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Louise Franklin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4807 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Lee Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4808 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Patricia Murphy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4809 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Patricia Murphy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4810 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Gerry Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4811 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  James Reynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4812 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Peter Butt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4813 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Shanna Rose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4814 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tom Dion
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4815 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  CARY deVROEDT
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4816 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Dan Grossberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4817 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Doug Sorensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4818 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Judith Collas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4819 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brenda Tenerelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4820 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Arlene Hickory
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4821 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bill Combs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4822 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Doug Sorensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4823 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sandy Brassard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4824 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Adrienne Naylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4825 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Leo Tobin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4826 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  CARY deVROEDT
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4827 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Judith Collas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4828 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Adrienne Naylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4829 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Wilhelm Tomaschik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4830 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Leo Tobin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4831 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  D. Chalfin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4832 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  NirBhao S. Khalsa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4833 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Frances Wade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4834 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Crowell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4835 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ruth Ungar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4836 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barbara MacAlpine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4837 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Janeene Porcher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4838 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dave Karrmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4839 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bill Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4840 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  A Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4841 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Harlyn Rohr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4842 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Craig Kowalski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4843 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Janeene Porcher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4844 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  NirBhao S. Khalsa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4845 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Fiyalka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4846 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dave Karrmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4847 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  linda tibbets
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4848 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Art Kolter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4849 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Ruth Ungar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4850 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelley Dawdy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4851 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Miss Margaret Landrum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4852 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Chelsea Grubbs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4853 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Justin Quick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4854 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  linda tibbets
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4855 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Annabelle Herbert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4856 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Douglas Nystrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4857 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Miss Margaret Landrum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4858 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chelsea Grubbs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4859 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Melanie Braithwaite
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4860 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  DEBRA LANCIA
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4861 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Lindsay Hanley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4862 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Justin Quick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4863 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Art Kolter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4864 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lilinoe Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4865 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  dean esch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4866 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joel and Michelle Levey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4867 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Vivian Arroyo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4868 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Macdougall Palmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4869 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Frach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4870 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelley Dawdy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4871 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4872 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carole McCarthy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4873 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joe Wilcox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4874 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Melanie Braithwaite
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4875 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joel and Michelle Levey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4876 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donald Stedman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4877 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nile Arena
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4878 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Arthur Weinstock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4879 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lottie McNicol
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4880 of 13201
  Loretta Lynch
  Department of Justice

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  John Jeavons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4881 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Douglas Nystrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4882 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elke Passarge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4883 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4884 of 13201
  Loretta Lynch
  Department of Justice

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  Joe Wilcox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4885 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cheryl Putnam
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4886 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4887 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4888 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dayle Severns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4889 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alexander Andrasik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4890 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Frank Zachary Jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4891 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4892 of 13201
  Loretta Lynch
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  Sincerely,

  Stephen Lancaster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4893 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Penner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4894 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Jeavons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4895 of 13201
  Loretta Lynch
  Department of Justice

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  Elke Passarge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4896 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Vorachek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4898 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher Goldrup
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4899 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julius Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4900 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cynthia Lamb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4901 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carole McCarthy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4902 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet Giamanco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4903 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Terri VanAusdle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4904 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cheryl Putnam
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4905 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kenneth Ives
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4906 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mireille Urbain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4907 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher Goldrup
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4908 of 13201
  Loretta Lynch
  Department of Justice

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  Dayle Severns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4909 of 13201
  Loretta Lynch
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  Sincerely,

  Martin Newell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4911 of 13201
  Loretta Lynch
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  Sincerely,

  Peggy Ellertson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4912 of 13201
  Loretta Lynch
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  Sincerely,

  Cynthia Lamb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4913 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tom Walsh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4914 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bryn Heist
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4915 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  kathy bilicke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4916 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Monica Black
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4917 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet Giamanco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4918 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joanne Christon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4919 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Johnsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4920 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gayle Byrne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4921 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pamela Cosgrove
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4922 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4923 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  V. Louie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4924 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ferdinand Brislawn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4925 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan McPherson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4926 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joanne Christon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4927 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Vorachek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4928 of 13201
  Loretta Lynch
  Department of Justice

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  Bryn Heist
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4929 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tatiana Medina
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4930 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Salme Armijo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4931 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julie Lawell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4932 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Melissa Mandel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4933 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edwin Travis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4934 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. S. Lawrence Dingman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4935 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rashida Paul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4936 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Melanie Sinclair
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4937 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Zachary Kadar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4938 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Keith Brunstrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4939 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Flo Wilder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4940 of 13201
  Loretta Lynch
  Department of Justice

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  V. Louie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4941 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Wayne Hornak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4942 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4943 of 13201
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  Sincerely,

  anne Henry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4944 of 13201
  Loretta Lynch
  Department of Justice

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  Rashida Paul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4945 of 13201
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  Department of Justice

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  Sincerely,

  Chrissy Swartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4946 of 13201
  Loretta Lynch
  Department of Justice

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  Julie Lawell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4947 of 13201
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  Sincerely,

  Katrin Rosinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4948 of 13201
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4949 of 13201
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  Sincerely,

  Tina Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4950 of 13201
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4951 of 13201
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  Sincerely,

  Salme Armijo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4952 of 13201
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  Department of Justice

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  Chrissy Swartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4953 of 13201
  Loretta Lynch
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  Sincerely,

  Wilhelm Tomaschik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4954 of 13201
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  Department of Justice

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  Sincerely,

  Norman Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4955 of 13201
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  Department of Justice

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  Sincerely,

  Tina Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4956 of 13201
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  Department of Justice

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  Sincerely,

  Larry Dennison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4957 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Resnick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4958 of 13201
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  Department of Justice

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  Sincerely,

  Jeff Tucker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4959 of 13201
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  Department of Justice

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  Sincerely,

  Robert Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4960 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lukas Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4961 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hillary Oshea
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4962 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Abbie Jenks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4963 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Lukas Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4964 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tristan Sophia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4965 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carl Fischer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4966 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jay Rozner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4967 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Larry Dennison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4968 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
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  Sincerely,

  david campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4970 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Betsy Germanotta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4971 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Raines
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4972 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan Foster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4973 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4974 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joel Levine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4975 of 13201
  Loretta Lynch
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  Sincerely,

  Thanh Ngoc Truong
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4976 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Lefcourte
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4977 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrew McClure
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4978 of 13201
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  Sincerely,

  Stephen Holler
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  Sincerely,

  Tom Steinmetz
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  Jayprakash Shukla
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4982 of 13201
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  Department of Justice

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  Janice Ross
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4984 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4985 of 13201
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  Sincerely,

  Sandra Goeldner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4986 of 13201
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  Stephen Holler
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  Mark Takaro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4990 of 13201
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  Sincerely,

  Marsha Weisfeld
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4991 of 13201
  Loretta Lynch
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  Sincerely,

  Lila Park
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  Monique La Roche
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4996 of 13201
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  Sincerely,

  Nancy Horvath
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4997 of 13201
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  Noenoe Barney-Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4998 of 13201
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  Henry Spiegel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 4999 of 13201
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  John Browning
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5000 of 13201
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  Department of Justice

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  Sincerely,

  Ryan Morgan
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  Sincerely,

  Melissa Saunders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5003 of 13201
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  Patrick Maloney
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  Sincerely,

  Justyna Szczech
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  Sincerely,

  Damon Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5007 of 13201
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  Lila Park
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  Sincerely,

  Lisa Karas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5010 of 13201
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  William McColl
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  Sincerely,

  Michele Boutin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5013 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nathan Nielsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5014 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amy Harbison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5015 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  mick jelsma
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5016 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Deke Gliem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5017 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Damon Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5018 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated, and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Catherine Crow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5019 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Helen Cooluris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5020 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Deke Gliem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5021 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nathan Nielsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5022 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Svatek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5023 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Beverly Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5024 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lisa Karas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5025 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Vanessa Bersani
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5026 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Browning
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5027 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michele Boutin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5028 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pat Hawthorn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5029 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Helen Cooluris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5030 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ron Mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5031 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amy Harbison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5032 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Linda Rea
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5033 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Melissa Saunders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5034 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ashley Lewin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5035 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Thomas Heidger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5036 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ron Mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5037 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Browning
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5038 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sharon Chang
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5039 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sharon Laabs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5040 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Mary Tomlinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5041 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  DONALD MIZE
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5042 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ashley Lewin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5043 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Thomas Heidger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5044 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Linda Rea
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5045 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lisa Comfort
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5046 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael Dobbs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5047 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lisa Kagan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5048 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Norman Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5049 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lisa Comfort
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5050 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lisa Comfort
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5051 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Lisa Comfort
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5052 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Anne Thurston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5053 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michelle Kaufman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5054 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  be left paying the cost of it.

  Sincerely,

  DONALD MIZE
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5055 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Betty Raubenolt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5056 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Maryellen Redish
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5057 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pat Hawthorn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5058 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Susan Radosti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5059 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Andrea Reimers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5060 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Betty Raubenolt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5061 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Ms. Maryellen Redish
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5062 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rosemary Wolock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5063 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marisa Nelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5064 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  be left paying the cost of it.

  Sincerely,

  A SD
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5065 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Ted Neumann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5066 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Shelor Robin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5067 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Erik Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5068 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  A SD
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5069 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Suellen Raven
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5070 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Dwyne Patrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5071 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Erik Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5072 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lisa Kagan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5073 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pamela Mattson McDonald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5074 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Joseph Belisle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5075 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joyce Leggatt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5076 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  M Sulivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5077 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Mark Parr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5078 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Melanie Whittington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5079 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Steve Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5080 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Pamela Mattson McDonald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5081 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Suellen Raven
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5082 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  D. Chalfin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5083 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joyce Leggatt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5084 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  M Sulivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5085 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Anne Ryan Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5086 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5087 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  April Parkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5088 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Melanie Whittington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5089 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alice Carli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5090 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Tim Barrington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5091 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Ryan Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5092 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Ness
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5093 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rosemary Wolock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5094 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  charlene nash
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5095 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beulah White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5096 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Wyman Whipple
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5097 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  dianna davidson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5098 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Tim Barrington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5099 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5100 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Susan Tennery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5101 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bill Koch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5102 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jess Saucedo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5103 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Helen Kate Mcallister
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5104 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Isaac Stoddard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5105 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Howard Medlock Jr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5106 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mr. Wyman Whipple
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5107 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Dombrowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5108 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Debbie Venus-Fenrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5109 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Christine DeCarlo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5110 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  MaryJane Genestra
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5111 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Ream
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5112 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch: Bernie Sanders 2016!

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Cecily Lopes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5113 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kyrie Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5114 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Isaac Stoddard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5115 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Alexandra Gordon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5116 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kathleen Towns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5117 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Vanessa Bersani
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5118 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jennifer Popp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5119 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ed Mapes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5120 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Helen Kate Mcallister
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5121 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  William R Kavanagh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5122 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Debbie Venus-Fenrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5123 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Kyrie Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5124 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Shannon Zander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5125 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Sara Cutright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5126 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jennifer Popp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5127 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Morero
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5128 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Austin Fite
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5129 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Kerry Nichols
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5130 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sara Cutright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5131 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Donald & Diane Lahti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5132 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Todd Monson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5133 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Alan mcAfee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5134 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kathleen Towns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5135 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Libby Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5136 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Elizabeth Melo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5137 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Colin Rennie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5138 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Austin Fite
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5139 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Liz Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5140 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Cusano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5141 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Todd Monson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5142 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Edman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5143 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  VICKI & ROD KASTLIE
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5144 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sally Webb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5145 of 13201
  Loretta Lynch
  Department of Justice

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  Colin Rennie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5146 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Steve Aydelott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5147 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Davey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5148 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Greg Nielson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5149 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Edman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5150 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William P. White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5151 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Liz Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5152 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joe Wiederhold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5153 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nate Wolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5154 of 13201
  Loretta Lynch
  Department of Justice

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  William P. White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5155 of 13201
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  Department of Justice

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  Sincerely,

  John Burke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5156 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeffrey Starr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5157 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jon Wyss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5158 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  George Duster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5159 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dennis McKeown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5160 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  John Herberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5161 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Fredric Steussy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5162 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Mark Mullbock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5163 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Susan Spengler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5164 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Susan Spengler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5165 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeffrey Starr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5166 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rick Moon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5167 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Susan Spengler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5168 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Herberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5169 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Susan Spengler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5170 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ron Trotter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5171 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dennis McKeown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5172 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Gary and Seraphina Landgrebe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5173 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Deirdre McDonald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5174 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  George Duster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5175 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Chris Date
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5176 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Robin Hirsch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5177 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ron Trotter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5178 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Heather Davidson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5179 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Robin Hirsch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5180 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Luke Swierczek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5181 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Franziska Eber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5182 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Kevin D. Corriveau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5183 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Deirdre McDonald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5184 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris Date
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5185 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Gary and Seraphina Landgrebe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5186 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5187 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5188 of 13201
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  Sincerely,

  Jarita Konwinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5189 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Emma Lou Sailors
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5190 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Norman Douglas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5191 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marcy M
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5192 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stacy Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5193 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  BRITTIANY DUBOSE
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5194 of 13201
  Loretta Lynch
  Department of Justice

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  Stacy Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5195 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gwendolyn Talbot
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5196 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5197 of 13201
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  Sincerely,

  Tristan Sophia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5198 of 13201
  Loretta Lynch
  Department of Justice

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  Marcy M
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5199 of 13201
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  Department of Justice

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  Sincerely,

  Barbara Cascio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5200 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Julie Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5201 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beth Brombach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5202 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Gwendolyn Talbot
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5203 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jarita Konwinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5204 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leonard Neering
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5205 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathy Hamrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5206 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Buckmaster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5207 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dulce Manzini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5208 of 13201
  Loretta Lynch
  Department of Justice

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  Beth Brombach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5209 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James D. Rothschadl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5210 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5211 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Barbara Cascio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5212 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leonard Neering
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5213 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sandra Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5214 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Julie Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5215 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Beach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5216 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Paul Schneller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5217 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dotty McHale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5218 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Thomas Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5219 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Michiko Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5220 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dulce Manzini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5221 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  rosetta woodruff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5222 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Dean Pryer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5223 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Margery Bowser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5224 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Michael Terry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5225 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  shawn jackson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5226 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jon Drucker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5227 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Christina Myers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5228 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5229 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandra Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5230 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Terry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5231 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  James D. Rothschadl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5232 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Andrice Arp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5233 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karen Carr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5234 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Cecelia Samp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5235 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

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  Sincerely,

  Bonnie Hamilton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5236 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marcia ???? Flannery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5237 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Cecelia Samp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5238 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jon Drucker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5239 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jana Perinchief
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5240 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maggie Dalton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5241 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christina Thurston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5242 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  mark matson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5243 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marcia ???? Flannery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5244 of 13201
  Loretta Lynch
  Department of Justice

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  Christina Myers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5245 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Reisa Gould-Donath
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5246 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kenneth Strothkamp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5247 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Gaia Cooksey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5248 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ronald Marks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5249 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maggie Dalton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5250 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Hendzel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5251 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Willow Zarlow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5252 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dita Obler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5253 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Andrice Arp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5254 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roberta LaFrance
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5255 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrew Fisher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5256 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gaia Cooksey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5257 of 13201
  Loretta Lynch
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  Sincerely,

  Andrew Fisher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5258 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rebecca Marshall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5259 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gwyneth Perrier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5260 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jana Perinchief
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5261 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet Cavallo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5262 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Miriam Hillson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5263 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gwyneth Perrier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5264 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Roberta LaFrance
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5265 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Willow Zarlow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5266 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Arthur Chan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5267 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  barbara carothers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5268 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brian Longley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5269 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carmen Elisa Bonilla-Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5270 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joey Stevenson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5271 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  alan Hendrickson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5272 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ann Cobban
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5273 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Roy Nemko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5274 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joey Stevenson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5275 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Andrew Trowbridge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5276 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Andrew Trowbridge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5277 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rhiannon Gillespie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5278 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Ms. Barry De Jasu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5279 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Page Baldwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5280 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Patricia Hammel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5281 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Judie VL
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5282 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Maryann Piccione
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5283 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Ann Cobban
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5284 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Hammel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5285 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maryann Piccione
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5286 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rhiannon Gillespie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5287 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Michael Klaric
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5288 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nadia Gulledge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5289 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Doreen Trevino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5290 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Adam D'Onofrio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5291 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Francis Spreitzer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5292 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marianne Gonta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5293 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristin Ziama
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5294 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kathy Abby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5295 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Isabel Araujo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5296 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Walter Illert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5297 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tomas Kavulakian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5298 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  linda crosby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5299 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Doreen Trevino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5300 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janice Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5301 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karen Chinn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5302 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  adriana hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5303 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Adam D'Onofrio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5304 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Laurinda Conyers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5305 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  linda crosby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5306 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Earl Stevens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5307 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Klaric
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5308 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Gary Albright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5309 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Marianne Gonta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5310 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Steve Maxcy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5311 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jean Laaninen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5312 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristin Ziama
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5313 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Earl Stevens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5314 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Lisa Bornfriend
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5315 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gary Albright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5316 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Monica Stamm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5317 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  HELEN TAPLIN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5318 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joanne Bruno
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5319 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Alissa Sollitto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5320 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Isabel Araujo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5321 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  mike hickey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5322 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jean Laaninen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5323 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Susanna Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5324 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Constantina Karageorge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5325 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Maija Schaefer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5326 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Susan Messerschmitt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5327 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Johnny Nesslinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5328 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Fritzi Cohen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5329 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gayl Hunter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5330 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lisa Bornfriend
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5331 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Valentina Dubasik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5332 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Constantina Karageorge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5333 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Silvio Fittipaldi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5334 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  mike hickey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5335 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laurie Woodward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5336 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ann Tagawa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5337 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dan Herboth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5338 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Messerschmitt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5339 of 13201
  Loretta Lynch
  Department of Justice

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  Johnny Nesslinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5340 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deborah Hirsch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5341 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ruthie Bernaert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5342 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gayl Hunter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5343 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Fritzi Cohen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5344 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ray Oesterle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5345 of 13201
  Loretta Lynch
  Department of Justice

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  Ann Tagawa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5346 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Katharine Warner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5347 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laurie Woodward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5348 of 13201
  Loretta Lynch
  Department of Justice

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  Ruthie Bernaert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5349 of 13201
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  Department of Justice

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  Sincerely,

  Katherine Iosif
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5350 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cris Shewchuk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5351 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mr. Chris Worcester
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5352 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynn/Roger Stapes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5353 of 13201
  Loretta Lynch
  Department of Justice

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  Deborah Hirsch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5354 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeffrey Hurwitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5355 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Maginniss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5356 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carrie Krauss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5357 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Mulder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5358 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Walter Illert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5359 of 13201
  Loretta Lynch
  Department of Justice

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  Cris Shewchuk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5360 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  james d hanger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5361 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Brant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5362 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Mr. Chris Worcester
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5363 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  C Chever
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5364 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Duane Pierce
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5365 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Katherine Iosif
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5366 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeffrey Hurwitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5367 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Levy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5368 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sandra Boylston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5369 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Katharine Warner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5370 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bruce Harvey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5371 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carrie Krauss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5372 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Tara Basile
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5373 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Darlene Wolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5374 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Stuart Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5375 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce Harvey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5376 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William O'Hara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5377 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carrie Fawcett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5378 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Duane Pierce
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5379 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Darlene Wolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5380 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Keith Cutler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5381 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelly Wightman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5382 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Levy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5383 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Downing Cless
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5384 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Brant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5385 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Brooks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5386 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Abigail Burton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5387 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carole Botticelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5388 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jo-Ann Savoia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5389 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelly Wightman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5390 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steven Hayworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5391 of 13201
  Loretta Lynch
  Department of Justice

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  Downing Cless
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5392 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nicholas Cowles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5393 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William O'Hara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5394 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce Amsel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5395 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stuart Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5396 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5397 of 13201
  Loretta Lynch
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  Sincerely,

  Elena Ennouri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5398 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cindy Yates
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5399 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margie Maliagros
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5400 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelly Flanders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5401 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan Harper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5402 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maija Schaefer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5403 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Merrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5404 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Arthur Dristiliaris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5405 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  priscilla mezrahi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5406 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tiffany Rapplean
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5407 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan Harper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5408 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maureen Cotton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5409 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Toni Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5410 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Van Van Riper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5411 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelly Flanders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5412 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carrie Eichelberger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5413 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mrs. K Finley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5414 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Nicholas Cowles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5415 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Don Blanchard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5416 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James McConnell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5417 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Van Van Riper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5418 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Nancy Baeder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5419 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce Amsel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5420 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cynthia Liss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5421 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Tiffany Rapplean
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5422 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Toni Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5423 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cindy Yates
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5424 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  priscilla mezrahi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5425 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Charles Huber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5426 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Carol Patton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5427 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tricia Dillard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5428 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gerald Lauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5429 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. K Finley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5430 of 13201
  Loretta Lynch
  Department of Justice

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  Carrie Eichelberger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5431 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patrick Fogel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5432 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Arthur Dristiliaris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5433 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cynthia Liss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5434 of 13201
  Loretta Lynch
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  Sincerely,

  Jim Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5435 of 13201
  Loretta Lynch
  Department of Justice

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  Don Blanchard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5436 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James McConnell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5437 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Randy Salazar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5438 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5439 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tracy Tellep
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5440 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  lawrence mccarthy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5441 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Yves Decargouet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5442 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  J. Cohen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5443 of 13201
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  Department of Justice

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  Sincerely,

  Albert Robinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5444 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Carol Patton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5445 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Randy Salazar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5446 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5447 of 13201
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  Department of Justice

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  Sincerely,

  Pela Tomasello
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5448 of 13201
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  Department of Justice

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  Sincerely,

  Donald Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5449 of 13201
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  Department of Justice

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  Yves Decargouet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5450 of 13201
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  Department of Justice

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  Sincerely,

  Richard Guier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5451 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  C Longmore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5452 of 13201
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  Sincerely,

  lawrence mccarthy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5453 of 13201
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  Sincerely,

  Robert Koehler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5454 of 13201
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  Sincerely,

  Richard Meade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5455 of 13201
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  Department of Justice

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  Sincerely,

  Mr. Victor paglia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5457 of 13201
  Loretta Lynch
  Department of Justice

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  Richard Guier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5458 of 13201
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  Sincerely,

  D. Rowe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5459 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  walker hibben
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5460 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donald S Brant Jr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5461 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5462 of 13201
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  be left paying the cost of it.

  Sincerely,

  Craig Warren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5463 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  D. Rowe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5464 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Jean Goto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5465 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Jamie Owens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5466 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Patricia Rodricks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5467 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Donald S Brant Jr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5468 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Chris Swanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5469 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jean Goto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5470 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Craig Warren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5471 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dawn Winters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5472 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Leon Roberts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5473 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Isaac Wells
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5474 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Jerry Blitefield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5475 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Chris Swanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5476 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rebecca Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5477 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5478 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leon Roberts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5479 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lana May
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5480 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Stephen Strauss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5481 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5482 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rebecca Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5483 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cheri Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5484 of 13201
  Loretta Lynch
  Department of Justice

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  Stephen Strauss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5485 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  R. Terry Lyon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5486 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Ritchie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5487 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia P Nelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5488 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cheri Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5489 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Scott Sando
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5490 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Phelps
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5491 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Rooney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5492 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kat Bowley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5493 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lorenz Steininger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5494 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Christensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5495 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Johnny Sauter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5496 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5497 of 13201
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  Patricia P Nelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5498 of 13201
  Loretta Lynch
  Department of Justice

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  Department of Justice

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  Sincerely,

  Steve Elvester
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5500 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  jessi acuna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5501 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mariu Suarez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5502 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  n kaluza
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5503 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Skonberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5504 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Allen Frakes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5505 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  J. Cohen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5506 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5507 of 13201
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5508 of 13201
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  Sincerely,

  Patricia Dotzler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5509 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mariu Suarez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5510 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kim White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5511 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Suzanna Nadler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5512 of 13201
  Loretta Lynch
  Department of Justice

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  Patricia Dotzler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5513 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kathy Lynch Nitsan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5514 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  Sincerely,

  Vince Balsamo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5515 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  JOSEPHINE Campisi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5516 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nanette Betts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5517 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sayles B
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5518 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Antonella Nielsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5519 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Kim White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5520 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Steven Korson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5521 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Pip Palmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5522 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Janet Latham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5523 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Suzanna Nadler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5524 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Nanette Betts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5525 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  JOSEPHINE Campisi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5526 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carl Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5527 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Litsa Katsarou
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5528 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  James Cleek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5529 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Macey Mott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5530 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  susan bardes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5531 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Donna Lynn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5532 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Hildebrand
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5533 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Elizabeth Lengel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5534 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  James Cleek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5535 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Elizabeth Lengel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5536 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Litsa Katsarou
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5537 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steven Korson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5538 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Antonio Buensuceso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5539 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ric Evans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5540 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Ted Cheeseman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5541 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Earl Elliot
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5542 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Maggie McGuire
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5543 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maggie McGuire
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5544 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5545 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeanne Hirshfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5546 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Carolyn Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5547 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Karen Donaldson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5548 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Hilda Shaffer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5549 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeanette Meeker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5550 of 13201
  Loretta Lynch
  Department of Justice

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  Ted Cheeseman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5551 of 13201
  Loretta Lynch
  Department of Justice

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  Earl Elliot
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5552 of 13201
  Loretta Lynch
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  Sincerely,

  Anna Engdahl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5553 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Susan Haas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5554 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Bremner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5555 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeanne Hirshfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5556 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ric Evans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5557 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5558 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  GG
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5559 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Karen Donaldson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5560 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  William Lazinsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5561 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Jeanette Meeker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5562 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Margaret Monks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5563 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Maggie McGuire
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5564 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bruce McKinley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5565 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Carolyn Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5566 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  PS There should be absolutely NO incentives for BP's activities that killed, injured, and
  polluted!!!

  George Dugan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5567 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anna Engdahl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5568 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5569 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Raquel Alva
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5570 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Eric Ashley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5571 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Osiel Bonfim
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5572 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lorenz Steininger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5573 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sylvia Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5574 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  m toro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5575 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christa Neuber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5576 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Raquel Alva
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5577 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelly Siranko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5578 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lawrence Kitay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5579 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joyce Faulk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5580 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Moorman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5581 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  darryl m
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5582 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Lawrence Kitay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5583 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5584 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jack Lloyd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5585 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Barry Oaks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5586 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Merz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5587 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hazel Arnett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5588 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Osiel Bonfim
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5589 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christa Neuber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5590 of 13201
  Loretta Lynch
  Department of Justice

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  Kelly Siranko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5591 of 13201
  Loretta Lynch
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  Sincerely,

  Alice Christy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5592 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hilda Shaffer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5593 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph O'Connor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5594 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Heidi Ludwick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5595 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5596 of 13201
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  Department of Justice

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  Sincerely,

  Vivienne Perkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5597 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hazel Arnett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5598 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Francis Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5599 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sylvia Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5600 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeanne Fonda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5602 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Flo Fender
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5603 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Heidi Ludwick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5604 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathy Gruber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5605 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vivienne Perkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5607 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maria dels Àngels Beltran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5608 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Fred Robison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5609 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5610 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Dunaway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5611 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Merz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5612 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  John Steponaitis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5613 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jeanne Fonda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5614 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Kat Bowley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5615 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Fred Robison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5616 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Joyce Faulk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5617 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Susan McCarthy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5618 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bruce Spring
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5619 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Karen Day
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5620 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Maria dels Àngels Beltran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5621 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ann Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5622 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  John Steponaitis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5623 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Doug Landau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5624 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Steve Weinhouse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5625 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Betty Hartzler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5626 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Richard Berry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5627 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  Sincerely,

  Marilyn Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5628 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan McCarthy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5629 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Jerry Hostetler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5630 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Doug Landau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5631 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Kathleen Turner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5632 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Jennifer Thall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5633 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Marilyn Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5634 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robb Bor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5635 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  be left paying the cost of it.

  Sincerely,

  Molly Mayfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5636 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Paul Lubenkov
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5637 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cynthia Vartenuk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5638 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Stenzel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5639 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bob Kipka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5640 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lawrence Morton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5641 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathleen Turner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5642 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Brooks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5643 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julia Brayshaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5644 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Hull
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5645 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ingrid Padmos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5646 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mr. Glenn Phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5647 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vernon Apple
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5648 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Justin Lotak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5649 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cathy Nigro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5650 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  KEVIN BUTLER
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5651 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gary Hull
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5652 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sarah Keith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5653 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Paul Lubenkov
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5654 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Lapidus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5655 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beth Parada
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5656 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Chandra Stephens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5657 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Russell Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5658 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julie Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5659 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ingrid Padmos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5660 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bob Kipka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5661 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hugh R Sawyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5662 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lawrence Morton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5663 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Julia Brayshaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5664 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nancy Hauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5665 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Russell Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5666 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Donna Butler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5667 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Fred Lavy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5668 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pat Brooks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5669 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Glenn Phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5670 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cathy Nigro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5671 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Richard Berry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5672 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  KEVIN BUTLER
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5673 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Macey Mott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5674 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Keith Berger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5675 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Donna Butler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5676 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patricia Becton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5677 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Chandra Stephens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5678 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Ruth Radin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5679 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Matthew Golub
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5680 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Matthew Golub
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5681 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Patricia D. Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5682 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Elizabeth Guthrie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5683 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Jennifer Stewart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5684 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Ruth Radin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5685 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jeff Weicher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5686 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Aleks Kosowicz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5687 of 13201
  Loretta Lynch
  Department of Justice

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  Elizabeth Guthrie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5688 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Jonelle Matthias
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5689 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Joyce Stoffers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5690 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Hauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5691 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Deora
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5692 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Small
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5693 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Lam
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5694 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robb Bor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5695 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Danielle Braun
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5696 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jane Kew
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5697 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julie Bresciani
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5698 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aleks Kosowicz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5699 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jonelle Matthias
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5700 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Denise Brennan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5701 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leuise Crumble
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5702 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joyce Stoffers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5703 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carl Sorem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5704 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dale Riehart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5705 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Mary Lam
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5706 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brian Gunn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5707 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Seiter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5708 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leuise Crumble
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5709 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Hoffman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5710 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrea Page
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5711 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  D Schoech
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5712 of 13201
  Loretta Lynch
  Department of Justice

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  Danielle Braun
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5713 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Justin Gerstner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5714 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Patricia D. Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5715 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Virginia George
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5716 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Tanzella Gaither
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5717 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  June Gordon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5718 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Andrea Page
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5719 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Kathleen Medina
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5720 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kristy Rotermund
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5721 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Tanzella Gaither
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5722 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Virginia George
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5723 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  David Worth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5724 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sharlot Battin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5725 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Kristy Rotermund
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5726 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Justin Gerstner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5727 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rachel Scarlata
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5728 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jim C Laybourn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5729 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kaamran Hafeez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5730 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Ellin Stiteler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5731 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5732 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rachel Scarlata
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5733 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Hessley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5734 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Tracey Kleber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5735 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Pat Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5736 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bob Rosenberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5737 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Kathy McDonald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5738 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tracey Kleber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5739 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5740 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jim C Laybourn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5741 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Samantha Hadley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5742 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dave Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5743 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Piotr Grabowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5744 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laurence Yorgason
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5745 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Arlene Aughey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5746 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Philip Schwyhart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5747 of 13201
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5748 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Cirulnick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5749 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Margery Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5750 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dave Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5751 of 13201
  Loretta Lynch
  Department of Justice

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  Arlene Aughey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5752 of 13201
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  Sincerely,

  Gage Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5753 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  taylor june
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5754 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sharon Daskal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5755 of 13201
  Loretta Lynch
  Department of Justice

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  Laurence Yorgason
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5756 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lucien Sigal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5757 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Cirulnick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5758 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Billie Lyon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5759 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Daskal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5760 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margery Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5761 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Arnold Haber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5762 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris Kummer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5763 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Claudia Leff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5764 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michelle Dugan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5765 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Vladimir Demin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5766 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Chris Kummer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5767 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Michelle Dugan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5768 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Oriel Eaton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5769 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Walsh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5770 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lisa Hart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5771 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Jima Rice
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5772 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Vladimir Demin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5773 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Arnold Haber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5774 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robert Walsh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5775 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gloria Picchetti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5776 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sheryll Topping
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5777 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Reed Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5778 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Mrs. Stephanie Walton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5779 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jima Rice
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5780 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Julie Daisy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5781 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Gloria Picchetti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5782 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Belinda Creech
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5783 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  AnaLisa Crandall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5784 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Erin Lynch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5785 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Samuel Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5786 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Sheryll Topping
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5787 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gerritt and Elizabeth Baker-Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5788 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Penney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5789 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  JAMES MILLER
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5790 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrew Hensley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5791 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Samuel Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5792 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Manuel Ferreira
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5793 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marilyn Gaynes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5794 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Hermes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5795 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Henry Courbis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5796 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Belinda Creech
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5797 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carole Ehrhardt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5798 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leslie Byrnes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5799 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Manuel Ferreira
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5800 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jesse Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5801 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Bogart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5802 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nora Polk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5803 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Zach Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5804 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carole Ehrhardt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5805 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janis Senungetuk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5806 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Raymond Reed
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5807 of 13201
  Loretta Lynch
  Department of Justice

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  Jesse Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5808 of 13201
  Loretta Lynch
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  Robert Bogart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5809 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Rhyne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5810 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bill Capasso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5811 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nick Mouzourakis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5812 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roelfien Boerema
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5813 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Marcia Hnatowich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5814 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Rhyne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5815 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sandra Burson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5816 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Terry Vollmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5817 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Richard Sturm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5818 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Janis Senungetuk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5819 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Casee Maxfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5820 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Terry Vollmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5821 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Raymond Reed
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5822 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  ryan burger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5823 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marla West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5824 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Maggie Shields
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5825 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  ryan burger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5826 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sandra Burson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5827 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Ridenhour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5828 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Maggie Shields
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5829 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Casee Maxfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5830 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marla West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5831 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gerald Lano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5832 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Susan Tribby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5833 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Fladger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5834 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gary Keir
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5835 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Ridenhour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5836 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Adam Binckley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5837 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Claudia Leff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5838 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  James Emerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5839 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Peter Hoezen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5840 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Mike Rummerfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5841 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Carrie Watson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5842 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert G von Giebel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5843 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Susan Tribby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5844 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Felicity Hohenshelt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5845 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gary Keir
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5846 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Robert G von Giebel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5847 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Vernon DeWitt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5848 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jamie Caya
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5849 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Peter Hoezen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5850 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ms. Felicity Hohenshelt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5851 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Bob Licari
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5852 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Stephen Halpern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5853 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Charlene Lauzon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5854 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Ryk Diemert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5855 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  James Emerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5856 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Charlene Lauzon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5857 of 13201
  Loretta Lynch
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  Sincerely,

  jane edsall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5858 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Catherine McNamara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5859 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jamie Caya
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5860 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Matthew Reardon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5861 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Chloe Conradi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5862 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mary Keithler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5863 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Eve Shapiro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5864 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  jeffrey surovell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5865 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  be left paying the cost of it.

  Sincerely,

  Bob Licari
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5866 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  peggy fly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5867 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely, brenda bufalino

  Brenda Bufalino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5868 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5869 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Margi Mulligan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5870 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Betty Walters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5871 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mike Rummerfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5872 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Eve Shapiro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5873 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Matthew Reardon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5874 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Michael King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5875 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  SG
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5876 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Adam Glickfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5877 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Mary Keithler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5878 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Ginger Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5879 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rick Payne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5880 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Laura Kavanagh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5881 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Betty Walters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5882 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Seth Goodman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5883 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5884 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Brenda Bufalino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5885 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Steve Irwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5886 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Susan Peters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5887 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bruce David
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5888 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ginger Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5889 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Espasandin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5890 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Seth Goodman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5891 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Barrow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5892 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  virginia Ingalls
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5893 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Crystal Hultberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5894 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Peters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5895 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laurel Eury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5896 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  travis brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5897 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Paul Horne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5898 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Fatima Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5899 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Hiromichi Mori
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5900 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Bruce David
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5901 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laurel Eury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5902 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Athena Lynch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5903 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rick Payne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5904 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Jeannette Szabo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5905 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  travis brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5906 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Conall Ravenscraft
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5907 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeannette Szabo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5908 of 13201
  Loretta Lynch
  Department of Justice

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  Hiromichi Mori
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5909 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathleen Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5912 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Genevieve Jervey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5913 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carolin Schellhorn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5914 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  wes rock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5915 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Anne Barker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5916 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Carolin Schellhorn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5917 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Nugent
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5918 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Elaine Silk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5919 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alice Petersen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5920 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Anne Barker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5921 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alek Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5922 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kent Cole
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5923 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barbara Methvin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5924 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Alek Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5925 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Kent Cole
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5926 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Anne Dawid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5927 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dave Heilemann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5928 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Carol Nugent
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5929 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kenneth Stokem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5930 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  be left paying the cost of it.

  Sincerely,

  wes rock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5931 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Richard Willis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5932 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Frederick Wurst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5933 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Steve Clough
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5934 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Fladger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5935 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Lilli Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5936 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Comfort
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5937 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, we urge you to include strict language in the
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barbara and Jim Dale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5938 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Daniela Bress
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5939 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Alice Petersen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5940 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Annamay Waldman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5941 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniela Bress
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5942 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Lynette Heath
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5943 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kathryn Vitek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5944 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Andra Crawford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5945 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Anthony Garcia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5946 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Richard Willis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5947 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Ms. Phyllis McIntyre
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5948 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Jesse Kozak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5949 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Annamay Waldman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5950 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Ota
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5951 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Matt Traxler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5952 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Carol J. Painter, Ph.D.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5953 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  mari vanantwerp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5954 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Keith D'Alessandro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5955 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5956 of 13201
  Loretta Lynch
  Department of Justice

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  mari vanantwerp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5957 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol J. Painter, Ph.D.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5958 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brian Wright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5959 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Keith D'Alessandro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5960 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  lewis chicklas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5961 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Claudia Karll
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5962 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Brian Lynch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5963 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ben Waller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5964 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Steinhart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5965 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael De Filippo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5966 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  lewis chicklas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5967 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tani Legleu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5968 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Martha Demetrion
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5969 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Brian Wright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5970 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ben Waller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5971 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brian Lynch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5972 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  KC Carney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5973 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Thomas Kellogg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5974 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sandra Thorn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5975 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Phyllis Attanasio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5976 of 13201
  Loretta Lynch
  Department of Justice

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  Martha Demetrion
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5977 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marilyn Phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5978 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gaye Hartwig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5979 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cass Waliams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5980 of 13201
  Loretta Lynch
  Department of Justice

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  Carol Steinhart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5981 of 13201
  Loretta Lynch
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  Sincerely,

  Michael Hayes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5982 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris Stay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5983 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Kellogg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5984 of 13201
  Loretta Lynch
  Department of Justice

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  Tani Legleu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5985 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5987 of 13201
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  Sincerely,

  Linda Amspaugh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5988 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5989 of 13201
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  Sincerely,

  Ms. Lilli Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5990 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nathan Pate
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5991 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Taryn Braband
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5992 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tara Conaway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5993 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Pfeiffer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5994 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vicky Moraiti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5995 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gene Steiker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5997 of 13201
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  Department of Justice

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  Sincerely,

  India Rose Matharu-Daley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5998 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Salvatore Cento
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 5999 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bradley Adams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6000 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marilyn Phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6001 of 13201
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  Department of Justice

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  Pat Pfeiffer
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  Loretta Lynch
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  Sincerely,

  Jennifer Dey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6003 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nicole Spencer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6004 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gaye Hartwig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6005 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Richard Blain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6006 of 13201
  Loretta Lynch
  Department of Justice

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  Gene Steiker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6007 of 13201
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  Vicky Moraiti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6008 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6009 of 13201
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  Sincerely,

  phillip ramey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6010 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6011 of 13201
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  Richard Delaney
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  Sincerely,

  Cindy Hatcher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6014 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nathan Pate
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6015 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Stephen Locke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6016 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Riley Stoermer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6017 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Timothy Bruck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6018 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Salvatore Cento
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6019 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carmen Rodriguez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6020 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alice Duffy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6021 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nicole Spencer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6022 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. John Peck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6023 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Riley Stoermer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6024 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Stevie Sugarman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6025 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  phillip ramey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6026 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Larry French
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6027 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cindy Hatcher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6028 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Richard Delaney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6029 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jeanne Nourse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6030 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Klass
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6031 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Stephen Locke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6032 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carmen Rodriguez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6033 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barbara Gruver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6034 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Stevie Sugarman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6035 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alice Duffy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6036 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. John Peck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6037 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barbara Gruver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6038 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Klass
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6039 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Franklin Swart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6040 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Daniel Sotello
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6041 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jeanne Nourse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6042 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Glenn Knoblock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6043 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Timothy Bruck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6044 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Lindsay Mugglestone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6045 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael Hayes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6046 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nicole Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6047 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Angela Perstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6048 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Glenn Knoblock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6049 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Lindsay Mugglestone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6050 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sarah Baethge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6051 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Angela Perstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6052 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Elisa Katz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6053 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Michler Detmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6054 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Janet M. Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6055 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bill Purdue
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6056 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mark Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6057 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dawn Salisbury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6058 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Judith Max
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6059 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Celeste M Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6060 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jennifer DiRenzo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6061 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Elisa Katz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6062 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jennifer DiRenzo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6063 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  James McVey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6064 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mary Tarallo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6065 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bob Stuart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6066 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Feldmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6067 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kevin Parks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6068 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brian Metcalf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6069 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Beth Kessinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6070 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  C Defa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6071 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Judith Max
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6072 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brian Metcalf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6073 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Kwiecinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6074 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amanda Boone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6075 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  TJ Stoekl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6076 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sarah Wiebenson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6077 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Albert Nagy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6078 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cheryl-Ann Weekes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6079 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amanda Boone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6080 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sarah Wiebenson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6081 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  karen swann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6082 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  TJ Stoekl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6083 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  E M Knight
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6084 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Betty Jean & Philip Young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6085 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  gerald styer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6086 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  E M Knight
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6087 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Celeste M Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6088 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Albert Nagy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6089 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  gerald styer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6090 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Georgia Libbares
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6091 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Betty Jean & Philip Young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6092 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Susan Galante
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6093 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nathan Hawks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6094 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patricia Marlatt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6095 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Peggy Malnati
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6096 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amy Zink
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6097 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Georgia Libbares
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6098 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Susan Gage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6099 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Peggy Malnati
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6100 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Patricia Marlatt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6101 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brant Kotch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6102 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mary Lufen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6103 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Susan Galante
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6104 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nathan Hawks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6105 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Susan Galante
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6106 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Brant Kotch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6107 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mitchell DiRenzo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6108 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Susan Gage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6109 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Grace Burson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6110 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dale DeNunzio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6111 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ken Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6112 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ralph Oberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6113 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Benjamin Altman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6114 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Janet H.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6115 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Benjamin Altman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6116 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dale DeNunzio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6117 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Kummer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6118 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Scott Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6119 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Maureen OliverBorquez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6120 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  NEAL uMPHRED
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6121 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brian Stanley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6122 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kirsti Arndt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6123 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Katherine Buckley-Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6124 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ryan Lawrence
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6125 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ralph Oberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6126 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Paulina Watson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6127 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Andrea Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6128 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Ken Arizpe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6129 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Scott Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6130 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mary Iqbal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6131 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Erin Valdez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6132 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Martin Coffey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6133 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Erin Valdez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6134 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Paulina Watson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6135 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert McKinnie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6136 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Martin Coffey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6137 of 13201
  Loretta Lynch
  Department of Justice

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  Mary Iqbal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6138 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrea Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6139 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mrs. Lois Jordan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6140 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Ms. Grace Burson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6141 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Barbara Edson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6142 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mrs. Lois Jordan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6143 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert McKinnie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6144 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ali Minor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6145 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Arthur Gregorian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6146 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Colin Dunnigan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6147 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Megan Faber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6148 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Arthur Gregorian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6149 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Griffin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6150 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  J Maurer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6151 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dr. Thomas Tritle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6152 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Barbara Edson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6153 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rob Gibson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6154 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Megan Faber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6155 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,
  Ashley Greaves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6156 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Constance Visceglia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6157 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  david bendich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6158 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  J Maurer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6159 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Dr. Thomas Tritle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6160 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Peter & Abbrecht
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6161 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  david bendich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6162 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Stacie Scattergood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6163 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Rob Gibson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6164 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Peter & Abbrecht
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6165 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Maria Henderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6166 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Stacie Scattergood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6167 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,
  Ashley Greaves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6168 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sharon Messinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6169 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barbara Wynroth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6170 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Evan Kaplan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6171 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Don Dieckmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6172 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lisa Madsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6173 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Patrick J Mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6174 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Henry Weinberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6175 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jack Ryan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6176 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Luis M. Lozano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6177 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Henry Weinberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6178 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Lisa Madsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6179 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Messinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6180 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Glen Goglia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6181 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Patrick J Mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6182 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jack Ryan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6183 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Stephen Gilbert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6184 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pam Shaouy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6185 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Lloyd Johnston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6186 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Luis M. Lozano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6187 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Dillon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6188 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Schooley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6189 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ericka Kohn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6190 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Don Dieckmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6191 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  daniel williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6192 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gregory Morris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6193 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gail Hermann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6194 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jean Andrews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6195 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  E Lowrey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6196 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pam Shaouy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6197 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  daniel williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6198 of 13201
  Loretta Lynch
  Department of Justice

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  Gregory Morris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6199 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dawn Kimble
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6200 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Anna Driskill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6201 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Dillon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6202 of 13201
  Loretta Lynch
  Department of Justice

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  E Lowrey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6203 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Scott Strand
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6204 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Jean Blackwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6205 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Pete Santis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6206 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jerry Sawyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6207 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Hardee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6208 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Shirley Huskins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6209 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Wendy McCobb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6210 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Linda Ulvaeus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6211 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Hardee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6212 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Pleska
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6213 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Evelyn Gomez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6214 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jerry Sawyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6215 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Scott Strand
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6216 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pamela Bayless
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6217 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Anna Driskill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6218 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brian Otto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6219 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Maria Henderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6220 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Evelyn Gomez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6221 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Roger Givens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6222 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Linda Ulvaeus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6223 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gail Flanders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6224 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jean Blackwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6225 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bill Kingston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6226 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Jeff D Somers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6227 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kathleen Medina
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6228 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Anne Pleska
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6229 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Amber Butler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6230 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sarah Meyers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6231 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bill Kingston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6232 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Miles W McLennan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6233 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  rose wood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6234 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sarah Meyers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6235 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Shirley Huskins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6236 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Eugenia Stevens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6237 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  Sincerely,

  Eugenia Stevens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6238 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jason Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6239 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Linda Shane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6240 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jason Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6241 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roy Moss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6242 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Larry Zwick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6243 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Stone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6244 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Bosley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6245 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Pamela Bayless
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6246 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Belknap
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6247 of 13201
  Loretta Lynch
  Department of Justice

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  Robert Belknap
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6248 of 13201
  Loretta Lynch
  Department of Justice

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  Patricia Bosley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6249 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gordon Messling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6250 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Thomas Aber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6251 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Hightower
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6252 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Mrs. Sharon Ketcherside
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6253 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  David Muller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6254 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Muller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6255 of 13201
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  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Mr. Carl Schwensohn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6256 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Laura Evans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6257 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Meredith Needham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6258 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Natalie Aharonian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6259 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Lisa Schmoker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6260 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Dale Cannon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6261 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Natalie Aharonian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6262 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Janet Sherfey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6263 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Michael Schroeder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6264 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lyle Larson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6265 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  be left paying the cost of it.

  Sincerely,

  Starr Hogan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6266 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nancy Stone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6267 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nancy Stone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6268 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Beverly Solomon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6269 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Eugenia Stevens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6270 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Laura Evans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6271 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lisa Schmoker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6272 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Janet Sherfey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6273 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dale Cannon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6274 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Matt Groner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6275 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely, Maxine Leese

  Maxine Leese
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6276 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Butler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6277 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pat Dufau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6278 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bill Swisher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6279 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Dea Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6280 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Marie Hoel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6281 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Susan Davenport
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6282 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jean Rodriguez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6283 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Bill Swisher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6284 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jean Rodriguez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6285 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Stephanie Tillack
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6286 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Liya Sschwartzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6287 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Susan Davenport
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6288 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  Sincerely,

  Sandi Fisher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6289 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Dufau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6290 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Cinthia Davey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6291 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Frank Shannon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6292 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Jamie Burks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6293 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephen Villano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6294 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely, Maxine Leese

  Maxine Leese
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6295 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marie Hoel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6296 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Liya Sschwartzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6297 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Schroeder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6298 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jamie Burks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6299 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Frank Shannon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6300 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Lindsey Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6301 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Stephen Villano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6302 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Melissa Hedal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6303 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Chance Unterseher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6304 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Stephanie Tillack
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6305 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Kate Hermann-Wu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6306 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Lindsey Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6307 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Jeanne Stulb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6308 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Cinthia Davey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6309 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Melissa Hedal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6310 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Cecilia Fogarty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6311 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Leslie Hayes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6312 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Johnny Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6313 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

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  Sincerely,

  Mr. Ralph Sanchez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6314 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nicholas Prychodko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6315 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Kate Hermann-Wu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6316 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Cecilia Fogarty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6317 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Greg Zyzanski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6318 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jeanne Stulb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6319 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Valerie Justus-Rusconi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6320 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Nicholas Prychodko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6321 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  JANUSZ MAKA
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6322 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Ms. Sara Fisch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6323 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jan Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6324 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  JANUSZ MAKA
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6325 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Van Knox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6326 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sandra Mckinley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6327 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mr. Ralph Sanchez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6328 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  David R. Guinnup
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6329 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Don Somsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6330 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Donald Davenport
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6331 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Susan Campanini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6332 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Van Knox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6333 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  David R. Guinnup
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6334 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Leslie Hayes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6335 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Donald Davenport
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6336 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Sandra Mckinley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6337 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  LARA LORENZ
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6338 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Alan Goga
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6339 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  LARA LORENZ
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6340 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Harlow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6341 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kevin Klafta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6342 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephen Brickman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6343 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Pam Ronk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6344 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan Goga
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6345 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  robert altman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6346 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Kappus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6347 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kay Gill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6348 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kevin Klafta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6349 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6350 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Harry Mozen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6351 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephen Brickman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6352 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William J Bolen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6353 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  robert altman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6354 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  karl harris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6355 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Kappus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6356 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Morency
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6357 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Phyllis Derfner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6358 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Phyllis Derfner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6359 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William J Bolen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6360 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Valerie Henderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6361 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Alan Dwillis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6362 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Harry Mozen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6363 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Philip Winkels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6364 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rev Charles Grindle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6365 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  ESTHER CHAVEZ
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6366 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Phyllis Derfner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6367 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Linda Massey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6368 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  ESTHER CHAVEZ
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6369 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rob Fursich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6370 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Alan Dwillis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6371 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Philip Winkels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6372 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dea Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6373 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Linda Massey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6374 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Julie Shivley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6375 of 13201
  Loretta Lynch
  Department of Justice

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Oscar Revilla
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6376 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  MARY PAGLIERO
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6377 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Rob Fursich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6378 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ken Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6379 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Ann McMullen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6380 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Howard Markert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6381 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Julie Shivley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6382 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Ms. Ann McMullen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6383 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Charles Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6384 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Howard Markert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6385 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Laurel Laughlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6386 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brenda Bergstrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6387 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  be left paying the cost of it.

  Sincerely,

  Jan Cowan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6388 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Matthew Burg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6389 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Jen Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6390 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Randall Garland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6391 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Nora Eiesland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6392 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jan Cowan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6393 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sean Stoerrle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6394 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christina Morrison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6395 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Burg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6396 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  daniel sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6397 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nora Eiesland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6398 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Larry Whisenhunt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6399 of 13201
  Loretta Lynch
  Department of Justice

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  Brenda Bergstrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6400 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Schreiber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6401 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Shannon Catt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6402 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Kevin Chiu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6403 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Schreiber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6404 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  MARY PAGLIERO
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6405 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jen Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6406 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Valerie Torgerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6407 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Larry Whisenhunt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6408 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Shannon Catt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6409 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Charles Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6410 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Vita Cox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6411 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Mrs. Vita Cox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6412 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lori Olcott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6413 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Julie Patterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6414 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  rhea Goodman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6415 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bonnie Margay Burke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6416 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marie Ballmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6417 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Blaxkburn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6418 of 13201
  Loretta Lynch
  Department of Justice

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  Bonnie Margay Burke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6419 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Odilia Leal-McBride
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6420 of 13201
  Loretta Lynch
  Department of Justice

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  rhea Goodman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6421 of 13201
  Loretta Lynch
  Department of Justice

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  Julie Patterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6422 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brian Stanley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6423 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Valerie Torgerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6424 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cheryl-Ann Weekes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6425 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Byers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6426 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Mayer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6427 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jose Rivera
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6428 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  MaryAnn Hopping
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6429 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Noah Pardo-Friedman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6430 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6431 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Blaxkburn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6432 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Peter Gunther
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6433 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marie Ballmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6434 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Zoran Simic
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6435 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  gene golden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6436 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  susan triassi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6437 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6438 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Gordon Gerbitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6439 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Irene Lloyd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6440 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6441 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet Riordan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6442 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6443 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6444 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dan David
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6445 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  gene golden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6446 of 13201
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  Department of Justice

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  Sincerely,

  John Prybylski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6447 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lisa Sottile
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6448 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Iverson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6449 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Teri Lunn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6450 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Hocking
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6451 of 13201
  Loretta Lynch
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  Mr. Peter Gunther
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6452 of 13201
  Loretta Lynch
  Department of Justice

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  Lisa Sottile
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6453 of 13201
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  Department of Justice

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  Sincerely,

  Elizabeth Schwartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6454 of 13201
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6455 of 13201
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  Sincerely,

  H. M. Sustaita
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6456 of 13201
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  Sincerely,

  Megan Prats
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6457 of 13201
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  Department of Justice

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  Sincerely,

  Charles Hochberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6458 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Tanaka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6459 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandra Holtzmuller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6460 of 13201
  Loretta Lynch
  Department of Justice

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  Steve Iverson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6461 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Lewellen-Biddle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6462 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Allington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6463 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William O'Brien
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6464 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Harriet Grose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6465 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Julie Blom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6466 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Judy Childers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6467 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  verlon acord
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6468 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Cynthia Parker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6469 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Albertina Vistoft
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6470 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sandra Woodall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6471 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jean I Evens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6472 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Judy Childers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6473 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  David Allington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6474 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Randy Ragon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6475 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  verlon acord
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6476 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  H. M. Sustaita
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6477 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6478 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Leeann Ford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6479 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Thomas Ferrito
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6480 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Nichole Stekl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6481 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kellen Britt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6482 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6483 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kelly Coughlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6484 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brenda Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6485 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Nichole Stekl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6486 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Jocelyn G.. T. Anthony
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6487 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edward Butler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6488 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marsha Adams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6489 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Peter O'Hara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6490 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Albertina Vistoft
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6491 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rosemarie Ceaser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6492 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lacey Wozny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6493 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  June Chaus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6494 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brenda Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6495 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Siobhn Moody
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6496 of 13201
  Loretta Lynch
  Department of Justice

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  Marsha Adams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6497 of 13201
  Loretta Lynch
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  Sincerely,

  Myrna Borus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6498 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6499 of 13201
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  Edward Butler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6500 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelly Coughlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6501 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeri Pollock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6502 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jackson Scholl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6503 of 13201
  Loretta Lynch
  Department of Justice

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  Jackson Scholl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6504 of 13201
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6505 of 13201
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  Department of Justice

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  Sincerely,

  Maryann Kage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6506 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6507 of 13201
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  Department of Justice

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  Sincerely,

  Karen Quaritius
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6508 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jennifer Kim Zeller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6509 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mr. Gordon Parker Parker III
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6510 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karen Quaritius
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6511 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Susan Proietta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6512 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kate Kosse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6513 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  JoAnne Kelly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6514 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rosemarie Ceaser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6515 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jennifer Kim Zeller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6516 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. David Tucker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6517 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carl Hyatt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6518 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Kate Kosse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6519 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Olga Sevilla
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6520 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Ms. Carol Lipper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6521 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Sharyn Steiner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6522 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Betty Ware
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6523 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gerald Lorenz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6524 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patrick Hook
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6525 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Wendy Wittl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6526 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  anna loera
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6527 of 13201
  Loretta Lynch
  Department of Justice

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  Betty Ware
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6528 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Wendy Staub
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6529 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Bob Stuckmeyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6530 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Diane Major
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6531 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Dale Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6532 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Nicole Weber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6533 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. David Tucker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6534 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diana Ford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6535 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nicole Weber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6536 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Webb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6537 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carolyn Barrett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6538 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Hawley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6539 of 13201
  Loretta Lynch
  Department of Justice

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  Dale Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6540 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6541 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Gordon Parker Parker III
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6542 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bob Stuckmeyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6543 of 13201
  Loretta Lynch
  Department of Justice

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  Carolyn Barrett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6544 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Crane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6545 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  PH Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6546 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  elio rocha
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6547 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Colleen Hamilton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6548 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Wendy Wittl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6549 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Valentine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6550 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Debra Diana
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6551 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Irene Gurley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6552 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Byland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6553 of 13201
  Loretta Lynch
  Department of Justice

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  Donna Crane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6554 of 13201
  Loretta Lynch
  Department of Justice

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  Jennifer Valentine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6555 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  elio rocha
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6556 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Krista Fischler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6557 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robt Scouras
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6558 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Debra Diana
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6559 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Olga Sevilla
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6560 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Krista Fischler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6561 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6562 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Byland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6563 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter Shurman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6564 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lee Bible
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6565 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jenifer Schramm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6566 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robt Scouras
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6567 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Igor Tandetnik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6568 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Polluters must pay!

  Sincerely,

  Doug Abbott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6569 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Liz Page
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6570 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ed Benson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6571 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marilyn Rose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6572 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lea Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6573 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marta Norman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6574 of 13201
  Loretta Lynch
  Department of Justice

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  Liz Page
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6575 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  June Burlingame Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6576 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  AJ
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6577 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kevin West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6578 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Alana Villanueva
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6579 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ed Benson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6580 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6581 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marilyn Rose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6582 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6583 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Guthrie Evans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6584 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  E. Gallagher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6585 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pauline Burak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6586 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kevin West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6587 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6588 of 13201
  Loretta Lynch
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  Sincerely,

  Carol Evans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6589 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  sandra standeford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6590 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roberta Campos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6591 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nick Meek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6592 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Danny Mullane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6593 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6594 of 13201
  Loretta Lynch
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  Sincerely,

  Fred James
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6595 of 13201
  Loretta Lynch
  Department of Justice

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  Pauline Burak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6596 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Fred Granlund
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6597 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nick Meek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6598 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Danny Mullane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6599 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Mattan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6600 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandi Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6601 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Richard Gilman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6602 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Keith Croft
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6603 of 13201
  Loretta Lynch
  Department of Justice

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  Keith Croft
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6604 of 13201
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  Department of Justice

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  Sincerely,

  Fred James
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6605 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  MaryJane Weil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6606 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6607 of 13201
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  Sincerely,

  Eve Ilsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6608 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Maria Fishel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6609 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher Welch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6610 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Van Auken
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6611 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Toni Marshall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6612 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6613 of 13201
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  Sincerely,

  Johanna Lang
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6614 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Evans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6615 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandi Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6616 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Theresa Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6617 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rosanne Day
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6618 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Berger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6619 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  MaryJane Weil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6620 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Myra Aronow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6621 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Van Auken
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6622 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher Welch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6623 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Di Donato
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6624 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dan McKenzie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6625 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Katrina & William Dresbach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6626 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Cichowicz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6627 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cierna Ritts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6628 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6629 of 13201
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  Sincerely,

  Johanna Lang
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6630 of 13201
  Loretta Lynch
  Department of Justice

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  Mrs. Helen Hanna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6631 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6632 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

   max pavlovich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6633 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Pitman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6634 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6635 of 13201
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  Sincerely,

  Marianna Mejia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6636 of 13201
  Loretta Lynch
  Department of Justice

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  Gary Di Donato
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6637 of 13201
  Loretta Lynch
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  Sincerely,

  Ms. Theresa del del Rosario
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6638 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Toni Marshall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6639 of 13201
  Loretta Lynch
  Department of Justice

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  Elaine Sedlack
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6640 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6641 of 13201
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  Sincerely,

  Vera Love
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6642 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eric Robinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6643 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Billie Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6644 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Helen Hanna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6645 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Katherine M Babiak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6648 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brenda Spurlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6649 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Southern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6650 of 13201
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  Department of Justice

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  Sincerely,

  Susan Carlson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6651 of 13201
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  Sincerely,

  Ella Morris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6652 of 13201
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  Department of Justice

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  Sincerely,

  June Charles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6653 of 13201
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  Sincerely,

  Tim G
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6654 of 13201
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  Tom Pitman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6655 of 13201
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  Sincerely,

  Michael LaPlace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6657 of 13201
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  Department of Justice

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  Sincerely,

  Mr. John Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6658 of 13201
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  Sincerely,

  Mark Bauman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6659 of 13201
  Loretta Lynch
  Department of Justice

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  Susan Carlson
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  Bo Dhi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6661 of 13201
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  Department of Justice

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  Sincerely,

  Michael LaPlace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6663 of 13201
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  Sincerely,

  Jeff Toste
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6664 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Frank Ward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6665 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  June Charles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6666 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  hernan alzuro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6667 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. A. Gardner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6668 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Phyllis White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6669 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Ziegler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6670 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeff Toste
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6671 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6672 of 13201
  Loretta Lynch
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  Sincerely,

  hernan alzuro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6673 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jess Forster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6674 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Hofheins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6675 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Schwartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6676 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Horn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6677 of 13201
  Loretta Lynch
  Department of Justice

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  Phyllis White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6678 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leigh Begalske
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6679 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathy Lemmon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6680 of 13201
  Loretta Lynch
  Department of Justice

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  Paul Hofheins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6681 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Raymond Gettins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6682 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bo Dhi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6683 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Wolniewicz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6684 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carroll Dartez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6685 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathleen Markus-Walczak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6686 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amanda Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6687 of 13201
  Loretta Lynch
  Department of Justice

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  Karen Horn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6688 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6689 of 13201
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  Sincerely,

  Melvin Vance
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6690 of 13201
  Loretta Lynch
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  Sincerely,

  Reva Holmes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6691 of 13201
  Loretta Lynch
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  Sincerely,

  Margaret Little
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6692 of 13201
  Loretta Lynch
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  Sincerely,

  Christopher Henry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6693 of 13201
  Loretta Lynch
  Department of Justice

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  Steven Hernandez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6694 of 13201
  Loretta Lynch
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  Sincerely,

  Donald Arledge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6695 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vicki Word
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6696 of 13201
  Loretta Lynch
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  Sincerely,

  Tom Harris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6697 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edward Armm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6698 of 13201
  Loretta Lynch
  Department of Justice

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  Amanda Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6699 of 13201
  Loretta Lynch
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  Sincerely,

  David Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6700 of 13201
  Loretta Lynch
  Department of Justice

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  Tom Harris
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  Sincerely,

  Edward Armm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6702 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Lander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6703 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher Henry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6704 of 13201
  Loretta Lynch
  Department of Justice

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  Steven Hernandez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6705 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Fleetwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6706 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Reva Holmes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6707 of 13201
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  Sincerely,

  Javene Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6708 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6709 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Martha Varga
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6710 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sanja Futterman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6711 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mariette Bailey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6712 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Burch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6713 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mariela Colon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6714 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Chanda Unmack
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6715 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gina Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6716 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Melvin Vance
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6717 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Vachula
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6718 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Martha Varga
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6719 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Fleetwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6720 of 13201
  Loretta Lynch
  Department of Justice

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  Patricia Fleetwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6721 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mariela Colon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6722 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  K. Arnone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6723 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vincent Formanek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6724 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  K. Arnone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6725 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aaron Dukes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6726 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ellen Schaffer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6727 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Gates
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6728 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Rosenthal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6729 of 13201
  Loretta Lynch
  Department of Justice

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  Vincent Formanek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6730 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lauren Porosoff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6731 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Greenfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6732 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6733 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Vachula
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6734 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ronnie Kinney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6735 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Debbie Brush
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6736 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Rosenthal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6737 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Earl Ivan White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6738 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jerry Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6739 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6740 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jack Steward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6741 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce Kosanovic
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6742 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Lander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6743 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Burch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6744 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ronnie Kinney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6745 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Stead
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6746 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrew Olsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6747 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sara Lazarus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6748 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deborah Cosentino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6749 of 13201
  Loretta Lynch
  Department of Justice

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  Sara Lazarus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6750 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donte Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6751 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tracy Drake
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6752 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Darwin Raymond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6753 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Debbie Brush
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6754 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Greenfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6755 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6756 of 13201
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  Sincerely,

  Elizabeth Bryant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6757 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pamela Swallow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6758 of 13201
  Loretta Lynch
  Department of Justice

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  Tracy Drake
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6759 of 13201
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  Department of Justice

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  Sincerely,

  Steve Fedorow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6760 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Stead
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6761 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Lee MacKenn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6762 of 13201
  Loretta Lynch
  Department of Justice

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  Pamela Swallow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6763 of 13201
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  Sincerely,

  Marcia Allard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6764 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kent & Mollie Gallagher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6765 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  virginia mendez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6766 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Garrison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6767 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shondra Snodderly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6768 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Lee MacKenn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6769 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Katherine Valerugo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6770 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  virginia mendez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6771 of 13201
  Loretta Lynch
  Department of Justice

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  Katherine Valerugo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6772 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donte Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6773 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph Sadove
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6774 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  vanessa stöferle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6775 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  L Krausz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6776 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Hendrix
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6778 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rachael Hawkes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6779 of 13201
  Loretta Lynch
  Department of Justice

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  Linda Hendrix
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6780 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laurel Temple
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6781 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Long
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6782 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Bates
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6783 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Weiss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6784 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6785 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Breed
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6786 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Alexander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6787 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Long
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  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Ulibarri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6789 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrew Olsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6790 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Allan Worthing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6791 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Weiss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6793 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Claude Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6794 of 13201
  Loretta Lynch
  Department of Justice

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  L Krausz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6795 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6796 of 13201
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  Paul Alexander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6797 of 13201
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  Sincerely,

  Ms. Sandra L. Herndon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6798 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Bruce-Feinsod
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6799 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lori Flynn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6800 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6801 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Liz Amsden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6802 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Jesse Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6803 of 13201
  Loretta Lynch
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  Sincerely,

  Robert Veltkamp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6804 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Zulma Gregory
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6806 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patrick Jordan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6807 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6808 of 13201
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  Mr. Jesse Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6809 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Breakwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6810 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynn Elliott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6811 of 13201
  Loretta Lynch
  Department of Justice

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  Zulma Gregory
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6812 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kacy Harnedy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6814 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alvin Obleada
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6815 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Grace Cope
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6816 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patrick Jordan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6817 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6818 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jaynell Pittman-Shaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6819 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Cunningham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6820 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kacy Harnedy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6821 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynne Reba
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6822 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Breakwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6823 of 13201
  Loretta Lynch
  Department of Justice

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  Grace Cope
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6824 of 13201
  Loretta Lynch
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  Sincerely,

  Sheree Warner Nyren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6825 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beverly Conroy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6826 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cynthia Neufeld
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6827 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sheree Warner Nyren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6828 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amala Kohler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6829 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cj James
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6830 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cynthia Madak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6831 of 13201
  Loretta Lynch
  Department of Justice

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  Beverly Conroy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6832 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6833 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Davlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6834 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6835 of 13201
  Loretta Lynch
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  Sincerely,

  Catherine Iliff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6836 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joel Clasemann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6837 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Kozub
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6838 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Carver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6839 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6840 of 13201
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  Sincerely,

  Sumner0 Roper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6841 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paola Viteri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6842 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Loren Kramer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6843 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Monika Huber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6844 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6845 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Colin Jenkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6846 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Earl Shimaoka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6847 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Tyree II
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6848 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6849 of 13201
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  Sumner0 Roper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6850 of 13201
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  Department of Justice

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  Sincerely,

  Sandra Riddick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6851 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Greg Geitner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6852 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Downing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6853 of 13201
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  Janet Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6854 of 13201
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  Department of Justice

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  Sincerely,

  Pete Compton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6855 of 13201
  Loretta Lynch
  Department of Justice

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  Colin Jenkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6856 of 13201
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  Sincerely,

  Whitney Watters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6858 of 13201
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  Department of Justice

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  John Kozub
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6859 of 13201
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  Sincerely,

  Jesse Reyes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6860 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Harry Harrison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6861 of 13201
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  Department of Justice

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  Sincerely,

  Simone Boudriot
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6862 of 13201
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  Department of Justice

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  Sincerely,

  Pete Compton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6863 of 13201
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  Sincerely,

  Kathy Hunter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6864 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amala Kohler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6865 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Monika Huber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6866 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristine Rohner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6867 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eric Haskins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6868 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alvin Obleada
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6869 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rebecca Branham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6870 of 13201
  Loretta Lynch
  Department of Justice

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  Eric Haskins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6871 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Harry Harrison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6872 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Morrow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6873 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ann Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6874 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dr. Bruce Krawisz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6875 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristine Rohner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6876 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Gamalski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6877 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6878 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathy Hunter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6879 of 13201
  Loretta Lynch
  Department of Justice

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  Rebecca Branham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6880 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  colleen beck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6881 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ron Steve
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6882 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6883 of 13201
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  Sincerely,

  Ann Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6884 of 13201
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  Sincerely,

  Michael Sheffield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6885 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Rupp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6886 of 13201
  Loretta Lynch
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  Sincerely,

  Lenora Roedner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6887 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Linn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6888 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6889 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6890 of 13201
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  Karen Morrow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6891 of 13201
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  N Dye
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6892 of 13201
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  ML
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6893 of 13201
  Loretta Lynch
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  Stu Fishelman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6894 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6895 of 13201
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  Sincerely,

  David Rupp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6896 of 13201
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  Sincerely,

  Rick Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6897 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Neal Mock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6898 of 13201
  Loretta Lynch
  Department of Justice

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  Michael Sheffield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6899 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Megan Mooha
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6900 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Glenn Gawinowicz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6901 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  s endrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6902 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia McDaniel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6903 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6904 of 13201
  Loretta Lynch
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  Sincerely,

  Jen Reed
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6905 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Glenn Gawinowicz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6906 of 13201
  Loretta Lynch
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  Sincerely,

  Candace Rocha
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6907 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Peariso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6908 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Katherine Prum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6909 of 13201
  Loretta Lynch
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  Sincerely,

  Steve Underwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6910 of 13201
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  Katherine Prum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6911 of 13201
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  Sincerely,

  Carol Cook
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6912 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6913 of 13201
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  Carole Mathews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6914 of 13201
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Arthur Molho
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6915 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John-Mark Pawlowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6916 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  ML
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6917 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Pat Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6918 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Steve Underwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6919 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  Sincerely,

  Keith Caye
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6920 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Shannon Littrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6921 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Robert Dylong
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6922 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jayleen Hatmaker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6923 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sharon Davlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6924 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sharon Peariso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6925 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kim McConnell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6926 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  James Tyree II
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6927 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Arthur Molho
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6928 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Lori Alaniva
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6929 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John-Mark Pawlowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6930 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Zaira Vera
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6931 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Llewellyn Pimentel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6932 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Kim McConnell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6933 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Kay Reinfried
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6934 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Karen Cotterell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6935 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dennis Schafer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6936 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

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  Sincerely,

  Rick Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6937 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Zaira Vera
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6938 of 13201
  Loretta Lynch
  Department of Justice

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  Kay Reinfried
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6939 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andre Willingham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6940 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6941 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lori Alaniva
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6942 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Ms. Christina Babst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6943 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Weslie Phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6944 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Llewellyn Pimentel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6945 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ms. Christina Babst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6946 of 13201
  Loretta Lynch
  Department of Justice

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  Weslie Phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6947 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kostis Papaioannou
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6948 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Alice Stehle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6949 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nejat Duzgunes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6950 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Zeller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6951 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Paula Zan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6952 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kevin Watkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6953 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Darren Skotnes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6954 of 13201
  Loretta Lynch
  Department of Justice

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  Kostis Papaioannou
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6955 of 13201
  Loretta Lynch
  Department of Justice

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  Nejat Duzgunes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6956 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anita Shanker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6957 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Larry Boatman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6958 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kevin Watkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6959 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jim Mahoney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6960 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Marybeth Bachelor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6961 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Gilbert Butler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6962 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Patricia Sorrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6963 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Michael Zeller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6964 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alice Stehle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6965 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gilbert Butler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6966 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Duncan Van Arsdale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6967 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Laura Wheeler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6968 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Christina Dubois
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6969 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anita Shanker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6970 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Wheeler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6971 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vera DePalma
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6972 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Nancy Katz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6973 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Nancy Katz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6974 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark VanNote
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6975 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carrie Doan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6976 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Georgia Ressmeyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6977 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michelle Ku
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6978 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Margaret Sheen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6979 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Fowler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6980 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Albert Bechtel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6981 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Schmitt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6982 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michelle Ku
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6983 of 13201
  Loretta Lynch
  Department of Justice

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  Georgia Ressmeyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6984 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joshua Jager
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6985 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6986 of 13201
  Loretta Lynch
  Department of Justice

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  Mark VanNote
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6987 of 13201
  Loretta Lynch
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  Sincerely,

  Jo Anne Fannin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6988 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mel Marcus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6990 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mir Domurath
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6991 of 13201
  Loretta Lynch
  Department of Justice

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  Albert Bechtel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6992 of 13201
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  Department of Justice

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  Sincerely,

  Sandra Donahue
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6993 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Graham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6995 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carrie Doan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6996 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Christine M Roane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6997 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cathy Gunderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6998 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Luce
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 6999 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brian Boortz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7000 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7001 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Wood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7002 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gabriel Lopez-Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7003 of 13201
  Loretta Lynch
  Department of Justice

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  Cathy Gunderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7005 of 13201
  Loretta Lynch
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  Sincerely,

  Nancie91364 Evoniuk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7006 of 13201
  Loretta Lynch
  Department of Justice

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  Sandra Donahue
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7007 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  DONYA MELANSON
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7008 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Christine M Roane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7009 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7010 of 13201
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  Department of Justice

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  Sincerely,

  Ted Fishman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7011 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7012 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marc Schoenberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7013 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karl Brooks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7014 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ted Fishman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7015 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jo Anne Fannin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7016 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7017 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tanya Bethurem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7018 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mike Kelly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7019 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dave Orrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7020 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amy Dubman Carol House Furniture
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7021 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rachel Imholte
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7022 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tanya Bethurem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7023 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jennifer Bowman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7024 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Doug Besso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7025 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ginger Alexakis Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7026 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amy Dubman Carol House Furniture
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7027 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rachel Imholte
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7028 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  james jackson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7029 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jennifer Bowman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7030 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Ginger Alexakis Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7031 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Yael Shimshin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7032 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nichelle Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7033 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dave Orrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7034 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Duane Gustafson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7035 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nichelle Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7036 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  thomas dunlap
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7037 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Charlotte Grogan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7038 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Till Koglin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7039 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Stephen Dutschke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7040 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dennis Hester
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7041 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Margot Moomaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7042 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Aylward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7043 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Chris MacKrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7044 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  alice mckaig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7045 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Charlie Burns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7046 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  David Aylward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7047 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Judith Parker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7048 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7049 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Till Koglin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7050 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Giles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7051 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Dennis Hester
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7052 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jeffrey McCombs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7053 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  steve lyons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7054 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Edward & Lynn Skibinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7055 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gregory Vignapiano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7056 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Judith Parker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7057 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Richard Gould
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7058 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7059 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Margot Moomaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7060 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ellen Harrison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7061 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Robert Mick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7062 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Elizabeth Tabatt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7063 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Duane Gustafson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7064 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Mick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7065 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Edward & Lynn Skibinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7066 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Chris MacKrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7067 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Nancy Gutierrez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7068 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sheri Deal-Tyne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7069 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  steve lyons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7070 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Dennis Heiser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7071 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tina Wettengel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7072 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sheri Deal-Tyne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7073 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Nancy Gutierrez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7074 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Harriet Horwath
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7075 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  richie stoike
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7076 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  David Flora
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7077 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lindsay Buell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7078 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rob Mahoney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7079 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carla Pomeroy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7080 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  d OUAI
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7081 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Mary Kushner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7082 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Harlan Lebo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7083 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rob Mahoney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7084 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Ryan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7085 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sherrill Barbary
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7086 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stacy Wirth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7087 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carla Pomeroy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7088 of 13201
  Loretta Lynch
  Department of Justice

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  Harriet Horwath
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7089 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7090 of 13201
  Loretta Lynch
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  Sincerely,

  Ruth Potts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7091 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Koeninger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7092 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lois Vanderkooi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7093 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Edwin Ochmanek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7094 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Hull
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7095 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Blaise Brockman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7096 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher Sutler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7097 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7098 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brad Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7099 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Veronica Koperski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7100 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelli Reid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7101 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7102 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marion Bullington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7103 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Joe Rogers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7104 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Koeninger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7105 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brad Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7106 of 13201
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  Sincerely,

  Grey Castro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7107 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dr. Haskell Springer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7108 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. John Gudelanis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7109 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelli Reid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7110 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marion Bullington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7111 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7112 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  darynne jessler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7113 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Juanita Hull
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7114 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Allison Shearer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7115 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Grey Castro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7116 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Adrienne Harvey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7117 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Matilda Ticknor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7118 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  vickie harwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7119 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tony Karian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7120 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lynn Schneider
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7121 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marybelle Suczek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7122 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Paul Duick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7123 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  vickie harwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7124 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  gina Mondazze
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7125 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Anabel Preciado
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7126 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Deborah Lipman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7127 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lucas Naylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7128 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Meyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7129 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  gina Mondazze
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7130 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  George Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7131 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Deborah Lipman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7132 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Rose May
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7133 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Dwight Sanders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7134 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Joyce Pusel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7135 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. John Gudelanis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7136 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sonia Gonzalez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7137 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Candie Glisson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7138 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Mrs. Suzanne Ormond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7139 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Berry Dilley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7140 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  George Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7141 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Meyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7142 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Terry Elliott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7143 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Corey Carlson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7144 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sonia Gonzalez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7145 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Candie Glisson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7146 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Suzanne Ormond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7147 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Hegeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7148 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Terry Elliott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7149 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Ryan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7150 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Billee D Mundorff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7151 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Rosalind Bissell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7152 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Berry Dilley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7153 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Corey Carlson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7154 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  nanette kazarian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7155 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  L.A. LOWE
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7156 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Jane Lightning
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7157 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kimmo Virtanen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7158 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lois Heaston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7159 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Arntson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7160 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mrs. Ruth Carlone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7161 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Rachel Wolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7162 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Arthur Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7163 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Chilton Gregory
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7164 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Charlene Larsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7165 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  GARY JONES
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7166 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dawn Degrazio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7167 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ms. Rachel Wolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7168 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Cindy Marshall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7169 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  betty winholtz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7170 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  william hepler jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7171 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  David Arntson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7172 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Kris N
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7173 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Barbara Snell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7174 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Lois Heaston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7175 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  RANDALL TUTTEROW
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7176 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  laura dufel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7177 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lynne Herrli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7178 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Ms. M Richardson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7179 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  RANDALL TUTTEROW
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7180 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Robert Holmes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7181 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  betty winholtz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7182 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ms. M Richardson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7183 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Kirk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7184 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  laura dufel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7185 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Lynne Herrli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7186 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dyan Pike
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7187 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Geraldine Daniel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7188 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Denton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7189 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Donna Profeta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7190 of 13201
  Loretta Lynch
  Department of Justice

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  John Kirk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7191 of 13201
  Loretta Lynch
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  Sincerely,

  Linda Hardy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7192 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ronald Trueau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7193 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rebecca Kraimer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7194 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bonnie Bernstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7195 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7196 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rebecca Kraimer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7197 of 13201
  Loretta Lynch
  Department of Justice

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  Donna Profeta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7198 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ron Fisher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7199 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elijah Michaelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7200 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chad Leming
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7201 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joan Maccari
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7202 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vaughan Greene
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7203 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Geoffrey Hybel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7204 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Annie McMahon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7205 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7206 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Sargis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7207 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Vaughan Greene
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7208 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Annie McMahon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7209 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Geoffrey Hybel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7210 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  L Cam Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7211 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Friend Wagner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7212 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Roberta E. Newman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7213 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Susan Sargis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7214 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jared Long
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7215 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Julia Stancliffe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7216 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  L Cam Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7217 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Holly Burgin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7218 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jared Long
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7219 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joan Maccari
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7220 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Julia Stancliffe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7221 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Greg Wert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7222 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Roberta E. Newman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7223 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jennifer Mancini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7224 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Blaine Wimberly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7225 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lawrence Boisvert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7226 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Susan Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7227 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marsha Schaub
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7228 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Holly Burgin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7229 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Blaine Wimberly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7230 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bonnie Richardson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7231 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Deborah Herbst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7232 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Marsha Schaub
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7233 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Bonnie Richardson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7234 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tupefaavae Auelua
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7235 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  milton caine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7236 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Deborah Dahlgren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7237 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Jim Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7238 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7239 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jean Ogorzaly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7240 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Mancini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7241 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  barb saunders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7242 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  woody simmons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7243 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Douglas Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7244 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Jablonka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7245 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brenna Bales
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7246 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Riebel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7247 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Joyce Pusel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7248 of 13201
  Loretta Lynch
  Department of Justice

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  Douglas Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7249 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  J Lang
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7250 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  R. Brent Palmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7251 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ruth Wootten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7252 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Janet Pinneo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7253 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7254 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jim Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7255 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Serene Spencer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7256 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Hoover
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7257 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sara Powell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7258 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Wendy Campbell Parco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7259 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ruth Wootten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7260 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  barb saunders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7261 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Serene Spencer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7262 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Doug Rawling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7263 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  David Osterhoudt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7264 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Susan Sheloske
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7265 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  be left paying the cost of it.

  Sincerely,

  Joseph lian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7266 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jeremy Spencer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7267 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Wendy Campbell Parco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7268 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gregory Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7269 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Catherine Wright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7270 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Brannan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7271 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Joseph lian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7272 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sara Powell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7273 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ann Marie DeMeo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7274 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Shelley Mack
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7275 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  William Rogers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7276 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Osterhoudt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7277 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  John Brannan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7278 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kevin Vaught
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7279 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alison Wasielewski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7280 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kevin Vaught
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7281 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mrs. Mary Detrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7282 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sara Hopewell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7283 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mike Lega
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7284 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Catherine Wright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7285 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Alison Wasielewski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7286 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7287 of 13201
  Loretta Lynch
  Department of Justice

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  Mike Lega
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7288 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Dorothy Varellas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7289 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robert Moran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7290 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bettie Paradis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7291 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vicki Brenner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7292 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7293 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nick C
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7294 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Renee Grant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7295 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cholla Grygotis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7296 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judith Galterio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7297 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Jenn R
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7298 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7299 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lucille Chagnon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7300 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  C. Scelsi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7301 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Renee Grant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7302 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cathy Bangerter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7303 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Riegert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7304 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Pamela Jiranek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7305 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barbara Hopkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7306 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Judith Galterio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7307 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  C. Scelsi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7308 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Javier Lujan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7309 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As part of the comment period for the consent decree between BP, the Justice
  Department, and the five states of the Gulf Coast continues, I urge you to include strict
  language in the final agreement that bars BP from claiming any portion of its settlement
  costs as a tax deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kambra Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7310 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michele Buzbee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7311 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Jenn R
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7312 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Ms. Kate Shield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7313 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Bruce Kerslake
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7314 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kambra Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7315 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cindy McReynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7316 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Linda Zigich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7317 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. D Robinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7318 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ann Nore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7319 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Linda Plenert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7320 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. D Robinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7321 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nicole Bear
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7322 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nicole Bear
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7323 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Beth Stanton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7324 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Stephen Farmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7325 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  James Parker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7326 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  James Parker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7327 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  James McConkey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7328 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rebecca Fuller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7329 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. James Roberts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7330 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pamela Jiranek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7331 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Norman Lane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7332 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Beth Stanton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7333 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Shelton Jenkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7334 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barbara Baltz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7335 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rebecca Fuller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7336 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  James McConkey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7337 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lori Savolainen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7338 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Squeeze them till they bleed!

  Sincerely,

  Mr. Thomas Sanders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7339 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Eric Sills
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7340 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  john deddy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7341 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Renee Kenneybrew
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7342 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Karen Lampke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7343 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Terry Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7344 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  john deddy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7345 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Mr. Thomas Sanders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7346 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Frances Brayfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7347 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Terry Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7348 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dr. Maxine Cannon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7349 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Gold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7350 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Timothy Larkin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7351 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tim H.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7352 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Frances Brayfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7353 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Elizabeth Milliken
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7354 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dr. Maxine Cannon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7355 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Timothy Larkin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7356 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  claudia devinney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7357 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ted Kubiak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7358 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael Gabriel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7359 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Gold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7360 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lynda Stauffer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7361 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mary Etta Moose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7362 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Thomas Durst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7363 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael Gabriel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7364 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lori Savolainen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7365 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  claudia devinney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7366 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shawn Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7367 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Kate Richman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7368 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Matthew Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7369 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Marc Massar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7370 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Max Salt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7371 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Matthew Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7372 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Durst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7373 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jacqueline Seward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7374 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Janice Flandreau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7375 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kate Richman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7376 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Norman Lane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7377 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jessica Reigelman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7378 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathy Braun
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7379 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Soares
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7380 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7381 of 13201
  Loretta Lynch
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  Sincerely,

  Carol Zhong
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7382 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. James Roberts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7383 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jo Harvey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7384 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bo Bergstrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7385 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter Sergienko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7386 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Blakely Diller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7387 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beatrice Volpe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7388 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rob Nichols
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7389 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stanley Hampton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7390 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  linda harling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7391 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter Sergienko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7392 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  LeiOma Koestner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7393 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carole Hartleb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7394 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms Susan Kozinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7395 of 13201
  Loretta Lynch
  Department of Justice

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  Blakely Diller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7396 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nita davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7397 of 13201
  Loretta Lynch
  Department of Justice

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  Rob Nichols
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7398 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hollie Hallman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7399 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joan Agro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7400 of 13201
  Loretta Lynch
  Department of Justice

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  Carole Hartleb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7401 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charlene Diane Boydston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7402 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  margo mccormick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7403 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Frieda Stahl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7404 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lisa Annecone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7405 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roger Guidry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7406 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7407 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hollie Hallman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7408 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beverlee Goynes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7409 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Mc Hagerty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7410 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dawn Albanese
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7411 of 13201
  Loretta Lynch
  Department of Justice

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  Lisa Annecone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7412 of 13201
  Loretta Lynch
  Department of Justice

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  margo mccormick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7413 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7414 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nancy A. Bender
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7415 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  LeiOma Koestner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7416 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roger Guidry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7417 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Max Salt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7418 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Ms. Mc Hagerty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7419 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marie Roberge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7420 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joseph Boyd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7421 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kim Fisher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7422 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marsha Whatley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7423 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kim Fisher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7424 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sydney Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7425 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Edgar Link
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7426 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joseph Boyd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7427 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  alice mckaig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7428 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7429 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bhavana Lymworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7430 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marsha Whatley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7431 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ellen Fleishman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7432 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Derek Srisaranard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7433 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sydney Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7434 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Cady Berkel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7435 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kirk Dangler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7436 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Charles Ellenberger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7437 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet Forman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7438 of 13201
  Loretta Lynch
  Department of Justice

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  Derek Srisaranard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7439 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Arthur Le Suer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7440 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7441 of 13201
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  Sincerely,

  John Keiter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7442 of 13201
  Loretta Lynch
  Department of Justice

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  Ellen Fleishman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7443 of 13201
  Loretta Lynch
  Department of Justice

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  John Keiter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7444 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7445 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristina Fukuda-Schmid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7446 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Debra Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7447 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Ambrosino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7448 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gail Findley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7449 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dawn Laughlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7450 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Brisolara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7451 of 13201
  Loretta Lynch
  Department of Justice

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  Dawn Laughlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7452 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Waldron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7453 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol and Antonio Rocha
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7454 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Silverman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7455 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7456 of 13201
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  Sincerely,

  grant Rich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7457 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Ambrosino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7458 of 13201
  Loretta Lynch
  Department of Justice

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  Gail Findley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7459 of 13201
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  Department of Justice

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  Sincerely,

  William Brisolara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7460 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  michelle lesmond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7461 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Phyllis Hagmaier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7462 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brian Makowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7463 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Travena
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7464 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pat Rose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7465 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Brian Makowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7466 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nelson Stockdill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7467 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Carolyn Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7468 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  michelle lesmond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7469 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Raymond Blumel Jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7470 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  grant Rich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7471 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michele Reed
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7472 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Nelson Stockdill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7473 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  James Hatcher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7474 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Marsha Wiseltier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7475 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Phil Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7476 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jelica Roland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7477 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michele Reed
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7478 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jerahmeel Rueben Males
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7479 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Jerahmeel Rueben Males
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7480 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sally Stroud
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7481 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Abby Grosslein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7482 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Thomas Joy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7483 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Gudrun Dennis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7484 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dana Meyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7485 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brett Dennison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7486 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Gudrun Dennis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7487 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms Betty Victor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7488 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judith Gray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7489 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Ripley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7490 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Annelissa Gray-Lion
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7491 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cornelia Bryant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7492 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dennis McVey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7493 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Adrienne Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7494 of 13201
  Loretta Lynch
  Department of Justice

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  Judith Gray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7495 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Schellenger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7496 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynn Wilbur
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7497 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan Voigt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7498 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christine Pikala
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7499 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Hayes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7500 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Wolongevicz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7501 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Amy Frieden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7502 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ibn-Umar Abbasparker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7503 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Harralson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7504 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dennis McVey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7505 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7506 of 13201
  Loretta Lynch
  Department of Justice

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  Ibn-Umar Abbasparker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7507 of 13201
  Loretta Lynch
  Department of Justice

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  Patricia Wolongevicz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7508 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  james n. lodwick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7509 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Susi Higgins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7510 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Patrick McCloskey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7511 of 13201
  Loretta Lynch
  Department of Justice

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  David Harralson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7512 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Phil Wagner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7513 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7514 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patrick McCloskey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7515 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Judith Simon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7516 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Phil Wagner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7517 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Spevak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7518 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet Neihart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7519 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Silva
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7520 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Goforth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7521 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lora Newton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7522 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Caroline Hair
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7523 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7524 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7525 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jason Warrington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7526 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rita Lemkuil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7527 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Amy Gentes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7528 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Pham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7529 of 13201
  Loretta Lynch
  Department of Justice

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  Caroline Hair
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7530 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy A. Bender
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7531 of 13201
  Loretta Lynch
  Department of Justice

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  Amy Gentes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7532 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kara Beebee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7533 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Silva
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7534 of 13201
  Loretta Lynch
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  Sincerely,

  Mr. Neil F Freson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7535 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ernetta Skerlec
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7536 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jean Bails
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7537 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jane Barber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7538 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Martina Richter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7539 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7540 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Oliver Deex
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7541 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Scott Steinman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7542 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brooks Kline
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7543 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  janilyn harding
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7544 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris Sanders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7545 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynn Wilbur
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7546 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Manetric Douglas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7547 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sue Liu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7548 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ron Hansel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7550 of 13201
  Loretta Lynch
  Department of Justice

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  Chris Sanders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7551 of 13201
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  Sincerely,

  Omar Beqaj
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7552 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Wojno
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7553 of 13201
  Loretta Lynch
  Department of Justice

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  Ernetta Skerlec
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7556 of 13201
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  Sincerely,

  Lynn Acton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7557 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Rials
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7558 of 13201
  Loretta Lynch
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  Sincerely,

  Kara Beebee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7559 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gregory Witkowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7560 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7561 of 13201
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  Sincerely,

  Anthony Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7562 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marilyn Feeney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7563 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Dinsmore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7564 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jennifer Rials
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7565 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Brooks Kline
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7566 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Metzger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7567 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gregory Witkowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7568 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Shinsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7569 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Marilyn Feeney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7570 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Daniel DeLalla
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7571 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Shane McCune
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7572 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jessica Denham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7573 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michele Nihipali
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7574 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Michael Shinsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7575 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Shelton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7576 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michele Nihipali
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7577 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Frederick Tuck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7578 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Heather Kemper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7579 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Susan Pernot
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7580 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Larry Lima
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7581 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet P Duran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7582 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Robert W. Rhodes, III
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7583 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Heather Kemper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7584 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Theodore Beloin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7585 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Robert W. Rhodes, III
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7586 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Larry Lima
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7587 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hugh Lentz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7588 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Coleen Flory
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7589 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Pernot
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7590 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Danby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7591 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7592 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rebecca Arrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7593 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paula Meyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7594 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert McCombs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7595 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Wojno
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7596 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Louise Usechak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7597 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Chapellier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7598 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristina Fukuda-Schmid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7599 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nick Matthews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7600 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7601 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Louise Usechak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7602 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Chapellier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7603 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kerry Labendz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7604 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jena Reid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7605 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Claiborn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7606 of 13201
  Loretta Lynch
  Department of Justice

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  Jena Reid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7607 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kerry Labendz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7608 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Keelan Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7609 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  mark zeltner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7610 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  matt geer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7611 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margaret Eells
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7612 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Marilyn Vey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7613 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan Christianson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7614 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  matt geer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7615 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kimberly Jay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7616 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  suzanne burgoyne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7617 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Keelan Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7618 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Hinton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7619 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Parker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7620 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7621 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marilyn Vey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7622 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steven Deerwester
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7623 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  tara pomeroy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7624 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan Christianson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7625 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Fred Bartlett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7626 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jan Robbins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7627 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  edgar gehlert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7628 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Fred Gosling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7629 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7630 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7631 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7632 of 13201
  Loretta Lynch
  Department of Justice

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  edgar gehlert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7634 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lori Girshick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7635 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elanor Cherier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7636 of 13201
  Loretta Lynch
  Department of Justice

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  Steven Deerwester
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7637 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Betty Wurtz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7638 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
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  Sincerely,

  Nicola Fascina
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7640 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dieter Held
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7641 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mikaela Gray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7642 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathryn Tipton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7643 of 13201
  Loretta Lynch
  Department of Justice

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  John Tuohey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7644 of 13201
  Loretta Lynch
  Department of Justice

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  Nicola Fascina
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7645 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7646 of 13201
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  Sincerely,

  Kim Loftness
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7648 of 13201
  Loretta Lynch
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  Sincerely,

  Diane Danby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7649 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Phil Vanasse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7650 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7651 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  J. Massetti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7652 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  r Kennedy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7653 of 13201
  Loretta Lynch
  Department of Justice

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  Phil Vanasse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7654 of 13201
  Loretta Lynch
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  Michael Ross
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  Department of Justice

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  Sincerely,

  Rachel Young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7656 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carla Skuce
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7657 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Schreibe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7658 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patsy Cushing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7659 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kim Crawford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7660 of 13201
  Loretta Lynch
  Department of Justice

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  J. Massetti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7661 of 13201
  Loretta Lynch
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  Rachel Young
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  Sincerely,

  Mr. Will Yeager
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7663 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rona Leighton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7665 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Taylor Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7666 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Roxann Carmean
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7667 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Steve Lininger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7668 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Claudia Herfurt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7669 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Wiley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7670 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  roy bell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7671 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Roxann Carmean
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7672 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Wiley McIntyre
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7673 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  fairlee gamble
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7674 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Wiley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7675 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan G Rives-Denight
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7676 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Laurel Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7677 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Pham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7678 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Steve Lininger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7679 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Janicki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7680 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Taylor Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7681 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Stephen Carl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7682 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patti Schultze
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7683 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Laurel Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7684 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephen Carl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7685 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Cathy Rowan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7686 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Valerie Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7687 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael DeAngelis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7688 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Janicki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7689 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elke Hoppenbrouwers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7690 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sue D'Onofrio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7691 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sue Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7692 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelly King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7693 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Valerie Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7694 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  B.E. SILVERMAN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7695 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Terry Koslek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7696 of 13201
  Loretta Lynch
  Department of Justice

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  Susan G Rives-Denight
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7697 of 13201
  Loretta Lynch
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  Sincerely,

  Mark Gall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7698 of 13201
  Loretta Lynch
  Department of Justice

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  Mark Gall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7699 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kevin Cabell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7700 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robertta Clarke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7701 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Claudia Herfurt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7702 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stacey Menendez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7703 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  M Schaefer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7704 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Bowman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7705 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert DiStefano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7706 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Carringer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7707 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Theodore Reese
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7708 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Sanocki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7709 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert March
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7710 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  B.E. SILVERMAN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7711 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  john carmichael
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7712 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Patti Schultze
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7713 of 13201
  Loretta Lynch
  Department of Justice

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  Robert DiStefano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7714 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Catherine Lanzl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7715 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Todd Hartman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7716 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  r Kennedy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7717 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barry Sato
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7718 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Catherine Lanzl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7719 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  THOMAS FEESER
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7720 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Theodore Reese
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7721 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Bowman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7722 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Cindy McReynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7723 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Nancy DeSecki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7724 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Neal Watkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7725 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Jeffrey Bains
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7726 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rev. Rev. Elizabeth Zenker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7727 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Dorothy Jackson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7728 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lisa Clarke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7729 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andy Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7730 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Sanocki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7731 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Todd Hartman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7732 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aldana Santto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7733 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Hanlon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7734 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Garza
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7735 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Cynthia Mize
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7736 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristine Winnicki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7737 of 13201
  Loretta Lynch
  Department of Justice

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  Neal Watkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7738 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Keith Berg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7739 of 13201
  Loretta Lynch
  Department of Justice

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  Andy Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7740 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7741 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7742 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aldana Santto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7743 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Erin Haugh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7744 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Kasowitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7745 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dave Nakonecznyj
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7746 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Morgan Shelhorse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7747 of 13201
  Loretta Lynch
  Department of Justice

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  Kristine Winnicki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7748 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Suzanne McDonough
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7749 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dave Cowen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7750 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Gazzola
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7751 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Satler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7752 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7753 of 13201
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  Linda Gazzola
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7754 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beth Williamson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7755 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristin Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7756 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carole Pappas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7757 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Suzanne McDonough
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7758 of 13201
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  Department of Justice

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  Sincerely,

  David Wise
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7759 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Glandorf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7760 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Erma Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7761 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dr. Carol S Soroos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7762 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beth Williamson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7763 of 13201
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  Carole Pappas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7764 of 13201
  Loretta Lynch
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  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patricia Libengood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7765 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dr. Carol S Soroos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7766 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  April Jacob
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7767 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Wise
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7768 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jenny Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7769 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Keith Berg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7770 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joanne Strainer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7771 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William St. George
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7772 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7773 of 13201
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  April Jacob
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7774 of 13201
  Loretta Lynch
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  Sincerely,

  K Kapcsos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7775 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ralph Rexroad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7776 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susanna Levin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7777 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Stagnitta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7778 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Carpenter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7779 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Moresi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7780 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristin Webb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7781 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  jennifer minish
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7782 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ellen Jessen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7783 of 13201
  Loretta Lynch
  Department of Justice

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  Joanne Strainer
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  Loretta Lynch
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  Sincerely,

  John Angel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7785 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7786 of 13201
  Loretta Lynch
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  Sincerely,

  Mr. Henry Boyle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7787 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Liebau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7788 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Katie Cowling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7790 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
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  Kristin Webb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7792 of 13201
  Loretta Lynch
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  Sincerely,

  John Bremer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7793 of 13201
  Loretta Lynch
  Department of Justice

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  K Kapcsos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7795 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stacey Menendez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7796 of 13201
  Loretta Lynch
  Department of Justice

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  Michael Liebau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7797 of 13201
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  Sincerely,

  Gerry Hoots
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7798 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Winckler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7799 of 13201
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  Sincerely,

  Brooke Crowley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7800 of 13201
  Loretta Lynch
  Department of Justice

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  Brooke Crowley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7801 of 13201
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  Department of Justice

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  Sincerely,

  Helen Moissant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7802 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  P.Jacquelyn Schmidt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7804 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Otmar Jonas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7805 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,
  Mary Sue Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7807 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Janet Rhodes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7808 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Foster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7809 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eric Robson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7810 of 13201
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  Sincerely,

  Rev. Rev. Elizabeth Zenker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7811 of 13201
  Loretta Lynch
  Department of Justice

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  P.Jacquelyn Schmidt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7812 of 13201
  Loretta Lynch
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  Sincerely,

  Michael Tribble
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7813 of 13201
  Loretta Lynch
  Department of Justice

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  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Russell Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7815 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Christina Viljoen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7816 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  James Steinmuller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7817 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mike Henrietta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7818 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Mera Wolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7819 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Christina Viljoen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7820 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kelly Marks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7821 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,
  Mary Sue Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7822 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Allara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7823 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Dorothy Sanchez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7824 of 13201
  Loretta Lynch
  Department of Justice

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  James Steinmuller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7825 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Allara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7826 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carolyn Day
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7827 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mark Golembiewski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7828 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Charmont Warren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7829 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris Hornbacker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7830 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ron Cwang
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7831 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Lauralyn Pryor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7832 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robert Depew
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7833 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eric Monroe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7834 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7835 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Lally
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7836 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Chris Ocean
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7837 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Wiseley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7838 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7839 of 13201
  Loretta Lynch
  Department of Justice

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  Robert Depew
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7840 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nate Frey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7841 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7842 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7843 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Wiseley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7844 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandy Dalcais
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7845 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Luke Lamonica
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7846 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Melissa Cathcart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7847 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peggy O'Connor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7848 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7849 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Slade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7850 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Toni Russell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7851 of 13201
  Loretta Lynch
  Department of Justice

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  Luke Lamonica
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7852 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. J. Holley Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7853 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Louis Vazquez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7855 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Neil Thon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7856 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Louis Vazquez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7857 of 13201
  Loretta Lynch
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  Sincerely,

  Nina Klippel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7858 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathy Newman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7859 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  William C. Vohwinkle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7860 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Neil Thon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7861 of 13201
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  Sincerely,

  Melvin & Martha Rosenblatt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7862 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julia Hathaway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7863 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maureen Banks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7864 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brian Yu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7865 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Marian Cruz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7866 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Matthew Butler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7867 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter McCumber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7868 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Kristin Sunada
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7869 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jen Ei
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7870 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ben Ahern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7871 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7872 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7873 of 13201
  Loretta Lynch
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  Sincerely,

  Melvin & Martha Rosenblatt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7874 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marian Cruz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7875 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Yvonne Hodgkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7876 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ben Ahern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7877 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Carey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7878 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Susan Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7879 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Lester
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7880 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jim C
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7881 of 13201
  Loretta Lynch
  Department of Justice

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  Susan Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7882 of 13201
  Loretta Lynch
  Department of Justice

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  Patricia Carey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7883 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Broer-LeRoux
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7884 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Hoover
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7885 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James L. Holman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7886 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jim C
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7887 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7888 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Fries
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7889 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Heermans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7890 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Alleyne-Chin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7891 of 13201
  Loretta Lynch
  Department of Justice

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  James L. Holman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7892 of 13201
  Loretta Lynch
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  Sincerely,

  Diane Hendricks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7893 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7894 of 13201
  Loretta Lynch
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  Sincerely,

  Thea Hetzner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7895 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Theresa Lange
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7896 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  George Bourlotos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7897 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Berklee Robins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7898 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Sue Stromberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7899 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rev D
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7900 of 13201
  Loretta Lynch
  Department of Justice

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  Diane Hendricks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7901 of 13201
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  Department of Justice

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  Sincerely,

  Chad Ransom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7902 of 13201
  Loretta Lynch
  Department of Justice

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  No tax breaks for BP.

  Sincerely,
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7904 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Shirley Phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7905 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7906 of 13201
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  Department of Justice

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  Sincerely,

  V Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7908 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rev D
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7909 of 13201
  Loretta Lynch
  Department of Justice

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  Mrs. Sue Stromberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7910 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  V Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7911 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Searle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7912 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7913 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rev. L. Cline
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7914 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lynne Weiske
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7915 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Searle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7916 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Teresa Trebotic
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7917 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Fegan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7918 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matt Stoudt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7919 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7920 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7921 of 13201
  Loretta Lynch
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  Sincerely,

  Donald Ediger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7922 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7923 of 13201
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  Department of Justice

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  Sincerely,

  k Mills
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7924 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Gilmore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7925 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Conlan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7926 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Clark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7927 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Diane Rose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7928 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan Schwartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7929 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7930 of 13201
  Loretta Lynch
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  Sincerely,

  Mike Stinnett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7931 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Gellar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7932 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joanne Aubrey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7933 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7934 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steven West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7935 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Meg Kettell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7936 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dave Nakonecznyj
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7937 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aria McKenna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7938 of 13201
  Loretta Lynch
  Department of Justice

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  Michael Caldwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7939 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
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  Gary Plummer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7941 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7942 of 13201
  Loretta Lynch
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  Sincerely,

  Thomas Phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7943 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph Lilli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7944 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Palmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7945 of 13201
  Loretta Lynch
  Department of Justice

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  Joseph Lilli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7946 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jean Cameron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7948 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7949 of 13201
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  Sincerely,

  Nicole Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7950 of 13201
  Loretta Lynch
  Department of Justice

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  Mike Stinnett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7951 of 13201
  Loretta Lynch
  Department of Justice

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  Gary Criswell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7952 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7953 of 13201
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  Sincerely,

  Mariana Heymans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7954 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  marc aleep
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7955 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peggy Zetler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7956 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Zoran Banjanin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7957 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  George Staff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7958 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marisa DiPaola
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7959 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7960 of 13201
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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7961 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lena Lurie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7962 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7963 of 13201
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  Sincerely,

  A.l. Steiner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7964 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  judith cohen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7965 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  A.l. Steiner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7966 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7967 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ron Dutra
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7968 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lena Lurie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7969 of 13201
  Loretta Lynch
  Department of Justice

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  Jared Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7970 of 13201
  Loretta Lynch
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  Sincerely,

  Byron W
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7971 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7972 of 13201
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  Sincerely,

  Carlos Contreras
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7973 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rex Heeter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7974 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynda Ferguson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7975 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Ray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7976 of 13201
  Loretta Lynch
  Department of Justice

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  Ron Dutra
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  Sincerely,

  Teresa Mays
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7978 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Criswell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7979 of 13201
  Loretta Lynch
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  Sincerely,

  Mrs. Darlene Jakusz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7980 of 13201
  Loretta Lynch
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  Sincerely,

  Eric Holtz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7982 of 13201
  Loretta Lynch
  Department of Justice

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  Mrs. Darlene Jakusz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7983 of 13201
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  Sincerely,

  Diane Sagil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7985 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donald Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7986 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  gary jarvis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7987 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandra Shilko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7988 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely, Michael D. Ray

  Michael Ray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7989 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sister Veronice Plewinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7990 of 13201
  Loretta Lynch
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  Alan Schwartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7991 of 13201
  Loretta Lynch
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  Sincerely,

  Carol Licini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7992 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Bailey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7993 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jack Dunham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7994 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jared Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7995 of 13201
  Loretta Lynch
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  Bill Eger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7996 of 13201
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  Sincerely,

  Gina Caracci
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 7998 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stan Hoffman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8001 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  MAGGIE ALSTON CLAUD
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8002 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Koontz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8003 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Sagil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8004 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anthony Joseph
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  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maryska Suda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8006 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris Osborne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8007 of 13201
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  Sincerely,

  Karie Hillery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8008 of 13201
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  Sincerely,

  Thomas Craig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8009 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Hackner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8013 of 13201
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  Department of Justice

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  Sincerely,

  Nancy Hiestand
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8014 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Chris Osborne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8015 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Richard Geiger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8016 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mrs. Elaine Berg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8017 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bob Prosser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8018 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Gross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8019 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Terry Arnhold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8020 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Thomas Craig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8021 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Karie Hillery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8022 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Susan Yeager
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8023 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jeff Beard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8024 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Linda Shirey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8025 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nancy Hiestand
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8026 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Richard Geiger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8027 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jessica Burlew
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8028 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  David Gross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8029 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

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  Sincerely,

  Jackie Stolfi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8030 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Terry Arnhold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8031 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bob Prosser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8032 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert and Hannah Stallman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8033 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Donald E Dimock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8034 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Logan Paul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8035 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Travis Tindall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8036 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jackie Stolfi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8037 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Veta M. Hartman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8038 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Robert Posch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8039 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Travis Tindall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8040 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Posch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8041 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Judge Leverich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8042 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Leslie Paul Boston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8043 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert and Hannah Stallman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8044 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kathy Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8045 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Peter Prosser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8046 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  marguery lee zucker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8047 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  mary brockway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8048 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cat Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8049 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Susie Bolser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8050 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Cassie A. Murphy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8051 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jessica Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8052 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Donald E Dimock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8053 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Jessica Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8054 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Cat Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8055 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8056 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Spalding
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8057 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  J Noble
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8058 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dorothy j Niccolls
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8059 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Anne Spalding
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8060 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Prosser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8061 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Jeff Beard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8062 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  J Noble
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8063 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dorothy j Niccolls
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8064 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  donald taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8065 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  P Hudson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8066 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Dotty Caldwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8067 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Kiley Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8068 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Jim Humphrey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8069 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ryusuke Hasegawa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8070 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Wynne Corson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8071 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kiley Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8072 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Herb Zetley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8073 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Edith Ogella
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8074 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Phyllis Brachman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8075 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  david martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8076 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bruce McLean
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8077 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jim Humphrey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8078 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bonnie Prosser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8079 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Ronald Kornmiller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8080 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Herb Zetley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8081 of 13201
  Loretta Lynch
  Department of Justice

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  Phyllis Brachman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8082 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

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  Sincerely,

  Carol A. Cole
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8083 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Wynne Corson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8084 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Edith Mann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8085 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  James Jachimiak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8086 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  david martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8087 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Royale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8088 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Debra Freeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8089 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bodo Boehme
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8091 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  michelle Boylan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8092 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  K Skelly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8093 of 13201
  Loretta Lynch
  Department of Justice

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  K Skelly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8094 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jan Kimbrough
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8095 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8096 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bartholomew Barker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8097 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  c peters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8098 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8099 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Debra Freeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8100 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristine Hutchin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8101 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Francine Sutton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8102 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Skaer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8103 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bartley Lawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8104 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Berman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8105 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristine Hutchin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8106 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol McGeehan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8107 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dawn Harrod
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8108 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Charles Skaer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8109 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  H J Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8110 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Frank Greene
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8111 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Shawn Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8112 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Shawn Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8113 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Frances Crocco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8114 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Steve Berman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8115 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patti Brandt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8116 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Frances Crocco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8117 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Randy Morrow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8118 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bodo Boehme
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8119 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dana Quinn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8120 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sherry Quinn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8121 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Randy Morrow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8122 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Rogers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8123 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dana Quinn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8124 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Flora Pino García
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8125 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dawn Harrod
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8126 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Flora Pino García
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8127 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barbara Voss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8128 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Stacey A. A Ward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8129 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Brantley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8130 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kerrie Shisila
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8131 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Philip Wright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8132 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patti Brandt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8133 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Kerrie Shisila
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8134 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Wayne Carson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8135 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joanna Schoettler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8136 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Katherine Schultetus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8137 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,Mr.Terry Rohrbach

  Mr.Terry Rohrbach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8138 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Steve Wolfe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8139 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robert Rogers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8140 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sarah Reese
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8141 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Logan Paul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8142 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  William Korbel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8143 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Steve Wolfe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8144 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Laura Naismith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8145 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Brian Kuru
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8146 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Margaret C. McHugh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8147 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dan Lemieux
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8148 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Laura Naismith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8149 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mike Gilmore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8150 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Laura Boss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8151 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sarah Natalini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8152 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Craig Welch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8153 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael Kirkby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8154 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Tom Gurule
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8155 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Roy Reynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8156 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Sarah Natalini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8157 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Amanda Smock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8158 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Dan Lemieux
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8159 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joe M
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8160 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Margaret C. McHugh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8161 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bret Pritchett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8162 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Joe C
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8163 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Craig Welch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8164 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rodd Ringquist
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8165 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lynn Spencer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8166 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Joe M
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8167 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Joyce Hudson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8168 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  J Justin Knoop
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8169 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Mark Wheeler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8170 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Lyons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8171 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Barbara Fields
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8172 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robert Chirpin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8173 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mark Wheeler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8174 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Amanda Smock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8175 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Mr. Joyce Hudson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8176 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Lee Hutchings
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8177 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joseph Daraio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8178 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Korovilos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8179 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Yara Tethys
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8180 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robert Lyons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8181 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Reber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8182 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Russell Schachterle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8183 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Yara Tethys
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8184 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Russell Schachterle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8185 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Korovilos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8186 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  W. Andrew Stover
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8187 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dean Enix
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8188 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Todd Hildebrandt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8189 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8190 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tony Diaz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8191 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8192 of 13201
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  Department of Justice

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  Sincerely,

  Salvador Marti de la Fuente
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8193 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  K Lombardozzi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8194 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Vitale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8195 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Natalie Mannering
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8196 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kerby Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8197 of 13201
  Loretta Lynch
  Department of Justice

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  K Lombardozzi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8198 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steven Meissner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8199 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Natalie Mannering
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8200 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Sollee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8201 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stuart Weinstock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8202 of 13201
  Loretta Lynch
  Department of Justice

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  Kerby Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8203 of 13201
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  Department of Justice

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  Salvador Marti de la Fuente
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8204 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David   Passmore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8205 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stuart Weinstock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8206 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steven Meissner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8207 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Teresa Cambridge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8208 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robert Long
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8209 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  mary lasley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8210 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Lynn Adams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8211 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Neil Stanton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8212 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Teresa Cambridge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8213 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Robert Jehn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8214 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rocky Votolato
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8215 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Richard Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8216 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Daisy Porter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8217 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Susan Walp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8218 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Richard Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8219 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rocky Votolato
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8220 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Meredith C Tucker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8221 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bill Herman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8222 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amy Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8223 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Meredith C Tucker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8224 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Erik Hauge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8225 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Daisy Porter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8226 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Diane Blackburn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8227 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ravinder Bajwa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8228 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bill Herman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8229 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Amy Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8230 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Norm Stanley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8231 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rose Singer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8232 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Linda Rubiano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8233 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Woschenko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8234 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ravinder Bajwa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8235 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Diane Watters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8236 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Norm Stanley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8237 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  John Woschenko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8238 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Charlotte Shnaider
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8239 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Linda Rubiano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8240 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Liana Heath
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8241 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Linda K Lindquist
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8242 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Charlotte Shnaider
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8243 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Fayaz Kabani
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8244 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Christine Penrose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8245 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Richard Kite
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8246 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Christine Penrose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8247 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dashiell Dunkell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8248 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  adja catalano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8249 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marketa Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8250 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dashiell Dunkell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8251 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Todd Spahr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8252 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Liana Heath
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8253 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alice Rim
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8254 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gareth Hale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8255 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I strongly urge you to include strict language in
  the final agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated, and taxpayers should
  most certainly not be left paying the cost of it.

  Sincerely,

  Thomas Canning
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8256 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  E GLick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8257 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Richard Kite
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8258 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kim Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8259 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marketa Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8260 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Donna Sharee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8261 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Toby Cardoso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8262 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  George Fairfax MD
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8263 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  E GLick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8264 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Shelton Dominici
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8265 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Toby Cardoso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8266 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Thomas Canning
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8267 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marie Therese Matthews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8268 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mara Sabinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8269 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kim Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8270 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Christopher Danne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8271 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mara Sabinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8272 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sadie SullivanGreiner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8273 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Lora Schwartzberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8274 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Bruce Bailey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8275 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  jennifer prevost
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8276 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Christopher Danne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8277 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marie Therese Matthews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8278 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Shelton Dominici
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8279 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Lora Schwartzberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8280 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Clover Catskill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8281 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  George Fairfax MD
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8282 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alexis Hendrickson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8283 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Peter Holcomb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8284 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Sarvis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8285 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dolores Cohenour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8286 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8287 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alexis Hendrickson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8288 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Maureen O' Meara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8289 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  jennifer prevost
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8290 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Emily Viadero
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8291 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Hartung
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8292 of 13201
  Loretta Lynch
  Department of Justice

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  Dolores Cohenour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8293 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jane Altman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8294 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maureen O' Meara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8295 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8296 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patsy Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8297 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Shirley Schue
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8298 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Edward Dace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8299 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  kirk brooks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8300 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  James Corrigan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8301 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kristy Eyler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8302 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  kirk brooks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8303 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Joan Graves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8304 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kristy Eyler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8305 of 13201
  Loretta Lynch
  Department of Justice

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  James Corrigan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8306 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Candace Batten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8307 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Candace Batten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8308 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Kathleen Swartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8309 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mary Clare Barker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8310 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Diana D Sweeney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8311 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Richard Bradus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8312 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Andrew Rigrod
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8313 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Joan Graves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8314 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Seth Mosgofian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8315 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Diana D Sweeney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8316 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Eric Jensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8317 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dr. Stephen Weitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8318 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bea N
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8319 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Dr. Stephen Weitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8320 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Johnston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8321 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Mary Sharman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8322 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  George Krause
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8323 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Deanna Gentle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8324 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Pam Griffin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8325 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michol Stelma
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8326 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mara Wolfgang
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8327 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Jan Luke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8328 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  nick bode
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8329 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tony Gray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8330 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Janice Haynes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8331 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Sandy Rhein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8332 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jan Luke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8333 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8334 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Heather Kaup
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8335 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nicole Sears
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8336 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Llew Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8337 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8338 of 13201
  Loretta Lynch
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  Sincerely,

  Mary Cory
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8339 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chuck Karp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8340 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8341 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dolly Sutherland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8342 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stacey A. A Ward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8343 of 13201
  Loretta Lynch
  Department of Justice

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  Nicole Sears
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8344 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leonard Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8345 of 13201
  Loretta Lynch
  Department of Justice

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  Deanna Gentle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8346 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8347 of 13201
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  Department of Justice

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  Sincerely,

  Renee Cossutta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8348 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joy Cassidy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8349 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joshua Heffron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8350 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce Wegener
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8351 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dianna Cristello
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8352 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chuck Karp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8353 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dror Schneider
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8354 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephen Spicehandler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8355 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cathryn Kissinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8356 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Rainey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8357 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce Wegener
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8358 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jaime Stowell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8359 of 13201
  Loretta Lynch
  Department of Justice

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  Renee Cossutta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8360 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lyda Stillwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8361 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dianna Cristello
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8362 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joni lindgren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8363 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dennis McDaniel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8364 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Paul Bourassa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8365 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joanna Ostroot
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8366 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Elizabeth Graham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8367 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  ron wike
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8368 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Rainey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8369 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  ron wike
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8370 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Frederick Lucies
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8371 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Paul Madzik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8372 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Serena Klempin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8373 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barb Rysdale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8374 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Paul Madzik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8375 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Heather Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8376 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Serena Klempin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8377 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sherrie Becker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8378 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Terry Reser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8379 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Sherrie Becker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8380 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. christiaan siano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8381 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Theresa Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8382 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Heather Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8383 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Theresa Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8384 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. christiaan siano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8385 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Sheila Kelley Glavine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8386 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Edward Cutler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8387 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joyce Maresco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8388 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Eugene Schmidt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8389 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Carolyn Hudson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8390 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8391 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Roger Bianco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8392 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  A Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8393 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Roger Bianco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8394 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joyce Maresco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8395 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Brightwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8396 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Roger P
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8397 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Gaskill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8398 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jenny Nichols
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8399 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Betty Stewart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8400 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Stephen Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8401 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Roger P
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8402 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carolyn Hudson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8403 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  David Gaskill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8404 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Suzanne Schaem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8405 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bruce England
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8406 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Stephen Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8407 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Elisse De Sio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8408 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Michael Brightwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8409 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Dunbar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8410 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  M. Browning
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8411 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Linda Wasserman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8412 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Brandon Callifornia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8413 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Joyce Maresco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8414 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Allie Tennant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8415 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Laura Dunbar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8416 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Betty Stewart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8417 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8418 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Linda Owen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8419 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Craig Webb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8420 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Miquel Jaume Llop I Navàs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8421 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Diane Shaughnessy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8422 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Irby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8423 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Charlotte Adams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8424 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Bruce England
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8425 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Minda Thorward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8426 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8427 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Randy Schwartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8428 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Minda Thorward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8429 of 13201
  Loretta Lynch
  Department of Justice

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  Diane Shaughnessy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8430 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Owen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8431 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Amanda Fenick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8432 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Melanie Wells
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8433 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

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  be left paying the cost of it.

  Sincerely,

  Carolyn Roeder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8434 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  John Irby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8435 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rohini Gangasarran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8436 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Jane vanWert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8437 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Sandra Garcia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8438 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Rohini Gangasarran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8439 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lawrence Friedrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8440 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jenelle Joseph
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8441 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephen Reid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8442 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jenelle Joseph
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8443 of 13201
  Loretta Lynch
  Department of Justice

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  Stephen Reid
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8444 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Swanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8445 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Forrest Padgett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8446 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  George Ackley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8447 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  K Gomes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8448 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jane vanWert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8449 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Susan Thurairatnam
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8450 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Barbara Rubin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8451 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kathryn Spence
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8452 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mrs. Susan Thurairatnam
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8453 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Francesca Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8454 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Barbara Rubin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8455 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Donch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8456 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Patricia Edson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8457 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kristie Mather
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8458 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Francesca Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8459 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  dan volpatti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8460 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Gayle Blue
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8461 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Kristie Mather
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8462 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Patricia Edson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8463 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  dan volpatti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8464 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  M Guerry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8465 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Gary Keim
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8466 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Keim
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8467 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eric McCrone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8468 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Diane DiFante
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8469 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Gayle Blue
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8470 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeff Creech
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8471 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Mary Snow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8472 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Doris Luther
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8473 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  JEAN FRIDAY
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8474 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mario Velarde
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8475 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susie Barton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8476 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Eric McCrone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8477 of 13201
  Loretta Lynch
  Department of Justice

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  Mario Velarde
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8478 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Snow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8479 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

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  Sincerely,

  Kristen Hoyt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8480 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jeff Creech
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8481 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Bravo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8482 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Susie Barton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8483 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Thomas Bousman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8484 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Karen Bravo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8485 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Lynch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8486 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Gary Keim
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8487 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Janit Kehl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8488 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joseph OSullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8489 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Annabel Caner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8490 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. K Krupinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8491 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marcia Kurland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8492 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,
  Adriana Micciulla
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8493 of 13201
  Loretta Lynch
  Department of Justice

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  Mrs. K Krupinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8494 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Lynch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8495 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  M Waldoch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8496 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8497 of 13201
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  Sincerely,

  John Fox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8498 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bob Morrison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8499 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hill Blackett III
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8500 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathleen Rice
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8501 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Hahn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8502 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Bousman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8503 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Fox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8504 of 13201
  Loretta Lynch
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  Sincerely,

  Simeon Flick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8505 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ann C. McGill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8506 of 13201
  Loretta Lynch
  Department of Justice

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  Ann C. McGill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8507 of 13201
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  Sincerely,

  GEORGE BUDD
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8508 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  J Conn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8509 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Lutzker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8510 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dr. Stephen Cobb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8511 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  lawrence josephs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8512 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8513 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8514 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Thomas Trescone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8515 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kathleen Rice
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8516 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathleen Rice
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8517 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kay Linder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8518 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  René Flores
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8519 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Arline Fass
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8520 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marisa Gonzalez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8521 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dr. Stephen Cobb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8522 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brandy Mulder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8523 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8524 of 13201
  Loretta Lynch
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  Sincerely,

  chris brazis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8525 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrew Jackson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8526 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Foster Eubank
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8527 of 13201
  Loretta Lynch
  Department of Justice

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  Brandy Mulder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8528 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8529 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8530 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jaen Lawrence
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8531 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anna Browder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8532 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8533 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jaen Lawrence
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8534 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jean Publee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8535 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8536 of 13201
  Loretta Lynch
  Department of Justice

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  Foster Eubank
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8537 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donald Minasian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8538 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Gross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8539 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karolina K?tna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8540 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Mark Reback
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8541 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Freeze
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8542 of 13201
  Loretta Lynch
  Department of Justice

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  Barbara Gross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8543 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8544 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Zagaris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8545 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Stickney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8546 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Kristian Benkö
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8547 of 13201
  Loretta Lynch
  Department of Justice

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  Mr. Mark Reback
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8548 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deborah Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8549 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dorothy McKenzie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8550 of 13201
  Loretta Lynch
  Department of Justice

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  Mr. Kristian Benkö
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8551 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandra Singleton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8552 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristen Hoyt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8553 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joyce Heyn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8554 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8556 of 13201
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  Sincerely,

  sandra marr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8557 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eric Schweitzer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8558 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8559 of 13201
  Loretta Lynch
  Department of Justice

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  Eric Schweitzer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8560 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joyce Heyn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8561 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris Warner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8562 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Deanka Grisham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8563 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Marble
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8564 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rita Hogan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8565 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Richard Rizzo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8566 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Linda Marble
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8567 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Deanka Grisham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8568 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Virginia Bennett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8569 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  J. Kramer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8570 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Rodger Reed
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8571 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Rizzo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8572 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rodger Reed
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8573 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Terry Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8574 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Richard Moller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8575 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karolina K?tna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8576 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  bruce fowler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8577 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Richard Moller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8578 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rafe Dimmitt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8579 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Terry Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8580 of 13201
  Loretta Lynch
  Department of Justice

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  bruce fowler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8581 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Jennifer Schally
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8582 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Barbara Rosenzweig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8583 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jennifer Schally
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8584 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  roger schmidt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8585 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joyce Cousino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8586 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Lynn Fuerst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8587 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jan Elliott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8588 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  J Albers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8589 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Ostro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8590 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8591 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Coleman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8592 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  john seeburger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8593 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leon Parker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8594 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  J Albers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8595 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Resseguie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8596 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Erin Nuzzo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8597 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Suzanne Sucec
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8598 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tomoko Shaffer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8599 of 13201
  Loretta Lynch
  Department of Justice

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  Erin Nuzzo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8600 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  john seeburger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8601 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Teresa Carstensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8602 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  George Cleveland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8603 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roy Shitanaka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8604 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  D. Mayer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8605 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gerardine Vargas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8606 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Melody Bates
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8607 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gypsy Elan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8608 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diane Falk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8609 of 13201
  Loretta Lynch
  Department of Justice

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  Gypsy Elan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8610 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roy Shitanaka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8611 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gerardine Vargas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8612 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  George Cleveland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8613 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jeff Wells
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8614 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Melody Bates
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8615 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Aase Dane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8616 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeff Wells
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8617 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Valeri DeCastris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8618 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  kathleen lensenmayer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8619 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gavin Dillard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8620 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joseph Gulas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8621 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  kristina wolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8622 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Andrew Johnston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8623 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Candice Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8624 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Virgil Salzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8625 of 13201
  Loretta Lynch
  Department of Justice

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  Aase Dane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8626 of 13201
  Loretta Lynch
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  Sincerely,

  kathleen lensenmayer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8627 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Cano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8628 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ron Katz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8629 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8630 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Limbach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8631 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8632 of 13201
  Loretta Lynch
  Department of Justice

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  John Limbach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8633 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Teresa Iovino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8634 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mr. James Michael Thomas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8635 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ray Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8636 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bonna Mettie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8637 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Ray Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8638 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8639 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Altshuler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8640 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Quentin & Jacquelyn Wenzel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8641 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Justin Hotovy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8642 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Doty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8643 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Montgomery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8644 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steven J. Prince
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8645 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pete Larson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8646 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8647 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8648 of 13201
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  Sincerely,

  Mr. ron H. silver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8649 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ruchir Vora
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8650 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tracy Griswold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8651 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Megan Warren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8652 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. margaret silver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8653 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Kempner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8654 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Megan Warren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8655 of 13201
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  Department of Justice

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  Sincerely,

  Rhoda Sharpee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8656 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jessica Blagen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8657 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Montgomery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8658 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Harold Parker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8659 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karin Boixo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8660 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Cynthia Golden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8661 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  joan rubin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8662 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michelle Collar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8663 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jessica Blagen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8664 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kristin Kline
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8665 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Henry Albert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8666 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Donna Urban
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8667 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Erma Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8668 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Vittorio Tedesco Zammarano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8669 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Rhoda Sharpee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8670 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karin Boixo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8671 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kristin Kline
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8672 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michelle Collar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8673 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Robin Bressler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8674 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sarah Perry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8675 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bettina Lorenz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8676 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Madeline Brock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8677 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Pamela Kenny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8678 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Alexandra Meyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8679 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Bruns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8680 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Bradbury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8681 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gloria Todman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8682 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Vittorio Tedesco Zammarano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8683 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Robin Bressler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8684 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julie Clayman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8685 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Virginia Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8686 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  TOM OZZELLO
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8687 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pamela Kenny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8688 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alexandra Meyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8689 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Louise RAngel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8690 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dennis Bourret
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8691 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph Pitt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8692 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Holly Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8693 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barry Goldfarb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8694 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  robert roth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8695 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Evan McDermit
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8696 of 13201
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  Department of Justice

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  Sincerely,

  Ann Sikes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8698 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Bruns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8699 of 13201
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8700 of 13201
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  Sincerely,

  Cliff Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8701 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lorrie McFatridge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8702 of 13201
  Loretta Lynch
  Department of Justice

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  Lorrie McFatridge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8703 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julie Clayman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8704 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Jeanette Capotorto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8705 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Rosenzweig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8706 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Hayes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8707 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8708 of 13201
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  Department of Justice

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  Sincerely,

  Ms. Gladys Murphy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8709 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph Sul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8710 of 13201
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  Department of Justice

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  Sincerely,

  Peter Kraniotakis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8711 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Perry Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8712 of 13201
  Loretta Lynch
  Department of Justice

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  Jennifer Hayes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8713 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Russell Griffin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8714 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Gladys Murphy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8715 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bunni Steele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8716 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Currie Barron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8717 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter Kraniotakis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8718 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Perry Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8719 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8720 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lauren Bouyea
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8721 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joseph Sul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8722 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Virginia Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8723 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eve Himmelheber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8724 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Noordyk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8725 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Lorrie McFatridge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8726 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8727 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Griesi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8728 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8729 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eve Himmelheber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8730 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vivian Griffin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8731 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Julia Elzinga
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8732 of 13201
  Loretta Lynch
  Department of Justice

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  Linda Griesi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8733 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lyle Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8734 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kimberly McConkey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8735 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael J Fergot
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8736 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Raymer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8737 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Greg Sutherland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8738 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Cort
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8739 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aleda Richardson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8740 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cristy Murray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8741 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8742 of 13201
  Loretta Lynch
  Department of Justice

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  Aleda Richardson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8743 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anna Simle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8744 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  MM
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8745 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Wittlinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8746 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Daniel Levitt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8747 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Cardell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8748 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8749 of 13201
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  Department of Justice

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  Sincerely,

  Justin Maul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8750 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donald Begalke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8751 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Wittlinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8752 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Martel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8753 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeff Silvani
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8754 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Colleen Paul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8755 of 13201
  Loretta Lynch
  Department of Justice

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  Elizabeth Martel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8756 of 13201
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  Department of Justice

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  Sincerely,

  Jim Hemmingsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8757 of 13201
  Loretta Lynch
  Department of Justice

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  Colleen Paul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8758 of 13201
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  Department of Justice

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  Sincerely,

  David McAllen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8759 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  marjorie angelo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8760 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ivan Egersdorfer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8761 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David McAllen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8762 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul C Barry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8763 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Taylor Gillespie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8764 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Barbara Stanford Tanguma
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8765 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jill Berliner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8766 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Edwards
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8767 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Noordyk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8768 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  JG Zettergren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8769 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  marilyn cohen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8770 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Delegal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8771 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kimberly Perszyk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8772 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Taylor Gillespie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8773 of 13201
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  Carolyn Sweeney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8774 of 13201
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  Sincerely,

  Monica Firely
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8776 of 13201
  Loretta Lynch
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  Sincerely,

  Lisa Graves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8777 of 13201
  Loretta Lynch
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  KEVIN SMITH
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8778 of 13201
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  Jacomina Newman-Osmon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8779 of 13201
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  Douglas Donehoo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8780 of 13201
  Loretta Lynch
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  Sincerely,

  Nancy Bennett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8781 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  R Roy Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8782 of 13201
  Loretta Lynch
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  Sincerely,

  George Neste
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8783 of 13201
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  Sincerely,

  Julia Elzinga
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8784 of 13201
  Loretta Lynch
  Department of Justice

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  Lisa Graves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8785 of 13201
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  Sincerely,

  Nicole Scott-Harris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8786 of 13201
  Loretta Lynch
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  Leslie Jenkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8789 of 13201
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  Thomas Milcarek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8790 of 13201
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  Patricia Doyle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8795 of 13201
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  Department of Justice

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  KEVIN SMITH
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8796 of 13201
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  Burjor Dastur
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8797 of 13201
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  Thomas Milcarek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8798 of 13201
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  Leslie Jenkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8799 of 13201
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  Sincerely,

  Richard Berger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8800 of 13201
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  Sincerely,

  Matthew Maloney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8801 of 13201
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  Mary Mason
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  Thomas Klusaritz
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  Sincerely,

  Anne Martin
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  Roberto Romo
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  Mary Mason
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  Jim Geear
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  Roger H. H Harrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8809 of 13201
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  Sincerely,

  Sandra Vieth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8811 of 13201
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  Marco Pardi
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  Sincerely,

  James Glucroft
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8813 of 13201
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  Katherine Lawrence
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8814 of 13201
  Loretta Lynch
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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jim Geear
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8815 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Vijay Sheldan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8816 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marco Pardi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8817 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Glucroft
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8818 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bill Graham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8819 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8820 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Patricia Gallo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8821 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donna Hayes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8822 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Michel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8823 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vijay Sheldan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8824 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Jenne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8825 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Delaney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8826 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bob Moyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8827 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Colin Hart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8828 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sally kaufmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8829 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Chambers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8830 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Loretta Lehman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8831 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Edward Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8832 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Jenne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8833 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Courtney Riches
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8834 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8835 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Dawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8836 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Scott Wiliamson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8837 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lehman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8838 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter DiSpigno
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8839 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8840 of 13201
  Loretta Lynch
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  Sincerely,

  Pam Rensch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8841 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8842 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Royal Tettemer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8843 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Glisan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8844 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8845 of 13201
  Loretta Lynch
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  Sincerely,

  Marcia Kent
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8846 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elsa Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8847 of 13201
  Loretta Lynch
  Department of Justice

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  James Dawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8848 of 13201
  Loretta Lynch
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  Michael Glisan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8849 of 13201
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  Sincerely,

  Joyce Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8850 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brian Waak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8851 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dimitri Marek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8852 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Herman S. Simms, Jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8854 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jan Mosgofian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8855 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lara Wright, MD
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8856 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nan Weilage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8857 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Terri Barreras
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8858 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Letty Perez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8859 of 13201
  Loretta Lynch
  Department of Justice

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  Mrs. Terri Barreras
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8860 of 13201
  Loretta Lynch
  Department of Justice

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  Lara Wright, MD
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8861 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judith Zetting
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8862 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy McRae
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8863 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marie Fontana
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8864 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tracey Vetter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8865 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Letty Perez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8866 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ann Davidson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8867 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jane Butler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8868 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  SALLY SPELBRING
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8869 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Judith Zetting
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8870 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Geller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8871 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Shivley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8872 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jane Butler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8873 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy McRae
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8874 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Karen Shivley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8875 of 13201
  Loretta Lynch
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  Sincerely,

  Kay Glisan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8876 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ellen O Wasfi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8877 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deborah Wertz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8878 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Springer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8879 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Macyle Candela
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8880 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Damm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8881 of 13201
  Loretta Lynch
  Department of Justice

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  John Springer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8882 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  susan zarzycki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8883 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8884 of 13201
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  Sincerely,

  susan zarzycki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8886 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  KELLEY BURTT
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8887 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Henry Lahey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8888 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William D
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8889 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christine Amisano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8890 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeanine Lord
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8891 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8892 of 13201
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  Sincerely,

  William Navran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8893 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Mcfarlane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8894 of 13201
  Loretta Lynch
  Department of Justice

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  Jeanine Lord
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8895 of 13201
  Loretta Lynch
  Department of Justice

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  KELLEY BURTT
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8896 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Isalien Jamar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8897 of 13201
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  Department of Justice

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  Sincerely,

  Theo Giesy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8898 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James Fydrych
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8899 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  susie hannam maggs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8900 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joan Chryst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8901 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Grossman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8902 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew A.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8903 of 13201
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  Department of Justice

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  Sincerely,

  Sarah (Sally) Cole
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8904 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lori Richardson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8905 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  susie hannam maggs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8906 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Barbara Kent
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8907 of 13201
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  Department of Justice

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  K.G.H. Nicholes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8908 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robert Toop
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8909 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynette Coffey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8910 of 13201
  Loretta Lynch
  Department of Justice

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  Robert Haslag
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8911 of 13201
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  Sincerely,

  Sherry Monie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8912 of 13201
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  Department of Justice

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  Sincerely,

  Michael Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8913 of 13201
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  Department of Justice

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  Sarah (Sally) Cole
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8914 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Edward Kush
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8915 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  s Forrest
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8916 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Francis Scalzi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8917 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edward Kush
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8918 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pam Morarre
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8919 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Mcfarlane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8920 of 13201
  Loretta Lynch
  Department of Justice

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  Pam Morarre
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8921 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Townill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8922 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Paula Shafransky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8923 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nelia Greene
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8924 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8925 of 13201
  Loretta Lynch
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  Paula Shafransky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8926 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eve Saglietto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8927 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gloria Mallet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8928 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8929 of 13201
  Loretta Lynch
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  Sincerely,

  Diana Rankin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8930 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Ilan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8931 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  madelaine moir
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8932 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8933 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8934 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Camp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8935 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  madelaine moir
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8936 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pieter Hull
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8937 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robyn Phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8938 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Kay Cunningham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8939 of 13201
  Loretta Lynch
  Department of Justice

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  Shannon Wylam
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8940 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Herman Best
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8941 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8942 of 13201
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  Sincerely,

  Sandi Walters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8943 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aaron Hubbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8944 of 13201
  Loretta Lynch
  Department of Justice

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  Judy Ilan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8945 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robyn Phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8946 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ana Rodriguez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8947 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8948 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8949 of 13201
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  Department of Justice

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  Elinor Yahm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8950 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8951 of 13201
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  Shannon Wylam
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8952 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Patricia Gallo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8953 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  susie M
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8954 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Blaine Gott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8955 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  sandra arapoudis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8956 of 13201
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  Department of Justice

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  Sincerely,

  Sarah Sheets
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8957 of 13201
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  Department of Justice

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  Sincerely,

  Glenn Frantz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8958 of 13201
  Loretta Lynch
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  Sincerely,

  Alexander Goncharenko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8959 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8960 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Silvia Cappi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8961 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8962 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8963 of 13201
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  Sincerely,

  T Capshaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8964 of 13201
  Loretta Lynch
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  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Evelyne Lapouge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8965 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sarah Sheets
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8966 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Alexander Goncharenko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8967 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Silvia Cappi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8968 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Erin Sandler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8969 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Rob Bagley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8970 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Stephen Lum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8971 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mr. Dennis Wayne Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8972 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Matt Brewer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8973 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Erin Sandler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8974 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  monroe edwin jeffrey,
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8975 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Kevin Moran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8976 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8977 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Don Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8978 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  William Navran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8979 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Fran Sears
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8980 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  A Adams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8981 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sandra Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8982 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  monroe edwin jeffrey,
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8983 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Don Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8984 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kevin Moran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8985 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Todd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8986 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Denise Lenardson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8987 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Mrs. Marilyn Waltasti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8988 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Fran Sears
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8989 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Fay Benson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8990 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Renee Landuyt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8991 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donald Jackson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8992 of 13201
  Loretta Lynch
  Department of Justice

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  A Adams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8993 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laurette Culbert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8994 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8995 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ellen Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8996 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Eleanor Rodda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8997 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tobi Wilde
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8998 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beatrice Kozak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 8999 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laurette Culbert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9000 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Marian Cooley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9001 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joan McCormick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9002 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  ms. sandra silva
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9003 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9004 of 13201
  Loretta Lynch
  Department of Justice

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  Joan McCormick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9005 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Abler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9006 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathy Kibbie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9007 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Bartlett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9008 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jenneane Breidenbach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9009 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Irwin Schpok
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9010 of 13201
  Loretta Lynch
  Department of Justice

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  Kathy Kibbie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9011 of 13201
  Loretta Lynch
  Department of Justice

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  David Bartlett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9012 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  James R Monroe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9013 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Linda Prior
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9014 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joel Kaplan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9015 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael Abler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9016 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  James R Monroe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9017 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Subina Garyet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9018 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sabrina Fiodorow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9019 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Donna Charlap
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9020 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Monique Edwards
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9021 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Debbie Sayre
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9022 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Adele Meroni
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9023 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Joel Kaplan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9024 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sarah Gallagher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9025 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Monique Edwards
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9026 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Fay Benson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9027 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rosemary Coffey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9028 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Sarah Gallagher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9029 of 13201
  Loretta Lynch
  Department of Justice

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  Adele Meroni
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9030 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pete Cooper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9031 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Eileen Daniel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9032 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Den Stetter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9033 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

   Stephanie Schueler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9034 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joan Viers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9035 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Cooper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9036 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Linda Frost
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9037 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  John Cabe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9038 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Michael J Kalafut
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9039 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Cabe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9040 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Cal Lash
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9041 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Rosemary Coffey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9042 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Werstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9043 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Liz Amsden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9044 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joan Viers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9045 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cal Lash
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9046 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9047 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Duncan Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9048 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Eileen Daniel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9049 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brandon Kozak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9050 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Christy Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9051 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mrs. Diane Clark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9052 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Mr. Shane Pyles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9053 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robert Applebaum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9054 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Doug Poore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9055 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Barb Crumpacker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9056 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Deborah Friend
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9057 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Deborah Friend
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9058 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Diane Clark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9059 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pamela Townsend
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9060 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Alan Guma
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9061 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Tiffany Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9062 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Nick Szumlas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9063 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Barb Crumpacker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9064 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Pamela Townsend
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9065 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rita Montague
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9066 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tiffany Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9067 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  lisa simonin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9068 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nick Szumlas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9069 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  lisa simonin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9070 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Steve Ridley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9071 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Georgia and John Locker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9072 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carolyn LaBerta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9073 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carolyn LaBerta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9074 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Applebaum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9075 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Steve Ridley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9076 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jerome McGinn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9077 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Bob Baxter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9078 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Douglas Mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9079 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bruce Cratty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9080 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Martha Diaz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9081 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bruce Cratty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9082 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  James Conway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9083 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dick Hogle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9084 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kay Prather
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9085 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Dick Hogle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9086 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  James Conway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9087 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  RedLion York
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9088 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Douglas Mitchell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9089 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Martha Diaz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9090 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Joanne Bruggemann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9091 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Keven Johansen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9092 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Debra Edelaton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9093 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Elizabeth Morris Downie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9094 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Michael Black
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9095 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  D Rex Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9096 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joanne Bruggemann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9097 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Margaret Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9098 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Keven Johansen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9099 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Aida Brenneis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9100 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  D Rex Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9101 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margaret Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9102 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Barnes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9103 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Burton Steck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9104 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Aida Brenneis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9105 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Carolyn Ryan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9106 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Pat Barnes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9107 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Holly Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9108 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Em Crone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9109 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jeannie Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9110 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kristina Lamons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9111 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Richard W. Alexander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9112 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Kristina Lamons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9113 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Howard Weiss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9114 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Em Crone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9115 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael Iltis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9116 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jeannie Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9117 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Harrington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9118 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Howard Weiss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9119 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,
  Line Ringgaard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9120 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Robert Harrington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9121 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dorothea Stephan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9122 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Michael Iltis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9123 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dorothea Stephan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9124 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Roxanne Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9125 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,
  Line Ringgaard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9126 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Roxanne Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9127 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sherrylee Felger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9128 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Halena Seiferling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9129 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rai Montalvo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9130 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sherrylee Felger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9131 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Susan Fladager
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9132 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Pennington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9133 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rai Montalvo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9134 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jennifer Elsbury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9135 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Greg Grieman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9136 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kenneth Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9137 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bobbie Turner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9138 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Steven Wojcik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9139 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Pennington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9140 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tina Lynch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9141 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Bobbie Turner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9142 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Teresa Yi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9143 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Susan Fladager
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9144 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Shonna Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9145 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Teresa Yi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9146 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John & Sandy Zinn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9147 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brian Colleran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9148 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Konstantina Balaska
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9149 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Why should I pay taxes if large corporations don't?

  Sincerely,
  Kay Sloan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9150 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ernst Mecke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9151 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Brian Colleran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9152 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Burwasser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9153 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  benson hausman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9154 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Debi Mueller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9155 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jane Berry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9156 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kay Sloan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9157 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Konstantina Balaska
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9158 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Judge Leverich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9159 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  David Burwasser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9160 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Arnn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9161 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Frank Asturino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9162 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Renee Burcham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9163 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brent Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9164 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  John Arnn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9165 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  June Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9166 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  Sincerely,

  Norma Harri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9167 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jym Dyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9168 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Frank Asturino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9169 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Andrew Levesque
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9170 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  June Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9171 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Norma Harri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9172 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patty Poock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9173 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Frank Fredenburg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9174 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Andrew Levesque
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9175 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Brianna Cervantez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9176 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Bill Mayers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9177 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Drew Degen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9178 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Shari Petrie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9179 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Rowan Everard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9180 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Nancy Booth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9181 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  David Todd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9182 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patty Poock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9183 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Michael Goodman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9184 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Rowan Everard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9185 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Shari Petrie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9186 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Carol Fly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9187 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Wanda Webber Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9188 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  suzanne zelnik geldys
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9189 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shannon Whitmore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9190 of 13201
  Loretta Lynch
  Department of Justice

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  Michael Goodman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9191 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Yefim Maizel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9192 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris Alfano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9193 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bruce Higgins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9194 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Wanda Webber Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9195 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beverly Herbert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9196 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9197 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shannon Whitmore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9198 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Drew Pelton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9199 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gloria J Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9200 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Yefim Maizel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9201 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kairen Brooke-Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9202 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9203 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  VIvian Duong
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9204 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Larissa Matthews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9205 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jan Toister
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9206 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rob Weinberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9207 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,
  Josef Luftman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9208 of 13201
  Loretta Lynch
  Department of Justice

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  Larissa Matthews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9209 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9210 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Kane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9211 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Josef Luftman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9212 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Toni Mabry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9213 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Lori Leigh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9214 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rob Weinberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9215 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Mike Kane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9216 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Jeff Pekrul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9217 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Toni Mabry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9218 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lori Leigh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9219 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  larry baird
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9220 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  William Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9221 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9222 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  larry baird
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9223 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Dunn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9224 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Joseph Rzeczycki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9225 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kym Garcia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9226 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Dave bilski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9227 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  William Short
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9228 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Joseph Rzeczycki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9229 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Phillip Noe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9230 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Melissa Kallick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9231 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Alan Reynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9232 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Richard Swain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9233 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  John Prellwitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9234 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Brian Ainsley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9235 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan Reynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9236 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Melissa Kallick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9237 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Neil Prater
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9238 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9239 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steven K. McKendall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9240 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph Weiss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9241 of 13201
  Loretta Lynch
  Department of Justice

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  Neil Prater
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9242 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pete Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9243 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joni K Lamb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9244 of 13201
  Loretta Lynch
  Department of Justice

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  John Prellwitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9245 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bridget Hinojosa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9246 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joseph Weiss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9247 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  douglas werner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9248 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9249 of 13201
  Loretta Lynch
  Department of Justice

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  Bridget Hinojosa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9250 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Parker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9251 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Georgina Wrigh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9252 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Schmittauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9253 of 13201
  Loretta Lynch
  Department of Justice

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  John Schmittauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9254 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Raelyn Michaelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9255 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ken Lengel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9256 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Molly Flaherty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9257 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  David Cannell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9258 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Piero Soligo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9259 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Raelyn Michaelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9260 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Piero Soligo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9261 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Molly Flaherty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9262 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  C Foglietta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9263 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Paola Dejesus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9264 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Abigail Bates
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9265 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  C Foglietta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9266 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ann Sikes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9267 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Noel Crim
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9268 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  Sincerely,

  Robert Sheardy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9269 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Candace Jarrett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9270 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jean Bevsek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9271 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9272 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Noel Crim
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9273 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Dianne Gove
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9274 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Adam Schrader
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9275 of 13201
  Loretta Lynch
  Department of Justice

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  Jean Bevsek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9276 of 13201
  Loretta Lynch
  Department of Justice

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  Candace Jarrett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9277 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Suzanne Watson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9278 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Peter B. Sweeny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9279 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Adam Schrader
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9280 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rocco DeBellis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9281 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dianne Gove
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9282 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter B. Sweeny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9283 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Georgina Wrigh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9284 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Judy Grosch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9285 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Judy Grosch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9286 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ted Leibowitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9287 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Leonard Polletta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9288 of 13201
  Loretta Lynch
  Department of Justice

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  Suzanne Watson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9289 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9290 of 13201
  Loretta Lynch
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  Sincerely,

  alan lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9291 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stephen Haskell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9292 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Newman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9293 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9294 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elroy Kursh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9295 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laura Newman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9296 of 13201
  Loretta Lynch
  Department of Justice

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  Stephen Haskell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9297 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Phillip Hansen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9298 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Frances Harriman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9299 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Meyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9300 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dennis Marceron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9301 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dennis Keenan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9302 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  V. Klubek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9303 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dennis Marceron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9304 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laurie Schmidt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9305 of 13201
  Loretta Lynch
  Department of Justice

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  Dennis Keenan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9306 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Laurie Schmidt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9307 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Wind
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9308 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  V. Klubek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9309 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Reginald Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9310 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dylan Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9311 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Leonice Mertz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9312 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9313 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9314 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Heidi Supkis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9315 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Robin Gaffney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9316 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Wind
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9317 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Sprouse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9318 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Sharon Sprouse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9319 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joyce TenEyck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9320 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Debbie Bonnet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9321 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Margaret Hooper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9322 of 13201
  Loretta Lynch
  Department of Justice

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  Debbie Bonnet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9323 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Ristig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9324 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Maureen Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9325 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Furlong
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9326 of 13201
  Loretta Lynch
  Department of Justice

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  Margaret Hooper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9327 of 13201
  Loretta Lynch
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  Sincerely,

  Deborah Dobson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9328 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Furlong
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9329 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  George Spruill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9330 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Asano Fertig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9331 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gregory Rice
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9332 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  Mark Schiller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9333 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Todd Fisk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9334 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9335 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  William Parkinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9336 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9337 of 13201
  Loretta Lynch
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  Sincerely,

  Steve Donley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9338 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Barbara Wyler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9339 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jack West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9340 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Schiller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9341 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Parkinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9342 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Leslie Gold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9343 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tulsi Milliken
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9344 of 13201
  Loretta Lynch
  Department of Justice

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  Jack West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9345 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cathi Rigsby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9346 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Ristig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9347 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Christian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9348 of 13201
  Loretta Lynch
  Department of Justice

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  Steve Christian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9349 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marlene Bertke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9350 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rik Masterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9351 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristin Klass
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9352 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jude Hyzen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9353 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  S Logan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9354 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Duke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9355 of 13201
  Loretta Lynch
  Department of Justice

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  Steve Christian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9356 of 13201
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9357 of 13201
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  Department of Justice

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  Cathi Rigsby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9358 of 13201
  Loretta Lynch
  Department of Justice

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  Kristin Klass
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9359 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brad Mallory
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9360 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marlene Bertke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9361 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Marion Tidwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9362 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Phyllis Erwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9363 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jude Hyzen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9364 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sherrill Barbary
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9365 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Inge Wagner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9366 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Debby Roegner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9367 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Rik Masterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9368 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  S Logan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9369 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nancy Duke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9370 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ms. Marion Tidwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9371 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Debby Roegner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9372 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Brad Mallory
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9373 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mr. Drew Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9374 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marian Ueki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9375 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Daniel Hutka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9376 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mark King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9377 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jack Conklin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9378 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cord Monroe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9379 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patience Heyworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9380 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Mark King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9381 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patience Heyworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9382 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Cord Monroe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9383 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ellen Sanford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9384 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marcia Dale-LeWinter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9385 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ak Griffin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9386 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patrick Bosold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9387 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Sharon B.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9388 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Cindy Mannhalter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9389 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Marcia Dale-LeWinter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9390 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ellen Sanford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9391 of 13201
  Loretta Lynch
  Department of Justice

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  JoAnn Polley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9392 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Patrick Bosold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9393 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Marian Ueki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9394 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ak Griffin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9395 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Carol Reitschky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9396 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Fayten El-Dehaibi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9397 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Mary True
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9398 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Fayten El-Dehaibi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9399 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ruth Heath
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9400 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Cindy Mannhalter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9401 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Nancy O
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9402 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  deduction.

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  Sincerely,

  stacy parr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9403 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  M J Strimbu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9404 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Janice Vranka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9405 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Nancy O
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9406 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Mary True
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9407 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Tim Atwater
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9408 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Paulette Fiehrer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9409 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Liz Krum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9410 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Liz Krum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9411 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  M J Strimbu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9412 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Melissa Gaskins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9413 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Jay & Cathy Harter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9414 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Nancy Wooten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9415 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Dr. Scott Whitener
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9416 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mrs. Carol F Castonguay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9417 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Paula Ozzello
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9418 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Jay & Cathy Harter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9419 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dr. Scott Whitener
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9420 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Kellie Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9421 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Brendan Connell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9422 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Paula Ozzello
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9423 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Doris Maha
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9424 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Brian T Truax
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9425 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Ginger Schedler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9426 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Jamie Heath
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9427 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jamie Heath
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9428 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9429 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brian Truax
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9430 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9431 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph De Feo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9432 of 13201
  Loretta Lynch
  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
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  be left paying the cost of it.

  Sincerely,

  Alex Nielsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9433 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  Douglas Fedele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9434 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
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  Sincerely,

  A Fenn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9435 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  curtis rehfuss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9436 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9437 of 13201
  Loretta Lynch
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  Sincerely,

  Patrick Russell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9438 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Perkins Perkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9439 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jane Nachazel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9440 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Ireland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9441 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alex Nielsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9442 of 13201
  Loretta Lynch
  Department of Justice

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  Douglas Fedele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9443 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Perkins Perkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9444 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Angela Negri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9445 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sarah Cooke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9446 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Franck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9447 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Trumbull
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9448 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9449 of 13201
  Loretta Lynch
  Department of Justice

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  Matthew Franck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9450 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Dawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9451 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jim Mee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9452 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Marilyn McMullen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9453 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Vicki Kruschwitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9454 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jim Mee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9455 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,
  Joseph De Feo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9456 of 13201
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  Department of Justice

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  Sincerely,

  thomas reif
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9457 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Dawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9458 of 13201
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  Department of Justice

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  Sincerely,

  Melvin Bautista
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9459 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Debbie Baughman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9460 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Norm Hartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9461 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mark Wirth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9462 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julia Ortiz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9463 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Vicki Kruschwitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9464 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Debbie Baughman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9465 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mary Goodman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9466 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Norm Hartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9467 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Angie Affolter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9468 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Mark Wirth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9469 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Matthew Boguske
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9470 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  be left paying the cost of it.

  Sincerely,

  lee williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9471 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter Carafides
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9472 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Misty Speck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9473 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jonathan Sampson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9474 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Lamb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9475 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Valeria Santos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9476 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Louise Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9477 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karen Dahmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9478 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Karen Dahmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9479 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter Fagan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9480 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jack Bubenick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9481 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Richard Lamb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9482 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Louise Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9483 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Julia Ortiz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9484 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Walter Zasadnyj
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9485 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Fred Madden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9486 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9487 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Lou Ramirez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9488 of 13201
  Loretta Lynch
  Department of Justice

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  Jack Bubenick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9489 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,
  Harald Grote
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9490 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  G D Abbott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9491 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Deborah Dobson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9492 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Betsy Eaton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9493 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Lou Ramirez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9494 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Randall Herz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9495 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Angie Affolter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9496 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Louise Mann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9497 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alana Mawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9498 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9499 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carolyn Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9500 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Crombie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9501 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Alana Mawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9502 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Greg Skutches
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9503 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Catherine Elverston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9504 of 13201
  Loretta Lynch
  Department of Justice

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  Greg Skutches
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  Sincerely,

  Ellen Segal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9506 of 13201
  Loretta Lynch
  Department of Justice

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  John Crombie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9507 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carolyn Johnson
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  Loretta Lynch
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  Sincerely,

  Jeff Regel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9509 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Galina Heuer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9510 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  E GLick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9511 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ellen Segal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9512 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Abby Dahlquist
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9513 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Boguske
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9514 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Galina Heuer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9515 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Loree Stinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9516 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Kelly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9517 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jeff Regel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9518 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Orion Corcilius
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9519 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Kinney Evitt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9520 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carolyn Kenton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9521 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9522 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9523 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Cox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9524 of 13201
  Loretta Lynch
  Department of Justice

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  Loree Stinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9525 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Robyn Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9526 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Gloria Hafner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9527 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9528 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9529 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Andersen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9530 of 13201
  Loretta Lynch
  Department of Justice

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  Ms. Gloria Hafner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9531 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Christopher McConnell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9532 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lesley Brill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9533 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  bonnie corey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9534 of 13201
  Loretta Lynch
  Department of Justice

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  Robyn Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9535 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Miss Jean Marie VanWinkle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9536 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aaron Rainbolt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9537 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9538 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lesley Brill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9539 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Merrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9540 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Arlene Epperson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9541 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  David Ferguson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9542 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aisha Farhoud
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9543 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michelle Morales
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9544 of 13201
  Loretta Lynch
  Department of Justice

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  David Ferguson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9545 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ralph Palmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9546 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kairen Brooke-Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9547 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ryan Harlow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9548 of 13201
  Loretta Lynch
  Department of Justice

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  Aisha Farhoud
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9549 of 13201
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  Department of Justice

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  Sincerely,

  Michelle Morales
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9550 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thelma Follett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9551 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Bugbee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9552 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr James Mulcare
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9553 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Helen Yeomans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9554 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kathleen Koch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9555 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ryan Harlow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9556 of 13201
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  Sincerely,

  Wendy Li
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9557 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9558 of 13201
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  Sincerely,

  Chris McGratty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9559 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gail Goodell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9560 of 13201
  Loretta Lynch
  Department of Justice

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  Thelma Follett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9561 of 13201
  Loretta Lynch
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  Sincerely,

  Anthony Gatenby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9563 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul & Nancy McEuen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9564 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alice Bradshaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9565 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Maria Cruz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9566 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dona Carbone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9567 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Janice Macaulay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9568 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  be left paying the cost of it.

  Sincerely,

  Kathleen Koch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9569 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Doug Jablin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9570 of 13201
  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  KAREN JONES
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9571 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Edward Rowell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9572 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Wendy Li
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9573 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Maria Cruz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9574 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tim Speirs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9575 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  KAREN JONES
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9576 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Doug Jablin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9577 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Ann Leonard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9578 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9579 of 13201
  Loretta Lynch
  Department of Justice

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  deduction.

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  be left paying the cost of it.

  Sincerely,

  Linda Patzke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9580 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Tim Speirs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9581 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  William O'Hare
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9582 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Len Lorette
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9583 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  William O'Hare
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9584 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Robert Kantner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9585 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  Sincerely,

  Stephen Friedrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9586 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Barbara H
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9587 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
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  be left paying the cost of it.

  Sincerely,

  Shay Chan Hodges
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9588 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Heather Ruckman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9589 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda Petty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9590 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9591 of 13201
  Loretta Lynch
  Department of Justice

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  Linda Petty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9592 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda McClendon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9593 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Alice Kelly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9594 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judy Habib
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9595 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Alice Kelly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9596 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Penny Altman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9597 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Donald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9598 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rosemary Scully
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9599 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Halderman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9600 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Erma Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9601 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Linda McClendon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9602 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Halderman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9603 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Rosemary Scully
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9604 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Patricia Katz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9605 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Matthew Gray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9606 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elliot Pliner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9607 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bo Breda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9608 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Thomas Cox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9609 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Matthew Gray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9610 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vincent Nicoletti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9611 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Cheryl Dzubak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9612 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  John Donald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9613 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cheryl Dzubak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9614 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Alice Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9615 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Joshua Saks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9616 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vincent Nicoletti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9617 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sheila Siegel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9618 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cynthia Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9619 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Carpenter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9620 of 13201
  Loretta Lynch
  Department of Justice

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  Alice Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9621 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elisabeth Holder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9622 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  tammarra walden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9623 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jamie Reynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9624 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jennifer Kardiak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9625 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary Helen Venos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9626 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Harman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9627 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Hollinrake
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9628 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9629 of 13201
  Loretta Lynch
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  Sincerely,

  Marie Schopac
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9630 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
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  Sincerely,

  Jamie Reynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9632 of 13201
  Loretta Lynch
  Department of Justice

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  Elisabeth Holder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9633 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michele Balfour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9634 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Steve Bloom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9635 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Camille Gilbert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9636 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9637 of 13201
  Loretta Lynch
  Department of Justice

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  Camille Gilbert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9638 of 13201
  Loretta Lynch
  Department of Justice

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  Michele Balfour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9639 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9640 of 13201
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  Sincerely,

  Yvette Irwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9641 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Emil Montaneli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9642 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Hanisee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9643 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan Shapira
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9644 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Hector R. Amaro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9645 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anne Munitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9646 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Audrey Samelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9647 of 13201
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  Sincerely,

  Lyle Dougherty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9648 of 13201
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  Department of Justice

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  Sincerely,

  Linda Abbott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9649 of 13201
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  Department of Justice

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  Sincerely,

  Subrata Sircar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9650 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Van Steenberghe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9651 of 13201
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9652 of 13201
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  Sincerely,

  Jeff Carter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9653 of 13201
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  Department of Justice

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  Sincerely,

  Ms. B.a. McClintock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9654 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Stadelman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9656 of 13201
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  Department of Justice

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  Sincerely,

  Prof. Denise J. Tartaglia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9657 of 13201
  Loretta Lynch
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  Sincerely,

  Michelle Murphy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9658 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9659 of 13201
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  Department of Justice

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  Sincerely,

  Dale Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9660 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Thomas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9661 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Harlisa Asumen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9662 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Lang
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9663 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ruth Hooper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9664 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Tom Thomas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9665 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Dale Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9666 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Regina Hudgins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9667 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris McGratty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9668 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynne Preston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9669 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Van Steenberghe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9670 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Robert Walling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9671 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carol Sears
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9672 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joan Pajewski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9673 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lynne Preston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9674 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steven Harris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9675 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Becky Arney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9676 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tom Brink
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9677 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  William Magee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9678 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Robert Walling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9679 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Gowan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9680 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Becky Arney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9681 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  William Magee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9682 of 13201
  Loretta Lynch
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  Sincerely,

  Karen Greenleaf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9683 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9684 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beverly Farr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9685 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Wallace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9686 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edwin Holmberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9687 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  H. Guh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9688 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9689 of 13201
  Loretta Lynch
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  Sincerely,

  Georgeanne Samuelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9690 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Curt Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9691 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Pat Dunn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9692 of 13201
  Loretta Lynch
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  Beverly Farr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9693 of 13201
  Loretta Lynch
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  Sincerely,

  Susan Coen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9694 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sharon Smead
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9695 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9696 of 13201
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  Sincerely,

  David Day
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9697 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Suzanne Cook
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9698 of 13201
  Loretta Lynch
  Department of Justice

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  Michael Wallace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9699 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
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  Georgeanne Samuelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9701 of 13201
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  Department of Justice

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  Sincerely,

  Suzanne Cook
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9702 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mr. Steve Overton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9703 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely, A Baddeley

  Andrea Baddeley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9704 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
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  Sincerely,

  Ann Shanklin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9706 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Donald Lanktree
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9707 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lorraine Heagy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9709 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lucia Durand
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9710 of 13201
  Loretta Lynch
  Department of Justice

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  Department of Justice

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  Sincerely,

  laura braggiotti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9712 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrea Baddeley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9713 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Brandes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9714 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Patrick Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9715 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Gerard F. Gaudin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9716 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lorraine Heagy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9717 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lorraine Lowry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9718 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Paul Markillie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9719 of 13201
  Loretta Lynch
  Department of Justice

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  Gerard F. Gaudin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9720 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edward McAninch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9721 of 13201
  Loretta Lynch
  Department of Justice

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  Patrick Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9722 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kristen Lowry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9723 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Suzanne Saunders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9724 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jiazhu Zhang
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9725 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nannette Gover
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9726 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Priscilla Klemic
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9727 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Phyllis Perna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9728 of 13201
  Loretta Lynch
  Department of Justice

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  Nannette Gover
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9729 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Eads
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9730 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Irena Franchi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9731 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Margo Margolis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9732 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Doris (Jody) Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9733 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Suzanne Saunders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9734 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jiazhu Zhang
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9735 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Katrina Yurenka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9736 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Catherine Palmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9737 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Suzanne F Hedrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9738 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Shay Chan Hodges
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9739 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mary F
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9740 of 13201
  Loretta Lynch
  Department of Justice

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  Phyllis Perna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9741 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9742 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beverly Smalley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9743 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Link
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9744 of 13201
  Loretta Lynch
  Department of Justice

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  Doris (Jody) Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9745 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9746 of 13201
  Loretta Lynch
  Department of Justice

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  Irena Franchi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9747 of 13201
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  Sincerely,

  David Broadwater
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9748 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elizabeth Ferguson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9749 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Susan LoFurno
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9750 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Denise Vandermeer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9751 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9752 of 13201
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  Department of Justice

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  Sincerely,

  Brenda Wyrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9753 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  John Sgambati
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9754 of 13201
  Loretta Lynch
  Department of Justice

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  David Broadwater
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9755 of 13201
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  Sincerely,

  lucas lenhert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9756 of 13201
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  Department of Justice

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  Sincerely,

  Teresa Quinones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9757 of 13201
  Loretta Lynch
  Department of Justice

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  Denise Vandermeer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9758 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Julie Viken
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9759 of 13201
  Loretta Lynch
  Department of Justice

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  Brenda Wyrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9760 of 13201
  Loretta Lynch
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  Teresa Quinones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9761 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  lucas lenhert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9762 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Doreen Charest
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9763 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Lieblein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9764 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Julie Viken
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9765 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Annah Gardner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9766 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Anthony Condelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9767 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Diana Leonard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9768 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Dana Eppstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9769 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Michael Lieblein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9770 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Doreen Charest
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9771 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  E.g. Leffelaar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9772 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9773 of 13201
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  Sincerely,

  Susan Flyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9775 of 13201
  Loretta Lynch
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  Sincerely,

  Juliet Pearson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9776 of 13201
  Loretta Lynch
  Department of Justice

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  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  I am counting on your leadership.

  Sincerely,

  Susan Swan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9777 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9778 of 13201
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  Sincerely,

  Laurie Kuntz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9779 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9780 of 13201
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  Laurie Kuntz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9781 of 13201
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  Department of Justice

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  Sincerely,

  William Smart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9782 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Buford Goodwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9783 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrew Sharp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9784 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Brenda Newton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9786 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stuart Lynn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9787 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Corinne Pettey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9788 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Peter Vann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9789 of 13201
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  Rick Potthoff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9790 of 13201
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  Sincerely,

  Gail Payne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9791 of 13201
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  Patricia Moran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9792 of 13201
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  Richelle Kogan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9793 of 13201
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  Sincerely,

  Fern Stearney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9796 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ralph Miner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9798 of 13201
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  Sincerely,

  Charles Powers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9799 of 13201
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  Sincerely,

  Melanie Dupre
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9800 of 13201
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  Department of Justice

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  Sincerely,

  Malgorzata Picinska
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9801 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Corinna Hasbach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9802 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Molly Huddleston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9803 of 13201
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  Department of Justice

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  Sincerely,

  Zoe Chapman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9804 of 13201
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  Department of Justice

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  Sincerely,

  Clare Farabaugh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9806 of 13201
  Loretta Lynch
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  Malgorzata Picinska
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  Sincerely,

  Kathleen Perkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9808 of 13201
  Loretta Lynch
  Department of Justice

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  Molly Huddleston
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  Sincerely,

  Tia Douglass
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9812 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elissa Mericle-gray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9813 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Dawn Mason
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9815 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Suzanne Armstrong
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9816 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bonny Bellville
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9817 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Theresa M. Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9818 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Moise
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9819 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9820 of 13201
  Loretta Lynch
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  Sincerely,

  Ruby Cole
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9821 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Piotr Sliwka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9822 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Alan Haggard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9823 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Deibele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9824 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Moise
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9825 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Fran Tessmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9826 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  michael teague
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9827 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  ronald saunders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9828 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Chris Strickwerda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9829 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elissa Mericle-gray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9830 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mark Grenard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9831 of 13201
  Loretta Lynch
  Department of Justice

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  be left paying the cost of it.

  Sincerely,

  Mr. Michael Tomczyszyn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9832 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jon Johnsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9833 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Greg Bell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9834 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9835 of 13201
  Loretta Lynch
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  Sincerely,

  Fran Tessmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9836 of 13201
  Loretta Lynch
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  Sincerely,

  Mr. Gabriel Sheets
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9837 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrew Iii
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9838 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jaime Becker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9839 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
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  Sincerely,

  Crystal Wolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9841 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ms. Kathryn Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9842 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jon Johnsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9843 of 13201
  Loretta Lynch
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  Sincerely,

  Tommy Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9845 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Deibele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9846 of 13201
  Loretta Lynch
  Department of Justice

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  Mark Grenard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9848 of 13201
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  Sincerely,

  Susanna Askins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9850 of 13201
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  Department of Justice

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  Sincerely,

  Karl Schumaker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9851 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Kenneth Reeves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9852 of 13201
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  Department of Justice

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  Sincerely,

  Natalie Brod
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9853 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nancy Hartman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9854 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Lenore Cymes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9855 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  A. Utzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9856 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jessica Beaudry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9857 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jordan Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9858 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Sean Robison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9859 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edmund Doran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9860 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jessica Beaudry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9861 of 13201
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  Sincerely,

  Mr. Malcolm Groome
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9862 of 13201
  Loretta Lynch
  Department of Justice

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  Loretta Lynch
  Department of Justice

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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Martha Mattes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9865 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Mr. Malcolm Groome
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9866 of 13201
  Loretta Lynch
  Department of Justice

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  Mr. Christopher Pelham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9867 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Edmund Doran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9868 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joanne Coffey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9869 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9870 of 13201
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  Sincerely,

  Mary Ellen Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9871 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  MaryAnn Gregory
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9872 of 13201
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  Marcellus Armstrong
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9873 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9874 of 13201
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  Sincerely,

  Ms. Helen Wooll
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9876 of 13201
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  Sincerely,

  J Michael Bossert
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  Sincerely,

  KL Eckhardt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9878 of 13201
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  Dr. Todd Walker
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  Sincerely,

  Frannie Ruggiero
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9880 of 13201
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  Sincerely,

  Natascha Tarmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9881 of 13201
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  Alexandra Curran
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  Frank B. Anderson
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  Matt Kroner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9887 of 13201
  Loretta Lynch
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  Jennifer Morski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9889 of 13201
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  Karen Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9890 of 13201
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  Jeffry Yaplee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9893 of 13201
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  Jason Brock
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  Karen Jones
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  Sincerely,

  Carter Neal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9901 of 13201
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  john harris
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  Joanne Osuna
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  Mark Martin
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  Luchsinger John
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  Jean Wyman
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  Beverly Eckman-Onyskow Eckman-Onyskow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9908 of 13201
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  Carol Cline
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9910 of 13201
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  Anne Easterling
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  Department of Justice

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  As the comment period for the consent decree between BP, the Justice Department, and
  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
  deduction.

  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
  be left paying the cost of it.

  Sincerely,

  Anne Easterling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9915 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  GP
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9916 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9917 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Aquileo Hernandez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9918 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ellen Gold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9919 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Roberta Branagan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9920 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Garrick Updyke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9921 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9922 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9923 of 13201
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  Sincerely,

  Miranda Friske
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9924 of 13201
  Loretta Lynch
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  Sincerely,

  Mark Pride
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9925 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9926 of 13201
  Loretta Lynch
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  Sincerely,

  Daisy Bagnoli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9927 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ted Whitney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9928 of 13201
  Loretta Lynch
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  Sincerely,

  JoAnne Wirtz Ryan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9929 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Harry and Jill Brownfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9930 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9931 of 13201
  Loretta Lynch
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  JoAnne Wirtz Ryan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9932 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Beth Warichak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9933 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cathy Maravetz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9934 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Andrea Alexander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9935 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  E. Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9936 of 13201
  Loretta Lynch
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  Sincerely,

  Connie Allison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9937 of 13201
  Loretta Lynch
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  Sincerely,

  Terry Crogan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9938 of 13201
  Loretta Lynch
  Department of Justice

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  Rick Lanham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9939 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Judith Hansell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9942 of 13201
  Loretta Lynch
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  Sincerely,

  Tom Tillery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9943 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Cherie Free
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9945 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Vernon Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9946 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Tlaloc Tokuda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9947 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Trudi Budd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9948 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Carolyn Frazee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9949 of 13201
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  Department of Justice

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  Sincerely,

  Nancy Godwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9950 of 13201
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  Department of Justice

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  Terry Crogan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9951 of 13201
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  Sincerely,

  Stanley Brewer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9952 of 13201
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  Sincerely,

  Maureen A Absten RN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9953 of 13201
  Loretta Lynch
  Department of Justice

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  Mike Morrison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9954 of 13201
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  Sincerely,

  Lee Dietterich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9955 of 13201
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  Sincerely,

  David Todnem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9956 of 13201
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  Sincerely,

  Elise Marks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9958 of 13201
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  Dominic Roy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9959 of 13201
  Loretta Lynch
  Department of Justice

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  Rick Lanham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9960 of 13201
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  Maureen A Absten RN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9961 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Jason Crawford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9962 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Wendy Monterrosa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9963 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Elise Marks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9964 of 13201
  Loretta Lynch
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  the five states of the Gulf Coast continues, I urge you to include strict language in the final
  agreement that bars BP from claiming any portion of its settlement costs as a tax
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  The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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  Sincerely,

  Dominic Roy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9965 of 13201
  Loretta Lynch
  Department of Justice

  Dear Attorney General Lynch:

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  Sincerely,

  Jason Crawford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9966 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Gary Ostlund
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9967 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9968 of 13201
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  Sincerely,

  Sol Munves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9969 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Steve Nicovich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9970 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Ina Cantrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9971 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Joseph Kucak MSW, LCSW
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9972 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Bonnie Gorman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9973 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Stewart Fisher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9974 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Mike Morrison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9975 of 13201
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  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9976 of 13201
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  Ken Balizer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9977 of 13201
  Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9979 of 13201
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  Sincerely,

  Diane Hashem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9980 of 13201
  Loretta Lynch
  Department of Justice

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  Bonnie Steiger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9981 of 13201
  Loretta Lynch
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  Sincerely,

  Bruce Fischer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9982 of 13201
  Loretta Lynch
  Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9984 of 13201
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  Susan R Clark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9985 of 13201
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  L.m. Holmes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9986 of 13201
  Loretta Lynch
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  David Neevel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9989 of 13201
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  Reuben Litten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9990 of 13201
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  Nancy L Carl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9991 of 13201
  Loretta Lynch
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  Stephanie Reynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9992 of 13201
  Loretta Lynch
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  Sincerely,

  Lisa Saltalamacchia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9993 of 13201
  Loretta Lynch
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  Sincerely,

  Dr Copas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9994 of 13201
  Loretta Lynch
  Department of Justice

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  Sincerely,

  Nathalie Cantin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9995 of 13201
  Loretta Lynch
  Department of Justice

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  Ed Elliott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9998 of 13201
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  India Rance
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 9999 of 13201
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  Sincerely,

  Joe Ward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10000 of 13201
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   Department of Justice

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   Sincerely,

   Mr. Harold T. Hodes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10001 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10002 of 13201
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   Noah Link
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10003 of 13201
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   Department of Justice

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   Susan Gardos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10004 of 13201
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   Sincerely,

   Barbara Porter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10005 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Billy Kemp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10006 of 13201
   Loretta Lynch
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   Daphne Figueroa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10007 of 13201
   Loretta Lynch
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   Sincerely,

   Tom Leppala
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10008 of 13201
   Loretta Lynch
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   Sincerely,

   Colleen Sheely
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10009 of 13201
   Loretta Lynch
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   Sincerely,

   Suzanne Holden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10010 of 13201
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   Department of Justice

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   Linda Bridges
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10011 of 13201
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   Department of Justice

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   Caroline Sévilla
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10013 of 13201
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   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Daphne Figueroa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10015 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Debra Ober
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10016 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Amy Marino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10017 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Redding CPA
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10018 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Brandon Gregg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10019 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Bridges
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10020 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Debra Ober
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10021 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Florence Wagner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10022 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Suzanne Holden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10023 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   melissa miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10024 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Caroline Sévilla
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10025 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Amy Marino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10026 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming ANY PORTION of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should NOT
   be left paying the cost of it.

   Sincerely,

   Kathleen Watson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10027 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Peter Haroutian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10028 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   melissa miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10029 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Nancy Harrison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10030 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Brandon Gregg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10031 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Linda Redding CPA
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10032 of 13201
   Loretta Lynch
   Department of Justice

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   Peter Haroutian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10033 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Ms. Heather Cross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10034 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   be left paying the cost of it.

   Sincerely,

   Jenice Jackson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10035 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Moshe Adler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10036 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Jenice Jackson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10037 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Jeanne Claridge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10038 of 13201
   Loretta Lynch
   Department of Justice

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   Ms. Heather Cross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10039 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mike Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10040 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Laurie Willets
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10041 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Joseph DeGruchy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10042 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ronald Koshinz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10043 of 13201
   Loretta Lynch
   Department of Justice

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   Ronald Koshinz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10044 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Laurie Willets
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10045 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Rosiris Paniagua
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10046 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Ms. JIva Masheder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10047 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Flem Messer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10048 of 13201
   Loretta Lynch
   Department of Justice

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   Ms. JIva Masheder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10049 of 13201
   Loretta Lynch
   Department of Justice

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   Rosiris Paniagua
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10050 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Joseph DeGruchy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10051 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dean Sherwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10052 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Anne Craddock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10053 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Chris Scholl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10054 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely, PAMELA

   Pamela Wallace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10055 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Chris Scholl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10056 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Victoria Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10057 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Gene Peeper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10058 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Victoria Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10059 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Julie Garber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10060 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Julie Garber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10061 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Norman Crouter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10062 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   J A Trosper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10063 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Joan Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10064 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Sansbury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10065 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Corinne Dodge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10066 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Adi S
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10067 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Thomas Owsiany
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10068 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10069 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   The U. family
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10070 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10071 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Joan Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10072 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mark Gallegos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10073 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Robert Kessler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10074 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mr. John Keiser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10075 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10076 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Brian Sparks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10077 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   carol severe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10078 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10079 of 13201
   Loretta Lynch
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   Sincerely,

   bev lips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10080 of 13201
   Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10081 of 13201
   Loretta Lynch
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   Sincerely,

   Mark Daharsh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10082 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   David Sansbury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10083 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Taylor Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10084 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Eric Roth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10085 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10086 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lenny Obolsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10087 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Danielle Spitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10089 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10091 of 13201
   Loretta Lynch
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   Gary Torlone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10092 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Catherine Williamson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10093 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10094 of 13201
   Loretta Lynch
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   Sincerely,

   Denis Hillman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10095 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Susan Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10097 of 13201
   Loretta Lynch
   Department of Justice

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   Carol Borota
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10098 of 13201
   Loretta Lynch
   Department of Justice

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   Miranda Friske
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10099 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John Dowdell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10100 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dr. Stanley Whitman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10101 of 13201
   Loretta Lynch
   Department of Justice

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   Susan Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10102 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dorothy Holtzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10103 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dianne Ensign
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10104 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Rich & Eileen F. Heaning
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10105 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kevin Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10106 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dr. Stanley Whitman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10107 of 13201
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   Sincerely,

   Kim Kensinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10108 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10109 of 13201
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   Sincerely,

   David Houseman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10110 of 13201
   Loretta Lynch
   Department of Justice

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   Rich & Eileen F. Heaning
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10111 of 13201
   Loretta Lynch
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   Dianne Ensign
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10112 of 13201
   Loretta Lynch
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   Marie-Claude Perigon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10113 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10114 of 13201
   Loretta Lynch
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   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Houseman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10115 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   John Daniel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10116 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Gary Golio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10117 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Ruth Bauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10118 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Sean Gallagher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10119 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   J Shedd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10120 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Alan Haggard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10121 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John Daniel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10122 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Virginia Brandford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10123 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ruth Bauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10124 of 13201
   Loretta Lynch
   Department of Justice

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   J Shedd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10125 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Randall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10126 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Christine Becker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10127 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Janice Frankel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10128 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jared Jackson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10129 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Patricia Godwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10130 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Christine Becker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10131 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Brandon Sutton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10132 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Laura Jensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10133 of 13201
   Loretta Lynch
   Department of Justice

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   Brandon Sutton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10134 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Amy Henry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10135 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   a mogavero
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10136 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Amy Henry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10137 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Darryl Rodgers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10138 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kevin Nguyen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10139 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Melissa Hutchinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10140 of 13201
   Loretta Lynch
   Department of Justice

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   Darryl Rodgers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10141 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Heather Scheiderer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10142 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Rita Heinz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10143 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mary Ann Rotondo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10144 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kathleen Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10145 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Rev. Max Burg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10146 of 13201
   Loretta Lynch
   Department of Justice

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   Mary Ann Rotondo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10147 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10148 of 13201
   Loretta Lynch
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   Sincerely,

   Sam Stamport
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10149 of 13201
   Loretta Lynch
   Department of Justice

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   Rita Heinz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10150 of 13201
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   Sincerely,

   Randall Riggins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10151 of 13201
   Loretta Lynch
   Department of Justice

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   Sam Stamport
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10152 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Roberto Freeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10153 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Aimee Millensifer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10154 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   S Reiff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10155 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Lisa Barrett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10156 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   William Christwitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10157 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Leonard Bottleman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10158 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   KAYLEEN A DEVIER
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10159 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lisa Barrett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10160 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Drew Roenneburg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10161 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lyn Younger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10162 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Carol Dearborn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10163 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Christine Lomaka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10164 of 13201
   Loretta Lynch
   Department of Justice

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dr. Helen E. Hughes, R.N.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10165 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Drew Roenneburg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10166 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Mary Ann Leitch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10167 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   be left paying the cost of it.

   Sincerely,

   S Reiff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10168 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   William Christwitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10169 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Carol Dearborn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10170 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Christine Lomaka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10171 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Ron Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10172 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Veronica Ambler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10173 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Scott Zellner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10174 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Allison Alberts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10175 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Ellen Bardo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10176 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10177 of 13201
   Loretta Lynch
   Department of Justice

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   Allison Alberts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10178 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ron Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10179 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Rob Wilkerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10180 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephanie Llinas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10181 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Yvonne Zola
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10182 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Rob Wilkerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10183 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Stephanie Llinas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10184 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Yvonne Zola
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10185 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10186 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ellen Bardo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10187 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Kyle Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10188 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Yvonne White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10189 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Linc Conard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10190 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Thomas Renninger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10191 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10192 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Thomas Dawley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10193 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Teresa Giddens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10194 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   ROBIN NADEL
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10195 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   j. eggers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10196 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10197 of 13201
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   Department of Justice

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   Sincerely,

   Henrik Fallian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10198 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sabrina Carey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10199 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kelsie Baltrusch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10200 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Thomas Dawley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10201 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Marta Calleja
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10202 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kelsie Baltrusch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10203 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10204 of 13201
   Loretta Lynch
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   Sincerely,

   Sabrina Carey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10205 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10206 of 13201
   Loretta Lynch
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   Sincerely,

   Ms. Jacqui Foster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10207 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Max Kaehn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10208 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Hillary Colby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10209 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   G Amigon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10210 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Spencer Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10211 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   James Julien
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10212 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   James Upp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10213 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ms. Susan C Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10214 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   G Amigon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10215 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Susan C Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10216 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   James Julien
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10217 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Spencer Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10218 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Poulette Whitfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10219 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dave Segal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10220 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Poulette Whitfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10221 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joseph Reel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10222 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Virginia Brandford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10223 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kim Kensler-Prager
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10224 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marie van Dijk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10225 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kim Kensler-Prager
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10226 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joseph Reel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10227 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jayne Carter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10228 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   M L Quinn-Gruber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10229 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mike McGilaway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10230 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Eisenfeld
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10231 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Mike McGilaway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10232 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jan Hunter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10233 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Penny Patterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10234 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paul Duick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10235 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   steve abrams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10236 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Blanchard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10237 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   steve abrams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10238 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karen Lozow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10239 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Marcia Mathison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10240 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Susan Benton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10241 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Gary Dalecky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10242 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Damon Mills
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10243 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Mr. and Mrs. Cregg MCCULLIN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10244 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,
   Bruce D. Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10245 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Damon Mills
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10246 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Shonda Hannah
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10247 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Margaret Hasselman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10248 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10249 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Mary Blanchard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10250 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Fauna-June Fauth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10251 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Bruce Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10252 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Peters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10253 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Fauna-June Fauth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10254 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Patrick Craig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10255 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   John Peters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10256 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   John Roche
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10257 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kev Suscavage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10258 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   be left paying the cost of it.

   Sincerely,

   Kaydell Gaasvig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10259 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Shonda Hannah
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10260 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   be left paying the cost of it.

   Sincerely,

   Arnie Knudson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10261 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   C. Schandall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10262 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Kev Suscavage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10263 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Richard Laba
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10264 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   C. Schandall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10265 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   helen durant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10266 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ann Zahner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10267 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Fredric Salstrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10268 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Fredrick Seil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10269 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Deborah Ludwig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10270 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alexandra Bryant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10271 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Thomas Boyd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10272 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Pat Rolston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10273 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Brebner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10274 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kerry Ellen Clark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10275 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Thomas Boyd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10276 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Brebner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10277 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kerry Ellen Clark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10278 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   manmeet toor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10279 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Libba Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10280 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   manmeet toor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10281 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Clinton Turnbough
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10282 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joanne Urban
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10283 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Libba Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10284 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Anthony Madejczyk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10285 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Chad Alvarez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10286 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Phillip Anderton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10287 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bernard J Grisez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10288 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathleen Tracy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10289 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   paulline bedford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10290 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Anne Erikson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10291 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Frost
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10292 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   J. Lellinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10293 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Nick Gaetano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10294 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Marsha StLouis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10295 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   robert davidson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10296 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10297 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Linda Wolff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10298 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Ramona Krause
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10299 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Bernard J Grisez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10300 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Frost
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10301 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Bernard J Grisez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10302 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   paulline bedford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10303 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Kathleen Tracy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10304 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Patrick Soby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10305 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   robert davidson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10306 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Patrick Soby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10307 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Christopher Coles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10308 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Christopher Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10309 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   J. Lellinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10310 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Annette Raible
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10311 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paula Brungardt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10312 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Elaine Edell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10313 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Christopher Coles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10314 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Anita Vogel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10315 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Dunn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10316 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Edward Day
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10317 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Dunn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10318 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   D.e. Whitcomb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10319 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ariel Marbury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10320 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Leslie Mcculloughpayne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10321 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Brookrt Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10322 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ariel Marbury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10323 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Brookrt Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10324 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paula Brungardt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10325 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   D.e. Whitcomb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10326 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Freya Goldstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10327 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gary McCuen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10328 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Coleman Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10329 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joyce E. Holdread
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10330 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Geoffrey Pruitt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10331 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paul Servizio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10332 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gary McCuen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10333 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Erika Lindsley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10334 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marilyn Mueller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10335 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Elizabeth Gricus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10336 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   L. Nagel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10337 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Elizabeth Gricus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10338 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Paul Servizio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10339 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Lois Clymer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10340 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Linda Newkirk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10341 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Tatiana Schlaffer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10342 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   L. Nagel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10343 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Coleman Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10344 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marilyn Mueller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10345 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Lois Clymer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10346 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Linda Wolff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10347 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Heather Buchanan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10348 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   William G. Webster, Sr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10349 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Alison Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10350 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jill Hissom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10351 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Jill Hissom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10352 of 13201
   Loretta Lynch
   Department of Justice

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   Jill Hissom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10353 of 13201
   Loretta Lynch
   Department of Justice

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   Jill Hissom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10354 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Robert Meyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10355 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Audra Morse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10356 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Jamie Louis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10357 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Mr. Stan Fitzgerald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10358 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Jamie Louis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10359 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Katie Benbow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10360 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gary Reese
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10361 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Marcy Vaj
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10362 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Katie Benbow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10363 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Eugene Frost
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10364 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Barbara Visota
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10365 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ray Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10366 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Laura D
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10367 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   George Quasha
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10368 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carolyn Hinton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10369 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dorothy Holtzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10370 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lee Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10371 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Amy DeSantis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10372 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bea Shemberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10373 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Eli Edgecomb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10374 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Bea Shemberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10375 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Laura D
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10376 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Joan Palmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10377 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   ian burns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10378 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Peter Hoysan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10379 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Vanessa Thibodeaux
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10380 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Brandy Dominy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10381 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Jane Jatinen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10382 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dixie Mullineaux
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10383 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Brandy Dominy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10384 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10385 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Scott Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10386 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Joyce Branfman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10387 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Adam Daharsh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10388 of 13201
   Loretta Lynch
   Department of Justice

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   Scott Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10389 of 13201
   Loretta Lynch
   Department of Justice

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   Dixie Mullineaux
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10390 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,
   Karen Hayashida
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10391 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   bruce Gordon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10392 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Justin McCullough
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10393 of 13201
   Loretta Lynch
   Department of Justice

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   Justin McCullough
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10394 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Brandon Villella
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10395 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Theresa Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10396 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Robert Puca
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10397 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   James Moran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10398 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sarah Doenmez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10399 of 13201
   Loretta Lynch
   Department of Justice

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   Robert Puca
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10400 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Elizabeth Bartolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10401 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   James Moran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10402 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   kaatje Adams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10403 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Muriel Edwards
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10404 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Elizabeth Bartolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10405 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ali Ö?üt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10406 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   susan wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10407 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   kaatje Adams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10408 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Art Rosenberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10409 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Albert Voegeli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10410 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Carol Berkowitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10411 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,
   Karen Hayashida
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10412 of 13201
   Loretta Lynch
   Department of Justice

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   Albert Voegeli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10413 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Julie Griffith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10414 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   J. Gilbert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10415 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   J. Gilbert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10416 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   William Dane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10417 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Andrew & Kathleen Wittenborn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10418 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Beverly Bradshaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10419 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Andre Meaux
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10420 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   t brock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10421 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Isaac Salazar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10422 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Beverly Bradshaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10423 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Fer Jimenez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10424 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Andre Meaux
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10425 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Andrew & Kathleen Wittenborn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10426 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gary Lofgren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10427 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   George Baldridge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10428 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mark Gruettner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10429 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Isaac Salazar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10430 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lydia Levinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10431 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Julie Wissinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10432 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Diane Yanas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10433 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ellyn Sutton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10434 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Judy DiAgosta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10435 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Diane Yanas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10436 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lynda Marigold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10437 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Ellyn Sutton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10438 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10439 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Frankie Harvey-Shea
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10440 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Julie Wissinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10441 of 13201
   Loretta Lynch
   Department of Justice

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   Robert Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10442 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Thomas Hawkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10443 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gloria Pilkington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10444 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Ali Ö?üt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10445 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   George Baldridge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10446 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Judy DiAgosta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10447 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Gloria Pilkington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10448 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Andrew Politzer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10449 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Anna Thurman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10450 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jasmina Bricic
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10451 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jasmina Bricic
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10452 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Aaron Bonar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10453 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Patricia LaRocco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10454 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathryn Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10455 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying any more of the cost of it.

   Sincerely,

   James Connolly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10456 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alan DAvanzo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10457 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathy Bawel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10458 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10459 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ismael Baquedano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10460 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10461 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ismael Baquedano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10462 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alan DAvanzo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10463 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Barb Scavezze
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10464 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   denbar denbar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10465 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   robert swartenberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10466 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   chris koch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10467 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Barb Scavezze
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10468 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   robert swartenberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10469 of 13201
   Loretta Lynch
   Department of Justice

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   chris koch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10470 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Andy Colee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10471 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Libda Pullano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10472 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Donald Cadenhead
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10473 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Wm Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10474 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Eileen Conner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10475 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Penny Potter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10476 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   David Gebauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10477 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jeff Crane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10478 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Wm Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10479 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Eileen Conner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10480 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Jeffrey Shuben
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10481 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   doug krause
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10482 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

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   be left paying the cost of it.

   Sincerely,

   Mary Kay Szynskie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10483 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   doug krause
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10484 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jeff Crane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10485 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   James Stewart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10486 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Penny Potter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10487 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Janet Crist-Whitzel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10488 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10489 of 13201
   Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10490 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Peter Maly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10491 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kathleen Kaiser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10492 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Barry James
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10493 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ursula Finkel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10494 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sandra F Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10495 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10496 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10497 of 13201
   Loretta Lynch
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   Sincerely,

   Thomas Lux
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10498 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Thomas Lux
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10499 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Edgar Cabral
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10500 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Marilyn Rietzel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10501 of 13201
   Loretta Lynch
   Department of Justice

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   Edgar Cabral
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10502 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Rochelle Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10503 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John Braund
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10504 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10505 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Katherine Leahy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10506 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Constance Plumley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10507 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Josephine and Frank Tosiello
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10508 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Loretta Fisher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10509 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Sean Sheeley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10510 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Loretta Fisher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10511 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Cindy Parrone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10512 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Lucy Tyndall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10513 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

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   be left paying the cost of it.

   Sincerely,

   Carrie Brummette
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10514 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Bob Rolsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10515 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lee Margulies
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10516 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alan Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10517 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rick Sparks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10518 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carrie Brummette
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10519 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Walt Maruschak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10520 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lucy Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10521 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Bob Rolsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10522 of 13201
   Loretta Lynch
   Department of Justice

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lucy Tyndall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10523 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   be left paying the cost of it.

   Sincerely,

   Rick Sparks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10524 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

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   Lucy Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10525 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Alan Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10526 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lawrence Brick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10527 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nancy Fowlie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10528 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Glenn Finch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10529 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lawrence Brick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10530 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Skip Cross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10531 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Glenn Finch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10532 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Skip Cross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10533 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tanya McKown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10534 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Don Robertson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10535 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Stehlik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10536 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tanya McKown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10537 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Loewyn Young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10538 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Kye Quickel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10539 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   William H
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10540 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Patricia Grenfell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10541 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Melissa Hopkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10542 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Chelsee Boehm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10543 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Robert Paulson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10544 of 13201
   Loretta Lynch
   Department of Justice

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   Chelsee Boehm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10545 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ann Berndt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10546 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joan and Robert Bennett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10547 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ann Berndt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10548 of 13201
   Loretta Lynch
   Department of Justice

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   Ann Berndt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10549 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Michael Yankaus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10550 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Art Sweeny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10551 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Steven Esposito
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10552 of 13201
   Loretta Lynch
   Department of Justice

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   Art Sweeny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10553 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Matthew Vorstermans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10554 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Linda Pachter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10555 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Matthew Vorstermans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10556 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Calvin Mannes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10557 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   Hashi Hanta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10558 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   S.P. Franklin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10559 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

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   be left paying the cost of it.

   Sincerely,

   Dean Knauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10560 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Laura Matturro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10561 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Christina Maris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10562 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sara Raskie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10563 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Dean Knauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10564 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   LB
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10565 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Elaine Livingston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10566 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   Sincerely,

   LB
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10567 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   James Maloney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10568 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   blue mcright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10569 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Heidi Peters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10570 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   James Maloney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10571 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sara Raskie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10572 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   blue mcright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10573 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gerardo Fuentes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10574 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Heidi Peters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10575 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Pamela Jensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10576 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marguerite Boyens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10577 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Glenn Rape
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10578 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Marguerite Boyens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10579 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Pamela Jensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10580 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   William Cannon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10581 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gerardo Fuentes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10582 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying any more of the cost of it.

   Sincerely,

   Margaret Dyson-Cobb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10583 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Antonia Matthew
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10584 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Craig Peariso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10585 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Eric Vance
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10586 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Craig Peariso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10587 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jim Gallagher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10588 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10589 of 13201
   Loretta Lynch
   Department of Justice

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   Antonia Matthew
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10590 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lydia Clarke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10591 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Molly Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10592 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Gösta Montelius
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10593 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Joanne Hesselink
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10594 of 13201
   Loretta Lynch
   Department of Justice

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   CS
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10595 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10596 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Courtney Birkett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10597 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sara Lavenhar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10598 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10599 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Michael Weller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10600 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Joanne Hesselink
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10601 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dennis Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10602 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Michael Weller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10603 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Charles Murray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10604 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Lynn Salter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10605 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Rebecca Kimsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10606 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Jodi Beers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10607 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Bell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10608 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Jill Hirschi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10609 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Daniela Emery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10610 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Linda Pachter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10611 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Beverly Cotton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10612 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Carolyn Pettis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10613 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Rebecca Kimsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10614 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Bell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10615 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jill Hirschi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10616 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carrie Darling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10617 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Donald Fricker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10618 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   William Bader
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10619 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jeffrey Hollar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10620 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Diana Kostka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10621 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Beverly Plaviak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10622 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Carrie Darling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10623 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karen Joslin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10624 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carolyn Pettis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10625 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   William Bader
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10626 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jodi Beers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10627 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rita Santos Santos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10628 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Louis Priven
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10629 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Ira Levine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10630 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Nick Gillett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10631 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Kelly Pham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10632 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jonathan Wilsnack
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10633 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Bertaina
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10634 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Donald Fricker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10635 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Rita Santos Santos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10636 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Jonathan Wilsnack
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10637 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gabriella Garofalo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10638 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Brian Zaborszki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10639 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Angelic Rubalcava
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10640 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John Bertaina
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10641 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   susi Westwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10642 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Karen Joslin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10643 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Claudia Cerda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10644 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Angelic Rubalcava
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10645 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Brian Zaborszki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10646 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   russ ziegler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10647 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Jerry Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10648 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Gabriella Garofalo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10649 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Meghan McCutcheon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10650 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Robert Wohlberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10651 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   russ ziegler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10652 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   susi Westwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10653 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jeremy Stubbs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10654 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Jerry Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10655 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   barbara neri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10656 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Greg King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10657 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Meghan McCutcheon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10658 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it!

   Sincerely,

   Eric Edwards
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10659 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Kymberlee Harris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10660 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jeremy Stubbs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10661 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Eric Edwards
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10662 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jack Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10663 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   barbara neri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10664 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Greg King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10665 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Linda Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10666 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Paula Kursh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10667 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Matthew Crowther
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10668 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Paula Kursh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10669 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Margaret B King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10670 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rutvij Talavdekar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10671 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Rutvij Talavdekar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10672 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gary Stephenson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10673 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Kelly Pham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10674 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Gary Stephenson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10675 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Matthew Crowther
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10676 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Richard Crawford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10677 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sandra McLuckie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10678 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sandra McLuckie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10679 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Romeo Tango
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10680 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Margaret B King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10681 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Monet Shook
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10682 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Deborah Voves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10683 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Cheryl West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10684 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Deborah Voves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10685 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Linda Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10686 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Chris Bradford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10687 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Wallace & Cathleen Lambie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10688 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Jim Czerniak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10689 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10690 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10691 of 13201
   Loretta Lynch
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   Sincerely,

   Dale Shero
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10692 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Bonnie Kenny
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10693 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10694 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mark Levin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10695 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Eric Horwitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10696 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mr. Jim Hanley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10697 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Larise Boughner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10698 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10699 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Yolanda Ferguson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10700 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Joseph Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10701 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Frank Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10702 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Tess Husbands
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10703 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kenneth W Christlieb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10704 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mr. Robert Blumenthal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10705 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10706 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Yolanda Ferguson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10707 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Linda Hipsher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10708 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Floyd O'Brien
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10709 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Kurt Speidel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10710 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Diana Wiley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10711 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Mr. Robert Blumenthal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10712 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Ray Malinda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10713 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Glenda McMurry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10714 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kenneth W Christlieb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10715 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jon Laubert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10716 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sheila Owens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10717 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Deborah Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10718 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,
   Rich Panter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10719 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   jj
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10720 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Frank Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10721 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Hipsher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10722 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lavonne Engelman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10723 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rich Panter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10724 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kurt Speidel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10725 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Lavonne Engelman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10726 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joyce Case
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10727 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. William G Rose Jr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10728 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   feliz nunez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10729 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   feliz nunez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10730 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   jj
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10731 of 13201
   Loretta Lynch
   Department of Justice

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   jim Barber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10732 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joy Heaviland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10733 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Jane Engelsiepen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10734 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   jim Barber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10735 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sharon Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10736 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marjorie Clisson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10737 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lori Lyles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10738 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Bill Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10739 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Vanessa Carbia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10740 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Pamela Rosar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10741 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Christian Rocklein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10742 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lori Lyles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10743 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sharon Sullivan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10744 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Carla Earl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10745 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Bill Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10746 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   William Gotz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10747 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Bruce Hoeksema
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10748 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Diane Wynne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10749 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dr. Anca Vlasopolos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10750 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Vanessa Carbia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10751 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Joseph Hatch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10752 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karen Burke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10753 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Beth Stanberry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10754 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   C Pearson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10755 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Charles Bowman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10756 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Tamera Bennett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10757 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Diane Wynne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10758 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. William G Rose Jr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10759 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Karen Hedwig Backman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10760 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marlene Stalter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10761 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Joseph Hatch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10762 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mr. Chad Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10763 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Karen Burke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10764 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Thomas Morse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10765 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Pam Engler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10766 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

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   be left paying the cost of it.

   Sincerely,

   Karen Hedwig Backman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10767 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Croitiene ganMoryn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10768 of 13201
   Loretta Lynch
   Department of Justice

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   Thomas Morse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10769 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   TM
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10770 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Patricia Bowen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10771 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gloria La Fleur
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10772 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mr. Chad Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10773 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jean Glassman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10774 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Wendy Farrell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10775 of 13201
   Loretta Lynch
   Department of Justice

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   Gloria La Fleur
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10776 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Adam Silva-Miramon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10777 of 13201
   Loretta Lynch
   Department of Justice

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   Jean Glassman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10778 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Cathy Lambeth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10779 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Barbara Spiers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10780 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Cathy Lambeth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10781 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Jo Sanders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10782 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Chris Ballard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10783 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Staci Evans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10784 of 13201
   Loretta Lynch
   Department of Justice

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   Jo Sanders
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10785 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Selina Sweet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10786 of 13201
   Loretta Lynch
   Department of Justice

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   Chris Ballard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10787 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Staci Evans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10788 of 13201
   Loretta Lynch
   Department of Justice

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   Selina Sweet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10789 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jean Teach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10790 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Richard Siegel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10791 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Amy Holt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10792 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10793 of 13201
   Loretta Lynch
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   Sincerely,

   Sandra Huber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10794 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dorothea Vecchiotti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10795 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Shirley Gunn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10796 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10797 of 13201
   Loretta Lynch
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   Sincerely,

   Heather Beery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10798 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10799 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Christopher Holmgren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10800 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John Somers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10801 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Vin Agmeno
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10802 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10803 of 13201
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   Shirley Gunn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10804 of 13201
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   Department of Justice

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   Sincerely,

   Arlene Zuckerman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10805 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jessica Ramirez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10806 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10807 of 13201
   Loretta Lynch
   Department of Justice

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   Arlene Zuckerman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10808 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dave Fronske
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10809 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mary Holleran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10810 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Richard Zoah-Henderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10811 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Gail Tharpe-Lucero
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10812 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   John Somers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10813 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   C Kent Argenta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10814 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dave Fronske
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10815 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   Allison Peak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10816 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Christa Leduc
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10817 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Richard Zoah-Henderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10818 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   e Wait
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10819 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10820 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Cheryl Watters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10821 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Kathleen Espamer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10822 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   karan prakash
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10823 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Maxine Hayes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10824 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   e Wait
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10825 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   be left paying the cost of it.

   Sincerely,

   James Sterner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10826 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Christopher Holmgren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10827 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Kathleen Espamer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10828 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Henry Browning
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10829 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Maxine Hayes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10830 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Donald Lancaster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10831 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Linc Cole
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10832 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Steve Allison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10833 of 13201
   Loretta Lynch
   Department of Justice

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   Steve Allison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10834 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John Brusen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10835 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jessica Ramirez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10836 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   jeanne cormier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10837 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Krikourian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10838 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Michael Richards
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10839 of 13201
   Loretta Lynch
   Department of Justice

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   Robert Krikourian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10840 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lynne Schrupp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10841 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Matthew Holder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10842 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jane Neave
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10843 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Janet London
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10844 of 13201
   Loretta Lynch
   Department of Justice

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   Lynne Schrupp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10845 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Noreen Stevenson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10846 of 13201
   Loretta Lynch
   Department of Justice

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   Matthew Holder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10847 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   William Gotz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10848 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Walter Fox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10849 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mary Holleran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10850 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ruth Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10851 of 13201
   Loretta Lynch
   Department of Justice

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   Janet London
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10852 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Adam Belanger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10853 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John Brusen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10854 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Shalini Bosbyshell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10855 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Walter Fox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10856 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Noreen Stevenson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10857 of 13201
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   Department of Justice

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   Sincerely,

   Harold Johnsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10858 of 13201
   Loretta Lynch
   Department of Justice

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   Adam Belanger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10859 of 13201
   Loretta Lynch
   Department of Justice

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   Shalini Bosbyshell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10860 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Nancy Hartman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10861 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   T.J. Warenz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10862 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Rhonda Bradley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10863 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jeanne Crowley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10864 of 13201
   Loretta Lynch
   Department of Justice

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Judy Sachter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10865 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Scott Nied
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10866 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

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   Sincerely,

   T.J. Warenz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10867 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Scott Nied
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10868 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Tift
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10869 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Beth Hawes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10870 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Timothy Schacht
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10871 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Reeve Love
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10872 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   T. Fernandez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10873 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Lisa Gherardi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10874 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Michelle Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10875 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Timothy Schacht
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10876 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Michelle Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10877 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Louis Anipen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10878 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Susan Swolinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10879 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lisa Gherardi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10880 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Alice Slining
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10881 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Joseph Erdeljac
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10882 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10883 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John P. Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10884 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10885 of 13201
   Loretta Lynch
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   Sincerely,

   Anna Tangi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10886 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Seth Clarke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10887 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   A. Todd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10888 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kathleen Bobb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10889 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mary Wheeler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10890 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10891 of 13201
   Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10892 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Yan Fantalov
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10893 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Rhonda Bradley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10894 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John P. Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10895 of 13201
   Loretta Lynch
   Department of Justice

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   A. Todd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10896 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Joan Andon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10897 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sundriya Grubb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10898 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ernest Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10899 of 13201
   Loretta Lynch
   Department of Justice

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   Mary Wheeler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10900 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mark Ondrejicka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10901 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Nancy Partin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10902 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Grace Golata
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10903 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Gary Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10904 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ernest Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10905 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sundriya Grubb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10906 of 13201
   Loretta Lynch
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   Sincerely,

   Carol Mock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10907 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Hannah Tomes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10908 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Carolyn Redden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10909 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Barbara Wallesz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10910 of 13201
   Loretta Lynch
   Department of Justice

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   Hannah Tomes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10911 of 13201
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   Sincerely,

   Karen Mayer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10912 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jeaneane Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10913 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Carol Mock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10914 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carolyn Redden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10915 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Shirley Espeland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10916 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   MD
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10917 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Candace R Bassat
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10918 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Veronica Watene
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10919 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karen Mayer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10920 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sally Garfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10921 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Kane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10922 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   James Schmidt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10923 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Kane
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10924 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Veronica Watene
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10925 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Sally Garfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10926 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karen Samuelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10927 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Wallace Iimura
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10928 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   James Schmidt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10929 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Candace R Bassat
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10930 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Katherine Hammer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10931 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Katherine Hammer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10932 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Karsh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10933 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Guma
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10934 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mike Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10935 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Patricia Zylius
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10936 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karen Samuelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10937 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mike Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10938 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dean Zimpfer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10939 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jonathan Weinberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10940 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Jonathan Weinberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10941 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Edward Huey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10942 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   william brooks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10943 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Liz Helenchild
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10944 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Truesdale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10945 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Dudley and Candace Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10946 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   John Cloonan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10947 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sue Staropoli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10948 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Isabel Molloy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10949 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   william brooks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10950 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dwayne Dassing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10951 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Max DeNise
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10952 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Tj Brooks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10953 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Dwayne Dassing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10954 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Isabel Molloy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10955 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Barb Olson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10956 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Max DeNise
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10957 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Antonio Sarmiento
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10958 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Jeff Middour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10959 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rev. Gordon Hills
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10960 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dan Potter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10961 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nancy Beavers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10962 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Janice Keiserman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10963 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Maryjon McAvery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10964 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Antonio Sarmiento
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10965 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jack Middour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10966 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Kayla Warden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10967 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Rev. Gordon Hills
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10968 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Malo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10969 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Howard Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10970 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Kayla Warden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10971 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sandra Middour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10972 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Candice Bicoy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10973 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Nields
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10974 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Howard Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10975 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10976 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   adrian landon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10977 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

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   be left paying the cost of it.

   Sincerely,

   Mr. Robert A. Vanderkamp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10978 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Emma Bartholomew
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10979 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Catherine Lambeau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10980 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathleen Eaton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10981 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Mr. Robert A. Vanderkamp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10982 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Malo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10983 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   winn wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10984 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Emma Bartholomew
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10985 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Monique Trahan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10986 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John Bush
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10987 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   winn wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10988 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10989 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sam Holm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10990 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Marcie Thezan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10991 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10992 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jason Gabriel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10993 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jeanine Yows
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10994 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   adrian landon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10995 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Callie White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10996 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   chris jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10997 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Bill Denham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10998 of 13201
   Loretta Lynch
   Department of Justice

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   Jeanine Yows
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 10999 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   William Wurtz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11000 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kathryn Buttles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11001 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ann Rennacker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11002 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Catherine Becsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11003 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Catherine Becsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11004 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lisa Allarde
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11005 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lisa Allarde
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11006 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Paul Brinegar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11007 of 13201
   Loretta Lynch
   Department of Justice

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   Ann Rennacker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11008 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   William Wurtz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11009 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lori Troupe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11010 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Christian Traylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11011 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Wendy Rosenfeld
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11012 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Gary Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11013 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Carolin Eville
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11014 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Christian Traylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11015 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kay Norman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11016 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   kay m
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11017 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   António Rodrigues
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11018 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paul Brinegar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11019 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   MARCEL LIBERGE
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11020 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sandrine Coulon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11021 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Phoebe Reeve
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11022 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carolin Eville
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11023 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gary Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11024 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   kay m
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11025 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Susanna McAdam
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11026 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Lynne St. John
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11027 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Valerie Majercsik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11028 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Phoebe Reeve
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11029 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Deborah Thelen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11030 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Susanna McAdam
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11031 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Valerie Majercsik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11032 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Burgundy Booher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11033 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Christian Rocklein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11034 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ellen Shoun
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11035 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paul Dyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11036 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Deborah Thelen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11037 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joanne Kondratieff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11038 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Burgundy Booher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11039 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Ellen Shoun
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11040 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ronald Shank
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11041 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Joanne Kondratieff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11042 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Paul Dyer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11043 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sherry Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11044 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Wendy Rosenfeld
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11045 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Karen Kirschling
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11046 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bob Douse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11047 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Kolakosky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11048 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   James Haldy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11049 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Sherry Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11050 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   a kasbarian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11051 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Steven Vaughan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11052 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bob Douse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11053 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   James Haldy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11054 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Linda Kolakosky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11055 of 13201
   Loretta Lynch
   Department of Justice

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Susaan Aram
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11056 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Florence Sandok
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11057 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   a kasbarian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11058 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   B. C. Dashiell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11059 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   B. C. Dashiell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11060 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Florence Sandok
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11061 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jean Francois Salberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11062 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Harold Pike
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11063 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Pietro Fornara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11064 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   António Rodrigues
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11065 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Pietro Fornara
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11066 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   Lisa Standke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11067 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   te
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11068 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ellen Mendelsohn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11069 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Brenda Nelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11070 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alan p
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11071 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   J. Fred Thornton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11072 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   te
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11073 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Brenda Nelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11074 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   scott fishel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11075 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary McCoy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11076 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Patricia Auer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11077 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alan Peltzer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11078 of 13201
   Loretta Lynch
   Department of Justice

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   J. Fred Thornton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11079 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Patricia Auer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11080 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Vivian Schatz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11081 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Alison Zyla
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11082 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jill Davine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11083 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michele Santoro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11084 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ron Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11085 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   ac
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11086 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ron Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11087 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Valerie Mehring
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11088 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   dorothy kornelis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11089 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   John & June Owens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11090 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11091 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11092 of 13201
   Loretta Lynch
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   Sincerely,

   Ms. Alice Neuhauser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11093 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Alan Schwartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11094 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ms. Alice Neuhauser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11095 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Judy Calder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11096 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Eric Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11097 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   K Liddle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11098 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Catherine Newkirk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11099 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Meagan E Gill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11100 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Adele Gleason
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11101 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Sue Kartman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11102 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Meagan E Gill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11103 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Thomas Conroy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11104 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Ed Cornwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11105 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Catherine Newkirk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11106 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Marjorie Dearmont
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11107 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   JoAnn Webb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11108 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Adele Gleason
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11109 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Bill Groves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11110 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Alan Schwartz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11111 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sylviane Mahaux
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11112 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Ed Cornwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11113 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jason Ralston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11114 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sylviane Mahaux
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11115 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Elizabeth Bartolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11116 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Elizabeth Bartolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11117 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Elizabeth Bartolf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11118 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bill Groves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11119 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Adrian Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11120 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sue Kartman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11121 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Chris Simpson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11122 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sandra Schachter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11123 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   eric webber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11124 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ron McCutcheon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11125 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rogers Turrentine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11126 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Chris Simpson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11127 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ray Orley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11128 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paulette Whitcomb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11129 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Virginia Breza
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11130 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Judy Lubow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11131 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karyn Goff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11132 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Rogers Turrentine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11133 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Kraus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11134 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paulette Whitcomb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11135 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Virginia Breza
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11136 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   David Kraus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11137 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Elizabeth LeFever
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11138 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   David Illig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11139 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Angela Schieferecke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11140 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   manuel rodriguez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11141 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mike Proto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11142 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Daniel Salmen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11143 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Deborah Reade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11144 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Stephen Young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11145 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Deborah Reade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11146 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sandra Middour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11147 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Dharmesh Mandalia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11148 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sandra Middour
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11149 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Oleg Varanitsa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11150 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Dharmesh Mandalia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11151 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joshua Angelus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11152 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Oleg Varanitsa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11153 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Stephen Young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11154 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Alan Cunningham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11155 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   John Carroll
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11156 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Petras
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11157 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Brian Todd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11158 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Robert Petras
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11159 of 13201
   Loretta Lynch
   Department of Justice

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joyce Wheaton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11160 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alba Stroube
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11161 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Alba Stroube
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11162 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Joyce Wheaton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11163 of 13201
   Loretta Lynch
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   LInda McDougal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11164 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paul Bell-Tull
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11165 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   K. Nilsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11166 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sarah Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11167 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Charleen Kubota
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11168 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Steve Steele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11169 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ray C. Telfair II, Ph.D.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11170 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karl Mortimer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11171 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   K. Nilsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11172 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Steve Steele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11173 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Charleen Kubota
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11174 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sr. Veronica Blake
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11175 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Clint Lenard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11176 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sarah Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11177 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Cynthia Molinero
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11178 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joshua Angelus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11179 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karl Mortimer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11180 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Donald Hyatt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11181 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Earnest
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11182 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Caressa Al-Khateeb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11183 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dr Joseph C Clancy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11184 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Cynthia Molinero
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11185 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sr. Veronica Blake
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11186 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joseph H. Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11187 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Mr. Donald Hyatt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11188 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Suzanne Kruger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11189 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Barbara King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11190 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. DAvid Griffith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11191 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Suzanne Kruger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11192 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   andrew frantz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11193 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Inness
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11194 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Charlotte Gallardo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11195 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Andre Tarverdians
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11196 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Deborah Wiggin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11197 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Jamie Bryan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11198 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Judith Jorgensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11199 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. larry mahlis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11200 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Hon. The Hon. Eddie Rose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11201 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Deborah Wiggin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11202 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Mr. Jamie Bryan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11203 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Linda Inness
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11204 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Phillip Markis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11205 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Charlotte Gallardo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11206 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. larry mahlis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11207 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Hon. The Hon. Eddie Rose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11208 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Elena Mancini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11209 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   C Porrello
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11210 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Daniel Safer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11211 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   C Porrello
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11212 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Elena Mancini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11213 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Garland Ward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11214 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ld Roncalli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11215 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gloriamarie Amalfitano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11216 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Charlotte Gallardo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11217 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Valencia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11218 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Stewart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11219 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Moon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11220 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gloriamarie Amalfitano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11221 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Eva Yachnes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11222 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jason Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11223 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Garland Ward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11224 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jason Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11225 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nina French
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11226 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Moon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11227 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Valencia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11228 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robin Shushan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11229 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robin Shushan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11230 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ankush Bansal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11231 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ben Kloepper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11232 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Richmond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11233 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Richmond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11234 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Melinda Parke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11235 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Matt Straw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11236 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gerhard Borchers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11237 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karen Cahill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11238 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carol Springer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11239 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Melinda Parke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11240 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Carol Springer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11241 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Charles Carruthers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11242 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Chris Bihler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11243 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Harold craw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11244 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dave Matthews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11245 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Donald Eddinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11246 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Donald Eddinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11247 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sara Loeppert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11248 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Susan Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11249 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Dave Matthews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11250 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   William McKenzie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11251 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Peggy Baughns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11252 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sara Loeppert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11253 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Regina Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11254 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nancy Weatherwax
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11255 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Peggy Baughns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11256 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dr. Prisca Gloor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11257 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Barbara Carr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11258 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Susan Lloyd-Piralli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11259 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Barbara Carr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11260 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paul Blackburn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11261 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   JoAnn Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11262 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stewart Rosenkrantz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11263 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   William DuSold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11264 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   JoAnn Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11265 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Andrew Giddings
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11266 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Carol Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11267 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Melodie Howard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11268 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael V L Bennett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11269 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ruth Fichter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11270 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Gillaspy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11271 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Andrew Giddings
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11272 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Barbara Singer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11273 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   William DuSold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11274 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ron Ives
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11275 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jerry Mawhorter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11276 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carol Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11277 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jovy Jergens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11278 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Gillaspy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11279 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Taiya Boni
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11280 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Jovy Jergens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11281 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Chris Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11282 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Metcalf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11283 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Walt Bogner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11284 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   P. Brooks McGinnis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11285 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Philip Glaser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11286 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Chris Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11287 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   P. Brooks McGinnis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11288 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Julian Betoney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11289 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   michael beltran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11290 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Linda Alstad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11291 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   J.Patricia Connolly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11292 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Linda Norelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11293 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Pam Fletcher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11294 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Gail Nichols
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11295 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dr. Prisca Gloor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11296 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Bruce Pollock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11297 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Candace Gabriel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11298 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Pam Fletcher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11299 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11300 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Gail Nichols
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11301 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Rob Schrock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11302 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Candace Gabriel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11303 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Rob Schrock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11304 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Rob Schrock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11305 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Donna Harris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11306 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   michael beltran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11307 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Bruce Pollock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11308 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Rachel Cilley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11309 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   be left paying the cost of it.

   Sincerely,

   Laura Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11310 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Leslie A Cassidy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11311 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Bruce Schacht
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11312 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ken Kornfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11313 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rachel Cilley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11314 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Leslie A Cassidy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11315 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Daniel Mackay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11316 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

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   be left paying the cost of it.

   Sincerely,

   Ken Kornfield
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11317 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Laura Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11318 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Daniel Mackay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11319 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Angela Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11320 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Ann McFarland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11321 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jim Kaedden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11322 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Jim Kaedden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11323 of 13201
   Loretta Lynch
   Department of Justice

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Angela Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11324 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11325 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Juha Cantori
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11326 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mrs. Shirley Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11327 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephen Russell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11328 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marie Jo De Maestri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11329 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11330 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Mrs. Shirley Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11331 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mark Beringer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11332 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   robert dubois
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11333 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joseph Velardita
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11334 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karen Kovick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11335 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Patricia Sousa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11336 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karen Kovick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11337 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Julia Knight
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11338 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Trudy Lambert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11339 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Hillary Demetropoulos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11340 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   William Graham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11341 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Cameo Eiben
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11342 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Julia Knight
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11343 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Hillary Demetropoulos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11344 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jamie Lynn Guy-Ostrowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11345 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   William Graham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11346 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11347 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Trudy Lambert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11348 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Karen Arnheiter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11349 of 13201
   Loretta Lynch
   Department of Justice

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   Jamie Lynn Guy-Ostrowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11350 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Steve Kowal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11351 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   e l dupras-carceles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11352 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nadine Mroz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11353 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Priscilla Drake
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11354 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Baker Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11355 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Brian Deeley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11356 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Nadine Mroz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11357 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tina Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11358 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marie Jo De Maestri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11359 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Cindy Fine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11360 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Tina Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11361 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ted & Susan Clark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11362 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Cindy Fine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11363 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Brian Deeley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11364 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Ranta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11365 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   John Nettleton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11366 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   James Sajdak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11367 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Aixa Fielder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11368 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

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   be left paying the cost of it.

   Sincerely,

   Rick Russell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11369 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Aixa Fielder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11370 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Peter Lundell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11371 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Priscilla Drake
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11372 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Helen Goldstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11373 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David J. Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11374 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Manfred Holm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11375 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Rick Russell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11376 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tim Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11377 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Christine U
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11378 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Christine U
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11379 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Daniel Aunkst
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11380 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Tim Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11381 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Jacqueline Jenkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11382 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   judith root
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11383 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Helen Goldstein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11384 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Trina Novak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11385 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Thomas Gourley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11386 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Craig Kerber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11387 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Andrea Kehoe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11388 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Jesse S. Roa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11389 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Jesse S. Roa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11390 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Pat Wagner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11391 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Beth Herndobler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11392 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Craig Kerber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11393 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John Nettleton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11394 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Karen Perry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11395 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Patricia Armstrong
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11396 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11397 of 13201
   Loretta Lynch
   Department of Justice

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   Beth Herndobler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11398 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   K. Cash Luck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11399 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Karen Perry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11400 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Beth Collom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11401 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ms. Theresa Kelly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11402 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Jesse S. Roa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11403 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Travis Holland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11404 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Farah Germain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11405 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Drena LaPointe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11406 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   D. Spaulding
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11407 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ms. Theresa Kelly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11408 of 13201
   Loretta Lynch
   Department of Justice

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   Drena LaPointe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11409 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   K. Cash Luck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11410 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Andrea Kehoe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11411 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Anthony marinelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11412 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jeevake Attapattu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11413 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jeff LaFlamme
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11414 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Farah Germain
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11415 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   D. Spaulding
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11416 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Anne Dugaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11417 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jeff LaFlamme
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11418 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Roger Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11419 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Lemus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11420 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Agnes Gillespie MD
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11421 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Roger Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11422 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kimberly McCartney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11423 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joshua Sirt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11424 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dr. William Butler (geologist)
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11425 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joshua Sirt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11426 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   lawrence holmes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11427 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dr. William Butler (geologist)
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11428 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jerry Chittenden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11429 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Laura Kramer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11430 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jack Burke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11431 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Pamela Porter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11432 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jerry Chittenden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11433 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   lawrence holmes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11434 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jack Burke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11435 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sunday Sommers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11436 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Martha Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11437 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, PLEASE include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sally Rist
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11438 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jack Phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11439 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Laura Kramer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11440 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   MARY COPELAND
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11441 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ruth Boroshok
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11442 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sally Rist
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11443 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Raquel Bone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11444 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Susan Hayward
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11445 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   M Hooper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11446 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ruth Boroshok
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11447 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Raquel Bone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11448 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Breana Driscoll
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11449 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Breana Driscoll
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11450 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joan Yates
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11451 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   M Hooper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11452 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   MARY COPELAND
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11453 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jan Kleckler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11454 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. John Kerschbaum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11455 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gustavo Correa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11456 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   J.A. Jennings
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11457 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kenneth Piner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11458 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Judith Shackelford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11459 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jo Ann Herbert RN,BSN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11460 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tony Tsang
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11461 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jo Ann Herbert RN,BSN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11462 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tony Tsang
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11463 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Hazel Scotto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11464 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Todd Tanner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11465 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alex Laio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11466 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nina Z.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11467 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mo Kafka
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11468 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alex Laio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11469 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nina Z.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11470 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jim Kleppin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11471 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Bittner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11472 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Hazel Scotto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11473 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kim Fleischer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11474 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rebecca Levinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11475 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Patricia Claytor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11476 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stacey Vaughan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11477 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rebecca Levinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11478 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jim Kleppin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11479 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Patricia Claytor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11480 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   TONIA HOWE
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11481 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephanie C. Fox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11482 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sean Attri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11483 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Brad Jolly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11484 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephanie C. Fox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11485 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jill Gibson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11486 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   C. Warren Pope
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11487 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   Sincerely,

   Brad Jolly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11488 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jill Gibson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11489 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   C. Warren Pope
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11490 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   S. Kohler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11491 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Virginia Stringer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11492 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Alberto Gutierrez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11493 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   norton starr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11494 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Thomas J Windberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11495 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mrs. June Cattell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11496 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11497 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Dan Schneider
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11498 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ruthann Lees
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11499 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Barbara Speidel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11500 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Sean Attri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11501 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Mrs. June Cattell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11502 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Ruth Anne Brighton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11503 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Katherine Barnhart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11504 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Dan Schneider
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11505 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Arvin Blakeney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11506 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Peter Curia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11507 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Patrick Divine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11508 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Shauna Haines
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11509 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jared Cornelia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11510 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Sheila Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11511 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11512 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   E. Dantuono
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11513 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nancy Kilgore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11514 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joseph Barreca
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11515 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Arvin Blakeney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11516 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction!!

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it!

   Sincerely,

   Thomas Simon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11517 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lois Owens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11518 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Thomas Simon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11519 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Halima Foster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11520 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Arleen Kalenich-Pace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11521 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jill Simon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11522 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Matthew Carlstroem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11523 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Arleen Kalenich-Pace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11524 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jordan Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11525 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gary Decillis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11526 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Phillip Hope
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11527 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lynn Alexander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11528 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   S. Kohler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11529 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Phillip Hope
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11530 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tripp Carter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11531 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joanna Farrar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11532 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Matthew Carlstroem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11533 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tripp Carter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11534 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Candice Lowery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11535 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Edward Norkus
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11536 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joanna Farrar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11537 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Frick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11538 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Don Rubin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11539 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Bernie Saftner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11540 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Amanda Quinn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11541 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kellie Crawford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11542 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joseph Barreca
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11543 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Betty Weinstock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11544 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sarah Murdoch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11545 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Noah Evans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11546 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Natalie Van Van Leekwijck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11547 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Paul Beach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11548 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Natalie Van Van Leekwijck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11549 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Sarah Murdoch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11550 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Robert Frick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11551 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Helen Glidden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11552 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sheryl Samuel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11553 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kevin Clark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11554 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   frederique joly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11555 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rita Caruso Santamaria
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11556 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Kevin Clark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11557 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Rita Caruso Santamaria
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11558 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kellie Crawford
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11559 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

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   be left paying the cost of it.

   Sincerely,

   Michael K. Shead
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11560 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   June Neumark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11561 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I URGE you to include strict language in the
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Martin Margolis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11562 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gabriel Morner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11563 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

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   be left paying the cost of it.

   Sincerely,

   John Ely
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11564 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Christopher Lepple
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11565 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rebecca & David Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11566 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Audra Soulias
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11567 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   diana kliche
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11568 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rebecca & David Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11569 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robin Gorges
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11570 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gabriel Morner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11571 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Deb Hirt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11572 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Audra Soulias
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11573 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   diana kliche
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11574 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Ruch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11575 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Charles Bates
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11576 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Vinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11577 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Boyd A Davies Jr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11578 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Anthony Mehle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11579 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Elinor Parzen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11580 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jenneva Haskins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11581 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Hankins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11582 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   Boyd A Davies Jr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11583 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   DONNA A
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11584 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Tregidgo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11585 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Katherine Richardson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11586 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Myers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11587 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   David Hankins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11588 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Charles Bates
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11589 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   David Myers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11590 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Nicole Edwards
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11591 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Jenneva Haskins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11592 of 13201
   Loretta Lynch
   Department of Justice

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   Jenneva Haskins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11593 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Katherine Richardson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11594 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Deb Hirt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11595 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Sierra Oudeans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11596 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Nicole Edwards
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11597 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Virginia Crooks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11598 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Graham Lingley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11599 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Kathryn Burns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11600 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Linda Shabsin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11601 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Kathryn Burns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11602 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Francois Verly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11603 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Gary Brooker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11604 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bryan Kelley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11605 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   Robert Ogden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11606 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Angelika Altum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11607 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Bryan Kelley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11608 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   Mr. Tom Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11609 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   Cecilia Lieder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11610 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Judy Whitehouse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11611 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Angelika Altum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11612 of 13201
   Loretta Lynch
   Department of Justice

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

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   be left paying the cost of it.

   Sincerely,

   Jane Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11613 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Judy Whitehouse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11614 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ralph Notaro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11615 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Ralph Notaro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11616 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Martha McNulty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11617 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ryan Draper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11618 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Philip Ramsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11619 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joanne McMillan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11620 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gary Brooker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11621 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Helton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11622 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Celia O'Kelley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11623 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jeff Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11624 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Doug Pynn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11625 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Celia O'Kelley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11626 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Helton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11627 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   jean greenwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11628 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Hessenauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11629 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Michele Reynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11630 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Howard Weeks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11631 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Jesse Morpaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11632 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   jean greenwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11633 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Deb Hirt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11634 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   C Weinstock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11635 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Howard Weeks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11636 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Audrey Lopes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11637 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lavonne Schackmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11638 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Rosemary Jack
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11639 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   DeDe Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11640 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Erica Stanojevic
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11641 of 13201
   Loretta Lynch
   Department of Justice

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   DeDe Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11642 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Jan Pfeiffer-Rios
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11643 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Robert Hessenauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11644 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Revel Paul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11645 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11646 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11647 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Colleen McMULLEN
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11648 of 13201
   Loretta Lynch
   Department of Justice

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   Revel Paul
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11649 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Carole Smudin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11650 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alice West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11651 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Grover McCoury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11652 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Peter Belmont
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11653 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Sharon Knobel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11654 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Paul Parowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11655 of 13201
   Loretta Lynch
   Department of Justice

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   Grover McCoury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11656 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Alice West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11657 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Kristy Hansen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11658 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   rick young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11659 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Karen Kirchdoerfer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11660 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Bruce Cozzini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11661 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Beth Hoke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11662 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Peter Belmont
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11663 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Siamak Fooladi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11664 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   rick young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11665 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

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   be left paying the cost of it.

   Sincerely,

   rick young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11666 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karen Kirchdoerfer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11667 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dona VAN ECK
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11668 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Siamak Fooladi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11669 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Daniel Rosenberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11670 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Daniel Rosenberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11671 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Beth Hoke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11672 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   E Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11673 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bruce Cozzini
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11674 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lorraine Klein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11675 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Leona Leven
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11676 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   A Frey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11677 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   E Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11678 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   James Roberts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11679 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karen Stamm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11680 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Amanda Holland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11681 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Amanda Holland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11682 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Raeann Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11683 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   pat dellitalia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11684 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Raeann Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11685 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   pat dellitalia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11686 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Steven Fenster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11687 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Denise Walters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11688 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Judi Richardson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11689 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Steven Fenster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11690 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Barrett Kemp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11691 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   George Ferris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11692 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jerry Haldeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11693 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Barrett Kemp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11694 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tracy Beckenbach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11695 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Tracy Beckenbach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11696 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jerry Haldeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11697 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Barbara Beierl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11698 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephen Russell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11699 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lauren Rapp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11700 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and innocent taxpayers
   should not be left paying the cost of it.

   Sincerely,

   Jean Farris
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11701 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Lauren Rapp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11702 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   KENN REYNOLDS
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11703 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jackie Martinez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11704 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Guy Eve
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11705 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   Silvia Munger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11706 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   KENN REYNOLDS
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11707 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ken De La Rosa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11708 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Ken De La Rosa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11709 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Susan Wayne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11710 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Marietta Scaltrito
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11711 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Guy Eve
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11712 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Melissa Mays
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11713 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Beverly Foster
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11714 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Pati Tomsits
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11715 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Silvia Munger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11716 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Iris Rochkind
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11717 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11718 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathleen Bradbury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11719 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marietta Scaltrito
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11720 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Iris Rochkind
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11721 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Pati Tomsits
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11722 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kim McDonald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11723 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kim McDonald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11724 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ilona Vaupel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11725 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11726 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   F Corr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11727 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tiffany-Marie Austin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11728 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carolyn Nikkal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11729 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jessica Andrews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11730 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stacy Nisperos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11731 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jessica Andrews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11732 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Diana Nihem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11733 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Debra Evon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11734 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stacy Nisperos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11735 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Phillip Cripps
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11736 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tiffany-Marie Austin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11737 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Danny Blitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11738 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   F Corr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11739 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lucia Port
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11740 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Nichols
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11741 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Mr. Phillip Cripps
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11742 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Danny Blitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11743 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Homer Stone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11744 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Renata Selig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11745 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jody Kim-Eng
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11746 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   gabriele lauscher-dreess
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11747 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rebecca Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11748 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Rebecca Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11749 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. robert luke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11750 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   M Santos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11751 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   LaShond Stevenson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11752 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Anna Freeman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11753 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   gabriele lauscher-dreess
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11754 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. robert luke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11755 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   LaShond Stevenson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11756 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nancy Worsham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11757 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robyn Little
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11758 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Savannah Gil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11759 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   be left paying the cost of it.

   Sincerely,

   Cato Dubo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11760 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Raechelle Raimondo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11761 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Nancy Worsham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11762 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Robyn Little
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11763 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Savannah Gil
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11764 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathleen Hollingsworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11765 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   chris micolucci
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11766 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Keith Ohler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11767 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sara W. Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11768 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   chris micolucci
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11769 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sharon Rothe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11770 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Holly McDonald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11771 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathleen Hollingsworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11772 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Dorinda kelley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11773 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   michael daveiga
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11774 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sara W. Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11775 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Keith Everton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11776 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   michael daveiga
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11777 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard D Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11778 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Taylor Finch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11779 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

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   be left paying the cost of it.

   Sincerely,

   Bonnie McGill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11780 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Keith Everton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11781 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   RyVonne Werner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11782 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tracey Quinn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11783 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Don Patterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11784 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Taylor Finch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11785 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Tracey Quinn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11786 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Evelyn Och
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11787 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   James Spencer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11788 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Jim Ritscher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11789 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kathleen Selz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11790 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Isabel Denham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11791 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   sonette tippens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11792 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Philip Ramsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11793 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jerry Weinstock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11794 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Marie Garescher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11795 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11796 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Linda Look
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11797 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Arthur Connor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11798 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mary Pritchard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11799 of 13201
   Loretta Lynch
   Department of Justice

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   Jerry Weinstock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11800 of 13201
   Loretta Lynch
   Department of Justice

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   Arthur Connor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11801 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Larry Leszczynski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11802 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Holly Dorsett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11803 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   RUSSELL LINK
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11804 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11805 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Alan Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11806 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Jill Ocon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11807 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   E. Thomas Costello
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11808 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Olga D Grovic
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11809 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dorinda Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11810 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   E. Thomas Costello
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11811 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John Liss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11812 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11813 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Charles Trebes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11814 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   James Perkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11815 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Diana Saxon-Brooks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11816 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Deborah Peri
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11817 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Liss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11818 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   James Perkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11819 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kyle Stephens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11820 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jeanne Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11821 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nancy Fohn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11822 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Diana Saxon-Brooks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11823 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carol Schutt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11824 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Glen Popple
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11825 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kyle Stephens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11826 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   MB
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11827 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jeanne Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11828 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carol Schutt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11829 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joel Shaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11830 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Charles Trebes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11831 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Miriam Israel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11832 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Glenn Church
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11833 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Esteban E
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11834 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jennifer Pittman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11835 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Brian Hoppe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11836 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Esteban E
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11837 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Fred Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11838 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Glenn Church
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11839 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Wadsworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11840 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Brian Hoppe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11841 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Randolph Willoby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11842 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Daniel Biittner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11843 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   John Wadsworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11844 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bonnie Lynn MacKinnon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11845 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Randolph Willoby
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11846 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Bonnie Lynn MacKinnon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11847 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   John McGovern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11848 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Reevyn Aronson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11849 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Ziegler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11850 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Reevyn Aronson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11851 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   John McGovern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11852 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Nolan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11853 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Robert Ziegler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11854 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marsha Shaiman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11855 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Darrell Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11856 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alan Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11857 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   Shelley Toye
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11858 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Roger Dykhuis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11859 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marsha Shaiman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11860 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Darrell Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11861 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Angela Treat Lyon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11862 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Uwe Thomas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11863 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Nolan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11864 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kamia Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11865 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Timothy Shivers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11866 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Pat Vescio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11867 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Timothy Shivers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11868 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sarbaga Falk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11869 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bradley Houseworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11870 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jeff Chandler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11871 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Patricia Chambers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11872 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paul Zendzian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11873 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ron Parsons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11874 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lotte Sonnenschein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11875 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Bradley Houseworth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11876 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jeff Chandler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11877 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Pat Vescio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11878 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Esther Leonard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11879 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paul Zendzian
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11880 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Sarbaga Falk
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11881 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Larry Powell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11882 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Susan Newgent
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11883 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jane Cindric
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11884 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lisa Koerner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11885 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lisa Koerner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11886 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephanie Hillman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11887 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Randall Woodbury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11888 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Anthony Montapert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11889 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Vicki Bynum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11890 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Mr. Anthony Montapert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11891 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Stephanie Hillman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11892 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Maxwell Nettler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11893 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   David Davidson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11894 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mr. Chad Halsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11895 of 13201
   Loretta Lynch
   Department of Justice

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   Mr. Chad Halsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11896 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   William Rowland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11897 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Steve Marinilli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11898 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Scott Holtman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11899 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   gwenn meltzer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11900 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   gwenn meltzer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11901 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Scott Holtman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11902 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Denise Bowie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11903 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   J'Ulene Laque
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11904 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Richard Longley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11905 of 13201
   Loretta Lynch
   Department of Justice

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   J'Ulene Laque
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11906 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Judith Singsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11907 of 13201
   Loretta Lynch
   Department of Justice

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   Judith Singsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11908 of 13201
   Loretta Lynch
   Department of Justice

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   Judith Singsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11909 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Daniel Stopfer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11910 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ruth O'Neal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11911 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Indira Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11912 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Christiane Fitzgerald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11913 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Joseph Edge
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11914 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jerry Spellman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11915 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robin Rutan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11916 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Shirley McNall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11917 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Walker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11918 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Helen Coronado
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11919 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Charleen Steeves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11920 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Swiger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11921 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Shirley McNall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11922 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Lombard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11923 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Christiane Fitzgerald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11924 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Charleen Steeves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11925 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gregory Pfister
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11926 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jerry Spellman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11927 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rosario H Torres
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11928 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Martha Griswold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11929 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Lombard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11930 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kelly Bracy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11931 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gregory Pfister
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11932 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Chuck rocco
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11933 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rosario H Torres
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11934 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Barbara Rose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11935 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Brian Wingenroth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11936 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Blair Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11937 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Adam Nazimowitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11938 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Javier Flores
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11939 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Barbara Rose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11940 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael O'Brien
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11941 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Martha Griswold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11942 of 13201
   Loretta Lynch
   Department of Justice

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   So Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11943 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kelly Bracy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11944 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Roberta Churchill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11945 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Roberta Churchill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11946 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Geiger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11947 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   So Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11948 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Phil Hembury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11949 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Phil Hembury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11950 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Connie Muetzel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11951 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jeff Hanna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11952 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rene Mcwade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11953 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Connie Muetzel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11954 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sally Lambert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11955 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Chris Panila
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11956 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rene Mcwade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11957 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   Josephine Scherer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11958 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Chris Panila
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11959 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Alice Polesky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11960 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Adam Nazimowitz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11961 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Lukas Maturi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11962 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Patsy Glaser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11963 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathy Huffman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11964 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lukas Maturi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11965 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Susan Hooton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11966 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   Sincerely,

   Kathy Huffman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11967 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mike Deiotte
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11968 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Angelika Engels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11969 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paul Szymanowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11970 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Rider
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11971 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   RyVonne Werner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11972 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Juan Hernandez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11973 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Amy Immel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11974 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Juan Hernandez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11975 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Rider
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11976 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephen La Serra
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11977 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paul Szymanowski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11978 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephen La Serra
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11979 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Amy Immel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11980 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Cortney Zaret
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11981 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Carolyn Shaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11982 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ricardo Aguiluz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11983 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Angelika Engels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11984 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Ricardo Aguiluz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11985 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jenette D'Alessandro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11986 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ramon Hass
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11987 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Cortney Zaret
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11988 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Laura Lopez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11989 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Angie Unruh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11990 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Ramon Hass
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11991 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Laura Lopez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11992 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Thomas Koven
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11993 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Sam Stetson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11994 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11995 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sara Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11996 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sherilyn Coldwell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11997 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Julia Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11998 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Julia THollaug
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 11999 of 13201
   Loretta Lynch
   Department of Justice

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   Julia THollaug
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12000 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Julia Morgan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12001 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Charlie Allen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12002 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sara Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12003 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Linda Porter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12004 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Joanne Thielen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12005 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Betty Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12006 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Lynn Greene
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12007 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Royan Charles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12008 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Karen Vasily
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12009 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Royan Charles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12010 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marie Claire DeLuna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12011 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Betty Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12012 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Marie Claire DeLuna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12013 of 13201
   Loretta Lynch
   Department of Justice

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   John Hydar
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12014 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lolly Bennett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12015 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   JC Honeycutt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12016 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Al Ferrucci
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12017 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dr Solveig Strauch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12018 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Al Ferrucci
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12019 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   H Ellis Griffin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12020 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Walter Nadboy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12021 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jack Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12022 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Katherine Worden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12023 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Walter Nadboy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12024 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathy Wright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12025 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gail Frethem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12026 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dr Solveig Strauch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12027 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathy Wright
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12028 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gail Frethem
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12029 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Chris McCarty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12030 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lenore Dolph
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12031 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   mary hunt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12032 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   bruce bauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12033 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely, Betsy Spada

   Betsy Spada
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12034 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Susan Chenelle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12035 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Debbie Thomas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12036 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jenet Johnsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12037 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   bruce bauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12038 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dakota Newbry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12039 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jenet Johnsen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12040 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karen Holman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12041 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Arthur Waterbury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12042 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dakota Newbry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12043 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karen Holman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12044 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Susan Chenelle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12045 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely, Betsy Spada

   Betsy Spada
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12046 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Leif Erickson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12047 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Arthur Waterbury
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12048 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12049 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Van Horn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12050 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tim Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12051 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Hill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12052 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely, Judy Moses

   Judy Moses
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12053 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Meryle A. A. Korn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12054 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   sacha defoy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12055 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tim Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12056 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   sacha defoy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12057 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Van Horn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12058 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ron Riskin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12059 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Hopkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12060 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Chris McCarty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12061 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Patty Navarrete
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12062 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nick Yashirin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12063 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Veronica Bourassa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12064 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Patty Navarrete
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12065 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Annette Hartsorne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12066 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mrs. Julie Skelton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12067 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mrs. Julie Skelton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12068 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   dorian samaniego
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12069 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Janet Lindsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12070 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Denny Boehm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12071 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   dorian samaniego
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12072 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Denny Boehm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12073 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stacy Cornelius
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12074 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Janet Lindsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12075 of 13201
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12076 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Shelley Strohm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12077 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Fisher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12078 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Vinnedge Lawrence
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12079 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ken Jenkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12080 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Fisher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12081 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Reuben Wade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12082 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   manny garcia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12083 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Vinnedge Lawrence
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12084 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   christy sacks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12085 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Thomas Libbey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12086 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Betty Combs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12087 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Veronica Bourassa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12088 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Thomas Libbey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12089 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Betty Combs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12090 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Laura Jobe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12091 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ken Grzesiak
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12092 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rhonda Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12093 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Steven Larson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12094 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   jim whitehead
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12095 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   missy izadog
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12096 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Laura Jobe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12097 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   jim whitehead
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12098 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rochelle Rubin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12099 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marjorie Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12100 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nancy Field White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12101 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Susan Strelec
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12102 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Craig Hollander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12103 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mogens Brandt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12104 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rhonda Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12105 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   Sincerely,

   Susan Strelec
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12106 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ron Carlson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12107 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Mogens Brandt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12108 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Ron Carlson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12109 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Helen Strader
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12110 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   P. Hays
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12111 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Elizabeth Paulson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12112 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dimitri Lefever
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12113 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Helen Strader
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12114 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jacqueline Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12115 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nancy Heck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12116 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jim Haas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12117 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   P. Hays
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12118 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nancy Heck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12119 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dimitri Lefever
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12120 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kirill Gliadkovsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12121 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rick Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12122 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   thomas phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12123 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jim Haas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12124 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Barry Saltzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12125 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   thomas phillips
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12126 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kelsey Price
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12127 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gary Archie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12128 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Barry Saltzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12129 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephanie da Silva
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12130 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tom Gwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12131 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kelsey Price
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12132 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Janet Rising
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12133 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Ellen Serina
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12134 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Betty Tackitt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12135 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Corinne Lambden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12136 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephanie da Silva
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12137 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Belkiss Mayr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12138 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tom Gwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12139 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Didear
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12140 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Frank Marwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12141 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   William Peckham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12142 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Ellen Serina
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12143 of 13201
   Loretta Lynch
   Department of Justice

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sheila Dempsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12144 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Debra Moore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12145 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sheila Dempsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12146 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Frank Marwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12147 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   William Peckham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12148 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   janet lawlor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12149 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bruce Stotts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12150 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dee Steele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12151 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Maurice Samuels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12152 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Angie Sieb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12153 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bruce Stotts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12154 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Heather Kovach
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12155 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   William Cline
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12156 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jack Milton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12157 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Elizabeth Osborne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12158 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Margaret Graham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12159 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Maurice Samuels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12160 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Margaret Cathey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12161 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Katherine Muehlbauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12162 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Deanna Mousaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12163 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jack Milton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12164 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Timothy Raymond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12165 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Darlene Brooks
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12166 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Merelyn Dolins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12167 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Merelyn Dolins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12168 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   maurice oldis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12169 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Foley Jr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12170 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   D O'Dowd
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12171 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Faye Bennett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12172 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bill Russo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12173 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Felicia Bruce
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12174 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   maurice oldis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12175 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bill Russo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12176 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Andreas Ohland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12177 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jonathan Reynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12178 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Barbara fox
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12179 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kirk Paulson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12180 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joe Brenner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12181 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sophie Turinsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12182 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kirk Paulson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12183 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jonathan Reynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12184 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sophie Turinsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12185 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Schneider
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12186 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Schneider
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12187 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tom Wenzel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12188 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Laura Zakin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12189 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tom Wenzel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12190 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Martha Carrington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12191 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Laura Zakin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12192 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Martha Carrington
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12193 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   lewis gersten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12194 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Charles Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12195 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paul Petruccelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12196 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Darra Newhouse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12197 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   lewis gersten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12198 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Paul Petruccelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12199 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marianne Amann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12200 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

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   be left paying the cost of it.

   Sincerely,

   Peter Whipple
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12201 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   sarah boucas neto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12202 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   sarah boucas neto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12203 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   George Byrne
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12204 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Andreas Ohland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12205 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Neal White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12206 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nicholas Startare
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12207 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marilyn Cramer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12208 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Emily Alexander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12209 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gretchen Zeiger-May
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12210 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Monroe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12211 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   george craciun
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12212 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marilyn Cramer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12213 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gretchen Zeiger-May
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12214 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Emily Alexander
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12215 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sharon Maxson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12216 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Helen Simpkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12217 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Thomas Brenner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12218 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   sn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12219 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sharon Maxson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12220 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Elaina Hatsis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12221 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Laurie Reed
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12222 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Peto Gerth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12223 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Baltz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12224 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Thomas Brenner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12225 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Helen Simpkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12226 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gerard Rohlf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12227 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Peto Gerth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12228 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Elaina Hatsis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12229 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Baltz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12230 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nicholas Startare
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12231 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ginnie Gavrin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12232 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Stoflet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12233 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ginnie Gavrin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12234 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   J Beverly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12235 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Chris Ness
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12236 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Patricia Dishman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12237 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dr, Virginia Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12238 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carol Fertig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12239 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Chris Ness
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12240 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ronald Sohn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12241 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mike Peale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12242 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Patricia Dishman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12243 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Ellen Dryer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12244 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tyler Otto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12245 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Karen Snell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12246 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Tyler Otto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12247 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mr. Pete Klosterman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12248 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Peter Bentivegna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12249 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr Steven Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12250 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Helen Templeton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12251 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Peter Bentivegna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12252 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Mr Steven Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12253 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Georgia Stauffer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12254 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Callaway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12255 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Billie Abbott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12256 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joan Heilman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12257 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gina Megay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12258 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Timothy Raymond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12259 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gina Megay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12260 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joan Heilman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12261 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Michael Callaway
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12262 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Patrick Conn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12263 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephen Brace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12264 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kenneth Busch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12265 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephen Brace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12266 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Terry Hart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12267 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marvin Wingfieldq
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12268 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Fiona King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12269 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lynn Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12270 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sharon Lucas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12271 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   d johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12272 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Susan Mayer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12273 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   d johnson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12274 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   becky kurth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12275 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Susan Mayer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12276 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lynn Ross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12277 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dan Jensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12278 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Katherine Glatter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12279 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dan Jensen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12280 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathleen Kuczynski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12281 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Andrea Bounds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12282 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carmen Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12283 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stuart Francis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12284 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carol Masuda
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12285 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stuart Francis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12286 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tara Kerr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12287 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carmen Campbell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12288 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paige Nichols
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12289 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David AND Carol Butler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12290 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Paige Nichols
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12291 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lance Powell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12292 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   David AND Carol Butler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12293 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Deborah J. Cruz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12294 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Lance Powell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12295 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Terry Tedesco Tedesco-Kerrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12296 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Carl Mesick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12297 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Linda Wiseman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12298 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Linda Wiseman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12299 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Terry Tedesco Tedesco-Kerrick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12300 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Laurie Reed
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12301 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Eric E. Symborski Jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12302 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   C. McDonald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12303 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

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   be left paying the cost of it.

   Sincerely,

   L Warren
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12304 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Eric E. Symborski Jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12305 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   C. McDonald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12306 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   RACHEL CLARKEROBERTS
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12307 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   John Lefevers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12308 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Jess Stombaugh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12309 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   ellen Desruisseaux
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12310 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Nancy M. Kevelin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12311 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Helen Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12312 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Kirk Fernald
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12313 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Ms. Nancy M. Kevelin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12314 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Ms. Nancy M. Kevelin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12315 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dominique Reimann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12316 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dana Furgerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12317 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Lefevers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12318 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Helen Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12319 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kevine Cove
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12320 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mrs. Janice Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12321 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Haydn Huntley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12322 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dana Furgerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12323 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mrs. Janice Hall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12324 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Larry Forrest
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12325 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alexander Kreisel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12326 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bettina Stokes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12327 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lamar Savage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12328 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bettina Stokes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12329 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lamar Savage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12330 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Quentin Fischer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12331 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jill Suess
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12332 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Eric Edelman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12333 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Lana Henson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12334 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Manual Laber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12335 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   ken mincin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12336 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

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   Manual Laber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12337 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   Sincerely,

   ken mincin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12338 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jill Suess
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12339 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   susan finney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12340 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ml Sage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12341 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Janice Bailey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12342 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Victoria Urias
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12343 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Victoria Urias
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12344 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   susan finney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12345 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   e neiman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12346 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   ray bellamy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12347 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Duwayne Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12348 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Diane Sirois
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12349 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Madeline Shaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12350 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda fowler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12351 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Bruce Young
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12352 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Linda fowler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12353 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   e neiman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12354 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Madeline Shaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12355 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Karen Hotchkiss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12356 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Harlan Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12357 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   Mr. Harlan Scott
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12358 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Theresa Knapp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12359 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Karen Hotchkiss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12360 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Theresa Knapp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12361 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   David White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12362 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   A P Cranston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12363 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Mr. Haydn Huntley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12364 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

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   be left paying the cost of it.

   Sincerely,

   Tony Cranston
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12365 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Barbara Dell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12366 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Shari OConnor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12367 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Shari OConnor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12368 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Peter Beatty
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12369 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dennis Wu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12370 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Beth Braun
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12371 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rob Stonecipher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12372 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Diane Pekarcik
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12373 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nancy Bauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12374 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dennis Wu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12375 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stacy Bouilland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12376 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nancy Bauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12377 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jonathan Hancock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12378 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ann White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12379 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John & Mary Kurzynski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12380 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Ml Sage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12381 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   A.L. Hern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12382 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Cynthia Gilliard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12383 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   be left paying the cost of it.

   Sincerely,

   J Manning
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12384 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lee Dietterich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12385 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mark Makkonen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12386 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Cynthia Gilliard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12387 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sandra Naidich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12388 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Mark Makkonen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12389 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stacy Bouilland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12390 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Karen Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12391 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Dean
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12392 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   David White
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12393 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Jonathan Hancock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12394 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dana Wakiji
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12395 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Reba N
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12396 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Helen Greer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12397 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John Laughlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12398 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Marion Menna
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12399 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Barclay Hauber
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12400 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Guy Amsler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12401 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Leonard Heether
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12402 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Anne Buchanan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12403 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Cathy Goodrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12404 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Zachary Stevens
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12405 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Ms. Sandra Lynn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12406 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Acadia Cutschall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12407 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Lawrence Kegeles
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12408 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Ms. Sandra Lynn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12409 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Marc Dumas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12410 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Acadia Cutschall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12411 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Marc Dumas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12412 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sarie Bryson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12413 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Joan Bradley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12414 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Cliff Owens-Leech
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12415 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Frances McDonal
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12416 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rachel Hutcheson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12417 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sarie Bryson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12418 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marge Roebuck
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12419 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ken Meinhardt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12420 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ken Meinhardt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12421 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nicolas Caballero
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12422 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Catherine Leamy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12423 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   john polite
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12424 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   malik griffin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12425 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   malik griffin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12426 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nicolas Caballero
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12427 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Epperson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12428 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Shaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12429 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jo Forkish
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12430 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert M. Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12431 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephen Pazdziorko
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12432 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Catherine Leamy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12433 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Judy Vann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12434 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Phoebe McLeod
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12435 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Epperson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12436 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ilya Speranza
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12437 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephen Wallace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12438 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ilya Speranza
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12439 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   William Sherman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12440 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Emily Hurn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12441 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mark Peltan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12442 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jo Forkish
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12443 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Arline Mathews
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12444 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Kipnes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12445 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dave B
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12446 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Leckliter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12447 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   mike collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12448 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Daniel J. Sanchez, Sr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12449 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Mark Peltan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12450 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Kipnes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12451 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Vanessa Jamison
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12452 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Daniel J. Sanchez, Sr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12453 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jason Schulman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12454 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Frank Parker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12455 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joanna Leary
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12456 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jillian Fiedor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12457 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Katherine Blum Russell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12458 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marjorie Lohrer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12459 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Laurence Margolis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12460 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jillian Fiedor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12461 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Katherine Blum Russell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12462 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Pederson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12463 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ken Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12464 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Catherine Learmonth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12465 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ken Hedges
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12466 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Vanessa Carlson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12467 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Diane Paolazzi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12468 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Vanessa Carlson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12469 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   William Pell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12470 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Charles Shaud
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12471 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Catherine Learmonth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12472 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ken Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12473 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Diane Paolazzi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12474 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Walter Jaehnig
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12475 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mark Cohen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12476 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, Please include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Thank you.

   Peace!

   Gene and Dori Peters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12477 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   bill haegele
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12478 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mark Cohen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12479 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Janet Barstow
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12480 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   LeRoy Martinez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12481 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Diane Tessari
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12482 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Scott Messick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12483 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Scott Messick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12484 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   LeRoy Martinez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12485 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Hy Lampe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12486 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Brittany Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12487 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Kenneth Lapointe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12488 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Brittany Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12489 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Cynthia McWilliams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12490 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Kenneth Lapointe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12491 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Flora Donovan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12492 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marc Lionetti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12493 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Staci Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12494 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mickey Mccarthy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12495 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Staci Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12496 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Mark Leiner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12497 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Cornelia Powell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12498 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Calli Madrone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12499 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kurt McInnes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12500 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   bettyi jackson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12501 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Sherson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12502 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kurt McInnes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12503 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Heather Hanly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12504 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Heather Hanly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12505 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sandra Thomas-Dale
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12506 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12507 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary A Leon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12508 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sandra Cobb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12509 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kenneth Brinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12510 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12511 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stephen Dempsey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12512 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   PF
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12513 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Kenneth Brinson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12514 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dana Good
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12515 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sandra Cobb
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12516 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   PF
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12517 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Diane Basile
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12518 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Coreen Plewa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12519 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Holly Quick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12520 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jeffrey Fernandez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12521 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Diane Basile
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12522 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marc Lionetti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12523 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alisa Battaglia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12524 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Coreen Plewa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12525 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Pankratz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12526 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joanne Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12527 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alisa Battaglia
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12528 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Steven Jacobs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12529 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joanne Snyder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12530 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Chris Holder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12531 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dr. George B. Kauffman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12532 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Fralick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12533 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Fralick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12534 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dana Good
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12535 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dr. George B. Kauffman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12536 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dennis Keller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12537 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Heather La Riviere
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12538 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Gret Rowe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12539 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Gret Rowe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12540 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ljubica Sefer-Stefancic
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12541 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Frank Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12542 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ms. Gret Rowe
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12543 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Fiona King
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12544 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ljubica Sefer-Stefancic
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12545 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   james mccord
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12546 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Peter Burchard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12547 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sharon Small
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12548 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Benny Martino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12549 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Benny Martino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12550 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Benny Martino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12551 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carla Hervert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12552 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rebecca Anshell Song
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12553 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Peter Burchard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12554 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kirsten Andersen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12555 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Frank Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12556 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carla Hervert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12557 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stanley McDonald, Jr.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12558 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sandra Hillerstrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12559 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Adrian Vetter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12560 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Maxine Lowwery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12561 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joseph Novel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12562 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Syd Satterlund
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12563 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Maxine Lowwery
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12564 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Joseph Novel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12565 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Thomas D. Aubin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12566 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Frederica Huxley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12567 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carole McCarvill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12568 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jordan Kelso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12569 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   J Manning
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12570 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   daniel pecoraro
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12571 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Keller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12572 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David Kitts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12573 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Robert Keller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12574 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Esther Confino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12575 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Esther Confino
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12576 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Tom Pitman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12577 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Thomas D. Aubin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12578 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Norse Lassandreo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12579 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   David Kitts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12580 of 13201
   Loretta Lynch
   Department of Justice

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   Tom Pitman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12581 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Sandra Hillerstrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12582 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Norse Lassandreo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12583 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Danielle Tran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12584 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Deanna Pouttu
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12585 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   M McQuillen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12586 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sheri Bresson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12587 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12588 of 13201
   Loretta Lynch
   Department of Justice

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   M McQuillen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12589 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12590 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ella Reeves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12591 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lesley Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12592 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Rebecca Anshell Song
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12593 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Susan Perez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12594 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Cheli Bremmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12595 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Cheli Bremmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12596 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jim Sheldon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12597 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Gordon Grant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12598 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Teresa Alcorn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12599 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Barbara Legaz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12600 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Lesley Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12601 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Susan Perez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12602 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kurt Bauereiss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12603 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Gordon Grant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12604 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Suzanne Ewing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12605 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Kurt Bauereiss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12606 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Suzanne Ewing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12607 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dirk Reed
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12608 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Teresa Alcorn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12609 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Adolf Kruger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12610 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Patricia Baker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12611 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Raymond Crannell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12612 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Joe Hamm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12613 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12614 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Tara Meehan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12615 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Chad Anderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12616 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   steve billups
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12617 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   dody h
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12618 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bridget Palecek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12619 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Steve Zelman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12620 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Steve Zelman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12621 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   D. Kimura
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12622 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dc Katten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12623 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. John Konrad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12624 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bridget Palecek
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12625 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mrs. Kathi Thonet
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12626 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Barry Cutler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12627 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Vanessa Lundblad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12628 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alison Miller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12629 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Daniel Marzani
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12630 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Maria Figueroa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12631 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Dc Katten
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12632 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Vanessa Lundblad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12633 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Vera Brandt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12634 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Mr. John Konrad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12635 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Laura Strong
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12636 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   D. Kimura
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12637 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Bandor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12638 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Devin Henry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12639 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kenneth West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12640 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Vera Brandt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12641 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Maria Figueroa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12642 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Daniel Marzani
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12643 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Cliff Carson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12644 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Devin Henry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12645 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mr. Kyle Embler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12646 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Mr. John Konrad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12647 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely, Stephanie G. Valys
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12648 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Mary Bandor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12649 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Maria Bustamante
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12650 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Maria Gabrielle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12651 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Ellie Meehan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12652 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Maria Bustamante
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12653 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12654 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Stephanie Valys
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12655 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Claudette Schiratti, RSM
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12656 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Kenneth West
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12657 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Liza Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12658 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Clinton Nagel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12659 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   be left paying the cost of it.

   Sincerely,

   Elizabeth Gardner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12660 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Catherine S. Gross
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12661 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Clinton Nagel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12662 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Elizabeth Gardner
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12663 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Virginia Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12664 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   mike kaufman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12665 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Miguel Liriano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12666 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Peter Sutton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12667 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Jason Barnes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12668 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Dan Nolan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12669 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Peter Sutton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12670 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Miguel Liriano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12671 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

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   Sincerely,

   Sandra Dieterich-Hughes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12672 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   Sincerely,

   Dan Nolan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12673 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Janet Shulman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12674 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Pamela Stearley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12675 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Pamela Stearley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12676 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ann Carlisle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12677 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Jennifer Walters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12678 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Ann Carlisle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12679 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Peter Addyman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12680 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kelly Murphey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12681 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Carol Rigrod
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12682 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Kelly Murphey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12683 of 13201
   Loretta Lynch
   Department of Justice

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   Carol Rigrod
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12684 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Peter Addyman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12685 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathleen Coffman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12686 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Marjorie Weiss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12687 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Amanda Brewer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12688 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12689 of 13201
   Loretta Lynch
   Department of Justice

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   Amanda Brewer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12690 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12691 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mark Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12692 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dan Wade
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12693 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Diane Vandiver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12694 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lynda Strecker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12695 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12696 of 13201
   Loretta Lynch
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   Sincerely,

   Carolyn Norr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12697 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Diane Hanas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12698 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Elaine Kellerman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12699 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Daniel Maslana
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12700 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Christian Paul Schneider
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12701 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Diane Vandiver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12702 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lynda Strecker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12703 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Katherine Harband
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12704 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Daniel Maslana
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12705 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   L Der
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12706 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Richard Franken
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12707 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Michael Janover
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12708 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Darryl Apps
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12709 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Martha Evans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12710 of 13201
   Loretta Lynch
   Department of Justice

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   Martha Evans
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12711 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ben Arnold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12712 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Peggy Tribble
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12713 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Barbara Vilaseca
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12714 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mike Montes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12715 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Peggy Tribble
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12716 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Ben Arnold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12717 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   Barbara Vilaseca
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12718 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stanley Fistick
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12719 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Evelyn Jerenberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12720 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alan Capelle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12721 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12722 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mike Montes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12723 of 13201
   Loretta Lynch
   Department of Justice

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Hunt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12724 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ian Marshall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12725 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Robert Beam
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12726 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alan Capelle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12727 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Krystle Chandler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12728 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Linda Hunt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12729 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mitchell Diamond
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12730 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Evelyn Jerenberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12731 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Mary Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12732 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Warren Nystrom
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12733 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Michael Gocinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12734 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Krystle Chandler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12735 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Ian Marshall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12736 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Randy Borns
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12737 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Terry Poulson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12738 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karen D Felts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12739 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Adrienne Simmons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12740 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Karen Kalavity
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12741 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Jefree Annderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12742 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12743 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12744 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Karen Kalavity
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12745 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Paula Hollie
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12746 of 13201
   Loretta Lynch
   Department of Justice

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   Karen D Felts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12747 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mrs. Faioa Schwarzenberg
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12748 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Adrienne Simmons
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12749 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Thomas Bauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12750 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Melanie Rushing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12751 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Thomas Bauer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12752 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Melissa Hinz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12753 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Melanie Rushing
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12754 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Gordon ILLG
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12755 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Kathy Hart
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12756 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Doug Stopke
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12757 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mr. Erik Schnabel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12758 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Anthony P. Vessicchio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12759 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12760 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kathleen Bernardo
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12761 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Maddie Dillon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12762 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Suzanne Guest
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12763 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Maddie Dillon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12764 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Suzanne Guest
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12765 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Keith Runion
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12766 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Diana Barney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12767 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Keith Runion
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12768 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Linda Reilly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12769 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Kimberly Short
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12770 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Frank Rose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12771 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Michael Moss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12772 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

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   be left paying the cost of it.

   Sincerely,

   Miguel Ramos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12773 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Frank Rose
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12774 of 13201
   Loretta Lynch
   Department of Justice

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   Miguel Ramos
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12775 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Leighta J
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12776 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Eleanor Bowen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12777 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Nicola Nicolai
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12778 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Charles Caron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12779 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Nicola Nicolai
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12780 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Susan Wolinsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12781 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   SCOTT MARX
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12782 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Susan Wolinsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12783 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Daniel Rickson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12784 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Margo Oconnell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12785 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Anthony Barron
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12786 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Scot Seader
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12787 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12788 of 13201
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   Department of Justice

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   Sincerely,

   Steven Tichenor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12789 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John Schaechter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12790 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John Schaechter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12791 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Carolyn Bartholomew
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12792 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sheila Kojm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12793 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12794 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   MR. & MRS. BRUCE Revesz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12795 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Claudia Van Gerven
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12796 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Richard Hoff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12797 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12798 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mary Fay Helmon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12799 of 13201
   Loretta Lynch
   Department of Justice

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   Sheila Kojm
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12800 of 13201
   Loretta Lynch
   Department of Justice

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   Claudia Van Gerven
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12801 of 13201
   Loretta Lynch
   Department of Justice

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   Mary Fay Helmon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12802 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Fermin Morales
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12803 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Karen Naiman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12804 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Maris Arnold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12805 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Robert Kasvinsky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12806 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mr. Joseph Shulman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12807 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Cathy Cretser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12808 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12809 of 13201
   Loretta Lynch
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   Sincerely,

   Spencer Walsh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12810 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kathie T
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12811 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Gretchen Clay
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12812 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sandy Willard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12813 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12814 of 13201
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   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Edmund Nespoli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12815 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sandy Willard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12816 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tecari Shuman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12817 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Werry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12818 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Suzanne Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12819 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tracy Peltier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12820 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ron Berti
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12821 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jessica Koran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12822 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   LInda Goodhew
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12823 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jane Burt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12824 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jessica Koran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12825 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Suzanne Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12826 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ben Murray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12827 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ben Murray
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12828 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Hortense Henderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12829 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Patricia Copenhaver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12830 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Karl Hamann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12831 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Doris Mundinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12832 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Patricia Copenhaver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12833 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathleen Grossman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12834 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Small
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12835 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathleen Grossman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12836 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kris Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12837 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   CM
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12838 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Damian Velez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12839 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jane Burt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12840 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Elizabeth Sampson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12841 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   James Hopkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12842 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Kris Thompson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12843 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   CM
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12844 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Hortense Henderson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12845 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Elizabeth Sampson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12846 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   James Hopkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12847 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kelly Hancock
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12848 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   luong tran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12849 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Jen Scibetta
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12850 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nalei Kahakalau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12851 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Elizabeth Kiernan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12852 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Elizabeth Kiernan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12853 of 13201
   Loretta Lynch
   Department of Justice

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   Nalei Kahakalau
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12854 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Peggy Burgin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12855 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   be left paying the cost of it.

   Sincerely,

   nina clausen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12856 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Christy Nakama
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12857 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   be left paying the cost of it.

   Sincerely,

   Sue Ward-McCurdy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12858 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Peggy Burgin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12859 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Christy Nakama
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12860 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gayle Doukas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12861 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ray Bartlett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12862 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rod E. Mc Connell, B.Ed., M.Ed., P.P.C.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12863 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Elizabeth Bradshaw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12864 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Rod E. Mc Connell, B.Ed., M.Ed., P.P.C.
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12865 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Valerie Blackmore
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12866 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ray Bartlett
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12867 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   luong tran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12868 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Raymond Courter
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12869 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alexis Campbell Jansky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12870 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Donald Kent
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12871 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, please include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction. The tragedy of the Deepwater Horizon must never be repeated and taxpayers
   should not be paying the cost of it.

   Sincerely,

   J Lukas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12872 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   alex verboven
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12873 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Judith Martinez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12874 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Leah Leifer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12875 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Judith Martinez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12876 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Norma Schupp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12877 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Alexis Campbell Jansky
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12878 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dr. Brian Leggiere
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12879 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Rick Gordon
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12880 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   jill harmer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12881 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Dr. Brian Leggiere
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12882 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Norma Schupp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12883 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12884 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12885 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Mahoney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12886 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Camille Young-Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12887 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Jessica Murphy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12888 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Wil Thomson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12889 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Gary Sasso
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12890 of 13201
   Loretta Lynch
   Department of Justice

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   Jessica Murphy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12891 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mr. William E McCullough
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12892 of 13201
   Loretta Lynch
   Department of Justice

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   Camille Young-Martin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12893 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Marilise Tronto
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12894 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mary Mahoney
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12895 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Michael Gelfer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12896 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sara Marshall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12897 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Richard Klune
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12898 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marge Fear
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12899 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Michael Gelfer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12900 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Margaret H. Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12901 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Richard Klune
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12902 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Susan Lilly
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12903 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Marge Fear
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12904 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Margaret H. Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12905 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carolyn Suchenicz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12906 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Mr. David G
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12907 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Allen Terrill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12908 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   nina clausen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12909 of 13201
   Loretta Lynch
   Department of Justice

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   Sincerely,

   Randolph Hogan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12910 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   C Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12911 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kelly Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12912 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   C Green
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12913 of 13201
   Loretta Lynch
   Department of Justice

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   Allen Terrill
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12914 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Kelly Taylor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12915 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nancy Anvari
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12916 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jeffrey Spencer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12917 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Victoria Olson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12918 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Melissa Gutierrez
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12919 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Nanette Oggiono
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12920 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Alice McKeage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12921 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Victoria Olson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12922 of 13201
   Loretta Lynch
   Department of Justice

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Nanette Oggiono
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12923 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jeffrey Spencer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12924 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Judith Skenazy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12925 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Eve Powers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12926 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kindy Kemp
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12927 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Julaine Morley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12928 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Eve Powers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12929 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marilyn Smith
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12930 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Julaine Morley
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12931 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Judith Skenazy
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12932 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   George Crowell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12933 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marion Marsh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12934 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Scott Toland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12935 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Zeller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12936 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   George Crowell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12937 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carlene Steel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12938 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joan Chapman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12939 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathleen Sigel
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12940 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Marion Marsh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12941 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Matt Brzezinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12942 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rebecca Hickey
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12943 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   madolyn jenkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12944 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   madolyn jenkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12945 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Matt Brzezinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12946 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   sean brennan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12947 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Linda Rossi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12948 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Scott Toland
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12949 of 13201
   Loretta Lynch
   Department of Justice

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   Linda Rossi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12950 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   sean brennan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12951 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   B Doris Dubuc
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12952 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   David and Judy Gold
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12953 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12954 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Kathryn Hargreaves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12955 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Joseph Crichton
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12956 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Caroline Bergdolt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12957 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Kathryn Hargreaves
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12958 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Caroline Bergdolt
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12959 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tia Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12960 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Tia Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12961 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Ray Kalinski
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12962 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bette Feltham
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12963 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Paul Cope
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12964 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   John Tischhauser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12965 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Ericka Bjorngaard
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12966 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   mary lehman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12967 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

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   Sincerely,

   John Vago
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12968 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Donald Kowall
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12969 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sandy Kucinki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12970 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary K Orrange
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12971 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   glenn hood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12972 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   John Tischhauser
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12973 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Mary K Orrange
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12974 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Sandy Kucinki
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12975 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   glenn hood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12976 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   John Vago
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12977 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathleen Lee
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12978 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sandy Levine
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12979 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Sylvia Duncan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12980 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kathleen Brentlinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12981 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Merry Ossenheimer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12982 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Joseph Haemmerle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12983 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   William L. Parker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12984 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Steve Wilson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12985 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Mr. Randall Davis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12986 of 13201
   Loretta Lynch
   Department of Justice

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   Merry Ossenheimer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12987 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Anne Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12988 of 13201
   Loretta Lynch
   Department of Justice

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   Kathleen Brentlinger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12989 of 13201
   Loretta Lynch
   Department of Justice

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   Joseph Haemmerle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12990 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sylvia Duncan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12991 of 13201
   Loretta Lynch
   Department of Justice

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   Anne Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12992 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Richard Turegano
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12993 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12994 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ronnie Rouse
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12995 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dereka Ogden
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12996 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   A. Brennan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12997 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jeffrey Watson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12998 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Michael Tucker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 12999 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Roy Poss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13000 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Terry Angelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13001 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sean Ebersole
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13002 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13003 of 13201
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   Department of Justice

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   Sincerely,

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13004 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ann Coz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13005 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Terry Angelli
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13006 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Linda Kiernan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13007 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Michael Tucker
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13008 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Shawndra Hayes-Budgen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13009 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Michelle Hofmann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13010 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   David McKeever
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13011 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Jeffrey Watson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13012 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Roy Poss
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13013 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   A Puza
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13014 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   I. Engle
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13015 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Louis Brown
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13016 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Linda Kiernan
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13017 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   David McKeever
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13018 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carol Sinclair
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13019 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Shawndra Hayes-Budgen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13020 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Back
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13021 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   julie walters
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13022 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carol Sinclair
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13023 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Edward Savage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13024 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Back
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13025 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Richard Nelson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13026 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bud See
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13027 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Edward Savage
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13028 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kelly Irwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13029 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   K Tyler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13030 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Terri Henry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13031 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Kelly Irwin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13032 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marcia Bushnell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13033 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Marcia Curran
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13034 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Jayson Dilcher
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13035 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bud See
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13036 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Wadie Wallace
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13037 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Bruce McGraw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13038 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Catherine Clark
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13039 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Bruce McGraw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13040 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Carole Pooler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13041 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Terri Henry
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13042 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Virginia Laplante
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13043 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Dr. Peter Stone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13044 of 13201
   Loretta Lynch
   Department of Justice

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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   G Yuzawa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13045 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Carole Pooler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13046 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Melinda Armistead
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13047 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Donny Seals
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13048 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Thomas Cierech
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13049 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Martha Spann
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13050 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Dr. Peter Stone
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13051 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Virginia Laplante
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13052 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   G Yuzawa
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13053 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Melinda Armistead
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13054 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Donny Seals
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13055 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   craig conn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13056 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   be left paying the cost of it.

   Sincerely,

   Kristy Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13057 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Tom Harper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13058 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   be left paying the cost of it.

   Sincerely,

   Kristy Collins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13059 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   Dennis Nicholson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13060 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   John Bachalis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13061 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   craig conn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13062 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Patrick F. Fern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13063 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Pam Bryant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13064 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Pam Bryant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13065 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Joyce Jaske
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13066 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Patrick F. Fern
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13067 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   John Bachalis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13068 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Deb Lincoln
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13069 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Pam Bryant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13070 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Pam Bryant
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13071 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Deb Lincoln
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13072 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Tom Harper
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13073 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Sandra L. Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13074 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Joyce Jaske
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13075 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Tom Bryson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13076 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Adam Vrbanic
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13077 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Maria Kalousi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13078 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Maria Kalousi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13079 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Karen DeLuca
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13080 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sandra L. Jones
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13081 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lois Hoot
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13082 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely,

   Lee Bartell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13083 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Debbie Lynch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13084 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Lee Bartell
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13085 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13086 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Julie Watts
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13087 of 13201
   Loretta Lynch
   Department of Justice

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   be left paying the cost of it.

   Sincerely, Jenni Post

   Jenni Post
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13088 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Mary Ann McDonough
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13089 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Ellen Collier
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13090 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Laquisha Jean
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13091 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Caren Bar-Zvi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13092 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13093 of 13201
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   Sincerely,

   Jesse Goldin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13094 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Herb Evert
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13095 of 13201
   Loretta Lynch
   Department of Justice

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   Caren Bar-Zvi
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13096 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13097 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13098 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mary Ziesche
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13099 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Cynthia Romberger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13100 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   C R Moses
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13101 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Grant Fujii
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13102 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mary Peterson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13103 of 13201
   Loretta Lynch
   Department of Justice

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   Cynthia Romberger
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13104 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13105 of 13201
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   Sincerely,

   Laquisha Jean
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13106 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Francis Mangels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13107 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Neil Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13108 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Cary Sipiora
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13109 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Vern Maresh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13110 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Neil Lewis
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13111 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   william lawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13112 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Gail Hyde
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13113 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dillon Pierce
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13114 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   william lawson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13115 of 13201
   Loretta Lynch
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   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Francis Mangels
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13116 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lewis Deene
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13117 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Vern Maresh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13118 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Gail Hyde
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13119 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Judith Salzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13120 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Lewis Deene
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13121 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   LuMarion Conklin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13122 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Helene Eastwood
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13123 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Judith Salzman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13124 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   LuMarion Conklin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13125 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Stuart Fuchs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13126 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Stuart Fuchs
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13127 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mark Hanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13128 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   thomas cunniff
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13129 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Edward Rubin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13130 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Blake O'Quinn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13131 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mark Hanson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13132 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   deduction.

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   be left paying the cost of it.

   Sincerely,

   Virginia Douglas
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13133 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   be left paying the cost of it.

   Sincerely,

   Tamara M
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13134 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Janet Needler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13135 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Kelle McLaughlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13136 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   Sincerely,

   Janet Needler
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13137 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Fritz Seegers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13138 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Kelle McLaughlin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13139 of 13201
   Loretta Lynch
   Department of Justice

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13140 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   LuMarion Conklin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13141 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Susan P. Vessicchio
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13142 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Robert Frank
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13143 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   James Sipoccz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13144 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Rachel Meltzer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13145 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Veronica Z
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13146 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Rachel Meltzer
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13147 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely, Robert D. Frank

   Robert Frank
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13148 of 13201
   Loretta Lynch
   Department of Justice

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   James Sipoccz
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13149 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Deborah Cate
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13150 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13151 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Seemin Qayum
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13152 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Linda Schimpf
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13153 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Timothy Hagerman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13154 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   James Balder
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13155 of 13201
   Loretta Lynch
   Department of Justice

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   As the comment period for the consent decree between BP, the Justice Department, and
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   Sincerely,

   Stanley Veyhl
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13156 of 13201
   Loretta Lynch
   Department of Justice

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   Deborah Cate
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13157 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Theodore Trevor
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13158 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Jane Spaeth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13159 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Timothy Hagerman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13160 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   be left paying the cost of it.

   Sincerely,

   Jane Spaeth
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13161 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Matt De Leuw
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13162 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Mary Giannakou
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13163 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   be left paying the cost of it.

   Sincerely,

   Tim Mommers
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13164 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   the five states of the Gulf Coast continues, I urge you to include strict language in the final
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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Susan Cook
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13165 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

   As the comment period for the consent decree between BP, the Justice Department, and
   the five states of the Gulf Coast continues, I urge you to include strict language in the final
   agreement that bars BP from claiming any portion of its settlement costs as a tax
   deduction.

   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
   be left paying the cost of it.

   Sincerely,

   Peter Joyce
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13166 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   Laura J. Peskin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13167 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Carolyn Redding
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13168 of 13201
   Loretta Lynch
   Department of Justice

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   Peter Joyce
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13169 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Susan Cook
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13170 of 13201
   Loretta Lynch
   Department of Justice

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   Laura J. Peskin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13171 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Michael Elkins
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13172 of 13201
   Loretta Lynch
   Department of Justice

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   Carolyn Redding
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13173 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Norm Conrad
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13174 of 13201
   Loretta Lynch
   Department of Justice

   Dear Attorney General Lynch:

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   Sincerely,

   David Muller
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13175 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Debbie Williams
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13176 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   craig conn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13177 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Elaine French
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13178 of 13201
   Loretta Lynch
   Department of Justice

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   craig conn
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13179 of 13201
   Loretta Lynch
   Department of Justice

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   The tragedy of the Deepwater Horizon must never be repeated and taxpayers should not
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   Sincerely,

   Barbara Cerridwen
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13180 of 13201
   Loretta Lynch
   Department of Justice

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   Elaine French
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13181 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   William Rothman
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13182 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13183 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13184 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Dr. Alexander Henrich
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13185 of 13201
   Loretta Lynch
   Department of Justice

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   Patricia McHugh
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13186 of 13201
   Loretta Lynch
   Department of Justice

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   Sincerely,

   Mary East
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13187 of 13201
   Loretta Lynch
   Department of Justice

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   Lavada Weaver
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13188 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13189 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13190 of 13201
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   Department of Justice

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   Anne Chapin
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13191 of 13201
   Loretta Lynch
   Department of Justice

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   donna zeuch
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13192 of 13201
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   Department of Justice

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   Jeff Reynolds
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13193 of 13201
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   Department of Justice

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   Sincerely,

   Elizabeth Hunt-Nickerson
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13194 of 13201
   Loretta Lynch
   Department of Justice

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   Christine Klein
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13195 of 13201
   Loretta Lynch
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13196 of 13201
   Loretta Lynch
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   s Brandes
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13197 of 13201
   Loretta Lynch
   Department of Justice

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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13198 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13199 of 13201
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Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13200 of 13201
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   Sincerely,

   James A Clark Jr
Case 2:10-md-02179-CJB-DPC Document 16022-7 Filed 03/22/16 Page 13201 of 13201
   Loretta Lynch
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   Sincerely,

   Nancy Farha
